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(16-0) (Part 16-0) 02.18.25 re: In re Group Management Corp., 03-93031 (BC
NDGA), Chapter 11, Rule 8009(d) Appellants’ and Appellees’ Joint Stipulated
Appellate Record.

Case No. 03-93031(16-0) (Part 16-0)!

United States Bankruptcy Court - _ O
For the Northern District of Georgia

(Atlanta Division)

In re Group Management Corp., Chapter 11
On Appeal in In re Group Management Corp.,
District Court (NDGA) 25cv00613 (MLB)

Submitted on Tuesday, February 18, 2025, 12:37:35 PM

Clerk’s Cover Letter

APPELLANTS’ AND APPELLEES’ JOINT STIPULATED STATEMENT OF THE
ISSUES PRESENTED ON APPEAL IN IN RE GROUP MANAGEMENT CORP., CASE NO.
25CV00613 (NDGA) (MLB).

RESPECTFULLY SUBMITTED,
Filed in U.S. Bankruptcy Court
Norther District of Georgia
For Appellants: GROUP MANAGEMENT and Ulysses T. Ware Vania S. Allen, Clerk

FEB 2 4 2025

/s/ Ulysses T, Ware ail’
Wa ane By: 263g
ubyhitted by:

Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

' District Court (NDGA) Docket No. 25cv00613 (MLB).

Pagelof5

Tuesday, February 18, 2025

(16-0) (Part 16-0) re Feb. 18, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding Rule 8009(d)
filings.
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(718) 844-1260
Utware007@gmail.com
February 18, 2025

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Tuesday, February 18, 2025
(16-0} (Part 16-0) re Feb. 18, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding Rule 8009(d)

filings.
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 3 of 270

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com

February 18, 2025
VIA ELECTRONIC FILING AND U.S. MAIL

Office of the Clerk

United States Bankruptcy Court

Northern District of Georgia

Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

Re: (16-1A) (Part 16-1A) 02.18.25 re: In re Group Management Corp., 03-93031 (BC
NDGA), Chapter 11, Rule 8009(d) Appellants’ and Appellees’ Joint Stipulated Appellate
Record — Appeal Case No. 25cv00613 (NDGA) (MLB).

Appellants’ Filing of Rule 8009(d) Joint Stipulated Appellate Record.
Dear Clerk of the Bankruptcy Court:

Appellants-Movants, Ulysses T. Ware and Group Management (successor in interest to the
Chapter 11 Debtor, and 11 U.S.C. § 1109(b) statutory parties in interest), hereby submit for filing
and docketing the attached document titled “(16-1A) (Part 16-1A) 02.18.25 re: In re Group
Management Corp., 03-93031 (BC NDGA), Chapter 11, Rule 8009(d) Appellants’ and
Appellees’ Joint Stipulated Appellate Record” (hereinafter, the “Joint Stipulated Appellate
Record”).

This filing constitutes Appellants-Movants’ designation of the Appellate Record on Appeal in the
above-referenced matter, Case No. 03-93031 (WLH), which is currently pending appeal before the
United States District Court for the Northern District of Georgia as Case No. 25cv00613 (NDGA)
(MLB), Dkt. 279.

The attached Joint Stipulated Appellate Record is submitted pursuant to Rule 8009(d) of the
Federal Rules of Bankruptcy Procedure, and is intended to serve as the Agreed Statement as the
Record on Appeal in this matter, in lieu of the standard record designation process outlined in Rule
8009(a).

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Tuesday, February 18,2025

(16-0) (Part 16-0) re Feb. 18, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding Rule 8009(d)
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As detailed within the attached Joint Stipulated Appellate Record, and as evidenced by prior filings
with this Honorable Court, Appellants-Movants have made diligent and good faith efforts to
engage all Appellees-Respondents in a collaborative process to finalize a truly joint stipulated
record pursuant to Rule 8009(d). To that end, Appellants-Movants have provided all Appellees-
Respondents with actual notice of the proposed Joint Stipulated Appellate Record via electronic
mail to their respective public email accounts, as documented in the Certificate of Service attached
to the Joint Stipulated Appellate Record.

Pursuant to Bankruptcy Rule 8009(d), Appellants-Movants respectfully request that the Clerk of
the Bankruptcy Court undertake the following actions to ensure the proper certification and
transmittal of the Appellate Record to the United States District Court:

1. Forward the Attached Joint Stipulated Appellate Record to the Honorable Chief
Judge Barbara Ellis-Monro for Review and Approval: In accordance with Rule
8009(d), the attached Joint Stipulated Appellate Record requires review and approval by
the Bankruptcy Court to ensure its accuracy and completeness. Rule 8009(d)(1) explicitly
provides that “lf the statement is accurate, it—together with any additions that the
bankruptcy court may consider necessary to a full presentation of the issues on appeal—
must be approved by the bankruptcy court.” Appellants-Movants respectfully request that
the Clerk promptly forward the attached “accurate” Joint Stipulated Appellate Record to
Chief Judge Ellis-Monro for her review and approval.

2. Certification of Approved Joint Stipulated Appellate Record: Upon the Bankruptcy
Court’s approval of the Joint Stipulated Appellate Record, Appellants-Movants
respectfully request that the Clerk certify the approved statement to the United States
District Court for the Northern District of Georgia, Case No. 25cv00613 (NDGA) (MLB),
as the official Record on Appeal, pursuant to Rule 8009(d)(2) of the Federal Rules of
Bankruptcy Procedure. Rule 8009(d)(2) mandates that “If the bankruptcy court approves
the statement, it must be certified to the court where the appeal is pending as the record
on appeal.”

3. Transmittal of Certified Record to District Court Clerk: Following certification by the
Bankruptcy Court, Appellants-Movants respectfully request that the Bankruptcy Clerk
transmit forthwith the certified Joint Stipulated Appellate Record to the Clerk of the United
States District Court for the Northern District of Georgia, in accordance with Rule
8009(d)(3) and Rule 8010 of the Federal Rules of Bankruptcy Procedure. Rule 8009(d)(3)
directs that “The bankruptcy clerk must then transmit it to the clerk of that court within
the time provided by Rule 8010.”

Appellants-Movants submit this Joint Stipulated Appellate Record in good faith and in the interest
of judicial economy, to streamline the appellate process and to focus the District Court’s review
on the dispositive jurisdictional and sanctioning issues presented in this appeal. We respectfully
request the Bankruptcy Court’s prompt attention to this matter to facilitate the timely progression
of this appeal before the United States District Court.

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(16-0) (Part 16-0) re Feb. 18, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding Rule 8009(d)
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Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 5 of 270

Respectfully submitted

“Aibgier Sol
/$/ Ulysses T. Ware

ULYSSES T. WARE
Attorney in Fact for Appellants-Movants
Ulysses T. Ware and Group Management
Attachments:
1. (F-0 to F-7) attachments 02.18.25 re: In re Group Management Corp., 03-93031 (BC

NDGA), Chapter 11, Rule 8009(d) Appellants’ and Appellees’ Joint Stipulated
Appellate Record.

Certificate of Service
I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 18th day of February 2025, I caused to be served a true and correct copy of the foregoing
COVER LETTER REGARDING FILING OF RULE 8009(d) JOINT STIPULATED
APPELLATE RECORD and attached JOINT STIPULATED APPELLATE RECORD (16-
1A) (Part 16-1A) 02.18.25 re: In re Group Management Corp., 03-93031 (BC NDGA), Chapter
11, Rule 8009(d) Appellants’ and Appellees’ Joint Stipulated Appellate Record via electronic
filing with the Bankruptcy Court and by U.S. Mail to the Office of the Clerk, United States
Bankruptcy Court, Northern District of Georgia, Richard B. Russell Federal Building and United

States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.

Ulysses T. Ware
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U

lysses/T. Ware

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Tuesday, February 18, 2025

(16-0) (Part 16-0) re Feb. 18, 2025, Cover letter to the Bankruptcy Clerk (NDGA) regarding Rule 8009(d)
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(16-1A) (Part 16-1A) 02.18.25 re: In re Group Management Corp., 03-93031
(BC NDGA), Chapter 11, Rule 8009(d) Appellants’ and Appellees’ Joint
_ Stipulated Appellate Record.

Case No. 03-93031(16-1A) (Part 16-1A)!

United States Bankruptcy Court
For the Northern District of Georgia - 1
(Atlanta Division) ™

In re Group Management Corp., Chapter 11
On Appeal in In re Group Management Corp.,
25cv00613 (NDGA) (MLB)

Submitted on Tuesday, February 18, 2025, 11:16:16 AM

APPELLANTS’ AND APPELLEES’ JOINT STIPULATED STATEMENT OF THE
ISSUES PRESENTED ON APPEAL IN JN RE GROUP MANAGEMENT CORP., CASE NO.
25CV00613 (NDGA) (MLB).

RESPECTFULLY SUBMITTED,

For Appellants: GROUP MANAGEMENT and Ulysses T. Ware

Ulysses T. Ware
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ubmifted by:

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February 18, 2025

' District Court (NDGA) Docket No. 25cv00613 (MLB).

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(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
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(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
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APPELLANTS’ AND APPELLEES’ JOINT STIPULATED STATEMENT OF THE
ISSUES PRESENTED ON APPEAL IN IN RE GROUP MANAGEMENT CORP., CASE
NO. 25CV00613 (NDGA) (MLB)

A. APPELLANTS’ AND APPELLEES’ JOINT STIPULATED
STATEMENT OF THE ISSUES PRESENTED ON APPEAL:

Pursuant to Bankruptcy Rule 8009(d), Appellants and Appellees jointly stipulate and agree
that the issues presented for review on appeal to the United States District Court for the Northern
District of Georgia (Case No. 25cv00613 (MLB)), from the Bankruptcy Court’s proceedings in Zn
re Group Management Corp., Case No. 03-93031 (WLH) (Bankr. N.D. Ga.), include to the
following dispositive questions of law and fact, Appellant reserves the right to amend this list to

include additional issues if warranted by the facts or on the Court’s direction:

1, Subject Matter Jurisdiction over Criminal Usury: Did the Bankruptcy Court in Case
No. 03-93031 (WLH) possess Article III subject matter jurisdiction over the following
“Predatory Criminal Usury Subject Matter” (collectively, “Criminal Usury Subject
Matter”):
a. Predatory convertible promissory notes (“CPNs”) bearing actual stated or implied
interest rates exceeding 2000%, which violated New York State Penal Law § 190.40, the
criminal usury law, a Class E felony? No. ( See Dkts. 6, 11, 13, 14, 15, 16, 28, 256, and
258).
b. The predatory criminal usury contract, the so-called subscription agreement, GX 5? No.
(See Dkts. 6, 11, 13, 14, 15, 16, 28, 256, and 258).

2. Violation of New York Criminal Usury Law: Did the Predatory Criminal Usury Subject

Matter, specifically GX 1, GX 2, GX 3, GX 4, and GX 5 (See Dkt. 15 and Dkt. 16), violate

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New York State Penal Law § 190.40, the criminal usury law, a Class E felony? Yes. (See
Adar Bays, LLC v. GeneSYS ID, Inc., 28 F 4th 379 (2d Cir. 2022)).

3. Void Ab Initio Status and Violation of Public Policy and Federal Securities Laws: Is
the Predatory Criminal Usury Subject Matter (GX 1-4, and GX 5) null and void ab initio,
unenforceable, uncollectible, and violative of public policy and the federal securities laws,
15 U.S.C. §§ 77d, 77e, 77x, 780(a)(1), 78p(b), 78cc(b), 78ff, and SEC Release 33-7190 n.
17 (1995)? Yes. (See Adar Bays, LLC v. GeneSYS ID, Inc., 28 F 4th 379 (2d Cir. 2022);
U.S. v. Grote, 961 F.3d 105, 109 (2d Cir. 2020)).

4. Article III Standing of Unregistered Broker-Dealer Appellees: Did the Appellees
(identified in Dkt. 11 as clients of Atlanta, GA law firm Kilpatrick Townsend &
Stockton, LLP (“KTS Clients”) — the plaintiffs in the 02cv2219 (SDNY) litigation), as
unregistered broker-dealers, possess Article III standing to appear in Case No. 03-93031
(Dkt. 11) and request redressable judicial relief (Dkts. 15 and 16) to collect or enforce the
Predatory Criminal Usury Subject Matter in violation of the Hobbs Act, 18 U.S.C. §§
1951(a) and 1961(6)(B)? No. (See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61
(1992)). No. See Lujan, 504 U.S. at 560-61 (KTS’ clients as unregistered broker-dealers
as a matter of law and fact lacked the required “legally protected interest” in the null and
void ab initio Predatory Criminal Usury Subject Matter, and accordingly, ipso facto, as a
matter of law lacked, could not and did not suffer, ipso facto, “a concrete injury in fact”
caused by the lawful conduct of the Appellants in refusing to violate the federal securities

and racketeering laws criminally).

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{Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009{d) Issues on Appeal in
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5. FINRA Certification of Unregistered Broker-Dealer Status: Were KTS Clients
certified by FINRA’s senior executive Marcia E. Asquith, Esq., on May 17, 2021, as
unregistered broker-dealers operating in the United States in civil and criminal violation of
the federal securities laws, 15 U.S.C. §§ 77d, 77x, 780(a)(1), and 78ff? Yes. (See Exhibit
3 in the Joint Factual Record).

6. Operation as Illegal Association in Fact and Continuing Criminal Enterprise: Did
Appellee KTS, its unregistered broker-dealer clients (Dkt. 11), and the Appellees, jointly
and severally, in their individual or personal capacity, knowingly and willfully, directly
and/or indirectly, act and function as an illegal association in fact, a continuing criminal
enterprise organized to underwrite, issue, buy, sell, fund, administrate, and collect
Predatory Criminal Usury Subject Matter in violation of 18 U.S.C. §§ 2, 152, 157, 371,
401(2), 401(3), 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1512, 1519, 1951(a),
1961(6)(B), 1962(a-d), and 2071 (a), (b); and 15 U.S.C. 77d, 77x, 78(a)(1), 78p(b), 78cc(b),
and 78ff, constituting a pattern of racketeering activities? Yes. (See Nov. 2007 testimony
and confessions of Appellee unregistered broker-dealer Arie Rabinowitz, Tr. 180-250, in
U.S. v. Ware, 04cr1224 (SDNY)).

7. Moot Filings as Aiding and Abetting Unlawful Debt Collection: Did Docket Entries 6,
11, 13, 14, 15, 16, 28, 256, 258, 263, 274, 275, and 278 in Case No. 03-9303 1 (WLH) (the
“Moot Filings”), constitute aiding, abetting, enabling, assisting, or facilitating predatory
criminal usury unlawful debt collection activities with respect to the Predatory Criminal
Usury Subject Matter, GX 1-4? Yes. (See Adar Bays, LLC v. GeneSYS ID, Inc., 28 F 4th

379 (2d Cir. 2022); U.S. v. Grote, 961 F.3d 105, 109 (2d Cir. 2020)).

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(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
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8. Aiding and Abetting Unlawful Debt Collection in Violation of Hobbs Act and RICO:
Did the Appellees, their privies, proxies, surrogates, alter-egos, and all those in active
concert therewith knowingly, willfully, intentionally, deliberately, and in bad faith, by and
through the Moot Filings (Dkt. 6, 11, 13, 14, 15, 16, 28, 256, 258, 263, 274, 275, and 278),
aid, abet, assist, enable, facilitate, and further, directly and/or indirectly, in regard to the
02cv2219 (SDNY), 03-93031 (BC NDGA), or 04cr1224 (SDNY) proceedings’ predatory
unlawful debt collection activities with respect to GX 1, GX 2, GX 3, and GX 4, in violation
of 18 U.S.C. §§ 1951(a) and 1961(6)(B)? Yes. (See U.S. v. Grote, 961 F.3d 105, 109 (2d
Cir. 2020)).

9. Preclusive Effect of SDNY Final Judgment and Orders: Are the Courts, the Appellees,
agents, proxies, surrogates, alter-egos, and all those in active concert therewith, bound in
Case Nos. 03-93031 and 25cv00613 absolutely by the preclusive effects of res judicata,
collateral estoppel, judicial estoppel, and equitable estoppel in regard to former District
Judge Leonard B. Sand’s (SDNY) (deceased) 02cv2219 (i) voluntary December 20, 2007,
Dkt. 90, Fed. R. Civ. P. 41(a}(2) final judgment, and (ii) Judge Sand’s August 13, 2003,
Dkt. 65 court order ruling that each of KTS’ unregistered broker-dealer clients had
previously lied and committed a fraud on the 02cv2219 (SDNY) and 03-93031 (BC
NDGA) Chapter 11 federal courts, and were in fact 15 U.S.C. § 78p(b) statutory insiders
of the Chapter 11 Debtor, Appellant Group Management, legally required to disgorge
+$522 million disgorgement back to the 03-9303] Chapter 11 estate pursuant to 11 U.S.C.
§§ 541(a)(1) and 542(a)? Yes. (See Federated Dept. Stores, Inc. v. Moitie, 452 U.S. 394,

398, 401-02 (1981); Roth v. Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007) (Kearse, J.)

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Tuesday, February 18, 2025

(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
25cv00613(NDGA) (MLB).
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(statutory insiders required to disgorge all short-swing insider-trading profits back to the
issuer (the Chapter 11 Debtor, Appellant Group Management).

10. Appellants as Final Judgment Prevailing Parties: Are Appellants Ulysses T. Ware and
Group Management the legal Fed. R. Civ. P. 41(a)(2) final judgment prevailing parties in
02cv2219 (SDNY), and by extension and necessary implication in 03-93031 and
25cv00613 (NDGA) by res judicata? Yes. (See Federated Dept. Stores, Inc. v. Moitie,
452 U.S. 394, 398, 401-02 (1981); U.S. v. L-3 Comm’cs EOTech, Inc., 921 F.3d 11, 18-
19 (2d Cir. 2019) (Kearse, J.) )(collecting cases) (plaintiff's voluntary dismissal of their
law annulled, vitiated, set aside, and vacated ail prior orders, judgments, and proceedings
in [02cv2219, 03-93031, 04cr1224], and “wiped the slate clean” and rendered the
proceedings “moot”).

11. Mandatory Turnover of Insider-Trading Profits to Chapter 11 Estate: Are the
Appellees, jointly or severally, required pursuant to 11 U.S.C. §§ 541(a)(1), 542(a), and
$42(g), and 15 U.S.C. §§ 780(a)(1), 78p(b), and 78cc(b) to turnover +$522 million in strict-
liability short-swing insider-trading profits to the 03-93031 Chapter 11 estate for
administration? Yes. (See Federated Dept. Stores, Inc. v. Moitie, 452 U.S. 394, 398, 401-
02 (1981); Roth v. Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007) (Kearse, J.); Judge
Sand’s August 13, 2003, Dkt. 65, 02cv2219 (SDNY) court order, Exhibit 1 in Joint
Stipulated Facts).

12. Appellees as Fiduciaries, Subject to Equitable Lien and Constructive Trust: Are the
Appellees (i) 15 U.S.C. § 78p(b) fiduciaries of the Chapter 11 Debtor, Group Management

(Yes), (ii) subject to an equitable lien (Yes), and (iii) subject to a constructive trust on their

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Tuesday, February 18, 2025

(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
25cv00613(NDGA) (MLB).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 13 of 270

assets up to +$5.222 billion (yes), as the legal and factually admitted result, judicial and
equitable estoppel, of Judge Sand’s August 13, 2003, Dkt. 65, 02cv2219 (SDNY) lawful
and binding court order? Yes. (See Roth v. Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007);
Judge Sand’s August 13, 2003, Dkt. 65, 02cv2219 (SDNY) court order, Exhibit 1 in Joint
Stipulated Facts); also see Federated Department Stores, 452 U.S. at 398, 401-02.

13. Ethical Violations by Appellee Attorneys: Have the Appellees that are lawyers named in
this 25cv00613 (NDGA) appeal violated Georgia Bar, the ABA, and the District Court
(NDGA) Rules of Professional Conduct Rule 3.3 (duty of complete candor to the tribunal),
and Rule 8.4 (involving deceit, fraud, deception, and misrepresentation) regarding
disclosure to the Courts concerning the unregistered broker-dealer status of KTS’ clients,
disclosing the predatory criminal usury nature of GX 1-4, and GX 5, and disclosing the
preclusive effects of Judge Sand’s 02cv2219 (SDNY) Rule 41(a)(2) final judgment, Dkt.
90, and the August 13, 2003, Dkt. 65, 15 U.S.C. § 78p(b) court order? Yes. See Joint
Stipulated Appellate Factual Record.

14. Aiding and Abetting Civil and Criminal Contempt of Court Orders and Final
Judgment: Did each Appellee knowingly, willfully, negligently, or with reckless disregard
for the law aid, abet, assist, enable, or facilitate the civil and/or criminal contempt, 18
U.S.C. § 401(3), of lawful court orders (Dkt. 65, 02cv2219 (SDNY); Dkt. 32, 04cr1224
(SDNY)) and final judgment (Dkt, 90, 02cv2219 (SDNY)) in regard to the 03-93031
proceedings? Yes. (See Dkts. 256, 258, 263, 274, 275, and 278, all entered after the

effective dates of the final judgment and court orders).

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Tuesday, February 18, 2025

(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
25cv00613(NDGA) (MLB).
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15. Participation in Racketeering Activities: Did each Appellee knowingly, willfully,
actually, or constructively, directly and/or indirectly, enable, assist, aid, abet, facilitate,
participate in, or further the commission of two or more acts of racketeering activities as
defined in 18 USC. § 1961 et seg. in regard to the 02cv2219 (SDNY), 03-93031, or
04cr1224 (SDNY) proceedings? Yes. (See Dkt. /d. and the Joint Stipulated Appellate
Facts).

16. Operation as Illegal Association in Fact and Continuing Criminal Enterprise: Did the
Appellees, individually or personally, knowingly, willfully, or in reckless disregard for the
truth and the law, organize, agree, operate, perform, and function as, or conspire, collude,
or in active concert with each other and others known and unknown function as:
a. An illegal association in fact as defined in 18 U.S.C. § 1961(4)? Yes.
b. Beginning in or about 2001, and continuing without interruption to the present, in the
Northern District of Georgia, the Southern and Eastern Districts of New York, and
elsewhere, act and function by and through the means, methods and use of interstate

commerce? Yes.

c. Act and function directly or indirectly knowingly and willfully, and personally direct
or actually or constructively participate in, or enable the commission of two or more acts
of racketeering activities as defined in 18 U.S.C. § 1961 e¢ seq., including but not limited
to the willful violation of Georgia statutory insurance law, OCGA §§ 33-3-28(a)(1), (2),
33-1-9, and 16-14-5(A)(xxxvili)? Yes.

d. Which has caused or are the proximate causes of irreparable harms, injuries, and

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(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) issues on Appeal in
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damages to the personal and business property of the Appellants in the sum certain

amount of $5.222 billion? Yes. See Joint Stipulated Appellate Record.

17. Whether the Appellees are subject to Rule 9011(c), inherent power, and 28 USC §1927

B.

sanctions for bad faith, vexatious, baseless, fraudulent, manifestly frivolous, unnecessary,
unreasonable, and excessive litigation which required the Appellants to expend litigation

resources in excess in +$1.0 million dollars? Yes, See Joint Stipulated Appellate Record.

UNIFIED LIST OF AUTHORITIES

I. ALPHABETICAL LIST OF AUTHORITIES (CASE LAW)
A. United States Supreme Court Authorities (Alphabetical Order):

AYP wWn >

Allen v. McCurry, 449 U.S. 90 (1980)

Federated Dept. Stores, Inc. v. Moitie, 452 U.S. 394 (1981)

Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)

Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950)
Steel Co. v. Citizens for a Better Env't., 523 U.S. 83 (1998)

United Student Aid Funds, Inc. v, Espinosa, 559 U.S. 260 (2010)

B. Federal Court of Appeals and District Court Authorities (Alphabetical Order):

wWPwWN >

Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.4th 379 (2d Cir. 2022)

Roth v. Jennings, 489 F.3d 499 (2d Cir. 2007)

Siegel v. Federal Home Loan Mortg. Corp., 143 F.3d 525 (9th Cir. 1998)
U.S. v. Grote, 961 F.3d 105 (2d Cir. 2020)

U.S. v. L-3 Comm’cs EOTech, Inc., 921 F.3d 11 (2d Cir. 2019)

II. NUMERICAL LIST OF STATUTES

NAW WN

11 U.S.C. §§ 152
11 U.S.C. §§ 157

11 U.S.C. § 541(a)(1)
11 U.S.C. § 542(a)

11 U.S.C. § 542(g)

11 U.S.C. § 1109(b)
15 U.S.C. § 77d

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8. 15U.S.C.§ 77e
9. 15U.S.C. § 77x

10. 15 U.S.C. § 780(a)(1)
11. 15 U.S.C. § 78p(b)
12. 15 U.S.C. § 78cc(b)
13. 15 U.S.C. § 78ff

14. 18 U.S.C. § 2

15. 18 U.S.C. § 152

16. 18 U.S.C. § 157

17. 18 U.S.C. § 371

18. 18 U.S.C. § 401(2)
19. 18 U.S.C. § 401(3)
20. 18 U.S.C. § 924(c)
21. 18 U.S.C. § 1201-02
22. 18 U.S.C. § 1341

23. 18 U.S.C. § 1343

24. 18 U.S.C. § 1344

25. 18 U.S.C. § 1346

26. 18 U.S.C. § 1503

27. 18 U.S.C. § 1512

28. 18 U.S.C. § 1519

29. 18 U.S.C. § 1951(a)
30. 18 U.S.C. § 1956-57
31. 18 U.S.C. § 1958-59
32. 18 U.S.C. § 1961(4)
33. 18 U.S.C. § 1961(6)(B)
34. 18 U.S.C. § 1962(a-d)
35. 18 U.S.C. § 2071(a)
36. 18 U.S.C. § 2071(b)
37. 28 U.S.C. § 455(a)
38. 28 U.S.C. § 455(b)(1-5)
39. 28 U.S.C. § 1927

Ill. NUMERICAL LIST OF RULES OF PROCEDURE
A. Federal Rules of Bankruptcy Procedure:

Bankr. Rule 5003
Bankr. Rule 7000
Bankr. Rule 7001(6)
Bankr. Rule 7004(b)(3)
Bankr. Rule 7021
Bankr. Rule 7026
Bankr. Rule 7041
Bankr. Rule 7052

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{Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009({d) Issues on Appeal in
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9. Bankr. Rule 7058

10. Bankr. Rule 8000 series
11. Bankr. Rule 8009

12. Bankr. Rule 8009(a) .

13. Bankr. Rule 8009(a)(1)
14, Bankr. Rule 8009(a)(1)(A)
15. Bankr. Rule 8009(a)(1)(A){iv)
16. Bankr. Rule 8009(a)(1)(B)
17. Bankr. Rule 8009(a)(1)(B)(i)
18. Bankr. Rule 8009(a)(c)

19. Bankr. Rule 8009(d)

20. Bankr. Rule 8009(d)(1)
21. Bankr. Rule 8009(d)(2)
22. Bankr. Rule 8009(d)(3)
23. Bankr. Rule 8009(g)

24, Bankr. Rule 9011

25. Bankr. Rule 9011(b)(1)
26. Bankr. Rule 9011(b)(1-4)
27. Bankr. Rule 9011(b)(2)
28. Bankr. Rule 901 1(c)

29. Bankr. Rule 9014

30. Bankr. Rule 9024

B. Federal Rules of Civil Procedure:

1. Fed. R. Civ. P. 26(a)(1)(A)(iv)
2. Fed. R. Civ. P. 41(a)(2)

C. Federal Rules of Appellate Procedure:

1, F.R. App. P. 4(a)

2. F.R. App. P. 4(a)(4)
3. F.R. App. P. 4(c)(1)
4. F.R. App. P. 4(c)(2)
5. F.R. App. P. Rule 8
6. F. R. App. P. Rule 30

IV. OTHER SOURCES OF AUTHORITY

ABA Model Rule 8.4

Code of Conduct for Federal Judges

District Court (NDGA) Local Rules

Federal Rules of Evidence

FINRA Certification (Exhibit 3 to Joint Stipulated Record)

Wswhm

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Georgia Rules of Professional Conduct Rule 3.3

Georgia Rules of Professional Conduct Rule 8.4

Joint Stipulated Appellate Record (A-4-D-1)

. NYS Penal Law, section 190.40

10. SEC Release 33-7190 n. 17 (1995)

11. SDNY Judgment (02cv2219) (Exhibits 1 and 2 in Joint Stipulated Record)

10 90 ND

C. Designation of 03-93031 (BC NDGA) proceedings dockets to be
included in the appellate record.

Dkt. 6
Dkt. 11
Dkt. 13
Dkt. 14
Dkt. 15
Dkt. 16
Dkt. 28
Dkt. 256
Dkt. 258
10. Dkt. 263
11. Dkt. 274
12. Dkt. 275
13. Dkt. 278

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D. The Appellants’ and Appellees’ Rule 8009(d) Joint Stipulated
Appellate Factual Record on appeal in In re Group Management
Corp., 25cv00613 (NDGA) (MLB).

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(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
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ls F-1 re: Joint Statement of Issues Presented on Appeal.
Des F-2 re: (13-6a) (Part 15-6) Final Rule 8009(d) Factual Record.

Be F-3 re: (Part 14-0) Cover letter to Chief Judge Ellis-Monro regarding Rule

9014/12(h)(3) motion.

4, F-4 re: (Part 13-10) Memorandum of law Article III “concrete injury in fact”
requirement.

5s F-5 re: (Part 14-12) KTS’ clients’ Hobbs Act conspiracy and bankruptcy fraud
conspiracy.

6. F-6 re (Part A-4) KTS’ Article II jurisdictional and sanctioning facts

memorandum.

RESPECTFULLY SUBMITTED,

For Appellants: GROUP MANAGEMENT and Ulysses T. Ware

ysses T. Ware
2: Wore
Submifted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@e¢gmail.com
February 18, 2025

For Appellants-Movants Ulysses T. Ware and Group Management and Appellees:

cc:

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(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
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Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Mary Ida Townson, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

State Bar of Georgia, Office of the General Counsel (William D. NeSmith, ITI) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs, Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services
Corp., Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

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(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
25cv00613(NDGA) (MLB).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 21 of 270

Certificate of Service

I Ulysses T. Ware certify that I have this 18”" February 2025 served each of the below persons or
entities with a copy of this pleading via their public email accounts and submitted the same to the
U.S. Bankruptcy Court (NDGA), Office of the Bankruptcy Clerk (NDGA), and to the Chief
Bankruptcy Judge, Ellis-Monro via the Court’s electronic filing email account, and the U.S. mail
for immediate filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)?

and 5005(b)(1) with the U.S. Trustee.’

ce:
Office of the U.S. Trustee, Region 21 (Mary Ida Townson, Jeneane Treace,
and James H. Morawetz)

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, for Dennis S. Meir, and John W. Mills, IID

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via David J. Malliband, Lawrance B. Mandala, Esq.,
Robert Alberal, Esq., London Fisher, LLP, and Thomas A. Leghorn, Esq.)4

? With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

3 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronicafly. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

JLP has primary liability in the:sum certain amount of $2.225 billion.

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Tuesday, February 18, 2025

(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009({d) Issues on Appeal in
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William D. NeSmith, HI, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, Hl--statutory agents in fact); and

John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D. NeSmith, II],
Wab Kadaba, J. Henry Walker, II, Patrick N. Arndt, Michael D. Hostetter,
Edward T.M. Garland, the State Bar of Georgia, Office of the General Counsel,
David J. Malliband, Lawrence B. Mandala, and Robert H. Albaral, statutory
agents in fact for the John Doe Insurers);

Edward T.M. Garland (for Garland, Samuel, & Loeb, P.C., Donald F. Samuel,
Robin Loeb, Manibur S. Arora, Janice Singer, Michael F. Bachner, and David B.
Levitt)

Manibur S. Arora (individually and personally)

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson,
Esq., U.S. Trustee, Region 21)

/ sses T. Ware
2 Masa
ebruapy 18, 2025

End of document

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Tuesday, February 18, 2025

(Part 16-1A) (Part 16-1A) re Appellants’ and Appellees’ Joint Stipulated Rule 8009(d) Issues on Appeal in
25cv00613(NDGA) (MLB).
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Tuesday, February 18, 2025, 9:34:32 AM

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

In re:
GROUP MANAGEMENT CORP., F _— )
Chapter 11 Debtor.

Case No.: 03-93031 (WLH), Chapter 11,

on Appeal in In re Group Management Corp., 25cv00613 (NDGA) (MLB)

WITH RESPECT TO NOTICE OF APPEAL, DKT. 278.

THE PARTIES’ JOINT STIPULATED BANKR. RULE 8009(d) ARTICLE II
“THRESHOLD MATTER” JURISDICTIONAL APPELLATE RECORD FACTS.!

Appellants/Movants: Ulysses T. Ware and Group Management

Appellees/Respondents: Alpha Capital, AG, Stonestreet, L.P., Markham Holdings, L.P., Amro
International, S.A., Kilpatrick, Townsend, & Stockton, LLP, Dennis S. Meir, John W. Mills, III,
J. Henry Walker, IV, Wab Kadaba, Kenneth A. Zitter, Arie Rabinowitz, LH Financial Services
Corp., Konrad Ackermann, Joseph Hammer, Trailblazer Merger Corp., I, Wendy L. Hagenau,
James H. Morawetz, the Office of the U.S. Trustee, Region 21, Mary Ida Townson, M. Regina
Thomas, Patricia Sinback, Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins, Securities
and Exchange Commission, Financial Industry Regulatory Agency (FINRA), Barbara Ellis-
Monro, Marcia E. Asquith, Robert L.D., Colby, Robert W. Cook, Emma Jones, Sarah Jeffries, The
State Bar of Georgia, Office of the General Counsel, William D. NeSmith, III, Paula Frederick,
Leigh Burgess, William Alan Myers, Adrienne Nash, Jenny Mittlemen, Jonathan Hewett, Patrick
N. Arndt, Michael D. Hostetter, Nall & Miller, LLP, Manibur S. Arora, Edward T.M. Garland,
Michael F. Bachner, David B. Levitt, Donald F. Samuel, Janice Singer, Alexander H. Southwell,

! Article III jurisdictional and standing appeals pursuant to Fed. R. Civ. P. Rule 12(h)(3) and 9014 are only
permitted and authorized to be filed in the Bankruptcy Court (NDGA) in regard to In _re Group

Management Corp., 03-93031 Chapter 11: (Rule 12(h)(3): Lack of Subject-Matter Jurisdiction. If the
[bankruptcy] court determines at any time that it lacks subject-matter jurisdiction [over the Criminal Usury
Subject Matter, GX 1, GX 2, GX 3, GX 4, and GX 5, the [bankruptcy] court must dismiss the action.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 25 of 270

Thomas W. Thrash, Jr., Michael P. Boggs, Thomas A. Leghorn, Lawrence B. Mandala, Baker &
McKenzie, LLP, Robert H. Albaral, John F, King, and Office of the Georgia Insurance
Commissioner., and John Does Insurance Companies, ##1-5.

A. Introduction.
PLEASE BE ADVISED, TAKE NOTICE, AND BE AWARE OF THE FOLLOWING.

NOTICE TO ALL APPELLEES-UNINDICTED COCONSPIRATORS REGARDING
BANKR. RULE 8009(g) DUTY AND RESPONSIBILITY TO RESPOND TO THIS JOINT
STIPULATED APPELLATE RECORD:

1. Each Appellee-Unindicted Coconspirator is hereby formally notified of their mandatory
duty and responsibility under Bankruptcy Rule 8009(g) to take all actions necessary to enable the
bankruptcy clerk to assemble and transmit a complete and accurate record on appeal to the
United States District Court. To facilitate this process and to ensure the accuracy and
completeness of the Parties’ Joint Stipulated Bankr. Rule 8009(d) Appellate Record Jurisdictional
and Sanctioning Facts (the “Joint Stipulated Appellate Record Facts”) presented herein, each
Appellee-Unindicted Coconspirator is hereby afforded a final opportunity to provide a good faith,
nonfrivolous, and legally sound response to the Appellants regarding the contents of this Joint
Stipulated Appellate Record Facts. All Facts contained herein have been obtained from (i)
undocketed Rule 5003 “activity” and the (i1) alleged uncertified official records of the 03-9303 1
proceedings.

2. ‘Therefore, each Appellee-Unindicted Coconspirator is granted until 1:00 PM Eastern
Standard Time, Friday, February 14, 2025, time being of the essence, to present to Appellants,
in writing, under oath, subject to the penalty of perjury, based on personal knowledge, and
supported by credible evidence and record facts pursuant to Bankruptcy Rule 9011(b)(1)-
(4) and 28 U.S.C. § 1927, a certified response, bearing counsel’s signature and compliant with
Rule 9011(b)(1)-(4), and 28 U.S.C. § 1927, that sets forth any good faith and nonfrivolous
denials, oppositions, or challenges to any specific Factual Record point presented within this
Joint Stipulated Appellate Record Facts.

3. PLEASE TAKE FURTHER NOTICE THAT THE REFUSAL OR FAILURE OF
ANY APPELLEE-UNINDICTED COCONSPIRATOR TO TIMELY PROVIDE
APPELLANTS WITH A CERTIFIED RULE 9011(b)(1)-(4), 28 U.S.C. § 1927 COMPLIANT
WRITTEN RESPONSE, NO LATER THAN 1:00 PM EST, ON FEBRUARY 14, 2025,
EACH FACT HEREIN SHALL BE DEEMED, AND CONSIDERED A BINDING
JUDICIAL ADMISSION against the legal and/or equitable interest of each such Appellee-
Unindicted Coconspirator, and Appellants shall submit this Joint Stipulated Rule 8009(d)
Appellate Record Facts to the 03-93031 Bankruptcy Court as the Parties’ Joint Stipulated Rule
8009(d) Appellate Record Facts, which shall be deemed binding and conclusive in 02cv2219
(SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), O5cr1115 (SDNY), 25cv00613(NDGA), In
re Ware, (2008) State Bar of Georgia (disbarment proceedings) in all other related or derivative

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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proceedings, and in all subsequent judicial or administrative proceedings between the parties, their
privies, agents, proxies, surrogates, alter-egos, and all those in active concert therewith.

RESPECTFULLY SUBMITTED,
For Appellants-Movants; GROUP MANAGEMENT and Ulysses T. Ware

/s/ Ulysses T. Ware

Subnyitted by:
Ly Q: Ware
/s/ Ulygses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com

February 18, 2025, 9:34:32 AM

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 27 of 270

Table of Contents

A. Introduction................. beeeseeseueaeeaneeneteneasseseeseseesnesaseseaeeseesaessesaeseessesseeseeesdvesaessusesesasesiastaeseusensiagete 2

B. APPELLANTS’ AND APPELLEES’ BANKR. RULE 8009(d) JOINT STIPULATED,
CONSENTED AND AGREED DISPOSITIVE JUDICIAL ADMISSIONS JURISDICTIONAL
AND INHERENT POWER SANCTIONING APPELLATE RECORD FACTS... cece 11

Exhibit A—SBGA’s known false, fraudulent, counterfeit, and fabricated alleged January 15,

2007, Affidavit of Personal Service (perjury) on Ulysses T. Ware, Esq. at the Bureau of Prison’s
Brooklyn, NY MDC federal prison—the BOP has confirmed that Mr. Ware was not personally

served on January 15, 2007, at the MDC Brooklyn, NY prison because according to the BOP“... Mr.
Ware was not incarcerated and was not in the custody of the Bureau of Prison on January 15,

2007, anywhere in the United States ... and certainly not in Brooklyn, NY ... that ts a fact ....”
(emphasisin Original) cciivcsssivesssserevsnsisasscanaressesvsansoansvaoneetcescea conn renenen cersecdrasssedsareceessenesaneonaennes 17

F.  Exhibits—Supplemental Record ........cccccsesessesseseseceessserseersstscsssseesasessrsseseerenasssieeaseasessseeees 19

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02ev2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for each of KTS’ unregistered broker-dealer clients (see
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SOCUIILIES, sccisnasinanniiaai easel enn nTanmnia inert Taran ET ENTRANT 20

Ex. 1I—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipse
facto, as a matter of law and fact res judicata and collateral estoppel against KTS, Kadaba, the —
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to
Re RE ee RUE A TREEPEEOOED sv veo xex cov vansoosnvienuaionecunvaseventuenesvesieuveunvensiiabevausensennsonteaten savanna deitaectvates 21

Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY) Prevailing Parties Chapter 11 Debtor
Group Management and 11 USC §1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ.
P. Rule 41(a)(2) voluntary, ex parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred final judgment prevailing
party status on Group Management and Ulysses T, Wa8e. ..........cccccccccrsseresecseeteteeeeeseteeneneneaenennenees 23

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for KTS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11,
15, and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers of the court, pursuant to
and in violation of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
pattern of racketeering activities. 0... ssssesssesseseesessessssessssssssssssssssesassssesssasssssusssassssseneessesesavanss 25

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Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’
official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
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Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s judicial admissions and confessions
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Management’s securities. Para. 12-13 pleaded KTS’ clients out of the federal courts... cc sseeeeeeeeee 30

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fact Ulysses T. Ware in furtherance to their conspiracy to collect criminal usury debts (GX 1-4) in
violation of NYS Penal Law, section 190.40 and federal RICO law 18 USC §§ 1951(a), 1961(6)(B), and
1962(a-d)—a pattern of racketeering activities... cscs eteeseseceescssessenessecsesessecessnerseseseveetsnsssenetenees 31

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Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn, NY at 10:17
AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while the Marshals lacked a
lawful search warrant, arrest warrant, or lawful legal process; aided, abetted, assisted, enabled, and
facilitated by the property ManaPel sicsnsmcicnmnnvarmnemnnnmnim mamma MNES 32

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer, Morton,
and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former (SDNY)
magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R. Civ. P. Rule
11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC 1961(6)(B) unlawful,
armed debt collection activities, related to U.S. v. Ware, 05cr1115 (SDNY),04cr1224, and 02cv2219
(SDNY); and In re Group Management Corp.., 03-93031 (BC NDGA), to wit: GX 1, GX 2, GX, 3,
and GX 4— the NYS Penal Law, section 190.40, null and void ab initio criminal usury unlawful
debts—the Marshals with the assistance of the property manager broke into Mr. Ware’s residence
while armed and without any warrant, or lawful process—a potentially deadly encounter, to
intimidate, bully, threaten, and force Mr. Ware into giving up and abandoning his and Group
Management’s legal rights as 11 USC § 1109(b) statutory parties in interest. ....... cesses 33

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr. Ware’s
law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs Act
conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—government
trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219 (SDNY), and
in In re Group Management Corp., 03-93031 (BC NDGA) Chapter 11. voc. ccc eeceeeseernsnseereees 34

C. Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas §. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, III (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators......csscssssscseesersrserssssnerersssesesesnsenseeseesatsenssesatertensenes 35

Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall, Livingston,
Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to commit bankruptcy fraud
and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
0Scr1115 (SDNY)—the Hobbs Act Unlawful Debt Collection Proceedings, to wit: 18 USC §§ 2, 156-
57, 371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-
d), and 2071 (a), (b), a pattern of racketeering activities. ...... cece seseneesseieeseseesnesssecsecsessseensanseesnseens 36

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Appendix 2-1 (con’t)}—Money laundering vehicle formed from the Hobbs Act money laundering and
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Undisputed Material Facts and Stipulated Admissions pursuant to Bankruptcy Rule 9011(b)(1-4)
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(c), 1201-02, 1341, 1343, 1344, 1346, 1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a),
(b) racketeering loan sharking conspiracy of Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins,
M. Regina Thomas, Patrick Sinback, Wendy L. Hagenau, Colleen McMahon, Frank V. Sica, Tailwind
Management L.P., FINRA, Michael H. Dolinger, JAMS, Alexander H. Southwell, Jeffrey B. Norris,
David N. Kelley, Arie Rabinowitz, Trailblazer Merger Corp., I, Joseph Hammer, Konrad Ackermann,
Baker & McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, Robert Alberal, London, Fisher,
LLP, Nall & Miller, LLP, John Doe Insurance Companies, ##1-5, John F. King, Kilpatrick, Townsend, &
Stockton, LLP, Wab Kadaba, J. Henry Walker, IV, Dennis S. Meir, John W. Mills, III, James H.
Morawetz, Kenneth A. Zitter, Esq., the State Bar of Georgia, Office of the General Counsel, the U.S.
Trustee, Region, 21, Michael S. Bertisch, et al.cccssciscccccssersesscssssersacseresesesetsessseecsestenetentsnstesisasaesnssaieeanares 95

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AA. — Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA certification of unregistered broker-
dealer status for Tailwind Management L.P., Colleen McMahon, Frank V. Sica, Michael S.
Bertisch, and Arie Rabinowitz, an illegal association in fact, a continuing criminal enterprise. ....114

A. Ulysses T. Ware’s Oct. 29, 2024, FINRA request for certified Form BD (broker-dealer) public
records regarding Colleen McMahon, her alleged spouse Frank V. Sica, Michael Scott Bertisch, and Arie

Rabinowitz: Cl, Ex. (6.0 iia ssncmencnpannanncnnananm manne RATT 116
B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify broker-dealer public records.
117

GC, According to the SEC’s website Tailwind Capital (CRD# 156562) is registered only as an
“investment advisor” not a broker-dealer; and according to the SEC and confirmed by FINRA’s
BrokerCheck system Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never registered
as broker-dealers on Form BD according to all available public information. See Ex. 1-3, infra........... 118

D. Tailwind’s SEC certification and admission that its employees (Frank V. Sica, Colleen
MeMahon, Michael S, Bertisch, or Arie Rabinowitz) are not registered broker-dealers authorized to
engage in the business of underwriting and funding criminal usury convertible promissory notes, see Ex,
8 and GX 1, GX 2, GX 3, and GX 4 in U.S. v. Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, infra.....119

Exhibit 1--Frank V. Sica (CRD# 1481917)—employed by Tailwind Capital Management LP

(CR DHS 6562) scrcassnsnsninnecennisennvannensirvineis ress eresonveensssrmasvansssancoscrseeavancereautiaecesirsesencinaseemainnaseees 120
No public Form BD (broker-dealer) public records maintained by FINRA regarding Frank V. Sica
were Confirmed ON NOV. 6, 2024. .eccccseseesseerseteesseeseneseeesseeseeneseeeaienssseesesssesstsesessessecsenssnssssssssnneseenees 121
Exhibit 2--Michael Scott Bertisch (CRD# 5154572)—employed by Tailwind Capital Management LLP
(OR DF 156502) oe cucsesenccmasacenacnaccennanasvveniraias awn sscramenannnevsinceanactenmsvcancarmemennraerectivewueranarssttns 122
No public Form BD (broker-dealer) public records maintained by FINRA regarding Michael Scott
Bertisch. It was confirmed On NOV, 6, 2024.........::cc:ccstcesesesesessscssesssnessessreneessssssesseenassartannassaceaseaeses 123
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Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-dealer status for each 02cv2219
(SDNY) plaintiff, affiliates, and agents of Tailwind Capital, L.P., Frank V. Sica, and Colleen
McMahon certified by FINRA’s Marcia Asquith, Esq... ccccssscsecsseesssenserersseesrsssasserssesessenenes 130

Exhibit 6,0--Tailwind Capital L.P. Form ADV page 23 filed with the Securities and Exchange
Commission (SEC) on March 30, 2024, admitted under oath that Tailwind is not registered as a 15 USC
§780(a)(1) broker-dealer in the United States. Accordingly, Colleen McMahon and Frank V. Sica
personally violated (1) federal law, 15 USC §§ 77e, 77x, and 78ff, and (2) NYS Penal Law, section
190.40, the criminal usury law, a class E felony by underwriting more than $100 million in criminal
usury convertible promissory notes and other unregistered securities...............:.ccccseeeeeneees 131

Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024, Form ADV, see Ex. 7, attached
hereto, incorporated by reference herein, and made a part hereof: Tailwind admitted under oath that
Tailwina’s senior management approved ( “pre-clearance’ ’) Frank V. Sica’s and Colleen McMahon’s
(employees and/or agents of Tailwind) $100 million investments in criminal usury convertible
promissory notes, the same null and void ab initio, uncollectable, and unenforceable subject matter
involved in U.S. v. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v. Group Management Corp., et
al., 02cv2219 (SDNY) (McMahon, J.) and in In re Group Management Corp., 03-93031 (BC NDGA)
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Exhibit 6.2—(McMahon, Hagenau, and Gitner’s mafia RICO 18 USC 2, 157, 371, 1341, 1343, 1503,
1951(a), 1961(6)(B) and 1962(d) Overt and Predicate Acts). Collusion, conspiracy, and coordination of
Jim Crow racially-motivated retaliatory, vindictive, and punitive moot void ab initio leave to file
sanctions initiated in concert and by judicial collusion of Wendy L. Hagenau and Colleen McMahon—see
02cv2219 (SDNY), Dkt. 139, 139-1, and 139-2, McMahon and her husband, Frank V. Sica, are both
unregistered broker-dealers, personally owned more than $22 million in criminal usury convertible
promissory notes similar to GX 1, GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt acts in furtherance of the
conspiracy to commit bankruptcy fraud, Hobbs Act attempted armed robbery, armed aggravated assault
and battery, conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951, 1956-57, 1958-59,
1961(6)(B), and 1962(a-d). See In re Colleen McMahon, 02-24-90036jm (2d Cir.) re: Complaint of
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Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re Group Management Corp., 03-
93031 (BC NDGA) Chapter 11, Hagenau, C.J. re 18 USC §§ 157(2), (3) and 1961(6)(B) conspiracy to
commit bankruptcy fraud... cece cseceesseeseesssceasesesssseeeseesscsesseessesenessessrsntssersseessaseansensanseassaesnesaesansaesags 134

Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV, March 30, 2024— that is, actual
innocent Brady exculpatory evidence concealed and suppressed by Atlanta, GA law firm Kilpatrick,
Townsend, & Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, II, J. Henry Walker, IV,
Colleen McMahon, Daniel Gitnér, Edgardo Ramos, and Wendy L. Hagenau in violation of the Aug. 10,
2007, Dkt. 32, U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371, and
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Exhibit 8.0—Colleen McMahon, Frank V. Sica, Arie Rabinowitz, LH Financial Services, and Tailwind’s
illegal underwriting of criminal usury convertible promissory notes in violation of federal laws, 15 USC
§77e, T7X, ANG TBE. ..escessccessescscseessesscssersvssessssecsessesssecscssevscsseeassosesnevecssevansneeasesersseseresereveserssseeranensatisenens 136

Exhibit 8,1--Colleen McMahon and Frank y. Sica’s Massive +$22,000,000 Personal Ownership in
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§§ 77e, 77x, 780(a)(1), and 78ff; and NYS Penal Law, section 190.40, the criminal usury law, a class E
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Exhibit 8.2; Judge McMahon’s and convicted felon Edward M. Grushko’s money laundering that
involved unregistered broker-dealer and RICO unlawful debt creator and collector Alpha Capital, AG.
What are Judge McMahon and her spouse, Frank V. Sica’s relationship to Alpha Capital, AG, Kenneth A.
Zitter (Harvard Law), Dennis S. Meir (Harvard Law), Thomas W. Thrash, Jr. (Harvard Law}, LH Financial

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Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq., Alexandria Kane, Esq.,
Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D. Sack, Amalya L. Kearse, Damian
Williams, Frank V. Sica, Tailwind Capital Management LLP, and other unindicted coconspirators to
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(13-6) (Part 15-6)

UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
Atlanta Division

In re: GROUP MANAGEMENT CORP., Chapter 11, Debtor.
Case No.: 03-93031 (WLH),

On appeal in In re Group Management Corp., 25cv00613 (NDGA) (MLB).

B. APPELLANTS’ AND APPELLEES’ BANKR. RULE 8009(d)
JOINT STIPULATED, CONSENTED AND AGREED
DISPOSITIVE JUDICIAL ADMISSIONS JURISDICTIONAL AND
INHERENT POWER SANCTIONING APPELLATE RECORD
FACTS.

Group Management (a sole proprietorship managed by Appellant Ulysses T. Ware--the successor
in interest to Group Management Corp.), the Chapter 11 Debtor, and Ulysses T. Ware, an 11 USC
§ 1109(b) statutory party in interest, jointly, (the “Appellants”), and unindicted coconspirators
Alpha Capital, AG, Stonestreet, L.P., Markham Holdings, L.P., Amro International, S.A.,
Kilpatrick, Townsend, & Stockton, LLP, Dennis S. Meir, John W. Mills, IIL, J. Henry Walker, IV,
Wab Kadaba, Kenneth A. Zitter, Arie Rabinowitz, LH Financial Services Corp., Konrad
Ackermann, Joseph Hammer, Trailblazer Merger Corp., I, Wendy L. Hagenau, James H.
Morawetz, the Office of the U.S. Trustee, Region 21, Mary Ida Townson, , M. Regina Thomas,
Patricia Sinback, Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins, Securities and
Exchange Commission, Financial Industry Regulatory Agency (FINRA), Barbara Ellis-Monro,
Marcia E. Asquith, Robert L.D., Colby, Robert W. Cook, Emma Jones, Sarah Jeffries, The State
Bar of Georgia, Office of the General Counsel, William D, NeSmith, III, Paula Frederick, Leigh
Burgess, William Alan Myers, Adrienne Nash, Jenny Mittlemen, Jonathan Hewett, Patrick N.
Arndt, Michael D. Hostetter, Nall & Miller, LLP, Manibur S. Arora, Edward T.M. Garland,
Michael F. Bachner, David B. Levitt, Donald F. Samuel, Janice Singer, Alexander H. Southwell,
Thomas W. Thrash, Jr., Michael P. Boggs, Thomas A. Leghorn, Lawrence B. Mandala, Baker &
McKenzie, LLP, Robert H. Albaral, John F. King, and Office of the Georgia Insurance
Commissioner., and John Doe Insurance Companies, ##1-5, their privies, proxies, surrogates,
agents, alter-egos, and all those in active concert therewith, jointly (“the “Appellees” or
“Unindicted Coconspirators”), the Appellants and the Appellees, jointly, (the “Parties”), hereby

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this 13th day of February 2025, with the advice of counsel, or acting pro se, after a thorough review
and evaluation of all Bankr. Rule 5003 “activity” in In re Group Management Corp., 03-93031
(BC NDGA) Chapter 11, and thorough and comprehensive review and evaluation of the complete
record before the 03-93031 Bankruptcy Court, the Parties hereby pursuant to Bankr. Rule 8009(d)
have stipulated, agreed, consented, and conceded, and with respect to this and all related
proceedings (02cv2219 (SDNY), 03-93031 (BC NDGA), U.S. v. Ware, 04cr1224 (SDNY), and
U.S. v. Ware, 05cr1115 (SDNY)) have made the following binding factual judicial admissions and
stipulations dispositive actual innocent exculpatory and impeachment Article III jurisdictional and
standing indisputable material facts, (the “Factual Record”) to wit:

1. Based on the Parties’ review and evaluation of the Factual Record in 03-93031 the Parties
stipulate that the following judicial proceedings, to wit: 02cv2219 (SDNY), 03-93031 (BC
NDGA), 04cr1224 (SDNY), and O0Scr1115 (SDNY), (the “Moot Proceedings”), are null
and void ab initio, moot, a nullity, and have no binding preclusive effect on the Appellants
and/or the federal or state courts, or agencies.

2. The Parties stipulate that all orders, judgments, and proceedings therein the Moot
Proceedings are themselves null and void ab initio, moot, a nullity, and have lack binding
preclusive effect on the Appellants and/or the federal or state courts, or agencies.

i. The Parties stipulate that Atlanta, GA law firm Kilpatrick, Townsend, & Townsend, LLP,
its partners Dennis S. Meir, John W. Mills, III, Wab Kadaba, J. Henry Walker, IV, clients,
(the 02cv2219 (SDNY) plaintiffs), its agents, associates, proxies, surrogates, privies, alter-
egos, and all those in active concert therewith, and others known and unknown, jointly, has
been since March 18, 2003, continuing without interruption to the present, knowingly and
willfully operated in interstate commerce as an ongoing illegal association in fact as
defined in 18 USC § 1961(4), a continuing criminal enterprise, actively engaged in, and
have actively aided, abetted, assisted, enabled, and facilitated its clients, see Dkt. I1*, 1
and did:

ii. knowingly, willfully, and in bad faith commit 11 USC §§ 152 and 157 bankruptcy fraud
in 03-93031 by concealing and stealing +$522 million of assets of the Chapter 11 estate,

iii, knowingly and willfully commit perjury in the Moot Proceedings,”

2 Unregistered broker-dealers, and 15 USC § 78p(b) statutory insiders of the Chapter 11 Debtor Group
Management, Alpha Capital, AG, Stonestreet, L.P., Markham Holdings, Ltd., Amro International, S.A.,
Kenneth A. Zitter, Arie Rabinowitz, and LH Financial Services Corp.

3 See the Nov. 2007 known perjured and materially false testimony of KTS’ clients Kenneth A. Zitter, Esq.,
and Arie Rabinowitz, Tr. 180-250, in U.S. v. Ware, 04cr1224 (SDNY), where Rabinowitz aided, abetted,
and enabled by KTS’ crimes committed in 03-93031 knowingly and implicitly lied and committed perjury
and claimed that he (Rabinowitz), LH Financial Services, and Alpha Capital, AG (Anstalt) were registered
broker-dealers, when in fact on May 17, 2021, FINRA’s senior executive Maria E, Asquith, Esq. certified
that Rabinowitz and KTS’ clients, see Dkt. 11, were not registered broker-dealers, and had never lawfully

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iv. knowingly and willfully commit money laundering of +$522 million in strict-liability
15 USC § 78p(b) short-swing insider-trading profits that are the 11 USC § 541(a)(1)
property of the 03-93031 Chapter 11 estate, required by federal law, 11 USC § 542(a), to
be immediately turned over to Chapter 11 estate for administration,

v. aided, abetted, encouraged, and facilitated the theft, removal, suppression, and
concealment of Bankr. Rule 5003 “activity” in the 03-93031 proceedings,

vi. facilitated, aided, abetted, assisted, and encouraged the fabrication, theft, suppression,
concealment, and removal of public judicial court records in 03-93031 in violation of 18
USC §§ 2071(a), (b),*

vii. enabled, aided, abetted, assisted, and facilitated the collection of? predatory null and
void ab initio criminal usury convertible promissory notes, GX 1-4, issued and purchased
by KTS’ unregistered broker-dealer clients, the 02cv2219 (SDNY) plaintiffs, (the
“Unregistered Broker-Dealers”), via null and void ab initio, unenforceable, and
uncollectible predatory criminal usury contracts, GX 5, jointly, (the “Criminal Usury
Subject Matter”),

viii. engaged in the theft, concealment, and removal of liability insurance policies’
proceeds that are 11 USC 541(a)(1) property of the Chapter 11 estate,

registered pursuant to 15 USC § 780(a)(1) as brokers or dealers to lawfully engage in securities transactions
with respect to GX 1-4, and GX 5, in the United States in violation of 15 USC §§ 77d, 77e, 77x, 780(a)(1),
78p(b), 78ff, 78cc(b), and SEC Release 33-7190 n. 17 (1995) that is, actual innocent Brady exculpatory
and impeachment evidence required to have been produced and disclosed to Appellant Ware “before trial”
in US. y. Ware, 04cr1224 (SDNY), and U.S. v. Ware, 0S5cr1115 (SDNY), as ordered by the late Judge
Sweet (Dkt. 32) and Pauley (Dkt. 17), respectively: actual innocent Brady exculpatory and impeachment
evidence knowingly and deliberately concealed and suppressed by KTS and the Appellees to cause the
racially-motivated hate crime false imprisonment of Appellant Ulysses T. Ware, Esq. for his and the
Chapter 11 Debtor, Group Management Corp.’s, lawful refusal and resistance to joining the KTS and
Appellees’ Hobbs Act predatory loan sharking and money laundering criminal enterprise, and aid, abet, and
facilitate KTS’ unregistered _broker-dealer_clients’ and their agents’ unlawful collections and
enforcement of the predatory null and void ab initio criminal usury convertible promissory notes, GX 1-4,
in criminal violation of 15 USC §§ 77d, 77e, 77x, 780(a)(1), 78p(b), 78ff, and 18 USC §§ 2, 152, 157, 371,
924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d).

“ See 03-93031 (BC NDGA) Dkt. 278, Jan. 27, 2025, confession, judicial admissions, and_self-
incrimination by Barbara Ellis-Monro regarding Bankr. Rule 5003 fraud, and 18 USC §§2, 152, 157, 371,
401(2), 401(3), 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1512, 1519, 1951(a), 1956-57, 1958-59,
1961(6)(B), 1962(a-d), and 2071(a), (b)—a pattern of racketeering activities, with respect to the willful
criminal violations in regard to the 03-93031 judicial public record.

5 See Dkt. 11, 15, and 16 illegal collection activities in 03-93031 in violation of federal racketeering law,
18 USC §1961(6)(B) and NYS Penal Law, section 190.40, the criminal usury law, a class E felony.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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ix. engaged in an ongoing insurance fraud conspiracy with the Georgia Office of Insurance
Commissioner (“OIC”), and unindicted coconspirators John F. King, Patrick Nash Arndt,
Michael D. Hostetter, Nall & Miller, LLP, Garland, Samuel, & Loeb, P.C., Edward T.M.
Garland, Manibur S. Arora, Donald F. Samuel, Robin Loeb, Janice Singer, Michael F.
Bachner, David B. Levitt, FINRA, Robert W. Cook, Robert L.D. Colby, Baker &
McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, and Robert H. Albaral,
jointly, (the “Insurance Fraud Coconspirators”), in the concealment and suppression of
the identities of KTS’ and the Insurance Fraud Coconspirators’ liability insurance carriers,
John Doe Insurance Companies (##1-5),

x. directly and/or indirectly, aided and abetted by the Appellees and/or their privies and
agents, engaged in Hobbs Act threats of violence, used armed violence to break-in the
Atlanta, GA law office and the Brooklyn, NY personal residence (on Sept. 12, 2024) of
Appellant Ulysses T. Ware by persons heavily armed. On Sept. 1, 2004, in Atlanta, GA
and threatening to “murder” Appellant Ware unless Appellants Ware and Group
Management issued to KTS’ unregistered broker-dealer clients more than 50 million “free-
trading stocks” and “those legal opinions that judge Sand’s people [Arie Rabinowitz,
Kenneth A. Zitter, convicted felon Edward M. Grushko, Barbara R. Mittman, Esq., Konrad
Ackermann, LH Financial Services Corp., et al.] want in New York ...” (quoting four (4)
heavily armed, and dangerous white men), impersonating U.S. Marshals, who using armed
force broke into Appellant Ware’s Atlanta, GA law office (a commercial business entity)
on Sept. 1, 2004, using armed and potentially deadly force (i) to intimidate using potentially
deadly force Appellants Ware and Group Management, and (ii) to collect using potentially
deadly and threats of extreme violence and force the Hobbs Act predatory criminal usury
convertible promissory notes, GX 1-4, for Judge Sand, Zitter, KTS, KTS’ clients, and the
Appellees named herein,

xi. The Parties stipulate and agree that each Appellee, their privies, agents, and all those in
active concert therewith, the 03-93031 Bankruptcy Court, the Moot Proceedings’ courts,
and all federal and state agencies (the State Bar of Georgia and its employees) are bound,
absolutely, by the binding preclusive effects of the late Hon. District Judge Sand’s
(SDNY), final order, Aug. 13, 2003, Dkt. 65, 15 USC 78p(b) statutory insider ruling
regarding each of KTS’ clients; and (1i) Judge Sand’s final judgment, the Dec. 20, 2007,
Dkt. 90, Fed. R. Civ. P. 41 (a)(2) voluntary final judgment on the merits of the 02cv2219
(SDNY) and by extension the 03-93031 proceedings Dkt. 6, 11, 13, 14, 15, 16, 28, 256,
258, 263, 274, 275, and 278, (the “Moot Orders”).

xii. The Parties stipulate and agree that on Dec. 20, 2007, Dkt. 90, KTS’ clients, the
02cv2219 (SDNY) plaintiffs, thorough counsel, Unindicted Coconspirator Kenneth A.
Zitter, Esq., ex parte, after the statute of limitations had run on all claims in the 02cv2219
(SDNY) complaint, pursuant to Fed. R. Civ. P. 41(a)(2), voluntarily moved the 02cv2219
(SDNY) District Court (Sand, J.) and Judge Sand effectively and immediately dismissed
with prejudice the 02cv2219 (SDNY) proceedings, and reversed, vacated, set aside,
vitiated, and annulled all orders, judgments, and proceedings in 02cv2219 (SDNY), and

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by operation of law effectively enter final judgment on the merits of the 02cv2219 (SDNY),
and by extension the 03-93031 proceedings in_favor_of the Appellants Group
Management and Ulysses T. Ware.

xiii. The Parties stipulate and agree that Appellants Group Management and Ulysses T.
Ware pursuant to operation of law, and the legal preclusive effects of Judge Sand’s Dec.
20, 2007, Rule 41(a)(2) final judgment are the legal prevailing parties with respect to the
02cv2219 (SDNY), (the “Final Judgment Prevailing Parties”).

xiv. The Parties stipulate and agree that Appellants Group Management and Ulysses T.
Ware as a direct and proximate cause resulting from the Unindicted Coconspirators’, their
agents, privies, proxies, surrogates, or alter-egos’ extensive, pervasive, long-running,
criminal, and ongoing pattern_of racketeering activities and individual and personal
crimes committed in regard to the Moot Proceedings, the Appellants have, are currently,
and will continue to suffer extreme irreparable harm, injuries, and damages in the sum
certain amount of $5.2225 billion.

xv. Each Appellee, Unindicted Coconspirator, has agreed, stipulated, consented, and
approved of 18 USC §§ 2, 371, 1951(a), and 1962(d) joint and several racketeering civil
liability; and further has consented, agreed, stipulated, and approved of the immediate entry
of a money judgment in the sum certain amount of $5,.2225 billion, entered in favor of the
Appellants Group Management and Ulysses T. Ware, entered against the Appellees’
individual and personal capacity, and entered and secured by all personal and business
assets and properties of each Appellees or Unindicted Coconspirator, their privies, agents,
and all those in active concert therewith.

xvi. Each Appellee, Unindicted Coconspirator stipulates that the State Bar of Georgia,
(SBGA), and its agents and employees, acted knowing, willfully, maliciously, and in bad
faith, as deliberate Hobbs Act racketeering overt and predicate acts in furtherance of KTS
and its unregistered broker-dealer clients’ RICO conspiracy’s criminal objection—that is,
the Hobbs Act 18 USC § 1961(6)(B) collection and enforcement of the predatory
criminal usury convertible promissory notes, GX 1-4. The SBGA’s employees, Hewett,
Myers, Smith, NeSmith, Frederick, Mittlemen, Nash, Burgess, and outside legal counsel,
Nall & Miller, LLP, Patrick Nash Arndt, and Michael D. Hostetter, directly and/or
indirectly maliciously forged, fabricated, and manufactured the false, fraudulent, and
counterfeit alleged Affidavit of Personal Service that was used to initiate the fraudulent In
re Ware, 2008 disbarment proceedings based on the null and void ab initio, and moot,
04cr1224 (SDNY) and 05cr1115 (SDNY) proceedings. See Ex. A, infra.

Respectfully submitted,

Ulysses T. Ware
Moy ‘ Uf awe

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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/s/ Ulysses T. Ware

Attorney in fact for Appellants Ulysses T. Ware and Group Management

Dated: February 18, 2025

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Exhibit A—-SBGA’s known false, fraudulent, counterfeit, and fabricated
alleged January 15, 2007, Affidavit of Personal Service (perjury) on
Ulysses T. Ware, Esq. at the Bureau of Prison’s Brooklyn, NY MDC
federal prison—the BOP has confirmed that Mr. Ware was
not personally served on January 15, 2007, at the MDC Brooklyn, NY
prison because according to the BOP “ ... Mr. Ware was not incarcerated
and was notin the custody of the Bureau of Prison on January 15,
2007, anywhere in the United States ... and certainly not in Brooklyn,
NY ... that is a fact ....” (emphasis in original).

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‘SUPREME COURT, , STATE OF GEORGIA

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STATE OF GEORGIA
Plaintiff/Petitioner a suhag D ,
Vs Ole) Ma iestsreitatamelelet {aly

f Sheriffs Case # 08000890
Defendant/Respondent
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STATE OF NEW YORK y "SATE BAR OF GEORGIA
COUNTY OF KINGS } 8S:

t & Paislerl Deputy ene of the ns and State of New York, authorized pursuant to my special duties to serve.
flocs cer Lam nota par hls adtlan or proceeding and over 16 years of age. L hag Gerthy WIR OF:
ihe 15th da an D é e at 80 29" Street in the borough of Brooklyn, County of Kings, |
axed: summons, Gomplaint, * patition O subpoena 0 ordertemporary order of protection 0 order to show
cause © writ of habeas corpus Cl property ae C1 sheriff's sate notice 0 sheriff's levy notice Ci interrogatories G financial
disclosure affidavit X Attached Bocuments up :

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DELIVERY ae ee thereof, said person being known as the person mentioned and described
if
PERSONAL SERVICE CJ By delivering to and leaving with, ‘
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(RESIDENCE) @ person of suitable age and discretion, who is fo the
defondantrespondent. A true copy thereof, Sald address is the dwelling place/usual
‘place of abode of the party served.
PERSONAL SERVICE Ca By delivering to and leaving with, ;
ALTERNATE PERSON ue
(EMPLOYMENT) see , a person at the defendants/respondent's place
of employment:
(name of plane of amployment}
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envelope bearing the legend. “PERSONAL AND CONFIDENTIAL" and not indicating on
‘the outside thereof, by return address of otherwise, that the communication is from. an
attomey or concerns an action against the defendanvraspondent,

CORPORATION CJ By delivering to and leaving with, ;
a true copy thereof, Sald person stated he/she was ‘ ‘
agent aulhorized to accept service of fagal provess. twrork ttia}
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RAFABL J. LUCAS
NOTARY PUBLIC, State of New Vork OCd01”
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F. Exhibits—

Supplemental Record

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Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219
(SDNY): Unappealed Judicial ruling (collateral, equitable, and judicial
estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of all
profits requirement to the Chapter 11 estate) for each of KTS’
unregistered broker-dealer clients (see Ex. 3, infra) with respect to the
Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
securities.°

® Judge Sand’s Aug. 13, 2003, ruling, binding a lawful court order—(A) subject to enforcement against
Hagenau, KTS, its client, et al., via civil and criminal contempt (18 USC §§401(2), 401(3)) absolutely
binding on the 03-93031 Chapter 11 Bankruptcy Court (NDGA) (Hagenau, C.J.), which (B) conferred
fiduciary duty status on all 18 USC §1962(d) racketeering to commit bankruptcy fraud unindicted
coconspirators to wit, Hagenau, KTS, its partners, each of KTS’ unregistered broker-dealer clients, et al—
that is, Hagenau, KTS, its partners, and its clients are subject to (i) am_existing and extant and current
equitable lien on their personal and individual assets, (ii) current and extant constructive trust impressed
on their assets, (iii) and U.C.C. Article 1 encumbrance and lien on their assets in the amount of +$522M
plus interest running from the date of Judge Sand’s 15 USC §78p(b) court order, August 13, 2003, (i.c.,
stolen and concealed property and assets of the 03-93031 Chapter 11 estate).

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Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act)
Aug. 13, 2003, Dkt. 65 02¢v2219 (SDNY), Sand, J. (deceased) binding judicial ruling
and court order—Judge Sand in ex parte communications found each KTS client to be a
15 USC § 78p(b) statutory insider of Group Management Corp, and therefore triggered the
Section 16(b)/11 USC §542(a) disgorgement/turnover requirement, which was not
appealed by KTS’ clients, and is therefore, ipso facto, as a matter of law and fact res
judicata and collateral estoppel against KTS, Kadaba, the SBGA, NeSmith, Fredrick,
Hagenau, and the 03-9303] (BC_ NDGA) bankruptcy court pursuant to FRE 201(b)

Appx 34-2—GX 24 (Dkt. 65, 02cv2219)—found each O2cv2219 plaintiff to be a 15 USC 78p(b)
statutory insider of GPMT, and their and their agents required to disgorge back to GPMT +8500
million in trading profits.

ea. Seam

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALPHA CAPITAL AKTIENGESELLSCHAFT,
AMRO INTERNATIONAL, $.A,,
MARKHAM HOLDINGS, LTD., and
STONESTREBT LIMITED PARTNERSHID,

Plaintiffs, : 02 Civ. 2219 (LBS)
-ayainst- : ORDER
GROUP MANAGEMENT CORP,, |
formerly known as IVG CORP.,
formerly known as INTERNET :
VENTURE CORP,, t

Defendant.

SAND, District Judge.

In a lelephonic conference on July 2, 2003, this Court ordered that Defendant Group
Managenient comply with a conversion request by Plainuff Stonestreet LP. contingent on the
provision by Plaintiff ofan affidavit stating, infet.otia, that Stonestreet beneficially owned tess
me than 9.9% of Group Managemént's common stock, as well as un opinion letter stating that the
&) conversion would therefore be in compliance with Rule 144(k), See Tr, July 2, 2003. Plaintiff.
* subsequently provided an unsworn statement lo ihe effect that Stonestyeet's ownership was

below the appropriate level; when Defendant still failed to honor the conversion request, the
8 Court ordered on July 23 that i) Plaintiff provide a swom affidavit; as required by July 2 Order;

~~

‘e«-and ii) that Defendant honor the Stonestreet conversion request within two business lays
wo

@ thereafter, on pain of contempt.

MICROFILM

Oa August 1, 2003, the Court received from Plaintiff copies of an affidavit and opinion

COPIES MAILED TO ALL PARTIES, «(x

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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The conspiracy to commit securities and bankruptcy fraud by KTS during the In
re Group Mangement Corp, 03-93031 (BC NDGA) Chapter 11 proceedings. KTS'
“istiet 2 in ex parte communications with the 02cv2219 (SDNY)
district court T, J.) that KTS did in fact knowingly violated 18 USC 2, 157,
371, 924(c), 1201-02,1341, 1343, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B)
and 1962(d) by concealing and suppressing its clients’ ownership of GPMT's
stock. lelter relating wot to Plnintift Stonestret, but rather to Plaintiff Alpha Capital, Plaintt

explained, upon inquiry from Chambers, that Stonestrect in fact boneffelally owned more than,

9,9% of Group Management's stock.

Given the above facts, the Court observes that the conditions set in the July 2 Order
regarding the Stoviestreet conversion request have Hot been met, and that Defendant is therefore
not in contempt of that Order; or of the follow-up Order of July 23. Nonetlicless, pursuant to
other orders of this Court, including the Order and Judgment of November 25, 2002, Defendant
is still bound to honor appropriate conversion requests from Alpha Capital, and Plaintiff has
submitted bot an affidavit and opinion fetter regarding the logality of the current Alpha
conversion request. Accordingly, failure by Defendant to honor that request init ee A 7

days of this Ordet shall constitute contempt,

80 ORDERED.

Dated: New York, New York
August yh 2003
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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual

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Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY)
Prevailing Parties Chapter 11 Debtor Group Management and 11 USC
§1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge
Leonard B. Sand, Fed. R. Civ. P. Rule 41(a)(2) voluntary, ex parte
Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred
final judgment prevailing party status on Group Management and
Ulysses T. Ware.’

7 KTS’ unregistered broker-dealer clients’ Dec. 20, 2007, voluntary Rule 41(a)(2) dismissal with
prejudice of the 02cv2219 (SDNY) lawsuit—final judgment on the merits for the Chapter 11 debtor, Group
Management, and 11 USC §1109(b) statutory party in interest Ulysses T. Ware, is currently and will be
enforced against Hagenau, KTS, its clients, and each 18 USC §1962(d) unindicted coconspirator resisting
the legal and equitable preclusive effects—that is, the immediate 11 USC §542(a) turnover of all Chapter
11 estate assets, of the binding court order, see 18 USC §§401(2), and 401(3), and Fed. R. Crim. P. 42.

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Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual
finding of unregistered broker-dealer status for KTS’ clients who
fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11, 15,
and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers
of the court, pursuant to and in violation of 18 USC §§ 2, 152, 157,
371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a_pattern of

racketeering activities.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

oo

|, Marcia E. Asquith, being first duly sworn, depose and state as follows:

4. 1am the Executive Vice President, Board and External.Relations. In that -
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. CFINRA’). | am farniliar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors,

2. No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonestreet, L.P.

¢) Markham Holdings, Ltd,
d) Amro International, S.A.
6) LH Financial Services

Executive Vice President, Board/ayd External
Relations and Corporate Secretary

‘Subscribed and sworn to before me this rathiay ot. fay 2021
i : L

Ltt he Coe ne
Notary Public, District of Columbies § rage Mt

My commission expires:

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Exhibit 4—Sweet, J., U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure
court order, Dkt. 32.

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Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06,
sworn testimony of KTS’ clients’ official agent, unregistered investment
advisor and unregistered broker-dealer Arie Rabinowitz confessing to
being unregistered broker-dealers.

UNITED STATES v. WARE, CASE NO. 09-0852 (2D CIR.) (2010)
ON APPEAL FROM UNITED STATES v. WARE, 0411224 (Sweet, 3.)
18 USC 4041/3) CRITMINAL CONTEMPT PROSECUTION
APPELLANT WARE'S OPENING BRIEF

1 Moreover, being unregistered brokers-dealers operating in viclation of 15 U.S.C.

2 $78o0{a}{4), Tr. 204-05, Rabinowitz testified as follows at Tr. 204;

s ADMISSION OF BROKER-DEALER STATUS BY
> ARI RABINOWITZ UNDER CROSS EXAMINATION.

7 Mr. Ware: What is the name of your company?
s Rabinowitz: LH Financial Services.

3 Mr. Ware: What business is that company?

> Rabinowitz: We are in the private placement. business.

>
t

i Tr. 206

> Mr. Ware: Approximately how many: companies have you assisted Alpha Capital -
+ with over, let's say, the last five, Veerer

% Rabinowitz: A good fevy Hundred, ;
% Mr Ware: A rn few! huindied?

o Rabinowitz: Yes

7 Rabinowhy" testin iy of being in the private placement business, and assisting
a §6Alpha ‘Capital, With “a good few hundred” transactions: pursuant to 1S U.S.C,
? g77b(ayia2) Rabinowitz and Alpha were “dealers” not eligible for any exemption
> unddr. Title 15 Section 4, and thus not eligibie for 17 C. FR. $240.144(k)/(Rule 144(k)
i regarding the purchase of the Notes of IVG/GP MT {GX 1-4),

fiage 4 sf 12
Appallant Ware's Statement of Facts
US. wv. Ware, 09-0851¢r (2d Cir.)

Opening Appeal Brief

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Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s
judicial admissions and confessions (res judicata and collateral estoppel)
of 15 USC §77b(a)(11) statutory underwriters of Group Management’s
securities. Para. 12-13 pleaded KTS’ clients out of the federal courts.

ried
a me 42. Plaintifts purchased the Notes pursuant to the (orms of the Subscription Agreement
(ihe “Subscription Agreement”) entered into between und among the parties oo or about February
ds 2, 2001. Plaintiffs collectively paid $1.1 million 6 TVG and each Plaintiff received « Note in
proportion to ite iivesteent, as set forth in the paragraph 10.
i oe

is, Pursuant to Section 10.1Cv) of the Subscription Agreement, TVG was obligated to

. filo on of before May 3, 2001, a form SB-2 Registration Statement with the United States
Securities and Exchange Commission registering the stock underlying the Notes so that upon

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conversion the stock could be sold on the open market without restriction. IVG was obligated to

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have such registration statement declared effective on or before June 17, 2001. Thus Section.
” 10.1G¥) of the Subsoription Agreement provides:

a a filo with the Commission within 90 days of the
_ Closing Date (the ‘Filing Date’), and use its reasonable commercial efforts
to cause to be declared effective a Form SB-2 registration statement (or
‘wuch othér form as it is eligible to use) within 135 days of the Closing
Date in order to register the Registrable Securities for resale and
distribution under the Act. The rogistration statement described in thin
paragraph must be declared effective by the Commission within 135 days
of the Closing Date (as defined herein)(‘Effective Date’).” »

1VG failed to comply with its obligations and to date has not had ita registration statement

declared effective,

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Exhibit 7—extreme armed and potentially deadly violence perpetrated
against the Debtor and its agent in fact Ulysses T. Ware in furtherance to
their conspiracy to collect criminal usury debts (GX 1-4) in violation of
NYS Penal Law, section 190.40 and federal RICO law 18 USC §§
1951(a), 1961(6)(B), and 1962(a-d)—a pattern of racketeering activities.

Supplemental
Appendices

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Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn,
NY at 10:17 AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while
the Marshals lacked a lawful search warrant, arrest warrant, or lawful legal process; aided,
abetted, assisted, enabled, and facilitated by the property manager.

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A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer,
Morton, and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former
(SDNY) magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R.
Civ. P. Rule 11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC
1961(6)(B) unlawful, armed debt collection activities, related to U.S. v. Ware, O5cr1115
(SDNY),04cr1224, and 02cv2219 (SDNY); and In re Group Management Corp.., 03-93031 (BC
NDGA), to wit: GX 1, GX 2, GX, 3, and GX 4—the NYS Penal Law, section 190.40, null and and

yoid ab initio criminal usury aulawtill debts—the Marshals with the assistance of the property
manager broke into Mr. Ware’s residence while armed and without any warrant, or lawful
process—d potentially deadly encounter, to intimidate, bully, threaten, and force Mr. Ware into
giving up and abandoning his and Group Management? s legal rights as 11 USC § 1109(b) statutory
parties in interest.

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B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr.
Ware’s law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs
Act conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—
government trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219

(SDNY), and in In re Group Management Corp., 03-93031 (BC NDGA) Chapter 11.

75. 91/04 Contempt of Court Atlanta, Georgia 10/15/04: Gy 1 Mt. Wate,“ oF will have Jodge Sand
Ager 44 Dismissed pursuant a a ee aa it oe
; fucking with ... 1 want that stock and
0 order of Judge rl thule Gplaions, else | wil have the mahal
Leonard B: Sand soa TBE gh Th
/ Jan'd do it and see whad Happens to you .. ant
According to Sr, U.S. Probation Officer Atonya M. Craft of the Nonthem District of Kenphasly eh

Georgia, on September 1, 2004, the defendant was arrested in the Northern District of

Georgia in response 0 an order issued by the Honorable Leonard B. Sand, U.S, Disiriet

sept. 1, 2004 kidnap

WARE, ULYSSES T nok

11,

78.

Judge, Southern District of New York, in 02 CV 2219 (LS), On December 22, 2008,
Judge Sand ordered the defendants in this civil matter (which included the defendant) to
deliver Silver Screen Studios, Inc, common stock to honor all of the conversion requests
for Group Management Corp, or Silver Screen Studios, inc, stock duly submitted by the
plaintiffs, On June 21, 2004, Judge Sand issued a warrant for the defendant's armrest for
contempt of court, for failure to obey the December 22, 2003, order. This arrest order
indicated that dhe defendant was fo be arrested by the U.S, Marshals Service and detained

undil the defendant purged himself of contempt by delivering the above-referenced

pping Ms ‘Tyler

15

Thrash, Jt, in that district, refused io purge himself of contempt and offered no
acceptable reason fo prevent enforcement of the contempt order. On September 2, 2004,
the Honorable Thomas W. Thrash, Jr., ordered the defendant to remain in the custody of
the U.S, Marshals Service until he purged himself of contempt or was ordered released by
either Judge Thrash or Judge Sand. The defendant's request for bond was granted, and he
was released on September 3, 2004, after posting $150,000 in cash and a $100,000 bond,
cosigned by two other individuals.

_ On September 28, 2004, the Honorable Lennard B. Sand vocated the June 21, 2004, order

in part to the extent that it authorized the arrest of the defendant outside of the state of
New York and more tlian 100 miles from the U.S, Courthouse located at 500 Pearl Street,
New York, New York, The order remained in effect insofar as it could be served on the
defendant in the state of New York or within 100 miles of the U.S. Courthouse located at
S00 Pearl Sireet, New York, New York.

On October 7, 2004, the defendant moved to vacate and release the bail of $250,000 set

on September 2, 2004. On October 18, 2004, the defendant’s motion was granted by the
Honorable Thomas W. Thrash, Jr; $150,000 was refunded to the defendant, and the
torporate surely bond was discharged,

Wea RAGE 2 ARN ENS Pekka ee dk veenteek dere sees

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ditt, Esq. ia” Match 2003; see also the
traenctipt of the Sepmember 1, 20H ileal arte
kidnapping) proceedings of Mr. Ware. it
adinitted request of dil iS

~ [ard Rabinowitz, hy the TS
held bollze Districe Judge thems We tech
Jt of The, 988 order in 2219 (Sarai, 1) ruling
fiwash ard the Marshals lacked suthority aad
urisdiction 40 have entered Mi, Ware's

_| States tn 2002-2067 atlemptiey 10 extol GeMT and
| Me, Ware out of more thin $500 maton doles 4

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santa ects ey cout, fat tout be Sinaia dae
BhosdWe Wsep dept

Hehe B Bere, eat :
common stock, On July 12004, the alefendant was arrested by the U.S. Marshals Service ee % i =
in the Northern District of Georgia. He appeared before the Honorable Thomas W. 4/28/2012

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C, Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas S. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, III (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D, Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators.

Drapdr, Jota By

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Thomas Ware since tha Beginning af Sepiembes? I gat a Genein weues brems
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Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall,
Livingston, Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to
commit bankruptcy fraud and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC
NDGA), 04cr1224 (SDNY), and OScr1115 (SDNY)—the Hobbs Act Unlawful Debt
Collection Proceedings, to wit: 18 USC §§ 2, 156-57, 371, 924(c), 1201-02, 1341, 1343,
1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), a
pattern of racketeering activities.

Coordinated conspiracy to obstruct justice and conceal Brady actual
innocent exculpatory/impeachment evidence.

In re Group Management Corp. (03-93031)(BC NDGA) (Hagenau, C, J.)
and
Alpha Capital, AG et al., v. GPMIT, et al., (02cv2219)(SDNY) (McMahon, J.)

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Appendix 2-1 (con’t)—Money laundering vehicle formed from the Hobbs Act money
laundering and criminal usury unlawful debt collection activities profits and proceeds
fraudulently obtained by Unindicted Coconspirators Arie Rabinowitz, LH Financial
Services, Alpha Capital, AG, et al.

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION

Washington, D.C, 20549

FORM S-I
REGISTRATION STATEMENT
UNDER
THE SECURITIES ACT OF 1933

Trailblazer Merger Corporation |

(fxoct name oF eegistrant as specified im its charter}

Delaware 6770 S7-ST10376
(State or other jarisdiction of (Primary Stasdard Industrial (L7LS. Employer
incorporation or organization) Clessification Code Nutither) Identification Number}

(Address, Lichuling Zip Code, and. ga Code, of Registrant's Principal Executive Olfices)

Arie Rabinowitz
Chief Executive Officer
$10 Madison Avenue
Suite 1408
New Vork, NY 10022
‘Felophane: 212-586-8224

iName, Addecas, inclkding Zip Code, and Telephone Number, including Arca » of Agent for Seeviee)

Copies fa:
Mitchell S. Nussbaunt, Esq. Rick A. Werner, Esq.
Alexandria Kane, Esq. Haynes aud Boone LLP

Loch & Loch LLP HW Rockefeller Plaza,

345 Park Aveaue 26th Floor
New York, New York 10105 New York, NY 10112
‘Vel; (212) 407-4000 Teb.: (212) 659-7300

A ii date of | of propow sale to the pablies As soon as practicable afler the effective date of this registration

Statement.

ifany of the sevurities being registered on this Form are to be offered on a delayed or continuous basis pursuant to Ruje 415 under the
Securities Act of 1933 check the following box. 1

Tf this Form is RPG 1a eeigkr addition: curing for fFering. tui Rule und fF ot, please check the
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indicate hy check mark whether the registrant is a lange derated filer, an i { filer, a non-accelerated filer, a smaller reporting

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and “emerging growth company” in Role 126-2 af the Exchange Act.
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Ifan ging growth pany, indicate by cheek mark if the registrant has elected not to use the extended transition period for
complying with any new or revised financial accounting standards provided pursuant to Section 7{0)(2)(5) of the Securities Act. 0

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Appendix 3--Re: Appellants’ and Appellees’ Consent Joint Jurisdictional Declaration
of Undisputed Material Facts and Stipulated Admissions pursuant to Bankruptcy
Rule 9011(b)(1-4) and 28 USC 1927.

Case No. 03-93031

United States Bankruptcy Court (12-17)
For the Northern District of Georgia

(Atlanta Division)

Submitted for Filing on
Tuesday, February 4, 2025, 9:34:33 AM

In re Group Management Corp., Chapter 11

Re: Appellants’ and Appellees’ Consent Joint Jurisdictional
Declaration of Undisputed Material Facts and Stipulated Admissions

pursuant to Bankruptcy Rule 9011(b)(1-4) and 28 USC 1927.8

Submitted by:

/s/ Ulysses T. Ware

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Utware007@gmail.com
February 4, 2025

® The Movants’ challenge to the Bankruptcy Court (NDGA) In re Group Management Corp., 03-93031
Chapter 11 Article III jurisdiction over predatory criminal usury unlawful debts subject matter, GX 1-
4; and (2) challenge to the Article III standing of the 02cv2219 (SDNY) plaintiffs, Atlanta, GA law firm
Kilpatrick, Townsend, & Stockton, LLP clients, see Dkt. 11, unregistered broker-dealers. Cf, Ex. 3,
infra. What legitimate and lawful interest would a United States Bankruptcy Court (Ellis-Monro, C.J. and
Hagenau, C.J.) have in not sua sponte affirmatively confirming the Court’s mandatory unwaivable
constitutional jurisdiction to adjudicate the Dkt. 6, 11, 13, 14, 15, and 16 proceedings with respect to
fundamental constitutional prerequisites—‘“legally protected interest” in criminal usury convertible
promissory notes--in predatory criminal usury unlawful debts, GX 1-4, and (2) the Article III standing of
KTS’ waregistered broker-dealers clients to enforce and/or collect GX 1-4? No legitimate interest exists.
If no legitimate interest exists, then any alleged interest, by definition. must be nefarious, corrupt,
perfidious, and illegitimate—that is, an unlawful interest.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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THE PARTIES’ JOINT DECLARATION OR uu...ccccccccccecsecsesctessaeseeeeecescnecesececssecsseaeseeeaeraesseseaenenens 49
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Certificate of Service........ccccccccessesseseesesensensasseaeenseeeieetesneeenentessnrenes Error! Bookmark not defined.

Exhibit I—Dkt. 278—Barbara Ellis-Monro’s Self-incrimination for conspiracy to obstruct justice
and commit bankruptcy fraud, 18 USC §§ 2, 152, 157, 371, 924(c), 1341, 1343, 1344, 1346, 1503,
1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), et. seqs. confessed and admitted
by Barbara Ellis-Monro in her personal and individual capacity as an 18 USC § 1962(d) unindicted
coconspirator having joint and several personal criminal and civil liability in the amount of

ee NINN sess cs ensscscxcenscaveasnvnssevstvenstcesavsausiazetsnratacnimeveetssaristeeiaes Error! Bookmark not defined.
FEF, Exhibits—Supplemental Record oo... ccc cseseecseeeecssestereseeeennees Error! Bookmark not defined.

Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219 (SDNY): Unappealed Judicial ruling
(collateral, equitable, and judicial estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of
all profits requirement to the Chapter 11 estate) for cach of KTS’ unregistered broker-dealer clients (sce
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
SSCUUIICS: .ccrennnssacsnenaasenonnunssaseransyrnnniuaneviine siniuedaebel S300 Hide ENOTES Error! Bookmark not defined.

Ex. I—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
Judge Sand in ex parte communications found each KTS client to be a 15 USC § 78p(b) statutory
insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is therefore, ipse
facto, as a matter of law and fact res judicata and collateral estoppel against ATS, Kadaba, the
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to

TRICE LOL) PUOICHME ROUGE. s...sccissscssssssssstssccseinsvavesesaveaisiesieseusssvareasenevanses Error! Bookmark not defined.

Exhibit 2--Dkt. 90 (Binding Final Judgment}—02cv2219 (SDNY) Prevailing Parties Chapter 11 Debtor
Group Management and 11 USC §1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge Leonard B. Sand, Fed. R. Civ.
P. Rule 41(a)(2) voluntary, ex parte Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on Ali Claims Final Judgment conferred final judgment prevailing
party status on Group Management and Ulysses T. Ware. .......0.00c0 Error! Bookmark not defined.

Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual finding of unregistered broker-
dealer status for KTS’ clients who fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11,
15, and 16 via KTS’ lawyers Dennis $. Meir and John W. Mills, officers of the court, pursuant to
and in violation of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a
pattern of racketeering activities, Actual innocent Brady exculpatory evidence.. Error! Bookmark not
defined.

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Exhibit 4—Sweet, J., U.S. ». Ware, 04cr1224 (SDNY) Brady disclosure court order, Dit. 32........... Error!
Bookmark not defined.

Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06, sworn testimony of KTS’ clients’
official agent, unregistered investment advisor and unregistered broker-dealer Arie Rabinowitz confessing
to being unregistered broker-dealers............cccescsecseescesssessssseeessesseseserseessenenes Error! Bookmark not defined.

Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s judicial admissions and confessions
(res judicata and collateral estoppel) of 15 USC $77b(a)(11) statutory underwriters of Group
Management’s securities. Para. 12-13 pleaded KTS’ clients out of the federal courts. Error! Bookmark not
defined.

Exhibit 7—extreme armed and potentially deadly violence perpetrated against the Debtor and its agent in

fact Ulysses T. Ware in furtherance to their conspiracy to collect criminal usury debts (GX 1-4) in
violation of NYS Penal Law, section 190.40 and federal RICO law 18 USC 8§ 1951(a), 1961(6)(B), and

1962(a-d)—a pattern of racketeering ACtIVITICS.....ccccccccseecscceecssreeessssseernseneees Error! Bookmark not defined.
Supplemental Appendices cuueevacsaueeesecsecgnecaessesausansuncseeseeeseaneuaeeuueceseeeneees Error! Bookmark not defined.

Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn, NY at 10:17
AM. during the unlawful, armed, forced entry.into Mr. Ware’s residence while the Marshals lacked a
lawful search warrant, arrest warrant, or lawful legal process: aided, abetted, assisted, enabled, and

facilitated by the property MANAGES, ..........ccecesesesneeceseeteneeeeseeessssesesteneteeees Error! Bookmark not defined.

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer, Morton,
and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former (SDNY)
magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R. Civ. P. Rule
11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC 1961(6)(B) unlawful,
armed debt collection activities, related to US. v. Ware, 05cri115 (SDNY),04cr1224, and 02cv2219
(SDNY): and Jn re Group Management Corp... 03-9303 1 (BC NDGA), to wit: GX 1, GX 2, GX, 3,
and GX 4—the NYS Penal Law, section 190.40, null and void ab initio criminal usury unlawful
debts—the Marshals with the assistance of the property manager broke into Mr. Ware’s residence
while armed and without any warrant, or lawful process—a potentially deadly encounter’, to
intimidate, bully, threaten, and foree Mr. Ware into giving up and abandoning his and Group
Management’s legal rights as 11 USC § 1109(b) statutory parties in interest. ..... Error! Bookmark not
defined.

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr. Ware’s

law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs Act

conspiracy to collect the criminal usury unlawful debts, GX_1, GX 2, GX 3, and GX 4—povernment
trial exhibits in U.S. v. Ware, 04crl1224 (SDNY), and plaintiffs’ exhibits in 02cv2219 (SDNY), and

in In re Group Management Corp., 03-93031 (BC NDGA) Chapter 11. w..., Error! Bookmark not
defined.

C. Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas S. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, Ill (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D, Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators......ccccescsereeenrsetseeeeneaees Error! Bookmark not defined.

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Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall, Livingston,
Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to commit bankruptcy fraud

and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
0Scr1115 (SDNY) the Hobbs Act Unlawful Debt Collection Proceedings, to wit: 18 USC §§ 2, 156-
57.371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-

d), and 2071(a), (b), a pattern of racketeering activities. ......c.cceceeseeeeees Error! Bookmark not defined.
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The Office of Ulysses T. Ware

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February 4, 2025, 9:34:33 AM

VIA ELECTRONIC FILING and U.S. mail

The Honorable Barbara Ellis-Monro
Chief Judge

United States Bankruptcy Court
Northern District of Georgia
Atlanta Division

1431 United States Courthouse

75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

Re: In re Group Management Corp., Chapter 11, Case No. 03-93031 (WLH) — Appellants-
Movants’ Rule 9014/12(h)(3) Jurisdictional Notice of Appeal (Part 14-10) — Submission of
The Parties’ Joint Declaration of Undisputed Jurisdictional Material Facts.

Your Honor:

Appellants-Movants Group Management and Ulysses T. Ware, and Appellees-
Respondents Kilpatrick Townsend & Stockton LLP, its Unregistered Broker-Dealer clients, et al.
respectfully submit the enclosed The Parties’ Consent Joint Declaration of Undisputed
Jurisdictional Material Facts for the Court’s consideration in connection with the pending Jan.
Rule 9014/12(h)(3) Jurisdictional Notice of Appeal (Part 14-10) filed by Appellants-Movants on
January 30, 2025, via email and the U.S. mail addressed to the Hon. Barbara Ellis-Monro. This
Joint Declaration, titled “Re: Appellants’ and Appellees’ Consent Joint Jurisdictional
Declaration of Undisputed Material Facts and Stipulated Admissions pursuant to
Bankruptcy Rule 9011(b)(1-4) and 28 USC § 1927,” represents a collaborative effort by all

parties to streamline the pending “sua sponte” required Article III constitutional jurisdictional

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inquiry before this Honorable Court and to facilitate a focused and efficient resolution of the

critical Article III standing and subject matter jurisdiction issues raised in the Notice of Appeal.

The enclosed Joint Declaration meticulously sets forth thirty-five (35) discrete and material
Article III jurisdictional facts, each drawn directly from the Record before this Honorable Court
in the 03-93031 Bankruptcy Case and the related 02cv2219 (SDNY) Litigation. These facts, as
jointly declared and stipulated by Appellants-Movants and Appellees-Respondents, are
undisputed and readily verifiable by reference to the cited docket entries and exhibits. The
purpose of this Joint Declaration is to provide the Court with a clear, concise, and agreed-upon
factual foundation upon which to conduct its mandated “sua sponte” threshold determination of
Article III subject matter jurisdiction and standing, as unequivocally required by controlling
Supreme Court precedent, Steel Co., 523 U.S. at 93-95 and Great Southern Fire Proof, 177 U.S.
at 453.

Appellants-Movants respectfully submit that the Undisputed Material Facts contained
within the Joint Declaration compellingly support the reliefs requested in their Rule 9014/12(h)(3)
Notice of Appeal (Part 14-10), and demonstrate, with undeniable clarity, the manifest absence
of Article III standing for Appellees-Respondents KTS Clients, Unregistered Broker-Dealers, to
assert claims in this Chapter 11 proceeding. This Joint Declaration is submitted in good faith,
pursuant to the certifications of counsel included therein and in furtherance of Bankruptcy Rule
9011(b)(1-4) and 28 U.S.C. § 1927, to promote judicial economy, expedite the resolution of
threshold jurisdictional issues, and facilitate the just, efficient, and lawful adjudication of this

protracted and complex matter.

RESPECTFULLY SUBMITTED,
For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

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February 4, 2025

With implied consent pursuant to Bankr. Rule 9011(b)(1-4): Counsel for Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer
Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

End of Declaration

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STATEMENT OF ULYSSES T. WARE REGARDING
ATTEMPTED CONSENT AND IMPLIED CONSENT OF
APPELLEES-RESPONDENTS TO JOINT DECLARATION OF
UNDISPUTED JURISDICTIONAL MATERIAL FACTS

I, Ulysses T. Ware, counsel for Appellants-Movants Ulysses T. Ware and Group Management,
hereby state the following to this Honorable Bankruptcy Court:

1. Contact with Counsel for Appellees-Respondents: On February 3, 2025, counsel for
Appellants-Movants contacted Wab Kadaba, Esq. and J. Henry Walker, IV, Esq., of
Kilpatrick Townsend & Stockton LLP, counsel for Appellees-Respondents Kilpatrick
Townsend & Stockton LLP and its Unregistered Broker-Dealer clients, via electronic mail.

2. Service of Joint Declaration of Undisputed Material Facts: Attached to said electronic
mail communication, Appellees-Respondents’ counsel, Wab Kadaba, Esq. and J. Henry
Walker, IV, Esq., were served with a copy of the document titled “(12-13—D2) (Part 14-
13—D2) re: Memorandum of Fundamental Constitutional Legal Error—Nullity of Dkt.
28, 256, 258, 263, 274, 275, and 278.”

3. Request for Oppositional Response or Challenge: In said electronic mail
communication to Appellees-Respondents’ counsel, Wab Kadaba, Esq. and J. Henry
Walker, IV, Esq., Appellants-Movants’ counsel requested that Appellees-Respondents file
any oppositional response or challenge to the factual contents of the Joint Declaration,
including any Declaration of Fact and supporting Memorandum of Law, no later than
3:00 PM Eastern Standard Time on Monday, February 3, 2025.

4. Absence of Response as of February 4, 2025: As of the date of this Statement, February
4, 2025, Appellants-Movants have received no response, oppositional pleading,
Declaration of Fact, or supporting Memorandum of Law from Appellees-Respondents’
counsel, Wab Kadaba, Esq. and J. Henry Walker, IV, Esq., or from Kilpatrick Townsend
& Stockton LLP or KTS Clients, in regard to the aforementioned electronic mail
communication and the proposed Joint Declaration.

5. Implied Consent of Appellees-Respondents: By virtue of Appellees-Respondents’

counsel’s failure to provide any oppositional response or challenge to the factual contents

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of the Joint Declaration by the clearly communicated deadline, Appellants-Movants
respectfully submit that Appellees-Respondents, including Kilpatrick Townsend &
Stockton LLP and its Unregistered Broker-Dealer clients, have impliedly consented to the
factual contents of the Joint Declaration and to its submission to this Honorable Court as a

Joint Declaration of Undisputed Material Facts.

Respectfully submitted,

/s/ Ulysses T. Ware
Ulysses T. Ware
Counsel for Appellants-Movants Ulysses T. Ware and Group Management

Dated: February 4, 2025

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CERTIFICATION OF COUNSEL PURSUANT TO

BANKRUPTCY RULE 9011(b)(1-4) AND 28 U.S.C. § 1927.

I, Ulysses T. Ware, counsel for Appellants-Movants Mr. Ulysses T. Ware and Group Management
Corp., and Wab Kadaba Esq. and J. Henry Walker, IV, Esq., counsel for Appellees-Respondents
Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer Clients, hereby jointly
certify to this Honorable Bankruptcy Court, pursuant to Rule 9011(b)(1-4) of the Federal Rules of
Bankruptcy Procedure and in furtherance of the spirit of 28 U.S.C. § 1927, as follows:

L.

Joint Certification of Pleading: This Certification pertains to the attached pleading titled
“Joint Declaration of Undisputed Material Facts in Support of the Appellants' requested
Reliefs taken from the Record before the Court” (the “Joint Declaration”), submitted in
support of Appellants-Movants’ Rule 9014/12(h)(3) Notice of Appeal (Part 14-10) in the
above-captioned matter, and further relating to the Appellants-Movants’ Memorandum of
Law in Support of Rule 9014/12(h)(3) Notice of Appeal.

Rule 9011(b) Certification Regarding Factual Contentions: We, as undersigned
counsel, hereby jointly certify, to the best of our respective knowledge, information, and
belief, that the factual contentions presented in the attached Joint Declaration are warranted
by the evidentiary record before this Honorable Court, and comply with the requirements
of Bankruptcy Rule 9011(b)(1)-(4), specifically:

a. Rule 9011(b)(1) — Proper Purpose: The Joint Declaration is not being presented for
any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase
the cost of litigation. The Joint Declaration is presented in good faith to promote judicial
economy, expedite the resolution of threshold jurisdictional issues, and facilitate the just,
efficient, and lawful adjudication of this protracted and complex matter,

b. Rule 9011(b)(2) — Legal Contentions Warranted: While the Joint Declaration
primarily sets forth factual contentions, the underlying legal positions advanced by
Appellants-Movants in their Rule 9014/12(h)(3) Notice of Appeal and Memorandum of
Law, to which this Joint Declaration relates, are warranted by existing law, specifically
controlling Supreme Court and Second Circuit precedent regarding Article III standing,
subject matter jurisdiction, res judicata, collateral estoppel, and the void ab initio nature

of contracts executed by unregistered broker-dealers and predicated upon predatory null
and void ab initio, unenforceable criminally usurious loans, GX 1-4.

c. Rule 9011(b)(3) — Factual Contentions Evidentiary Support: The factual contentions
presented in the Joint Declaration are based on and supported by the evidentiary record
before this Honorable Court in the 03-93031 Bankruptcy Case and the related 02cv2219
(SDNY) Litigation, as explicitly referenced and cited within the Joint Declaration itself.

d. Rule 9011(b)(4) — Denials of Factual Contentions Warranted: To the extent the Joint
Declaration may implicitly or indirectly deny any factual contentions not explicitly

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addressed therein, such implicit denials are warranted on the evidence and are reasonably
based on a lack of information sufficient to form a belief as to the truth of the matter, or
are otherwise based on a good faith and reasonable interpretation of the available evidence.

3, 28 U.S.C. § 1927 Certification (Spirit of Promoting Judicial Efficiency): In the spirit
of promoting judicial efficiency and avoiding the unreasonable and vexatious
multiplication of proceedings, as contemplated by 28 U.S.C. § 1927, we further jointly
certify that the Joint Declaration is presented in a good faith and collaborative effort by all
parties to streamline the litigation, to focus the Court’s attention on dispositive threshold
jurisdictional issues, and to facilitate the just, efficient, and lawful resolution of this
protracted and complex matter, thereby avoiding further unnecessary and potentially
vexatious litigation.

This Certification is made in good faith, under penalty of perjury, and in compliance with the
requirements of Bankruptcy Rule 9011(b) and the spirit of 28 U.S.C. § 1927.

Respectfully certified, this 4" day of February 2025.

/s/ Ulysses T. Ware

Ulysses T. Ware

Counsel for Appellants-Movants Mr. Ulysses T. Ware and Group Management Corp.
The Office of Ulysses T. Ware

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Utware007@gmail.com

With implied consent pursuant to Bankr. Rule 9011(b)(1-4):

Counsel for Appellees-Respondents Kilpatrick Townsend & Stockton LLP and its
Unregistered Broker-Dealer Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

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Case No. 03-93031
United States Bankruptcy Court (12-17)
For the Northern District of Georgia
~ (Atlanta Division)

In re Group Management Corp., Chapter 11
(Part 14-17) re: The Parties' (Appellants' and Appellees') Consent Joint Declaration of Undisputed
Jurisdictional Material Facts in Support of the Appellants' requested Reliefs taken from the Record

before the Court. See Exhibits infra.

THE PARTIES’ JOINT DECLARATION OF
UNDISPUTED JURISDICTIONAL MATERIAL FACTS

I Ulysses T. Ware, on behalf of myself, the Chapter 11 Debtor, Group Management,
Appellants, and the Appellees, with implied consent, hereby this 4" day of February 2025, under
oath, subject to the penalty of perjury, having personal knowledge of the facts, pursuant to 28 USC
§ 1746 have made the Parties’ Joint Declaration of Undisputed Jurisdictional Facts, in Brooklyn,

NY, and state the following Jurisdictional Facts.

The following are declared as undisputed material facts, readily verifiable by reference to the
Record before this Honorable Bankruptcy Court in /n re Group Management Corp., Case No. 03-
93031 (WLH) Chapter 11 (the “03-93031 Bankruptcy Case”) and the related proceedings in the
United States District Court for the Southern District of New York, Case No. 02cv2219 (SDNY)

(the “02cv2219 (SDNY) Litigation”). These facts are jointly submitted by Appellants-Movants

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Group Management Corp. and Ulysses T. Ware (‘“‘Appellants-Movants”) and Appellees-

Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer clients

(“Appellees-Respondents”) in support of the Appellants-Movants’ Rule 9014/12(h)(3) Notice of

Appeal (Part 14-10) and the reliefs requested therein.

1.

On March 18, 2003, Group Management Corp. (“GPMT” or “Debtor”), a corporation
engaged in interstate commerce, filed a voluntary petition for relief under Chapter 11 of
the Bankruptcy Code, commencing the Jn re Group Management Corp., Case No. 03-
93031 (BEM) Bankruptcy Case in the United States Bankruptcy Court for the Northern
District of Georgia, Atlanta Division. This filing initiated the underlying bankruptcy
proceedings that are the subject of the present jurisdictional appeal.

On April 10, 2003, Kilpatrick Townsend & Stockton LLP (“KTS”), and attorneys Dennis
S. Meir, Esq., and John W. Mills, III, Esq., of that firm, filed a formal Entry of Appearance,
Docket Entry 11, in the 03-93031 Bankruptcy Case, entering their appearance as “Counsel”
for Alpha Capital Aktiengesellschaft, Amro International, $.A., Markham Holdings, Ltd.,
and Stonestreet Limited Partnership (collectively, “KTS Clients”). This document marked
the formal commencement of KTS Clients’ participation in the bankruptcy proceedings.
Prior to their entry of appearance in the 03-93031 Bankruptcy Case, KTS Clients were
plaintiffs in a related civil action, Case No. 02cv2219 (SDNY), filed in the United States
District Court for the Southern District of New York, against Group Management Corp.,
Ulysses T. Ware, and other defendants, asserting claims related to certain loan agreements

and convertible promissory notes, GX 1-4. This related litigation in the Southern District

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of New York, Case No. 02cv2219 (SDNY), preceded and gave rise to KTS Clients’
involvement in the 03-93031 Bankruptcy Case.

4. On December 20, 2007, in the 02cv2219 (SDNY) action, the Honorable Leonard B. Sand,
a Senior United States District Judge for the Southern District of New York, entered a Final

Judgment, Docket 90, granted a voluntary dismissal with prejudice of the 02cv2219

(SDNY) action pursuant to Federal Rule of Civil Procedure 41(a)(2), concluding the
litigation in that forum. This Final Judgment terminated the 02cv2219 (SDNY) litigation
and adjudicated the claims asserted therein.

5. The Dec. 20, 2007, Rule 41(a)(2) voluntary dismissal with prejudice in the 02cv2219

(SDNY) action, formalized in Judge Sand’s Docket 90 Final Judgment, was entered after

the expiration of the applicable New York statute of limitations on all claims asserted in

the complaint, a fact that is evident from the procedural history and timing of the dismissal
relative to the commencement of the 02cv2219 (SDNY) litigation. The expiration of the
statute of limitations prior to the voluntary dismissal is a material fact within the 02cv2219
(SDNY) record—a final judgment on the merits for the Chapter 11 Debtor, Group
Management and Ulysses T. Ware, Esq. (the “Final Judgment Prevailing Parties”).

6. The predatory null ani void ab initio unlawful debt loan agreements underlying KTS
Clients’ claims in the 03-93031 Bankruptcy Case, specifically Exhibits GX 1, GX 2, GX

3, and GX 4, which are part of the evidentiary record in the Bankruptcy Court, explicitly

four corners of those loan documents. These exorbitant interest rates are facially apparent

from the loan agreements themselves.

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7. The Office of the United States Trustee, Region 21, an agency of the United States
Department of Justice charged with overseeing bankruptcy administration, filed
submissions in the 03-93031 Bankruptcy Case, specifically Docket Entry 6 (entry of
appearance), and Dkt. 13 a Motion to Dismiss, and pleading in support of dismissal, both
of which relate to the administration and potential dismissal of the Chapter 11 case. These
filings by the U.S. Trustee form part of the official record of the 03-93031 Bankruptcy
Case.

8. Docket Entry 11 in the 03-93031 Bankruptcy Case, the Entry of Appearance filed by
Kilpatrick Townsend & Stockton LLP on behalf of KTS Clients, identifies the clients as
Alpha Capital Aktiengesellschaft, Amro International, S.A., Markham Holdings, Ltd., and
Stonestreet Limited Partnership, and is signed by attorneys Dennis S, Meir and John W.
Mills, III, of Kilpatrick Townsend & Stockton LLP, establishing their formal
representation of KTS Clients. This document is the initial pleading establishing KTS
Clients' presence in the Bankruptcy Court and the initiation of the conspiracy to commit
bankruptcy fraud—the first racketeering overt and predicate act in 03-93031.

9. Docket Entry 15 in the 03-93031 Bankruptcy Case, the Emergency Motion to Dismiss or,
in the Alternative, for Relief from the Automatic Stay, filed by Kilpatrick Townsend &
Stockton LLP on behalf of KTS Clients, explicitly seeks affirmative “‘redressable” relief
from the Bankruptcy Court, requesting either dismissal of the entire Chapter 11 case or,
alternatively, relief from the automatic stay to allow KTS Clients to pursue remedies
outside of bankruptcy—that is, criminal usury unlawful debt collection regarding GX 1-4,

in violation of 18 USC §1961(6)(B). This motion demonstrates KTS Clients’ Hobbs Act

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racketeering active pursuit—overt and predicate acts of racketeering, of their claims within
the Bankruptcy Court—that is, Hobbs Act 18 USC §§ 1951(a) and 1961(6)(B) unlawful
debt collection activities.

10. Docket Entry 16 in the 03-93031 Bankruptcy Case, the Brief in Support of the Emergency
Motion to Dismiss or, in the Alternative, for Relief from the Automatic Stay filed by
Kilpatrick Townsend & Stockton LLP on behalf of KTS Clients, provides the detailed legal
and factual arguments underpinning KTS Clients’ criminal usury unlawful debt collection
motion, further elaborating on their position and requested ultra vires relief before the
Bankruptcy Court. This brief is a substantive legal document filed in support of KTS
Clients' unlawful debt, and criminal usury claims.

11, In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, acting as legal counsel
for KTS Clients, fraudulently, repeatedly, and affirmatively represented KTS Clients to the
Bankruptcy Court as “creditors of the Debtor,” asserting their purported status as legitimate
claimants in the Chapter 11 proceedings. This representation of creditor status forms a
central basis for KTS Clients’ arguments in Dkts. 15 and 16—overt and predicate acts of
racketeering activities.

12. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, again acting as legal
counsel for KTS Clients, explicitly represented to the Bankruptcy Court that KTS Clients’
claims are based on “criminal usury convertible promissory notes,” (paraphrased) directly
acknowledging the criminal usury nature of the underlying debt instruments. This

representation is a binding judicial factual assertion made by KTS in court filings.

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13. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, continuing to act as
legal counsel for KTS Clients, further represented to the Bankruptcy Court that KTS
Clients’ claims are based on “criminal usury contracts,” (paraphrased) GX 1-4, reiterating
the characterization of the loan agreements as criminally usurious. This representation is a
factual assertion made by KTS in court filings.

14. In Docket Entries 15 and 16, Kilpatrick Townsend & Stockton LLP, acting in their capacity
as legal counsel for KTS Clients, explicitly and implicitly represented to the Bankruptcy
Court that KTS Clients’ claims are part of a “Hobbs Act...conspiracy to commit
bankruptcy fraud,” directly admitting to the alleged criminal and conspiratorial nature of
the underlying debt collection efforts. This representation is a factual assertion made by
KTS in court filings, acknowledging potential criminal conduct.

15. Marcia E. Asquith, Executive Vice President, Board and External Relations, of the
Financial Industry Regulatory Authority (“FINRA”), a congressionally authorized self-
regulatory organization, issued a formal Certification of No FINRA Business Records,
dated May 17, 2021, based upon a diligent search of FINRA’s official records and
databases. This certification is a documented finding by FINRA.

16. FINRA’s May 17, 2021, Certification of No FINRA Business Records, a formal regulatory
determination, unequivocally confirms that FINRA has no record of Alpha Capital, AG,
Stonestreet, L.P., Markham Holdings, Ltd., Amro International, S.A., and LH Financial
Services being registered with FINRA as broker-dealers. This absence of registration is

explicitly certified by FINRA.

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17. Chief Judge Barbara Ellis-Munro, Chief Judge of the United States Bankruptcy Court for
the Northern District of Georgia, Atlanta Division, issued a letter, Docket Entry 278, dated
January 27, 2025, in the 03-93031 Bankruptcy Case, which is part of the official record of
the proceedings. This letter is a formal communication from the Chief Judge in the case.

18. In her Docket Entry 278 letter, Chief Judge Ellis-Munro explicitly acknowledged receiving

“over one hundred emails and attachments” from Mr. Ulysses T. Ware since “May 29,

2024,” directly referencing the jurisdictional challenges raised by Mr. Ware. This

acknowledgment is a direct admission, confession, and self-incrimination of numerous

federal felony offenses within a formal court document.

19. Docket Entry 278 explicitly states that Chief Judge Ellis-Munro “had not, was not, and had
no intentions of docketing or filing Mr. Ware’s and/or the Chapter 11 Debtor’s challenges
to the Article III standing of KTS’ unregistered broker-dealer clients,” (paraphrased)
despite acknowledging receipt of numerous pleadings and emails raising these issues. This
statement is an explicit declaration, judicial admission, and confession within a formal
court document.

20. Docket Entry 278 explicitly references and reiterates findings contained in ultra vires, moot
prior orders entered by now-retired Judge Wendy L. Hagenau, specifically identifying
Docket Entries 256 and 275 as orders being reaffirmed, accorded preclusive effect, and
relied upon. This reference to prior orders is explicitly stated in Dkt. 278.

21. Docket Entry 278 explicitly states, in its concluding sentence, “This letter will be docketed.
The case remains closed,” indicating Chief Judge Ellis-Munro’s fraudulent intention to

maintain the closure of the 03-93031 Bankruptcy Case—an overt and predicate act of

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racketeering activity, conspiracy to obstruct justice, despite the pending Article Ill
jurisdictional appeal (Part 14-10). This statement is an explicit declaration of the Court's
fraudulent position within Dkt. 278.

22. Docket Entry 256, referenced in Docket Entry 278, is an ultra vires, null and void ab initio
purported order issued by former Chief Judge Wendy L. Hagenau in the 03-93031
Bankruptcy Case, addressing Mr. Ware’s email communications with the Court and
imposing certain restrictions related to those communications. This description accurately
identifies Dkt. 256.

23, Docket Entry 275, also referenced in Docket Entry 278, is an ultra vires, null and void ab
initio purported order issued by former Chief Judge Wendy L. Hagenau in the 03-93031
Bankruptcy Case, restricting Mr. Ware’s ability to file documents and pleadings in the 03-
93031 Bankruptcy Case. This description accurately identifies Dkt, 275,

24. Docket Entry (Part 14-10) in the 03-93031 Bankruptcy Case is the Notice of Appeal filed
by Appellants-Movants Ulysses T. Ware and Group Management Corp. on January 30,
2025, formally initiating the present jurisdictional appeal. This docket entry is the formal
Notice of Appeal in the case.

25. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly challenges the Article III
subject matter jurisdiction of the Bankruptcy Court over claims predicated upon predatory
criminal usury debts, GX 1-4, as documented in the Notice of Appeal itself. This

jurisdictional challenge is a central argument of the Notice of Appeal.

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26. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly challenges the Article III
standing of KTS Clients as unregistered broker-dealers, as documented in the Notice of
Appeal itself. This standing challenge is a central argument of the Notice of Appeal.

27. Appellants-Movants’ Notice of Appeal (Part 14-10) explicitly objects to the premature
preclusive effect afforded to prior orders, Docket Entries 256 and 275, absent affirmed
jurisdiction in the 03-93031 Bankruptcy Case, as documented in the Notice of Appeal
itself. This objection to preclusive effect is a central argument of the Notice of Appeal.

28. The legal arguments presented in Appellants-Movants’ Memorandum of Law in Support
of Rule 9014/12(h)(3) Notice of Appeal (Part 14-13) are predicated upon controlling
Supreme Court precedent, including Steel Co. v. Citizens for a Better Environment, 523
U.S. 83 (1998), and Great Southern Fire Proof Hotel Co. v. Jones, 177 U.S. 449 (1900).
These Supreme Court precedents are central to Appellants-Movants' legal arguments.

29. The legal arguments presented in Appellants-Movants’ Memorandum of Law in Support
of Rule 9014/12(h)(3) Notice of Appeal (Part 14-13) rely upon the void ab initio nature of
contracts, GX 1-4, and GX 5, executed and performed by unregistered broker-dealers under
15 U.S.C. § 78cc(b) and the void ab initio nature of criminally usurious contracts under
New York Penal Law § 190.40. These legal principles form the core legal framework of
Appellants-Movants' arguments.

30. Appellants-Movants seek, as primary relief in their Notice of Appeal (Part 14-10), a “Sua
Sponte” Threshold Determination by the Bankruptcy Court of Article III Subject Matter

Jurisdiction and Standing of KTS Clients, Unregistered Broker-Dealers, as explicitly

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requested in the Notice of Appeal itself. This threshold jurisdictional determination is the
primary relief sought by Appellants-Movants.

31. Voluntary Judicial Action by Judge Sand: Rule 41(a)(2) Dismissal: The December 20,
2007, Final Judgment, Docket 90 in the 02cv2219 (SDNY) litigation, was effectuated by a
voluntary judicial action of the Honorable Leonard B. Sand, United States District Judge,
through a dismissal with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2),
indicating a deliberate and considered judicial act by Judge Sand. This dismissal was not
automatic or ministerial, but a deliberate action by the presiding judge.

32, Voluntary Dismissal After Statute of Limitations Expired: Finality Emphasized: The
voluntary dismissal with prejudice, formalized in Judge Sand’s Docket 90 Final Judgment,
was strategically entered by KTS Clients after the expiration of the applicable New York
statute of limitations on all claims asserted in their 02cv2219 (SDNY) complaint, a
temporal fact that legally underscores the final and conclusive nature of the dismissal as a
judgment on the merits. The timing of the dismissal, post-statute of limitations, is a legally
significant and undisputed fact.

33. Rule 41(a)(2) Voluntary Dismissal as Final Judgment on the Merits by Operation of
Law: As a matter of established federal procedural law, a voluntary dismissal with
prejudice under Federal Rule of Civil Procedure 41(a)(2), when entered after the statute of
limitations has run on all claims in the complaint, operates ipso facto as a final judgment
on the merits in favor of the defendants, Group Management Corp. and Ulysses T. Ware,
in the 02cv2219 (SDNY) action. This is a direct legal consequence dictated by procedural

rules and precedents.

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34. Final Judgment Prevailing Party Status Conferred on Group Management and
Ulysses T. Ware by Operation of Law: By operation of law and the definitive legal effect
of a Rule 41(a)(2) voluntary Aisne with prejudice after the statute of limitations has
expired, the December 20, 2007, Final Judgment, Docket 90 in 02cv2219 (SDNY),
unequivocally conferred Final Judgment Prevailing Party status upon the defendants in that
action, namely Group Management Corp. and Ulysses T, Ware. This prevailing party status
is a direct legal consequence of the judgment.

35. December 20, 2007, Final Judgment as Res Judicata Bar to Relitigation by KTS
Clients: The December 20, 2007, Rule 41(a)(2) voluntary final judgment, Docket 90 in
02cv2219 (SDNY), entered in favor of Group Management Corp. and Ulysses T. Ware,
operates as res judicata (claim preclusion), barring KTS Clients from relitigating or
reasserting any claims arising from the same underlying transactions and subject matter in
any subsequent proceeding, including the 03-93031 Bankruptcy Case, before this
Honorable Bankruptcy Court. The preclusive effect of the Final Judgment is a direct legal
consequence of res judicata.

36. Chief Judge Ellis-Monro’s Refusal to Docket Jurisdictional Challenges (Dkt. 278): In
her Docket Entry 278 letter, dated January 27, 2025, Chief Judge Barbara Ellis-Monro
explicitly stated her refusal to docket or file any of Mr. Ware’s pleadings and emails
submitted since May 29, 2024, which directly and repeatedly raised the issue of Article III
subject matter jurisdiction and standing in the 03-93031 Bankruptcy Case. This refusal to

docket is explicitly stated in Dkt. 278.

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37.No Sua Sponte Jurisdictional Inquiry Conducted Since May 29, 2024: Despite
acknowledging receipt of “over one hundred emails and attachments” from Mr. Ware since

May 29, 2024, raising substantial jurisdictional challenges and triggering the Bankruptcy

Court’s sua sponte duty under Great Southern Fire Proof Hotel Co., the Bankruptcy

Court, under_the corrupt direction of Chief Judge Ellis-Monro, has not initiated or

conducted any formal or sua sponte inquiry to affirmatively determine Article III subject
matter jurisdiction and standing in the 03-93031 Bankruptcy Case from May 29, 2024, to
the present date. This absence of a sua sponte jurisdictional inquiry is evident from the
docket record.

38. Chief Judge Ellis-Monro’s Actual and Constructive Awareness of FINRA
Certification and Brady Implications: As of “May 29, 2024,” and continuously

thereafter, Chief Judge Ellis-Monro has egregiously breached and knowingly violated

numerous Canons of the Code of Conduct for Federal Judges; she has been demonstrably
aware of the existence of FINRA’s May 17, 2021, Unregistered Broker-Dealer
Certification (Exhibit 3), and she has knowingly, deliberately, and intentionally as overt
and predicate acts of conspiracy to obstruct justice, suppressed, concealed, covered up, and
hidden—civil and criminal contempt of Sweet, J.’s Aug. 10, 2007, Brady court order, Ex.

4, infra, the dispositive implications of this binding regulatory finding as actual innocent

Brady exculpatory evidence in the related criminal matter U.S. v. Ware, 04cr1224

(SDNY). Judge Ellis-Monro confessed in Dkt. 278 of her awareness of the actual innocent
Brady exculpatory evidence due to Mr. Ware’s repeated submissions and explicit

references to these materials in his pleadings and emails to the Court. This actual and

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broker-dealer certification is acknowledged in Dkt. 278's reference to Mr. Ware's

voluminous submissions.

RESPECTFULLY SUBMITTED,

For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com
February 4, 2025

With implied consent pursuant to Bankr. Rule 9011(b)(1-4): Counsel for Appellees-
Respondents Kilpatrick Townsend & Stockton LLP and its Unregistered Broker-Dealer
Clients.

/s/ Wab Kadaba, Esq.,

/s/ J. Henry Walker, IV, Esq.

For Appellants-Movants Ulysses T. Ware and Group Management and Appellees:

ce: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Ida Mae Townsend, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

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State Bar of Georgia, Office of the General Counsel (William D. NeSmith, II) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs, Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services
Corp., Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

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Certificate of Service

I Ulysses T. Ware certify that I have this 4" February 2025 served each of the below persons or
entities with a copy of this pleading via their public email accounts and submitted the same to the
U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto for immediate filing
and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)’ and 5005(b)(1) with

the U.S. Trustee.!°

cc: Office of the U.S. Trustee, Region 21 (Mary Ida Townson)
U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, ITI)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)!!

William D. NeSmith, IIJ, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, III--statutory agents in fact); and

° With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

'0 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

" Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

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John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D, NeSmith, III,
Wab Kadaba, J. Henry Walker, Il, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson,
Esq., U.S. Trustee, Region 21)

/s/ Ulysses T. Ware

February 4, 2025

End of document

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Exhibit 8—(RICO Overt Act #3)—“a pattern of racketeering activities”
Atlanta, GA bankruptcy court’s employees willful resistance to the

Court Orders.

P. Be

5, Via Certified Mail #; 7002 1680 0005 1206 O748
Vivedes Thomas Ware
Rog. No. $6218-019
Atlanta Prigon Camp
P.O. Box 150166
Atlanta, GA 30315

July 36, 2012.

The Hoterable Joyce Sihary
‘Chief Judge

U.8. Bankruptey Court

Por the Northern Distrter of Georgia
U.8, Courthouse
74 Spring St., SW
Atlanta,

In ra Group Hausgemane Co ia 04-9303 1-KEE CSNGA}.,479 9031") } op é
Wily 124 6T2 Scarguacy Motion; July 25,° 2012 Letter, and 07/30/2012 Emergency

Mections

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bg dcat Thoms, inetuded in the! 07/!

Virgt, = am requesting thee che enclosed pleading be Processed deca te the
emergency procedures of tha Court, where time is of the essenca, aud the petitiener -
Mx, Ware da currently eufferisg irreparable harm, and will continue to suffer _
drrepsrabla harn unleds the cequested relief is granted on an emaraenny basis ai set
forth in the 67/30/2012 Emergency Motion. :

ay Second, Judge Bihary (ss an officer of the court) you hava 4. dury. ‘et candor ‘ahd

a. ftduetary ‘ducy ¢o che brdnrly adminiutration of jJuetiee tn the Coure to proceas

~~ pleadings submitted to the Court 4a a timely and orderly watmer, which M. Regina

Thomas did not do with respect to the 07/12/2612 emergency Motion; thus —
HAGeRDS tS tne: the 97/30/2012 Emergency Motion. eee

a. a . dudge . Bthary, “an Chief Fudge: of the Gowrty: pursuant to Bankr. Rote $005 Ca),
encloses. pleadings are being submitted to your attention, dua to the fact that M.-
Regina Thomas (Clerk), 14 names as a respondent, and thus has a conflict of interest

regarding thia matter,

fo) Rw paeeiedenee Mes Ware hae. requested @ relief date of 08/07/2012, nud tor the |
; wneloead pisadings to the precessed on an | amet gency basis. :

Gadingsy aad the Iaiy— 255: 2012 ce
hats iearyenoy Morion— uF he. #1,

; 2f thare are any queation please ‘coneace the undersigned on or before lowe ot
busdnesa on 06/02/2012, else T will assume that the pleadings will be timely pescentad
on 80 emergency basis, : ;

Sincerely,
Al 2 ur.
iiyéses Whonag Ware, pro se
enclosures? PISV/ Aba tmetaeney Motion, Sup. apes 1.0, Exhibit #1,

Page 65 of 162

Tuesday, February 18, 2025
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual

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Exhibit 8-1--(RICO Overt Act #4)

a cae SOWXTED states BANKRUPTCY ‘cour
FOR THE NGRTHYRN DISTRICT oF GuORGLA
ATLANTA DIVISION

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i ae Gann a COar., DERTOR, 63-93031emm aD ay
PETITIONEA: cLesses SHOMAS WARE (PARTY i sarees ~

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Bay ‘Eeenath A. Zitter, Ast Bahteowicr, Marken Ladactegs Edward Grushkis
-* Barbara RK. Wirtwan, Deoide 3. Meir, John W, Miliw, Ii1, Etipartick, Townsend, f
jecgekren, LLP, Edward TY. M. Garland, Marny Arora, David Lavitr, Des pameel
Garland, Samual & Lond, P.C.y: Hid tsen 2s Smith, P25, Wilitem aA. Myers). Jobnathn
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$. Goldin, Maria Z. Dduves, Sarah BE. ¥aul, Preet Bharara, Michaé? 2, Garcia, Davia
Ealty, Katherine Potk-Patila, Kent J, tausen, Rebert J. Johawton, Jamas Morawite,
Jaficey B, Nortia, Spencer OG. Satasch, Robert ¢. Hannan, John ¢. Mectin, Rebecca
R. Fairchild, Srephen foxotask, Stephan’ Wabster, Michael Peat, Robart ¥. Sweet.

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James Olas, 0.5, Marshal (#2) LMU, 0,8, Magehal (#3). NU, 9.3. Marahel (#4) ‘Lav,
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Grushko & Mittman, ¥.o. (870), dtaven >, Yalduen, David Makol, frte HW. older,
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and order the respondenta ¢o £116 & raspense in oppowiticn, if any, -
6 er hafere clase of business o@ July 25, 2052 dn wirising by fildng
- wmy and all pleadingt with tha Offdee of tha Bankruptcy Clerk ae 75
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4 paper copy of the sama co the petitioner at thd Atianta ?riser
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2.0, Bow 150160

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: Via Cortified Mail #1 7003 1680 0005 1206 o748
Ulysses Thomaa Ware i i
Rag, No. $6218-019
Atlanta Prison Camp
P.G, Box 190160
‘Atlanta, GA 30314

t i daly 40, 2012 —
Tha Bouorabia Joyce Bihary y
Chief Judge
U.S, Hankruptey Court

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By 18s Courthoune

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8-2--(RICO Overt Act #5)

United States iupeey Court P. St
Narthern Diseact of Or ees
1290 Unired States Courthouse

75 Spring Street, 8.7.
Atlanta, Georgia: FOSOI-336: 7

(404) 213-1008

January 11,2012

Mr. Ulysses Thomas Ware
Reg. No, 56218-019
Atlanta Prison Camp
‘P.O, Box 150160
Atlanta, A 30315

Dear Mr. ‘Ware:

mo pie eagles of pleadings you tialled to Judge Morphy on or about Deshoiber 2i,
2011, were referred to me. The pleadings do sot appear to relate to any active bankruptey

case before Judge Murpiyy sud your purpose in sending copies of the pleadings is unclear.

The pleadings will not be shown to Judge Murphy and will not be made a part of
bankruptcy case file, [f you wish to communicate with the court coacerning the
above-referenced | oasé, you should do so by means of an appropriate motion or
application that ¢omplies with the Bankruptoy Code, the Bankruptcy Rules and the Local
‘Rules of Practice for the United States Bankruptcy Court for the Northern District of

7 truly yours, ;
at Sinback

Lawclerkto
Judge ee Hi Murphy

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Tuesday, February 18, 2025
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual

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Exhibit 8-3--(RICO Overt Act #6)

United StacePRahBeuprcy Court : Pa
Northern Discrict of Georgia es
1290 United States Courthouse
78 Spring Sureee, §.
en, Georgia SCIO3- 35657

Chambers of

(404) 218-1008

December 28,2011

(Ulysses Thomas: Ware:
Reg, No, $6218-019
“Atlanta Prison Camp
P.O Box 150166
Atlanta, GA 36315

Q_ Re Alpha Capital, AG Adenia, GA Litigation
Dear Mr. Wars; : : : _

Your letter antes Daoerntber: LOp2084 caine RISE tome. ‘The tonal rules, BLR 90032
provides:

Communicnt Lons to a Baines judge egaeing a request for an order or other
relief (including a request for an extension of time) or matters chat ure or may be
in Giapute, or coramunications of facts or legal iesues regarding # particular case,
‘proceeding, or matter pending before that Bankruptcy Judge, shall be by written
motion, pleading, of other Daper, and not by letter, Grdifiarily, adetter seeking
such action will not be treated as a motion, will aot be considered by the
Bankruptcy Court, and will not be filed with the Bankruptcy Clerk. Parties and
their counsel ghall not provide the ‘Bankrup: cy Court vath copies of

dence among ther ware ormay bein disoute.

poYour ener wiil not be shown to Judge Murphy and will not bemade apart of Debtors)
fic, Ifyou. wish to communicate with the court Condemiing theabove-referenced dase, you should 7
‘do se by méans Of ar appropriate motion of application which coriplies with the Bankrupicy
Code, the Bankruptey Rules and the Local Rules oF Practice for the United States Bankruptcy
Court for the Been: District of Georgia.

‘Law clerk te i
cet Margaret H. Mucphy

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8/27/2012 — i 8/4/2012 sie 8/15), 7 Z

Page 68 of 162

Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8-4--(RICO Overt Act #7)

P. 81 P.8]

United States Bankruptcy Court

Northern District of Georgia
1340 U.S. COURTHOUSE
78 SPRING STREET $.W,

ATLANTA, GEORGIA 30303

July 25, 2012

Mr. Ulysses Thomas Ware
Reg. No, §6218-019.
Atlanta Prison Camp

P.O. Box 150160

Atlanta; GA 30315

peteR Eset Dpeumerts: received by United. Statemtbunkerpteysticrepen ae
Dear Mir. Ware:

This Court has received papers mailed Byvou, ise Whze So of Georg any”
otive bankruptcy case filed in the Bankruptoy Co’ orthern District of The

tb which you make reference in your letter; Gra eatin Manageisant Coes 03-93031, was
dived qn Na 3h AaiAne panne AEATAES

8/27/2012 . 8/15/2012

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8-5--(RICO Overt Act #8)

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
1471 United States Courthouse
75 Ted Turner Drive, 58.W.

Atlanta, Georgia 30303

Chambers of
WENDY L. HAGENAU
Chief Judge

June 9, 2021

Mr. Ulysses T. Ware
123 Linden Blvd., Suite 9-L
Brooklyn, NY 11226

Dear Mr. Ware:
1am in receipt of your letter of April 22, 2021. The following responds to your requests.

1. You asked forall docketed and undocketed orders and pleadings in the referenced case. In my
letter to you of April 5, 2021, | reminded you that the Court had returned all non-docketed items
to you previously, A list of those non-docketed items was included, My April 5,2021 letter also
included a certified copy of the docket, By letter dated February 2, 2017, the Clerk of Court
provided you a copy of each pleading, order and notice entered in the case no. 03-93031, Group
Management Corp. Also included with that correspondence was a copy of the claims register
and the three claims filed in the above case, one claim filed by Boise Cascade Office Products
and two claims filed by Business Wire.

2. Inher letter of February 2, 2017, the Clerk responded to your request for all transcripts in the:
Group Management Corp. case. The Clerk informed you that, “This case file was sent to
archives as part of the normal process in 2010, To have a file retrieved from archives, the
Judicial Conference of the United States has established a retrieval tee of $64. | cannot contirm
the existence of any iranscripts in this file without the file retrieval, If you would like this file
ordered, please remit the required fee by money order or cashier's check made payable to Clerk,
United States Bankruptcy Court.” After your letter of April 22, 2021, we requested and obtained
the transcripts which is why the response to your letter was delayed, Copies of the two
transcripts received are enclosed and have been added to the docket of case no. 03-93031 at
entries 4] and 42,

3. You asked for the entry of an administrative order directing the Clerk's office to enter and certify
all orders in the case and to note and make available all transcripts. Such an order is not
necessary or appropriate, All requested transcripts have been provided to you, Enclosed is a
certified copy ofthe docket which reflects your corresporidetice beginning March 4, 2021,

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 94 of 270

Exhibit

responses from the Court, and other documents submitted through June 2, 2021 (docket entries 34-40).
While copies have previously been provided to you, certified copies in accordance with BR 5006 of the
orders entered at docket entries 3, 10, 18, 19, 26, 28, 32 and 33 are enclosed.

A copy of your letter of April 21, 2021, and this response are “docketed.” The case remains closed,

Very truly yours,

A-NAG2NAM

Wendy L. Hagénau
Chief United States Bankruptcy Judge

Enclosures

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re; The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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A-la—murder for hire order (02cv2219)(SDNY), Sand, J. authorized
the U.S. Marshals (SDNY) to use deadly force to collect the criminal
usury unlawful debts, GX 1, GX 2, GX 3, and GX 4, cf., McMahon’s DKt.
120 (02cv2219 (SDNY), see Ex. 1, supra.

23-865/23-869 |

ar rs

Anes District Court
ers District of New Work

“Alpha Capital Aktlengesclischaf, Amro
International, S.A.. Markham Moldings, Ltd.
and Stonestrect Limited Partnership,

Unregistered broker-dealers

Plaintifts, 7 che i

02 Civ. 2210 LBS) :

<ngainst~ oasis
Group Management Corp.; formerly } n '
as iVG Com., fomnerly known us internet x sete e
Wenture Group, fre. Elorion Landers and ‘ F i i

Becks Landers,

pie sa Actual innocent Brady exculpatory evidence.

Hobbs Act crime of vialent to collect GX 4-4, the RICO criminal
usury unlawiul debts. ‘ ; :
Whereas by onder dared March 17, 2003 this Cour ordered the incarceration of Thomas i

‘Ware and Barry Corker for their contempt of this Court's order and judgment of November 25,
ree eet
2002 until their contempt was purged by their honoring all of the conversion |

: i fequests duly .

: The Hobbs Act extorlion conspiracy overt act to msuc bogus, fraudulent,

submined by Plaintiffs, anand itegal Rule 144(k) legal opinions to the unregistered broker-deaiers
and Section 2(ai(11) statutory underwriters in violation of SEC Rel.
93-7196 n. 17 (1995). and U.S. v. Wolfson. 405 F.2d 779 (20 Cir. 1968)

Whereas the US, Marshals Service has requested that such onder contain additional

janguage to authorize the U.S. Marshals to the such action as may be required to carry owt hie ,

order's tetms and provisions; Sand instructed the U.S. Marshats they were aulbhorized to use deadly i
force if secessary, up ta and including miuader, if necessary to collect :
the RICO criminal usury untlavdul debts, GX 1-4—a Hobbs Act i
i 5 extortion. robbery, and kicinepping conspiracy orchestrated by E
Now, thenefore, itis Leonard & Sand, David N. Kelly, Thomas W. Thrash, Jr. the SEC, fhe ¢
; USAO (SONY), Art Rabinowitz, Peter W. Hall, Robert A. Katzmann,
Amaiya L. Kearse. Robert S: Sack. Michael J. Garcia, Alexander H,.
Southwell, KTS, Kenneth A. 2iter, Esq. Alpha Capital, AG, William 14,
Pauiey, UL Dennis S. Meir, John W. Mills, 1 the Atl, GA bankruptcy
court's ernpioyees. and others known and unknown, collectively, Ghe ~
Unindicted Coconspirators"). :

MICROFILM

MAY 2 9 2003 “SAN

Page 11 of ZB .
Thursday, February 29, 2024
Appx 66-3 and Memorandum (in re Sealed Cases, 185 F.3d 687 (6. C. Cir. 1999) (Garland, J.) analysis.

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Tuesday, February 18, 2025
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A-1b (con’t)}—02¢v2219 (SDNY), Sand, J. (deceased).

naiehet <tr”
uthorized individuals impersonating U.S. Marshals on Sept see: in
sarrorcder Appellant, Ulysses T. Ware to collect RICO

d G 2, GX 3, and GX4,
TP cas doar eae for the arrest of Thomas Ware and Barry

Corker and they shall stand committed in the custody of the U.S. Marshal in the district in which

they are arrested until the contempt is purged by honoring all of the conversion requests duly
acer ennai

submited by Plaintiffs; and it is durteer Hobbs Act kidnapping to collect an unlawful
debt.

Ordered that die U.S. Marshol for the Southey District of New York take all necessary

measures 10 affect service and enforcement of the order in any district of the United States where

Thomas Ware and Barry Corker maybe found; and it is further

Sand on behalf of the Habbs Act @gtoriion chininal ener pase in Basence authorized the U.S. Marshals if
necesary to murder Ulysses T. Ware, Esq. and Barry Corker to collect the RICO 18 USC 196 T16){(B) |

criminal vee unlaytyl Gabis, G25) 4- starshuls Service, called upon to execute the terms of this onder,
will be ee eee Sf fireee eveonanty’ le wares and Gevata Thomas Ware
Barry Corker, and wilt be ponnitied to enter Torcibly into to the premises of Thomas Ware’ 3 and
Barry Corker's principal residences, if they are reasonably believed to be inside and if the:

— The deadly f

US.DI.

On Sept. 1, 2004, ‘in All, GA pursuant to the Hobbs Act kidnapping, extortion, and robbery order, Appx, 34-
1, se Appx. 92-1, the US. Marshals (NDGA) broke into the law office of Ulysses T. Ware, Esq. with guns
; draws, atid demanded that Mr. Ware * ... give us thase stocks and those opinions right naw —- if you don't
Judge Thrash is waiting for us in the courthouse and you are going to jail today do you undersiand that ...

Mr. \Ware requested to see an arrest warrant, a search warrant or a court order and was told, “ _. we don't
have that you are coming with ws if you don't give us the stocks and opinions right now is that clear?”

Mr. Ware was handculfed, pushed around, and taken outside the 101 Marietta St. building and thrown in.
the back of a waiting cat and taken to the Federal courthouse at.75 Spring St, Adlanta, GA and was then
taken to a courtroom where District Judge Thamas W. Thrash. Je, was waiting, who did not have an arrest
warrant, a search warrant of ary court order that authorized Mr. Ware's arrest. Nevertheless, Judge
Thrash imposed a $256,000 ransom “——e ball) and detained (kidnapped) Mr. Ware in jail untit: he ransom
vias posted by Mr. Ware.

Page 12 of 29
Thursday, February 29, 2024 . a
Appx 66-3 and Memorandum (in re Sealed Cases, 185 F.3d 887 (D.C. Cir. 1999) (Garland, J.) analysis.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Legal Analysis—Bankruptcy Courts have authority to enter civil
contempt orders per the Second Circuit’s precedents.

Second Circuit: Bankruptcy Courts Have Inherent Authority to Impose Civil Contempt Sanctions

By Jones Day
Feb 6, 2024 ;

Because bankruptcy courts were created by Congress rather than under Article III of

the U.S. Constitution, there is a disagreement over whether bankruptcy courts, like
other federal courts, have "inherent authority" to impose sanctions for civil contempt
on parties that refuse to comply with their orders. The U.S. Court of Appeals for the
Second Circuit revisited this debate in In re Markus, 78 F.4th 554 (2nd Cir. 2023), The
court of appeals affirmed a bankruptcy court decision imposing sanctions on achapter
15 debtor's lawyer who repeatedly flouted the court's discovery orders and awarding
attorneys' fees to the debtor's foreign representative incurred in bringing a motion for
sanctions.

In so ruling, the Second Circuit reaffirmed its earlier decisions concluding that a
bankruptcy court has the inherent authority to impose civil sanctions for contempt.
However, the Second Circuit expanded the scope of that inherent authority to include
punitive civil contempt sanctions in an amount greater than it had approved in its
previous rulings. According to the Second Circuit, "we hold that a bankruptcy court's
inherent sanctioning authority includes the power to impose civil contempt sanctions
in non-nominal amounts to compensate an injured party and coerce future compliance
with the court’s orders."

Contempt Power of Federal Courts

U.S. federal courts have “contempt power" to ensure that litigants comply with laws |
and respect the courts. When parties refuse to comply with court orders or disrespect —
the judicial process, courts have long used punishment (and the threat of PEnenme ny
in the form of contempt to compel compliance.

The source of a federal court's power to punish for contempt is uncertain. Some courts |
and commentators have found the power to be implied from the "judicial Power of the
United States," which Section 1 of Article III of the U.S. Constitution vests in the U.S.
Supreme Court and lower courts created by Congress. See Ex parte Robinson, 86 U.S. -
(19 Wall.) 505, 510 (1874) ("The power to punish for contempts is inherent in all
courts...."); Gompers v. Bucks Stove & Range Co., 221 U.S, 418, 450 (1911) ("[T]he
power of courts to punish for contempts is a necessary and integral part of the

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independence of the judiciary, and is absolutely essential to the performance of the
duties imposed on them by law.... Ifa party can make himself a judge of the validity of
arders which have been issued, and by his own act of disobedience set them aside,
then are the courts impotent, and what the Constitution now fittingly calls the ‘judicial
power of the United States' would be a mere mockery. "): Robert J, Pushaw, Jr., The
Inherent Powers of Federal Courts and the Structural Constitution, 86 Iowa L. Rev. 735,
741-42 (2001) (stating that the power to sanction is an "implied WalspeDaa ie power"
of courts under Article IT).

Others have expressed the view that contempt power was not intended to be
‘encompassed in the "judicial Power" vested in federal courts by the

Constitution. See, e.g., Green v. United States, 356 U.S. 165, 193 (1958) (Black, 5
dissenting) (characterizing summary contempt as "an anomaly in the law"); Ronald
Goldfarb, The History of the Contempt Power, 1961 Wash. U.L.Q. 1, 2 (arguing that
contempt power appears to be “violative of basic philosophical approaches to the
relations between government bodies and people").

Contempt can be either criminal or civil. Criminal contempt is designed to vindicate the
authority of the court by punishing a litigant who has defied the court, whereas civil
contempt is designed to preserve and enforce compliance with court orders and to
compensate injured parties for losses sustained from noncompliance, See Downey v.
Clauder, 30 F.3d 681, 685 (6th Cir. 1994).

Addressing "contempts," 18 U.S.C. § 401 of the U.S, Code (Title Eighteen governs —
"Crimes and Criminal Procedure") provides as follows:

A court of the United States shall have power to punish by fine or imprisonment, or
both, at its discretion, such contempt of its authority, and none other, as—

(1) Misbehavior of any person in its presence or so near thereto as to obstruct the
administration of justice;

(2) Misbehavior of any of its officers in their official transactions;

(3) Disobedience or resistance to its lawful writ, process, order, rule, decree, or
command.

18s: C. § 401. In addition, Rule 42 of the Federal Rules of Criminal Procedure
provides that "[alny person who commits criminal contempt may be punished for that
contempt after prosecution on notice." Fed. R. Crim. P. 42.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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With respect to civil contempt, Rule 70 of the Federal Rules of Civil Procedure states
that if a party refuses "to perform any ... specific act [directed by the court] ... within
the time specified,” the court “may also hold the disobedient party in contempt.” Fed.
R, Civ; P. 70:

In addition, if a party fails to comply with a subpoena issued in connection with
discovery, Rule 45 of the Federal Rules of Civil Procedure provides that "[t]he court for.
the district where compliance is required—and also, after a motion is transferred, the
issuing court—may hold in contempt a person who, having been served, fails without
adequate excuse to obey the subpoena or an order related to it. Fed. R. Civ. P. 45(g).

Aside from constitutional, statutory, or regulatory authority, federal courts also have
"inherent authority” to enforce compliance with their directives by means of civil
contempt. See Int'l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 831
(1994); Fuery v. City of Chicago, 900 F.3d 450, 463 (7th Cir. 2018); EEOC v. Guardian
Pools, Inc., 828 F.2d 1507, 1516 (11th Cir, 1987).

Until the U.S. Supreme Court's ruling in Taggart v. Lorenzen, 139 S. Ct. 1795 (2019)
(discussed below), it was generally recognized that a federal court's inherent power to
hold a litigant in civil contempt could be exercised only if: (i) the order with which the
litigant allegedly failed to comply is clear and unambiguous; (ii) proof of

noncompliance is clear and convincing; and (iii) the litigant fails to attempt compliance
diligently and in a reasonable way. See King v. Allied Vision, Ltd,, 65 F.3d 1051, 1058
(2d Cir. 1995); Monsanto Co. v. Haskel Trading, Inc., 13 F. Supp.2d 349, 363 (E.D.N.Y.
1998). "Clear and unambiguous" means that the court's order or directive must enable
the litigant "to ascertain from the four corners of the order precisely what acts are
forbidden," Monsanto, 13 F. Supp. 2d at 363. "In the context of civil contempt, the
clear and convincing standard requires a quantum of proof adequate to demonstrate
‘reasonable certainty’ that.a violation occurred.” Levin v. Tiber Holding Corp., 277 F.3d
243, 250 (2d Cir. 2002) (citation omitted).

Do Bankruptcy Courts Have Contempt Power?

Even though bankruptcy courts were created by Congress under Article I of the
Constitution (and are now "units" of federal district courts), rather than as part of the
judiciary branch under Article III, most courts have determined that bankruptcy
courts, like other federal courts, have inherent civil contempt power. See In re Sanchez,
941 F.3d 625, 627-28 (2d Cir. 2019) ("As our sister circuits have explained, inherent
sanctioning powers are not contingent on Article III, but rather are, as their name
suggests, inherent in the nature of federal courts as institutions charged with judicial

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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functions. We therefore hold that bankruptcy courts, like Article III courts, possess
inherent sanctioning powers."); Alderwoods Grp., Inc. v. Garcia, 682 F.3d 958, 966
n.18 (11th Cir. 2012); see generally Collier on Bankruptcy ("Collier")  105.02[1][a]
(16th ed. 2023) (stating that "[t]he majority of cases conclude that all courts, whether
created pursuant to Article I or Article III of the Constitution, have inherent civil
contempt power to enforce compliance with their lawful judicial orders, and no specific
statute is required to invest a court with civil contempt power.").

Many courts have reasoned that bankruptcy courts have civil contempt power flowing
not only from “the inherent power of a court to enforce compliance with its lawful
orders," but also from section 105(a) of the Bankruptcy Code, which provides that:

[A bankruptcy] court may issue any order, process, ‘or judgment that is necessary or
appropriate to carry out the provisions of [the Bankruptcy Code].... No provision of [the
Bankruptcy Code] providing for the raising of an issue by a party in interest shall be
construed to preclude the court from, sua sponte, taking any action or making any

determination necessary or appropriate to enforce or implement court orders or rules, or
to prevent any abuse of process, Ba.

11 U.S.C, § 105(a) (emphasis added). See In re Walker, 257 B.R. 493, 496 (Bankr, N.D.

Ohio 2001) (citations omitted); accord In re Roman Cath. Church of Archdiocese of New
Orleans, 2023 WL 4105655, *16 (E.D. La. June 21, 2023); In re City of Detroit, 653 B.R.
874, 892 (Bankr. E.D. Mich. 2023); In re Kwok, 653 B.R. 480, 489 (Bankr, D. Conn.
2023); In re Brown, 2023 WL 4496925, *4 (Bankr. N.D. Ga. July 12, 2023).

The second sentence of section 105(a) (italicized above) was added in 1986 as part of

the Bankruptcy Judges, United States Trustees, and Family Farmer Bankruptcy Act

(Pub. L. No. 99-554), Some courts have determined that the addition indicates that

Congress meant section 105 to serve as the statutory basis for a bankruptcy court's

civil contempt power. See, e.g., Stephen W. Grosse, P.C., 84 B.R. 377, 386 (Bankr, E.D.
Pa, 1988); In re Miller, 81 B.R. 669, 676-78 (Bankr. M.D. Fla. 1988); In re Haddad, 68
B.R. 944, 948 (Bankr. D. Mass. 1987).

A bankruptcy court's inherent contempt powers are also indicated by Rule 9020 of the

Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), which provides that
"Rule 9014 [governing "contested matters" in bankruptcy] governs a motion for an
order of contempt made by the United States trustee or a party in interest." In
addition, Rule 70 of the Federal Rules of Civil Procedure, which, as noted previously,
authorizes a federal court to "hold [al disobedient party in contempt,’ applies in
bankruptcy “adversary proceedings" pursuant to Bankruptcy Rule 7070.

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In Taggart, the U.S. Supreme Court held that, based on traditional standards in equity
practice, a creditor may be held in civil contempt for violation of the bankruptcy
discharge injunction, but only “if there is no fair ground of doubt as to whether the
order barred the creditor's conduct." Taggart, 139 S. Ct. at 1799. According to the
Court in Taggart, "civil contempt may be appropriate if there is no objectively
reasonable basis for concluding that the creditor's conduct might be lawful.” Id. Stated.
differently, there is no fair ground of doubt when the creditor violates a discharge
injunction "based on an objectively unreasonable understanding of the discharge order
or the statutes that govern its scope." Jd, at 1802. A "creditor's good faith belief" that
the discharge injunction does not apply to an act in violation of the discharge injunction
does not by itself preclude a civil contempt sanction. Id, However, a creditor may not
be held in civil contempt merely because "the creditor was aware of the discharge
order and intended the actions that violated the order." Id. at 1803.

According to the bankruptcy court in In re City of Detroit, Michigan, 614 B.R. 255
(Bankr. E.D. Mich. 2020), after Taggart, the elements that must be proven for a court to
find a party in civil contempt are that: (i) the party violated a definite and specific court
order obligating it to perform or to refrain from performing a particular act; (ii) the party
acted with knowledge of the court order; and (iii) there is no fair ground of doubt as to
whether the order precluded the party's conduct (or stated differently, there was no
objectively reasonable basis to conclude that the party's conduct might be

lawful), Id. at 265-66.

Courts disagree as to whether a bankruptcy court's contempt powers extend to
criminal contempt. See Collier at J 9020.01[2] (citing cases and noting that "[t]here
may be a split developing among the circuits as to whether a bankruptcy court can
punish criminal contempt."); id. at {| 105.02[1][a] (stating that "[s]ome courts have
held that this inherent power extends to all contempts, be they civil or criminal, ... -
while others hold that it applies only to civil contempt and some forms of criminal
contempt (such as contempt committed in the presence of the court.").

The Bankruptcy Code, the Bankruptcy Rules, and the Federal Rules of Civil Procedure
also give bankruptcy courts the power to sanction disobedient litigants (and their
lawyers). For example, section 363(k) of the Bankruptcy Code provides that, with
certain exceptions, an individual injured by any willful violation of the automatic stay _
"shall recover actual damages, including costs and attorneys’ fees, and, in an
appropriate case, may recover punitive damages." In addition, if the court dismisses an
involuntary bankruptcy petition, it may grant judgment against the petitioning creditors

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for costs and attorneys’ fees, or even punitive damages if a creditor files an involuntary
case in bad faith. See 11 U.S.C. § 303(i).

Bankruptcy Rule 3002.1(j) authorizes a bankruptcy court to award reasonable
expenses and attorneys’ fees caused by the failure of home mortgagees to 0 provide
certain required notices to the debtor mortgagor.

Under Bankruptcy Rule 9011, an attorney or unrepresented litigant who signs any
court pleading or other document certifies that, "to the best of the person's knowledge,
information, and belief, formed after an inquiry reasonable under the circumstances,"
the document does not contain, among other things, false, misleading, frivolous, or
legally unsupported allegations. Fed. R. Bankr. P. 9011(a) and (b).

Bankruptcy Rule 9011(c) provides that "[i]f, after notice and a reasonable opportunity
to respond, the court determines that subdivision (b) has been violated, the court may,
subject to the conditions stated below, impose an appropriate sanction upon the
attorneys, law firms, or parties that have violated subdivision (b) or are responsible for —
the violation." Pursuant to Bankruptcy Rule 9011(c)(2), "[a] sanction imposed for
violation of this rule shall be limited to what is sufficient to deter repetition of such
conduct or comparable conduct by others similarly situated." Sanctions may include
“directives of a nonmonetary nature, an order to pay a penalty into court, or, if imposed
on motion and warranted for effective deterrence, an order directing payment to the
movant of some or all of the reasonable attorneys’ fees and other expenses incurred as
a direct result of the violation." Fed. R. Bankr. P. 9011(c)(2).

Sanctions are not available under Rule 9011 in connection with "disclosures and
discovery requests, responses, objections, and motions that are subject to the
provisions of [Bankruptcy] Rules 7026 through 7037." Fed. R. Bankr. P. 9011(d). The
discovery rules set forth in Bankruptcy Rules 7026 through 7037 authorize the
bankruptcy court in an adversary proceeding (and, unless the court orders otherwise,
contested matters in a bankruptcy case) to impose sanctions on a litigant or its
attorney in connection with discovery abuses under circumstances similar to those
described in Bankruptcy Rule 9011. See Fed. R. Civ. P. 7026(g)(3); Fed. R. Bankr. P.
901 4(c).

In addition, Rule 37 of the Federal Rules of Civil Procedure, which is made applicable
to bankruptcy adversary proceedings and contested matters by Bankruptcy Rules
7037 and 9014(c), provides that the bankruptcy court may impose sanctions for a
litigant's failure to comply with discovery requests or court discovery orders, including
an award of fees and expenses or orders compromising the noncompliant litigant's

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ability to effectively prosecute the litigation (e.g., dismissal of the action or the entry of
a default judgment in the action), or "treating as contempt of court the failure to obey
any [discovery] order except an order to submit to a physical or mental examination."
Fed. R. Civ. P. 37(b)(2), Rule 45(g) of the Federal Rules of Civil Procedure (authorizing a
federal court to hold a party refusing to comply with a subpoena in contempt) also
applies in bankruptcy cases pursuant to Bankruptcy Rule 9016.

Markus

Larisa Ivanova Markus (the "debtor”) is a Russian citizen who founded
Vneshprombank, Ltd. ("VB"), one of Russia's largest banks. In March 2016, a Russian
court commenced a bankruptcy proceeding against VB. Shortly afterward, the Russian
court granted a petition filed by one of the debtor's creditors to commence a
bankruptcy proceeding against her personally. The court appointed Yuri Vladimirovich
Rozhkov ("Rozhkov") to preside over the liquidation of the debtor's assets andto
pursue litigation against any entities that contributed to the debtor's bankruptcy. In
2017, the debtor was imprisoned in Russia after being convicted for embezzling $2
billion from VB.

In January 2019, Rozhkov, as the debtor's "foreign representative," filed a petition in
the U.S. Bankruptcy Court for the Southern District of New York seeking recognition of ©
the debtor's Russian bankruptcy proceeding under chapter 15 of the Bankruptcy Code.
According to the petition, Rozhkov sought recognition of debtor's Russian bankruptcy
for the purpose of obtaining discovery concerning the debtor's U.S, assets (including at
least 10 companies and apartments valued at more than $10 million). The U.S.
bankruptcy court granted the chapter 15 petition in April 2019.

Heated discovery disputes ensued almost immediately between Rozhkov and the
debtor's attorney, Victor A. Worms. Among other things, despite repeated discovery
requests, Worms made no effort to obtain responsive documents, arguing that he did
not need to comply because the U.S. bankruptcy court improperly recognized the
debtor's Russian bankruptcy (Worms filed a motion to vacate the recognition order in
June 2019).

The U.S. bankruptcy court overruled Worms's objections, and directed him to comply
immediately with Rozhkov's discovery requests. The court also informed Worms that
failure to comply could result in the imposition of sanctions. After Worms failed to
produce any discovery before the court-imposed deadline, he argued in a written
response to a subpoena that the requested discovery “exceed|[ed] the limited scope of
discovery provided for under Chapter 15." Worms also stated that, because the debtor

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was in prison, she had no documents responsive to the discovery requests in her
possession, and neither he nor his client had any duty to obtain and produce
responsive documents in the possession of the debtor's agents because such
documents were not in the United States.

In September, 2019, Rozhkov filed a motion for sanctions against Worms and the
debtor under Rules 37 and 45(g) of the Federal Rules of Civil Procedure (as made
applicable in bankruptcy cases by Bankruptcy Rules 7037 and 9016). In seeking a civil
contempt sanction against Worms in the amount of $1,000 per day until compliance,
Rozhkov submitted evidence of the identities and contact information of more than 30
known agents of Worms, 14 of whom were in the United States. |

After a hearing during which the U.S. bankruptcy court again warned Worms that he
would be sanctioned for noncompliance, the court found that Worms's violations of the
court's discovery orders were knowing, willful, and intentional, and entered an order
(the "sanctions order") imposing the requested monetary sanctions (amounting to
$34,000 for the days since the discovery deadline and $1,000 per day until
compliance) pursuant to Rule 37 of the Federal Rules of Civil Procedure and "the
court's inherent power to hold a party in civil contempt." The U.S. bankruptcy court
later awarded $60,000 in attorneys’ fees (the “fee order") against Worms personally to
compensate Rozhkov for costs incurred in connection with the sanctions motion. The
court did not state in the fee order the source of its authority to do so, but referenced
its previous opinion granting the sanctions motion.

‘On appeal of both the sanctions and fee orders, a U.S. district court affirmed the
bankruptcy court's imposition of civil contempt sanctions under its “inherent
authority," which Worms acknowledged existed, but remanded the case below for
determination of the appropriate amount, and vacated the $34,000 in "lump-sum
sanctions" as an improper criminal sanction. Because the bankruptcy court had not
specified the source of its authority to award attorneys’ fees to Rozhkov, the district
court vacated the fee order and remanded the case below for clarification.

On remand, the U.S. bankruptcy court held that Worms's contempt was cured as of
November 27, 2019, when a U.S.-based agent of the debtor contacted the debtor's
other agents to obtain the requested discovery. Based on the 55 days that Worms was
in contempt, the court imposed a total of $55,000 in sanctions. The bankruptcy court
also held that the fee award was based on its inherent authority, but reduced the
amount of the fees to $36,600. However, it also awarded Rozhkov $63,500 in fees
incurred in defending the district court appeal.

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Worms appealed again to the district court, which affirmed the sanctions award but

vacated the award of attorneys’ fees for defending the initial district court appeal,
reasoning that a bankruptcy court generally does not have the power under its inherent

sanctioning power to award fees incurred in connection with an appeal before another
court,

Worms appealed the ruling upholding the sanctions order and the fee order to the
Second Circuit. ee

The Second Circuit's Ruling
A three-judge panel of the Second Circuit affirmed the district court's ruling.
Writing for the panel, U.S. Circuit Judge Denny Chin noted that the issue of whether a

bankruptcy court has inherent authority to impose "non-nominal civil contempt
sanctions" was one of first impression before the Second Circuit.

He explained that, in Sanchez, the Second Circuit, guided by the U.S. Supreme Court's

ruling in Chambers v. NASCO, Inc., 501 U.S. 32 (1991), unequivocally held that
bankruptcy courts, like other federal courts, have "inherent sanctioning
power." Markus, 78 F.4th at 565 (citing Sanchez, 941 F.3d at 628). In addition, Judge —

Chin noted, in a previous decision, In re Kalikow, 602 F.2d 82 (2d Cir. 2010), the

Second Circuit concluded that "[t]he statutory powers given to a bankruptcy court
under § 105(a) complement the inherent powers of a federal court to enforce its own
orders .., [and] [t]hese powers are in addition to whatever inherent contempt powers

the court may have." Id. at 96-97 (citation and internal quotation marks omitted).

He further noted that in Law v. Siegel, 571 U.S, 415, 420-21 (2014), the Supreme
Court wrote that "[a] bankruptcy court ... may also possess ‘inherent power ... to
sanction abusive litigation practices."

However, Judge Chin emphasized, its previous rulings, including Zn re Gravel, 6 F4th

503 (2d. Cir. 2021), where the Second Circuit suggested that the imposition of non-
nominal punitive sanctions pursuant to a bankruptcy court's inherent authority

requires a finding of bad faith, dealt only with "relatively minor non-compensatory li.e.,

punitive] sanctions," unlike the "substantial, compensatory, and coercive sanctions

imposed against Worms here." Markus, 78 F.4th at 564-65.

The Second Circuit panel concluded that a bankru ptcy court's inherent authority
“extends beyond" the power to impose minor punitive sanctions, but "is by no means

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unlimited" and requires "caution and notice before use." Id. at 565 (internal quotation
marks and citation omitted). Judge Chin explained such limitations as follows:

(i) A bankruptcy court's invocation of its inherent authority to sanction abuse "is a last
resort for when an express authority is not up to the task," and the court "may not
contravene valid statutory directives and prohibitions."

(ii) A bankruptcy court must expressly invoke its inherent sanctioning powers for its
order to withstand appellate scrutiny.

(iii) A bankruptcy court must comply with the mandates of due process when deploying
its inherent powers.

(iv) Although a bankruptcy court need not always find bad faith before invoking its
inherent sanction power, the imposition of such sanctions may require an express
finding that a lawyer (acting as an advocate rather than an officer of the court) acted in
bad faith supported by clear eviclence that the lawyer's conduct was “entirely without
color" and "motivated by improper purposes." :

(v) A bankruptcy court may impose a civil contempt sanction that is compensatory or
coercive, not punitive. :

(vi) A contempt order is justified only where the movant establishes by clear and
convincing evidence that the contemnor violated the court's order.

Id. (internal quotation marks and citations omitted), Therefore, Judge Chin
emphasized, to demonstrate contempt justifying the imposition of sanctions, the party
seeking a contempt order must establish that: (i) the order with which the contemnor
failed to comply is clear and unambiguous; (ii) proof of noncompliance is clear and
convincing; and (iii) the contemnor failed to diligently attempt to comply ina
reasonable manner (the "King factors"). Id. at 566 (citing King v. Allied Vision, Ltd., 65
F.3d 10514, 1058 (2d Cir. 1995)).

Applying these principles, the Second Circuit panel ruled that the bankruptcy court did
not abuse its discretion in sanctioning Worms.

First, Judge Chin explained, because it is unclear whether the bankruptcy court could
have relied on its express power in section 105(a) of the Bankruptcy Code to enforce
compliance with a subpoena issued under Rule 45 of the Federal Rules of Civil

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Procedure, "the bankruptcy court was right to consider its inherent contempt
authority." Id. at 567.

According to Judge Chin, "most importantly," the bankruptcy court, in ordering
contempt sanctions, found that all of the King factors had been satisfied and that
Worms had acted in bad faith. Specifically, he wrote, the record clearly established
that the bankruptcy court's order was unambiguous, proof of Worms's failure to
comply was clear and convincing, Worms failed even to attempt compliance, and the
record "firmly support[ed] the bankruptcy court's finding that Worms ‘knowingly and
intentionally’ engaged in a ‘continuous pattern of obstructing legitimate

discovery.'" Jd. In addition, Judge Chin noted, because Worms had "abundant" notice
of the consequences of his refusal to comply with the bankruptcy court's discovery
orders pursuant to the court's inherent authority, Worms was afforded due process. _

Finally, the Second Circuit panel noted that, although the fee order did not expressly
state that the bankruptcy court was exercising its inherent authority in awarding
attorneys’ fees to Rozhkov, the order specifically incorporated the sanction order,
which did include an express reference, and Worms was clearly aware that that "the
bankruptcy court rested the civil contempt sanctions against him on its inherent
authority." Id. at 569.

Outlook

There are several key takeaways from the Second Circuit's ruling in Markus. First, the
decision clarifies that, in addition to a bankruptcy court's statutory powers under
section 105(a) of the Bankruptcy Code, and whatever powers the court may have to
sanction for contempt under applicable procedural rules, a bankruptcy court, like other
federal courts, has inherent authority to sanction a party for civil contempt under
appropriate circumstances. Second, if a bankruptcy court is relying on its inherent
authority to sanction a party for civil contempt, it must state so explicitly. Third,
although the Second Circuit has previously concluded that a bankruptcy court has the ~
inherent power to impose civil contempt sanctions in nominal amounts, the courtof. |
appeals has now ruled as a matter of first impression that such punitive sanctions may
also be imposed in non-nominal amounts.

Markus is an unusual case because it involved civil contempt sanctions in connection
with a discovery dispute in a chapter 15 case (discovery may generally be obtained in a
chapter 15 case in the same way that it is available in cases under other chapters of
the Bankruptcy Code). Moreover, the sanctions were levied against an attorney rather
than his client because the client was unable to respond to the discovery obligations.

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Recognizing that the client's compliance was not possible, the bankruptcy court
afforded the attorney multiple opportunities to respond by taking reasonable steps to _
comply, such as contacting entities that could provide the requested discovery. The
court sanctioned the attorney only after he failed to make any effort to do so, resulting

in the required finding of bad faith. The ruling is therefore also a cautionary tale.

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Exhibit 9--03-93031 Docket Report

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U.S. Bankruptcy Court
Northern District of Georgia (Atlanta)

Bankruptcy Petition #: 03-93031-mhm

Assigned to: Judge Margaret z-Murphy

Chapter 11
Voluntary
Asset

Claims Register

Debtor

Group Management Corp.
101 Marietta St.

Suite 1070

Atlanta, GA 30303
FULTON-GA

Tax ID / EIN: XX-XXXXXXX
aka TVG Corp.

U.S. Trustee _

Office of the United States Trustee
362 Richard Russell Building

75 Ted Turner Drive, SW

Atlanta, GA 30303

404-331-4437

Date filed: 03/18/2003
Date terminated; 06/03/2003
Date dismissed: 05/21/2003

Deadline for objecting to discharge: 06/30/2003

fabioteied by Sims W. Gordon, Jr.

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400 Galleria Parkway, SE
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(770) 955-5000

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Thomas Ware
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Ware, Inc.

101 Marietta St.

Ste 1070

Atlanta, GA 30303
404-522-1202

-_represented by James H. Morawetz

Office of U.S, Trustee

362 Richard Russell Bldg.
75 Ted Turner Drive, SW
Atlanta, GA 30303
404-331-4437 x121

Fax : (404) 730-3534
TERMINATED: 04/01/2003

Filing Date # Docket Text
83 Correspondence from Mr. Ware re Notice to Immediately Cease and —
Desist from all Civil and Criminal Contempts of the Brady Court
02/05/2022 Orders, et al. (scm) (Entered: 02/08/2022)
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02/01/2022

82

Notice of Criminal Contempt by DOJ Prosecutors in case nos
04cr1224and 05cr1115 (SDNY). (scm)

01/27/2022

81

Letter from Mr. Ware to DOT re litigation position. (scm) (Entered:
02/01/2022)

01/26/2022

80

| Information delivered by Mr. Ware re investigation. (scm) (Entered:

02/01/2022)

01/22/2022

79

NOTICE TO IMMEDIATELY CEASE AND DESIST FROM ALL
CIVIL AND CRIMINAL CONTEMPTS OF THE BRADY
COURT ORDERS, THE RULE 41(a)(2) FINAL JUDGMENT,
AND THE AUGUST 18, 2009, FINAL JUDGMENT ENTERED
IN UNITED STATES v. WARE, 07-5670 CXAP) (2d Cir.), Gov.-L1
jointly, (the Final Judgments). (scm) (Entered: 01/24/2022)

01/20/2022

78

-Copy of Letter to Garland re Demand to Disclose Brady

Exculpatory Evidence in cases 02cv2219 (SDNY), 03-0831 (D.
NV), 03-93031 (BC NDGA), 04cr1224 (SDNY) and OSer1115 |
(SDNY) (scm) (Entered: 01/21/2022)

01/17/2022

7]

Official notice of material fact witness status (scm) (Entered:
01/18/2022)

01/11/2022

76

Letter sent by Mr. Ware to Merrick Garland re O5cr1115 and
04cr1224 (SDNY). (sem) (Entered: 01/12/2022)

12/03/2021

75

Pleadings submitted by Mr. Ware re conspiracy in 0Scr1115 and

04cr1224 (SDNY). (scm) (Entered: 12/06/2021)

11/28/2021

74

Materials submitted by Mr. Ware related to Motions filed in
04cr1224 and 05cr1115 (SDNY). (scm) (Entered: 11/29/2021)

11/26/2021

73:

Part 4 of materials submitted by Mr. Ware in04cr1224 and OSer1 115.
(SDNY). (related document(s)70) (scm) (Entered: 11/29/2021)

11/26/2021

72

Part 3 of materials submitted by Mr. Ware related to 04cr1224 and
05cerl1115 (SDNY). (related document(s)70) (scm) (Entered:
11/29/2021)

11/26/2021

71

Part 2 of materials submitted by Mr. Ware in cases 04cr1224 and
O5cr 1115 (SDNY). (related document(s)70) (scm) (Entered:
11/29/2021)

11/26/2021

70

Part 1 of materials submitted by Mr. Ware related to Motion to
Compel in 04cr1224 and OScr1115 (SDNY). (scm) (Entered:
11/29/2021)

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69 Materials from Mr. Ware related to 04cr1224 and OSer11 [os
11/22/2021 (SDNY). (scm) (Entered: 11/29/2021)
68° Materials submitted by Mr. Ware re Brady evidence in 04cr1224
11/19/2021 and 05cr1115 (SDNY). (scm) (Entered: | uee0e))
67 . Submission by Mr. Ware re rule 11 plea transcript in 04cr1224 and
11/16/2021 05cr1115 (SDNY). (scm) (Entered: 11/19/2021)
66 Mr. Ware submissions re Supervisory Writ in 05erl115 and
11/12/2021 04cr1224 (SDNY). (scm) (Entered: 11/19/2021)
11/10/2021 65 Materials from Mr. Ware re: State Bar Grievance (ngs)
64
Brady Decisions re: Undisclosed Government Agreements in
11/10/2021 (7 pgs) | 04CR1224 and 05CR1115 (SDNY) (ngs)
61 Materials Submitted in 04CR1224 and 05CR1115 (SDNY) (ngs)
11/09/2021 (Entered: 11/1 0/2021)
63 Materials Filed in O4CRI 224 and 05CR1115 (SDNY) USAO
Manual/Motion to Compel. (ngs) Additional attachment(s) added on
11/09/2021 11/10/2021 (ngs).
62 Materials Submitted in 04CR1224 and 05CR1115 (SDNY) In re
Sealed Case (ngs) Additional attachment(s) added on 11/10/2021
11/09/2021 ee
60 Cony of Pleading filed in 04CR1224 and OSCRI115. (ngs) —
11/08/2021 Additional attachment(s) added on 11/10/2021 (ngs).
59 Communication from Mr. Ware to US Atty for SDNY re 04er1224
11/01/2021 and OSerl 115. (scm)
58 Documents filed in 04CR1224 and 05CR1115 (SDNY). (scm)
09/28/2021 (Entered: 10/04/2021)
56 Documents filed in 04CR1224 and OSCR1115(SDNY). (scm)
09/27/2021 (Enierey 10/04/2021)
55 Documents filed on 05CR1115 and 04CR1224 (SDNY). (scm)
09/25/2021 (Entered: 10/04/2021)
57 Documents submitted in 04CR1224 and 05CR1115 (SDNY). (com)
09/24/2021 (EDS: 10/04/2021)
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54 Petition re Brady Court Orders and Court Judgments filed in
04cr1224 and 0Ser1115 (SDNY). (scm) Additional attachment(s)
09/22/2021 added on 9/22/2021 (scm).

09/13/2021 53 Correspondence from Mr, Ware. (scm) (Entered: 09/14/2021)

52 Petition re Brady Court Orders and Court J udgments filed in
02cv2219, 04cr1224 and OScr1115 ( SDNY). (scm) (Entered:
09/13/2021 09/14/2021)

51 Letter to Judge Taylor-Swain in 04cr1224, 0Ser1115 and 04¢v2219,
09/13/2021 (scm) (Entered: 09/14/2021)

50 Copy of letter to State Bar of Georgia by Ulysses T. Ware dated
09/07/2021 Sept 6, 2021. (sem) (Entered: 09/08/2021)

49 Copy of Additional Criminal Contempt Claims filed in O8cr1115
08/31/2021 es and 04cr1224 (SDNY). (scm) (Entered: 09/08/2021)

48 Copy of Emergency Application for leave to file Rule 42(b)
criminal and civil contempt motion in case no 04cr1224 and
08/29/2021 05crl1115 (SDNY). (scm) (Entered: 09/08/2021)

06/23/2021 — 47 | Letter dated June 23, 2021 to Mr. Ulysses T, Ware. (scm)

46 Letter dated April 22, 2021 from Ulysses T. Ware (Received on
06/22/2021 4/22/21, docketed on 6/22/21), (sem)

45 Letter dated June 21, 2021 from Ulysses T. Ware. (scm) (Entered:
06/21/2021 06/22/2021)

Ad Letter dated June 15, 2021 from Ulysses T. Ware, (sem) (Entered:
06/15/2021 06/22/2021)

43 Letter dated June 9, 2021 to Mr. Ulysses T. Ware. (scm) (Entered:
06/09/2021 06/22/2021)

42 Transcript of Proceedings heard on 4/30/2003 (originally docketed
- | on 3/22/2005) (related document(s)30) (sem) Additional
06/09/2021 i attachment(s) added on 6/9/2021 (sem).

4] Transcript of Hearing on Emergency Motion of Debtor to Reject

Executory Contract (originally docketed on 4/24/2003) (related
document(s)25) (sem) Additional attachment(s) added on 6/9/2021

06/09/2021 (scm),

40 11 USC 1109(b) Statutory Parties in Interest Ulysses T. Ware and

06/02/2021 Group Management's Notice of Rule 33 and Rule 42(b) Criminal

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and Civil Contempt Proceedings filed in United States v. Ware,
04cr1224 and 05cer1115 (SDNY) and other Rule 5003 and 5006
Activities Filed by Group Management Corp. . (aam)

39 Exhibit #UTW-03: Ulysses T, Ware, May 29, 2021 UTW's Letter
dated December 11, 2011 to Kilpatrick, Townsend & Stockton, LLP
and Dennis S. Meir, Esq. Discussing KTS's fraud on the court, and
conspiracy to commit bankruptcy fraud in In re Group Management
Courtp., Case no. 03-93031-mhm (BC NDGA), Chapter 11 Filed by
05/29/2021. | : Group Management Corp. . (aam) (Entered: 06/02/2021)

38 Ulysses T. Ware and group Management's Administrative
Memorandum #4.01 and May 24, 2021 Memorandum #1.05
submitted to active United States Attorney (SDNY), Ms, Audrey —
Strauss, regarding In re Group Management corp., 03-93031-mhm
(BC NDGA) Chapter 11, and United States v. Ware, 04cr1224
(SDNY) trial exhibits GX-250, GX-251, and GX-252; and FINRA's
April 21, 2021, confirmation of KTS's client, unregistered broker-
dealer status of Alpha Capital, AG. Filed by Group Management

05/24/2021 | zs Corp. . (aam) Modified on 6/3/2021 (jle). (Entered: 06/02/2021)
04/21/2021 37 Letter dated April 21, 2021 to Mr. Ulysses T. Ware. (scm)
04/21/2021 36 Letter dated April 16, 2021 from Mr. Ulysses T. Ware. (scm)

35 Letter dated April 5, 2021, with attachments, to Mr. Thomas Ware.
04/05/2021 (scm)

34 Letter dated March 4, 2021 from Ulysses T, Ware (scm) (Entered:
03/08/2021 03/31/2021)

aa Copy of Order from 11th Circuit Court Re: 16-13978, Entered on
03/01/2018 3/1/2018. (yl) (Entered: 03/05/2018)

32) | Copy of Order from 11th Circuit Court Denying Motion to WRIT of
03/17/2017 Mandamus Entered on 3/17/2017. (yl) (Entered: 03/05/2018)

31 Notification of Appeal to 11th Circuit 16-13978 (yl) (Entered:
06/23/2016 03/05/2018)

30 Transcript of Proceedings heard on 4/30/2003 at 10:00 am. (related

document(s)13 Motion to Dismiss Case, , Motion to
Convert/Reconvert Case to Ch. 7 (FEE), Motion to
Convert/Reconvert Case to Ch. 7 (FEE) filed by Office of the US
Trustee, 9 Motion to Reject Executory Contract or Lease filed by
Group Management Corp., 15 Motion to Dismiss Case, filed by —
Alpha Capital Aktiengesellschaft, et al.) (mab, ) (Entered:
03/22/2005 03/23/2005)

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06/03/2003 E Case Closed/Dismissed. a Candy a Modified on 6/3/2003 (mab, ).
29 BNC Certificate of Service of Order eplaniide Case with
Prejudice Service Date 05/23/03. (Related Doc # 28) (Admin. )
05/23/2003 (Entered: 05/24/2003)

28 Order Dismissing Case with prejudice. Debtor ineligible to file
: under Title 11 for 180 days. Service by BNC Entered on 5/21/2003.
05/21/2003 : (related document(s)13, 15) (mab, )

Hearing on motion of Debtor to reject executory contract, Hearing
on motion of the U.S. Trustee for the case to be dismissed with
prejudice or for the case to be converted to Chapter 7 and Hearing
on motion of Alph Capital and others for the case to be dismissed or
for relief from stay. ALL Hearings reset from April 29, 2003.
(related document(s)13, 15, 9, 5) Hearing to be held on 5/12/2003 at —
05/09/2003 02:30 PM at Courtroom 1204, Atlanta, (phd, )

2 BNC Certificate of Service of Order on Application to Employ
Service Date 05/01/03. (Related Doc # 26) (Admin.) (Entered:
05/01/2003 05/02/2003)

26 Order DENYING Application to Employ Thomas Ware as Attorney
: for Debtor, (Related Doc # 17) Service by BNC Entered on”
04/29/2003 4/29/2003. (mab, )

24 Exhibits ; Exhibit A to Voluntary Petition (related document(s)1)
_| filed by Sims W. Gordon Jr. on behalf of Group Management Corp.,
04/25/2003 — (Gordon, Sims)

23.5 Schedules : List of Equity Security Holders filed by Sims W.
04/25/2003 Gordon Jr. on behalf of Group Management Corp.. (Gordon, Sims)

22 Attorney Disclosure Statement (related document(s)1) filed by Sims
W. Gordon Jr. on behalf of Group Management Corp.. (Gordon,
04/25/2003 Sims)

21 Schedules 4, B, C, D, E, F, G, and H filed by Sims W. Gordon Jr.
04/25/2003 on behalf of Group Management Corp.. (Gordon, Sims)

20 | Statement of Financial Affairs (related document(s)1) filed by Sims
W. Gordon Jr. on behalf of Group Management Corp.. (Gordon,
04/25/2003 Sims)

25 Transcript of Hearing on Emergency Motion of Debtor to Reject
04/24/2003 i Executory Contract. (mab, ) (Entered: 04/28/2003)

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Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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04/23/2003

19

Order and Notice of Reassignment of Hearing of Debtor's
Emergency Motion to Reject Executory Contract with Alpha
capital; US Trustee's Motion to Dismiss Case with prejudice or, in
the Alternative, Motion to convert case from 11 to 7; and Motion To
Dismiss or, in the Alternative, for Relief from the Automatic Stay.
Service by Courtroom Deputy. Entered on 4/23/2003, (related
document(s)9,13,15) Hearing to be held on 4/30/2003 at 10:00 AM
at Courtroom 1204, Atlanta, (mab, ) Text and Linkage Modified on
4/25/2003 (ysg, ).

04/17/2003

18

04/13/2003

Order and Notice of Assignment of Hearing. Continued hearing on
Debtor's Emergency Motion to reject executory contracts. Service
by Courtroom Deputy, Entered on 4/17/2003. (related
document(s)9) Hearing to be held on 4/29/2003 at 10:00 AM at
Courtroom 1204, Atlanta, (Bennington, Merrill)

Application to Employ Rosenfeld, Glodman & Ware, Inc. as its
attorney in for the exclusive matter of, Emergency Motion to Reject
the Funding Agreement with c/s filed by Thomas Ware on behalf of _
Group Management Corp.. (Bennington, Merrill) (Entered:
04/16/2003)

04/11/2003

16

| --Brief in Support of Emergency Motion to Dismiss or, in the

Alternative, for Relief from the Automatic Stay, and Request for
Emergency Hearing filed by Dennis S. Meir on behalf of Alpha
Capital Aktiengesellschaft, et al.. Responses due by 5/5/2003,
(Attachments: 1 Exhibit "A" "B" and "C") (Meir, Dennis) Text

04/11/2003

15

| Emergency Motion to Dismiss Case --Emergency Motion to Dismiss”

Modified on 4/16/2003 to reflect correct wording (Wiggins, Irene),

or, in the Alternative, for Relief from the Automatic Stay, and
Request for Emergency Hearing filed by Dennis S. Meir on behalf
of Alpha Capital Aktiengesellschaft, et al.. Responses due by
5/5/2003, (Attachments: 1 Exhibit "A" and "B") (Meir, Dennis)

04/11/2003

14

Response to Motion --Opposition to Emergency Motion to Reject
Executory Contract (related to motions(s)9) filed by Dennis S. Meir
on behalf of Alpha Capital Aktiengesellschaft, et al., (Meir, Dennis)

04/10/2003

13

Motion to Dismiss Case With Prejudice or, in the Alternative,
Motion to convert/reconvert case from 11 to 7 Fee Collected $ 0.,
Receipt Number N/A. filed by James H. Morawetz on behalf of
Office of the US Trustee. Responses due by 5/5/2003,
(Attachments: | Exhibit "A") (Morawetz, James) Modified on
4/11/2003 (Meador, Sheila).

04/10/2003

12

Certificate of Service of Order and Notice of Assignment of
Hearing (related document(s)10) filed by Sims W. Gordon Jr. on
behalf of Group Management Corp.. (Gordon, Sims)

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04/10/2003

11

Notice of Appearance (Attorney) --Entry of Appearance, Request

for Special Notice, Request for Service of Papers, and Reservation

of Rights filed by Dennis S. Meir, Kilpatrick Stockton LLP, counsel
to Alpha Capital Aktiengesellschaft, Amro International, S.A.,

| Markham Holdings, Ltd., and:'Stonestreet Limited Partnership, filed
by Dennis S.-Meir on behalf of Alpha Capital aS et.
al.. (Meir, Dennis)

04/08/2003

10

Order and Notice of Assignment of Hearing re: Emergency Motion
to Reject Executory Contract or Lease Service by Courtroom |
Deputy, Entered on 4/8/2003. (related document(s)9) Hearing to be
held on 4/15/2003 at 02:15 PM at Courtroom 1204, Atlanta,
(Mitchell, Gregory)

04/08/2003

Emergency Motion to Reject Executory Contract or Lease filed by
Sims W. Gordon Jr. on behalf of Group Management Corp..
oe ay

04/08/2003.

Application to fploy' Counsel for Debtor (related document(s)7)
filed by Sims W. Gordon Jr. on behalf of Group Management Corp..
(Attachments; 1 Exhibit A: Declaration of Attorney) (Gordon, Sims)

04/08/2003

Notice of Appearance (Attorney) filed by Sims W. Gordon Jr. on
behalf of Group Management Corp.. (Gordon, Sims)

04/01/2003

Notice of Appearance (Attorney) filed by James H. Morawetz on
behalf of Office of the US Trustee, (Morawetz, James)

03/31/2003

Motion to Reject Executory Contract or Lease, Motion to Set
Hearing on Motion to Reject Executory Contract; (Proposed
order/notice of hearing submitted to chambers) filed by Thomas
Ware on behalf of Group Management Corp..

(Attachments: | Exhibit #1) (Wilson, Melanie) (Entered:
ee)

03/28/2003

BNC Certificate of Service of Order Service Date 03/28/03.
(Related Doc # 3) (Admin.) (Entered: 03/29/2003)

03/26/2003

Order to Corporate Debtor to Obtain Counsel Service by BNC
Entered on 3/26/2003. (Owens, Deborah)

03/20/2003

Notice of Filing of Bankruptcy Case, Meeting of Creditors &
Deadlines w/Certificate of Service by BNC Service Date 03/20/03.
(Admin.) (Entered: 03/21/2003)

03/18/2003

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Meeting of Creditors (Chapter 11) Ch, 11 First Meeting to be held
on 5/1/2003 at 10:00 AM at Hearing Room 365, Atlanta. Objections
for Discharge due by 6/30/2003, (Blount, Danya)

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1 Voluntary Petition (Chapter 11) Fee Collected $ 830, Receipt —
Number 01025308. Disclosure Statement due by 7/16/2003, Chapter
11 Plan due by 7/16/2003. Schedule A due 4/2/2003. Schedule B
due 4/2/2003, Schedule C due 4/2/2003. Schedule D due 4/2/2003.
Schedule E due 4/2/2003. Schedule F due 4/2/2003. Schedule G due |
4/2/2003. Schedule H due 4/2/2003. List of Equity Security Holders
due 4/2/2003, Statement of Financial Affairs due 4/2/2003. Atty
Disclosure State. due 4/2/2003. Filed by Thomas Ware on behalf of
Group Management Corp.. (Blount, Danya) Additional
03/18/2003 attachment(s) added on 11/2/2007 (smw, ).

Respectfully submitted,
/s/ Ulysses T. Ware
For: Ulysses T. Ware, Statutory Party in Interest, and Group Management.

From the Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L

Brooklyn, NY 11226

(718) 844-1260
utware007@gmail.com

January 26, 2025, 9:34:33 AM

Signed this 26" day of January 2025, under oath and subject to the penalty of perjury, having
personal knowledge of the facts pursuant to 28 USC § 1746 in Brooklyn, NY.

Ulysses T. Ware
/s/ Ulysses T. Ware
Brooklyn, NY

Filed by Ulysses T. Ware and Group Management, 11 USC § 1109(b) Statutory Parties in
Interest!” and Prevailing Parties in 02cv2219 (SDNY), see Dkt. 90, Dec. 20, 2007, Plaintiffs”
Voluntary Rule 41(a)(2) Dismissal with Prejudice.

2 11 U.S. Code § 1109 - Right to be heard

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Exhibit 10—Frauds, crimes, and Hobbs Act predatory 18 USC § 2, 152,
157, 371, 401(2), 401(3), 924 (c), 1201-02, 1341, 1343, 1344, 1346,
1951(a), 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b)
racketeering loan sharking conspiracy of Margaret H. Murphy, Joyce
Bihary, Coleman Ray Mullins, M. Regina Thomas, Patrick Sinback,
Wendy L. Hagenau, Colleen McMahon, Frank V. Sica, Tailwind
Management L.P., FINRA, Michael H. Dolinger, JAMS, Alexander H.
Southwell, Jeffrey B. Norris, David N. Kelley, Arie Rabinowitz,
Trailblazer Merger Corp., I, Joseph Hammer, Konrad Ackermann, Baker
& McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, Robert
Alberal, London, Fisher, LLP, Nall & Miller, LLP, John Doe Insurance
Companies, ##1-5, John F. King, Kilpatrick, Townsend, & Stockton,
LLP, Wab Kadaba, J. Henry Walker, IV, Dennis S. Meir, John W. Mills,
Il, James H. Morawetz, Kenneth A. Zitter, Esq., the State Bar of Georgia,
Office of the General Counsel, the U.S. Trustee, Region, 21, Michael S.
Bertisch, et al.

(a) The Securities and Exchange Commission may raise and may appear and be heard on any issue in a
case under this chapter, but the Securities and Exchange Commission may not appeal from any judgment,
order, or decree entered in the case.

(b) A party in interest, including the debtor, the trustee, a creditors’ committee, an equity security holders’
committee, a creditor, an equity security holder, or any indenture trustee, may raise and may appear and
be heard on any issue in a case under this chapter. (Pub. L. 95-598, Nov. 6, 1978, 92 Stat. 2629.)

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The Office of Ulysses T. Ware
123 Linden Blvd, Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

November 8, 2024, 9:34:33 AM

RE: Ulysses T. Ware and FINRA's Joint Declaration of
Stipulated Irrefutable Material Facts of Criminal Violations
of the Federal Money Laundering and Racketeering Laws
and Certification of Unregistered Broker-Dealer Status.

Financial Industry Regulatory Authority (FINRA)
1735 K St., NW
Washington, D.C. 20006-1506

Dear Mr. Robert W. Cook, Mr. Robert L.D. Colby, and Ms. Marcia E. Asquith: (via email)

Introduction

The conduct of FINRA, Emma Jones, et al. in regard to this request for disclosure of public
records maintained in the ordinary course of business, FINRA, Emma Jones, Esq., et al. finds
themselves in a very perilous position—that is, aiding, abetting, and directly participating in a
conspiracy to conceal the unregistered broker-dealer status of the Requested Persons, sce Ex.
1-4, infra. an egregious violation of 18 USC §§ 2, 371, 1951 (a), 1956-57, 1961(6)(B), and 1962(d);
and violations of Bar Association Rules of Professional Conduct."

Given the recent discovery of actual innocent Brady exculpatory evidence by Mr. Ware’s
private investigators, it has become necessary to undertake to confirm with regulatory authorities
the official broker-dealer status of the Requested Persons. Accordingly, unless FINRA submits to
Mr. Ulysses T. Ware at utware007@gmail.com a sworn Declaration of Material Fact signed by
its executives, Robert W. Cook, Robert L. D. Colby, and Marcia Asquith, Esq., not later than
3:00 PM EST on November 8, 2024, time being of the essence, that opposes, denies, and refutes

13 A Bar complaint will be filed against Emma Jones, et al. given their lying, fraud, wire fraud, deceit,
deception, and unethical professional conduct in violation of the Rules of Professional Conduct with respect
to processing the Oct. 29. 2024, request for certified records, see Ex. A, infra,

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each Fact, with credible evidence, of unregistered broker-dealer status in the below Ware-FINRA
Joint Declaration and Stipulation of Fact, then:

(i) FINRA will be deemed to have stipulated and certified that it has no evidence or
good faith opposition or legal or factual denial to each Fact as stated, and

(ii) | Further certifies that FINRA lacks a good faith factual or legal basis supported by
credible evidence on which to deny and refute each Fact in regard to the
unregistered broker-dealer status for Tailwind Management L.P., Frank
Vincent. Sica, Michael Scott Bertisch, Colleen McMahon, and Arie
Rabinowitz, (the “Requested Persons”), an illegal association in fact, a
continuing criminal enterprise as defined in 18 USC § 1961(4).'4 See Ex. A, infra.

If a competing FINRA Declaration is not received by Mr. Ware on November 8, 2024, by
3:00 PM EST:

(i) FINRA will be deemed to have certified, conceded, and factually stipulated as fact that
Sica, Bertisch, McMahon, Tailwind, and Rabinowitz are not and have never lawfully registered
with FINRA as broker-dealers as required by federal law, 15 U.S.C. § 780(a)(1); and

(ii) the Requested Persons currently and/or have operated in the United States since on or
about 2001 in criminal violation of federal broker-dealer registration laws.

Mr. Ware will present the Ware-FINRA Joint Declaration to the Director of the FBI,
relevant State Bar associations, and United States Federal Courts as a FINRA certified judicial
admission and stipulated fact of criminal violations of the federal securities laws by each
Requested Person--that is, a pattern of racketeering activities as defined in 18 USC § 1961(4), a
continuing Hobbs Act, 18 USC § 1951 (a) predatory loan sharking and money laundering criminal
enterprise. See Ex. 4, 4.1, 4.2, Ex. 5, and Ex. 8, infra.

Sincerely,

/s/ Ulysses T. Ware
November 7, 2024

Brooklyn, NY

'4 Jointly and severally are currently engaged in the illegal underwriting of Hobbs Act predatory loan
sharking convertible promissory notes, see Ex, 4 and Ex. 8, infra, and other unregistered securities,
originated, underwritten, funded, administered, and collected in violation of NYS Penal Law, § 190.40, the
criminal usury law, a class E felony, and in violation of federal racketeering laws, 18 USC §§ 2, 157(2),
(3), 371, 924(c), 1201-02, 1341, 1343, 1344, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d);
and 15 USC §§ 77e, 77x, 780(a)(1), and 78ff, a pattern of racketeering activities.

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End of Declaration ...cccccccececccsscsesseesesseseeceeceeccseseseesenensensseneaseesseesensaessasaeenesieenesneraneasedessesbereneranseess 113

AA, — Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA certification of unregistered broker-
dealer status for Tailwind Management L.P., Colleen McMahon, Frank V. Sica, Michael S.
Bertisch, and Arie Rabinowitz, an illegal association in fact, a continuing criminal enterprise, ....114

A. Ulysses T. Ware’s Oct. 29, 2024, FINRA request for certified Form BD (broker-dealer) public
records regarding Colleen McMahon, her alleged spouse Frank V. Sica, Michael Scott Bertisch, and Arie
Rabinowitz. Cf... Ex. 6.0 inte, .ccccccscscccserssesecsscsssessenessesesssereseesseesscsussssaesseeeesessesssaneaesceetsesentearentenssenaees 116

B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify broker-dealer public records. .117

C. According to the SEC’s website Tailwind Capital ( CRD# 156562) is registered only as an
“<nvestment advisor” not a broker-dealer; and according to the SEC and confirmed by FINRA’s
BrokerCheck system Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never registered
as broker-dealers on Form BD according to all available public information. See Ex. 1-3, infra... 118

D. Tailwind’s SEC certification and admission that its employees (Frank V. Sica, Colleen McMahon,
Michael §. Bertisch, or Arie Rabinowitz) are vot registered broker-dealers authorized to engage in the
business of underwriting and funding criminal usury convertible promissory notes, see Ex. 8 and GX 1,

GX 2, GX 3, and GX 4 in U.S. v. Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, TWM., cinemas 119
Exhibit 1--Frank V. Sica (CRD# 1481917)—employed by Tailwind Capital Management LP
(CRD#H156562), .ccssccssssesesessescssnsevavsasscacseevaeecsersascacsseassensusnesneraneravenesseysosacsstuanenssensneessesanenanecnseneseerantens 120
No public Form BD (broker-dealer) public records maintained by FINRA regarding Frank V. Sica
were Confirmed On NOV. 6, 2024, vcccccccsssecsessecesecneessseestescnerseseeteeeeeseessesseraueersnraserseeseeesesaueueeseraneanes 121
Exhibit 2--Michael Scott Bertisch (CRD# 5154572)—employed by Tailwind Capital Management LLP
(CRD# 156562) ...cceccsccsecssesestsseerenssenesesssesesseacsssssenssnsnevseransacsnevsnsvaneasssevansacsseranensesenaneecenstaney isessanesensanenees 122
No public Form BD (broker-dealer) public records maintained by FINRA regarding Michael Scott
Bertisch. It was confirmed on Nov. 6, 2024. .....cccceceesesseseeteereceseecetensenerseesienenenseseesseesesnnersnsaneanenas 123
Exhibit 3--Colleen McMahon (DOB: July 18, 195l—no CRD number available)—employed by Tailwind
Management LLP (CRD# 156562).....cccscsescseseetessescesesnessscesaerernensseseetersatesneressstersssesascensesersennenansaaneeys 124
No public Form BD (broker-dealer) public records maintained by FINRA regarding Colleen McMahon
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Exhibit 4--Arie Rabinowitz (DOB: Dec. 27, 1972) (No CRD number available on BrokerCheck) .....ccceee 126
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status, See Ex. 5, iN fra. cccceccccceccsesssssesscsecseseeeeteesecieeesssessntssesesneeeesnecescseisessesdsiemescimeaseesaereessaciaeenseetentensens 127
Exhibit 4.2—Rabinowitz and LH Financials’ loan sharking adMiSSIONS, ........ccceeeeeeseeteteteeeetenesersens 128

No public Form BD (broker-dealer) public records maintained by FINRA regarding Arie
Rabinowitz were confirmed on Nov. 6, 2024. oo... cece ee ete ereneeseneneeenesneeeneneneeneeiseany 129

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Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-dealer status for each 02¢v2219

(SDNY) plaintiff, affiliates, and agents of Tailwind Capital, L.P., Frank V. Sica, and Colleen
McMahon certified by FINRA’s Marcia Asquith, Esq... cccccccsceseesesteetseeescesseesrseaesasenseereesaes 130

Exhibit 6.0--Tailwind Capital L.P. Form ADV page 23 filed with the Securities and Exchange
Commission (SEC) on March 30, 2024, admitted under oath that Tailwind is net registered as a 15 USC
3780(a)(1) broker-dealer in the United States. Accordingly, Colleen McMahon and Frank V. Sica
personally violated (1) federal law, 15 USC §8 77e, 77x, and 78ff, and (2) NYS Penal Law, section
190.40, the criminal usury law, a class E felony by underwriting more than $100 million in criminal

Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024, Form ADV, see Ex. 7, attached
hereto, incorporated by reference herein, and made a part hereof: Tailwind admitted under oath that
Tailwind’s senior management approved (“pre-cleavance”) Frank V. Sica’s and Colleen McMahon’s
(employees and/or agents of Tailwind) $100 million investments in criminal usury convertible
promissory notes, the same null and void ab initio, uncollectable, and unenforceable subject matter
involved in U.S. v. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v. Group Management Corp., et
al., 02cv2219 (SDNY) (MeMahon, J.) and in In re Group Management Corp. 03-9303 1 (BC NDGA)
(WLH) Chapter 11. See Ex. 6-3 infra, Dkt. 258 03-9303 1 (BC NDGA) (Hagenau, C.I.). c.ccceceeseseerere 132

Exhibit 6.2—(McMahon, Hagenau, and Gitner’s mafia RICO 18 USC 2, 157, 371, 1341, 1343, 1503,
1951(a), 1961(6)(B) and 1962(d) Overt and Predicate Acts). Collusion, conspiracy, and coordination of

Jim Crow racially-motivated retaliatory. vindictive, and punitive moot void ab initio leave to file
sanctions initiated in concert and by judicial collusion of Wendy L. Hagenau and Colleen McMahon—see
02cv2219 (SDNY), Dkt. 139, 139-1, and 139-2, MeMahon and her husband, Frank V. Sica, are both
wnregistes ed bi oker-dealers, personally owned more than $22 million in criminal usury convertible
promissory notes similar to GX J, GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt acts in furtherance of the
conspiracy to commit bankruptcy fraud, Hobbs Act attempted armed robbery, armed aggravated assault
and battery, conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951, 1956-57, 1958-59,
1961(6)(B), and 1962(a-d). See In re Colleen McMahon, 02-24-90036jm (2d Cir.) re: Complaint of
criminal judicial misconduct (Pending), ......ccccscsscessssesseseescesecsessseccssseessecsenseecesesseseeceuesseceeesaeeseeeaseneas 133

Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re Group Management Corp., 03-
93031 (BC NDGA) Chapter 11, Hagenau, C.J. re 18 USC §§ 157(2), (3) and 1961(6)(B) conspiracy to
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Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV, March 30, 2024—that is, actual
innocent Brady exculpatory evidence concealed and suppressed by Atlanta, GA law firm Kilpatrick,
Townsend, & Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, IIL, J. Henry Walker, IV,
Colleen McMahon, Daniel Gitner, Edgardo Ramos, and Wendy L. Hagenau in violation of the Aug. 10,
2007, Dkt. 32, U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371, and

401(2) and 401(3) civil and criminal contempt of a lawful Brady disclosure court order, cf., Ex. 6.2, supra
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Exhibit 8.0—Colleen McMahon, Frank V. Sica, Arie Rabinowitz, LH Financial Services, and Tailwind’s
illegal underwriting of criminal usury convertible promissory notes in violation of federal laws, 15 USC
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Exhibit 8.1--Colleen MeMahon and Frank y. Sica’s Massive +$22,000,000 Personal Ownership in
Hobbs Act RICO Criminal Usury Convertible Promissory Notes Underwritten in violation of 15 USC

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§§ 77e, 77x, 780(a)(1). and 78ff; and NYS Penal Law, section 190.40, the criminal usury law, ¢ class E
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Exhibit 8.2: Judge McMahon’s and convicted felon Edward M. Grushko’s money laundering that
involved unregistered broker-dealer and RICO unlawful debt creator and collector Alpha Capital, AG.
What are Judge McMahon and her spouse, Frank V. Sica’s relationship to Alpha Capital, AG, Kenneth A.
Zitter (Harvard Law), Dennis S. Meir (Harvard Law), Thomas W. Thrash, Jr. (Harvard Law), LH Financial

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Exhibit 8.23—Trailblazer Merger Corp., |, Hobbs Act money laundering conduit arranged by LH

Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq., Alexandria Kane, Esq.,
Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D. Sack, Amalya L. Kearse, Damian
Williams, Frank V. Sica, Tailwind Capital Management LLP, and other unindicted coconspirators to
launder the profits and proceeds derived from Hobbs Act extortion, loan sharking, kidnapping, murder
for hire, bribery, bank fraud, private equity fraud, securities fraud, and other racketeering activities. 158

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Ware-FINRA Joint Declaration of Indisputable Facts

I, Ulysses T. Ware, this 7 day of November 2024, in Brooklyn, NY pursuant to 28 U.S.C. § 1746,
declare under oath and subject to the penalty of perjury that the following facts are true and correct,
based on my personal knowledge and submit this declaration of facts based upon evidence
obtained and analyzed from FINRA's BrokerCheck system, corroborated by Exhibit 7, Exhibit 8,
GX 1-4, and other exhibits referenced infra. Each fact presented herein is indisputable, supported
by credible evidence of violations of federal securities laws, the NYS Penal Law, and federal loan
sharking and money laundering laws.

Joint Stipulated and Certified Undisputed Material Facts

1. On November 6, 2024, FINRA's BrokerCheck system confirmed that Frank V. Sica is
not a registered broker-dealer, evidenced by the absence of any active or inactive broker-
dealer registration for Frank V. Sica in the public FINRA records. Ex. 1, and Ex. 6.0, infra.

2, On November 6, 2024, FINRA's BrokerCheck system confirmed that Colleen McMahon
is not a registered broker-dealer, as no registration history or regulatory filings were found
under her name in the BrokerCheck database. Ex. 3, and Ex. 6.0, infra.

3. On November 6, 2024, FINRA's BrokerCheck system confirmed that Michael S. Bertisch
is not a registered broker-dealer, with no broker-dealer credentials or filings on record
within FINRA's system. Ex. 2, and Ex. 6.0, infra.

4. On November 6, 2024, FINRA's BrokerCheck system confirmed that Arie Rabinowitz is
not a registered broker-dealer, based on the complete lack of registration documentation or
regulatory submissions in FINRA's BrokerCheck. Ex. 4, and Ex. 5, infra.

5. None of the individuals mentioned in Facts 1-4 hold registration as broker-dealers with the
SEC or FINRA, pursuant to 15 U.S.C. § 780(a)(1), which mandates that individuals acting
as broker-dealers must be duly registered with the SEC and/or FINRA to legally engage in

securities transactions. Cf., Ex. 4.1, 4.2, 8, and Ex. D, infra.

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6. LH Financial Service, operating under the direction of individuals referenced in Facts 1-4,
has no record of broker-dealer registration with either the SEC or FINRA, which was
confirmed on May 17, 2021, by FINRA’s Marcia Asquith, Esq. a thorough search of both
BrokerCheck and SEC registration databases. Ex. 5, infra.

7. Tailwind, through its direct involvement in funding activities and financial underwriting,
lacks the broker-dealer registration required under federal securities laws, as confirmed by
the absence of Form BD filings in both FINRA and SEC records. Ex. 6, and Ex. 7 at page
23, and Ex, D, infra.

8. BrokerCheck confirmed the absence of Form BD registration records for each individual
named above, indicating that none complied with the mandatory broker-dealer registration
requirements for underwriting activities. Ex. 1-5, infra.

9. Each individual identified in Facts 1-4 has knowingly engaged in underwriting, funding,
and collection of criminal usury convertible promissory notes, as documented in Exhibit 8,
and GX 1-4, which detail their involvement in structuring, promoting, and collecting on
these illegal criminal usury convertible promissory notes financial instruments. See Ex. 4,
4.1, 4.2, and Ex. 8, infra.

10. The illegal and criminal business activities engaged in and conducted by Frank V. Sica,
Colleen McMahon, Michael S. Bertisch, Tailwind, LH Financial Services, and Arie
Rabinowitz included the origination, underwriting, funding, selling, and collection of
criminal usury convertible promissory notes to third parties, evidenced by transactional
records, investor agreements, and emails communications in regard to Ex. 4.1, 4.2, and 8

and GX 1-4, see Ex. 4, 4.1, 4.2, 5, 6.0, and 6.1 infra.

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11. These criminal usury convertible promissory notes were not registered as securities under

15 U.S.C. § 77e, which requires all securities offered for public sale to be registered, and

the failure to comply is documented by the absence of SEC registration numbers for

these financial | instruments. See SEC Release 33-7190 n. 17 (1995) (‘Section 2(a)(11)

statutory underwriters are_required to register [with the SEC] all distribution of

securities.”), (emphasis added).

12. The underwriting activities described were performed without the required SEC or FINRA
broker-dealer registration, directly contravening 15 U.S.C. § 780(a)(1), as evidenced by
the lack of any filings or approvals authorizing these individuals to act in a broker-dealer
capacity. See Ex. 1-5, Ex. D, Ex. 6.0, 6.1, and 6.3, infra,

13. Tailwind and LH Financial Services, see Ex. 4.1 and 4.2, infra, has been engaged
extensively and continuously (engaged in “a good few hundred” loan sharking
transactions as an unregistered broker-dealer)’ from 2001 to the present 2024 in the
business of originating, underwriting, funding, and collecting Hobbs Act extortion
payments—required to be disgorged back to the debtor,'!° on these criminal usury

convertible promissory notes, see Ex. 8, infra, without broker-dealer registration, see Ex.

1-4, and Ex. 6.0 and 6.1, infra, with transactional evidence showing their role in facilitating

and managing the flow of funds between investors and issuers. See Ex. 7, attachment.

'S Quoting unregistered broker-dealer Arie Rabinowitz during the U.S. v. Ware, 04cr1224 (SDNY) trial and
also see Ex. 6.3, the conspiracy to commit bankruptcy fraud, 18 USC § 157(2), (3) by Wendy L. Hagenau,
Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP and its partners Wab Kadaba, Dennis S.
Meir, J. Henry Walker, IV, John W. Mills, III, and others involved in the Hobbs Act loan sharking criminal
enterprise. See Ex. 11-1, KTS memorandum, attached hereto and incorporated by reference herein, in heac
verba,

16 See 15 USC § 78p(b) and Roth v. Jennings, 489 F.3d 499, 506-10 (2d Cir. 2007) (Kearse, J.).

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14. The promissory notes carried criminally usurious interest rates in violation of NYS Penal
Law § 190.40, with interest rates 200-2000%, as detailed in the promissory note
agreements and financial disclosures in Exhibits 4.2 and 8.

15. LH Financial Service, and Tailwind under the direction and management of Rabinowitz,
Frank V, Sica, Colleen McMahon, and Michael 8. Bertisch, engaged in repeated criminal
usury transactions, see Ex. 4 and Ex. 8, infra, showing multiple promissory notes issued at
usurious rates over an extended period of 20 years—that is, a pattern of racketeering
activities.

16. The individuals in Facts 1-4 actively solicited investment from multiple entities using
unregistered, criminally usurious promissory notes, as evidenced by communications,
solicitation emails, and marketing documents associated with Ex. 4 and Ex. 8, infra, also
see Ex. 7, attached hereto.

17. The evidence, as contained in GX 1-4, and Ex. 8 demonstrates that these securities were
marketed and sold to unaccredited investors, which constitutes a violation of the Securities
Act, as none of the investor accreditation standards under Rule 506(b) or Regulation D
were met. See SEC Release 33-7190 n. 17 (1995).

18. Under the definition set forth in 18 U.S.C.§ 1961(6)(B), these activities constitute loan
sharking, as the convertible promissory notes involved clearly carried usurious interest
rates (200-20000%) and were issued with the intent to extract above-market returns from
borrowers (Group Management Corp. and others) under duress.

19. The criminal usury convertible promissory notes (see GX 1-4, and GX 5), see Ex. 4 and

Ex. 8, infra, contained illegal unenforceable terms that clearly indicated usurious interest

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rates far above the legal threshold, with explicit language in the agreements detailing
interest rates ranging from 200% to 2000%, well above the permissible limit under NYS

Penal Law, section 190.40, the criminal usury law, a class E felony.

20. Ex. 4 and Ex 8, infra, provides documentation of promissory note terms with interest rates
exceeding 200%, consistent with the statutory definition of criminal usury under NYS
Penal Law, and include detailed calculations of principal and interest that violate the legal
threshold.

21. These illegal criminal usury underwriting activities were not limited to a single transaction
but were systematically repeated, as evidenced by Ex. 4.1, 4.2, and Ex. 8, which contains
a chronological listing of over “a good few hundred” separate promissory note issuances
involving the same terms and parties.

22. Colleen McMahon, Sica, Bertisch, and Rabinowitz acted as a representative of Tailwind
and LH Financial Service in negotiating criminal usury unregistered convertible
promissory notes, and other unregistered securities with investors, signed correspondence
and negotiation drafts contained in Exhibit 8 infra demonstrating their direct involvement
in the criminal enterprise.

23. FINRA's Nov. 6, 2024, BrokerCheck responses confirmed that Sica, Bertisch, McMahon,
Tailwind, LH Financial Services, McMahon, and Rabinowitz did not submit or maintain

Form BD as required for lawful broker-dealer operations, evidenced by the lack of any

public disclosure of Form BD filings or approvals. See Ex. \-5, and see Ex.6.0 infra,

24. SEC Form BD, see 15 USC § 78o(a)(1), is required for lawful underwriting activities

involving convertible promissory notes, and none of the named individuals had an active

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filing on record, which was confirmed through both FINRA BrokerCheck and SEC
EDGAR system searches, see Ex. 1-5, infra.

25. See Ex. 4.1, 4.2, and Ex. 8 documents that the promissory notes were explicitly intended
for funding the operations of LH Financial Service and Tailwind, reflecting commercial
activity typical of broker-dealers, as shown by the use of proceeds sections in the
promissory note agreements and Ex. 7.

26. The overwhelming evidence establishes a clear pattern of activity involving unregistered
securities, as referenced in Exhibits 4.1, 4.2, and 8, infra, which includes transactional
ledgers, correspondence, and promissory note copies detailing multiple issuances.

27. Arie Rabinowitz played a substantial role in facilitating the funding operations, including
negotiating terms for several of the usurious promissory notes (GX 1-4), as evidenced by
email threads and signed agreements indicating his direct participation in discussions. See
Ex. 4.1 and 4.2, infra.

28. Exhibit 8 further reveals that Sica, Bertisch, McMahon, and Tailwind sold the unregistered
securities were sold across state lines, involving interstate commerce, thereby bringing
these transactions under federal jurisdiction pursuant to 15 U.S.C. § 77q.

29. Violations of 15 U.S.C. § 77e, 77x, and 78ff apply to each individual identified herein due
to their direct and/or indirect participation in the offering of unregistered securities, as
documented in investor communications and failure to properly register these financial
instruments. See Ex. 4.1, 4.2, and 8.

30. Michael S. Bertisch, Esq., Tailwind’s “general counsel” and “compliance officer” (see Ex.

2, infra) directed the underwriting, funding, enforcement, collection, and administration of

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payments related to criminal usury notes, see Ex. 2, and Ex. 8, infra, in violation of NYS
Penal Law, section 190, and federal loan sharking statutes, as evidenced by 18 USC §
1961(6)(B), which details his role in managing delinquent payments and enforcing
collection.

31, FINRA's BrokerCheck system reflects a lack of broker-dealer registration for Tailwind's
involvement in these funding transactions, with no public records available that show
compliance with registration requirements. See Ex. 1-5, infra.

32. Criminal usury is a Class E felony under NYS Penal Law § 190.40, and each individual
(Sica, McMahon, Bettixch, and Rabinowitz), Tailwind, and LH Financial Services all
knowingly engaged in these criminal activities with knowledge of the usurious nature of
the transactions, as evidenced by internal communications acknowledging the interest rates
and discussing potential regulatory scrutiny. Cf. Ex. 4.1, 4.2, and Ex, 8, infra; see Ex. 11-
1 attached hereto, and also see Ex. 7 attached hereto.

33. The criminal actions of the individuals and entities named herein were knowingly

conducted without broker-dealer registration, as confirmed by FINRA’s BrokerCheck

system on Nov. 6, 2024, cf., with Ex. 1-8, showing that each person was aware of

registration requirements but failed to comply.

34, The violations of 18 U.S.C. § 1961(6)(B) demonstrate that these underwriting activities
constituted loan sharking under federal law, with explicit intent to lend at rates exceeding

legally permissible levels while coercively collecting payments. See Ex. 4-8, infra; cf. Ex.

11-1, and Ex. 6.2 and 6.3, infra.

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35. The overwhelming evidence points to a coordinated effort by Frank V. Sica, Colleen
McMahon, Michael S. Bertisch, LH Financial Service, Tailwind, and Arie Rabinowitz to
engage in illegal underwriting of criminal usury promissory notes without proper broker-
dealer registration (15 USC § 780(a)(L1) and FINRA’s Form BD), in violation of both
federal securities laws and state usury statutes, as substantiated by documentary evidence
in Ex. 1-5, regarding GX 1-4 and Exhibit 8 regarding McMahon’s et al. criminal usury
debts.

36. Further examination of the BrokerCheck database and corroborating documents reveal, see
Ex. 7, attached hereto, that Frank V. Sica, Colleen McMahon, Michael S. Bertisch,
Tailwind, LH Financial Services, and Arie Rabinowitz deliberately circumvented broker-
dealer registration requirements in order to obscure their illegal activities, as evidenced by

their illegal underwriting activities, see Ex. 6.2 and 6.3, infra; and Ex, 11-1 attached hereto,

37. Bertisch, Sica, Rabinowitz, McMahon, and convicted felon Edward M. Grushko, Esq.
explicitly discussed structuring the transactions in a manner designed to evade regulatory

detection, demonstrating a calculated effort to violate securities laws and engage in

criminal usury.

38. Colleen McMahon's role in the issuance of convertible promissory notes included direct
obstruction of justice during the 02cv2219 (SDNY) judicial proceedings, see Dkt. 120,
137, 141, and 151, cf., Ex. 6.2 and Ex. 6.3, infra, where she and Wendy L. Hagenau
knowingly and deliberately obstructed and impeded all attempts by Mr. Ware to gain
access to the Brady actual innocent exculpatory evidence contained herein, and contained

in Ex. 6 and Ex. 7; where she (McMahon) knowingly assisted, aided, and abetted by

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Wendy L. Hagenau, dnd Atlanta, GA law firm Kilpatrick, Townsend, & Stockton, LLP
(Wab Kadaba, John W. Mills, III, Dennis S. Meir, and J. Henry Walker, IV) conspired to
coverup and conceal the unregistered dealer status of their (KTS’) clients, the 02cv2219
(SDNY) plaintiff, see Ex. 5 and Ex. 6.2 and 6.3, infra, despite lacking proper broker-dealer
registration, as shown in investor correspondence included in Exhibit 5, and the 02cv2219
(SDNY) plaintiffs lacked Article II] standing to collect criminal usury debts, GX 1-4.

39. Exhibit 8 provides additional proof that the criminal usury convertible promissory notes

personally underwritten and owned by Sica, approved by Tailwind’s senior management,

see Ex. 6.1, infra, and McMahon were marketed with false representations regarding their
legality, including statements made by Bertisch, Tailwind, and Sica to investors that the
notes were compliant with all applicable laws, despite the absence of registration and
inclusion of criminal usurious interest rates.

40. Financial ledgers maintained by Rabinowitz, LH, Sica, McMahon, Tailwind, et al. detail
multiple payments made by investors under these extortionate promissory notes, with funds
being transferred directly to Sica, McMahon, Tailwind, Rabinowitz, and LH Financial
Service without any regulatory oversight or protection for the investors, highlighting the
unlawful nature of the transactions.

41, Internal financial statements from Tailwind, McMahon, Rabinowitz, and LH will show that
proceeds from the usurious promissory notes were used to fund additional unregistered
securities offerings, indicating a continuous cycle of illegal funding operations.

42. The individuals involved (named in Facts 1-4 above) in the Hobbs Act loan sharking and

money laundering criminal enterprise knowingly failed to disclose the usurious nature of

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the promissory notes to investors, as indicated by the convoluted language in GX 5, the so-
called subscription, cf., Ex. 6.3, infra, maintained by Rabinowitz and LH, and similar
documents maintained by McMahon, Sica, Bertisch, and Tailwind that intentionally
concealed the actual interest rates being charged, found in the unregistered securities
reference in Ex. 4.1, 4.2, andin Ex 8.

43. Arie Rabinowitz and convicted felon Edward M. Grushko, Esq. were actively involved in
drafting misleading contractual language in the promissory notes, GX 1-4, and see Ex. 4.2,
infra, aimed at disguising the true interest rates and avoiding regulatory penalties, as
evidenced by Ex. 4.1 sworn testimony.

44. The overwhelming evidence in Ex 1-8, infra, and Ex. 7, attached hereto, demonstrates that
each individual named herein knowingly, intentionally, and willingly, participated in,

facilitated, or directed activities that qualify as securities fraud under 15 U.S.C. § 78j(b)

and Rule 10b-5, as they made false representations and omissions regarding the nature

and legality of the promissory notes, GX 1-4 and Ex. 8, infra. See Ex. 6.2, 6.3, infra, and

see EX. 11-1 attached hereto.

45. The criminally usurious interest rates, ranging from 200% to 2000%, as detailed in Exhibit
4.1, 4.2, and Ex. 8, infra, cf., GX -5, 9]10.1(iv)'” were calculated in a manner designed to
impose severe financial pressure on borrowers, with repayment terms that left borrowers

unable to fulfill their obligations, effectively placing them under duress.

'7 Unregistered broker-dealer Arie Rabinowitz and the Atlanta, GA law firm Kilpatrick, Townsend, &
Stockton, LLP’s CEO Wab Kadaba (404) 815-6500 or (404) 532-6959 have copies of GX 1-4, and GX 5,
the criminal usury unlawful debt underwriting contracts.

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46. Financial analysis of the promissory notes, found in GX 1-4 and Ex. 8, infra., reveals that
the effective interest rates, when including additional fees and penalties, far exceeded even
the nominal usurious rates (as high as 2000%) disclosed, further compounding the
violations of NYS Penal Law § 190.40, a class E felony.

47. Ex. 6, 6.1, 6.2, 6.3, infra, and Ex. 7 and Ex. 11-1, attached hereto are the criminal and
coercive methods used by Tailwind, Bertisch, Sica, Rabinowitz, LH Financial Services,
and McMahon for circumventing and obstruction of the SEC's regulations on the offering
(underwriting) of securities, including structuring offerings to avoid reaching thresholds
that would trigger mandatory registration. '®

48. The criminal usury convertible promissory notes, GX 1-4, cf., Ex. 6.3, infra, underwritten
by LH Financial Service and Tailwind, see Ex. 8, infra, were used in furtherance of a
broader criminal and fraudulent scheme to attract investor funds under false pretenses, as
evidenced by Exhibits 7 and 8.

49. The individuals named herein in Facts 1-4, supra, deliberately chose not to register

with FINRA or the SEC to avoid the scrutiny that accompanies broker-dealer

oversight,

50. The pattern of activity described in Exhibit 8 and GX 1-4 demonstrates a clear and ongoing
conspiracy among Frank V. Sica, Colleen McMahon, Michael 8S. Bertisch, Arie

Rabinowitz, LH Financial Service, and Tailwind to defraud investors, evade registration

18 McMahon, Bertisch, Sica, and the executive management of Tailwind, see Ex.. 6.1, infra, lied, committed
perjury, and committed fraud in Form ADV, a statutory regulatory filing, see Ex. 7, attached hereto, and
falsified Form ADV to omit Tailwind, Sica, McMahon, Bertisch, and Rabinowitz’s illegal underwriting
activities.

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requirements, and exploit borrowers through criminally usurious loans, in violation of

multiple federal and state laws.

Signed this 7" day of November 2024, in Brooklyn, NY under oath, subject to the penalty of
perjury, and pursuant to 28 USC 1746, having personal knowledge of the facts.

Ulysses T. Ware
/s/ Ulysses T. Ware
Brooklyn, NY
November 7, 2024

End of Declaration

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AA. Ulysses T. Ware’s Oct. 29, 2024, Request for FINRA
certification of unregistered broker-dealer status for Tailwind
Management L.P., Colleen McMahon, Frank V. Sica, Michael S.
Bertisch, and Arie Rabinowitz, an illegal association in fact, a
continuing criminal enterprise.

The Office of Ulysses T. Ware
123 Linden Blvd, Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

__ Wednesday, November 6, 2024 _
Time is of the essence
Ms. Emma Jones, Esq.: emma.jones@finra.org

Ms. Marcia Asquith, Esq. (FINRA’s custodian of records)
marcia.asquith@finra.org

Office of the General Counsel-- FINRA

RE: Request for Certification of no business records regarding the broker-dealer
status of the requested persons (Sica, Bertisch, Rabinowitz, and McMahon) kept by
FINRA in the ordinary course of business. See Ex. 1, 2, 3, and 4, infra.

Dear Ms. Jones and Ms. Asquith:

The purpose of this supplemental request is to confirm and clarify the
previous request, to wit: the certification of non-existence of any broker-dealer
business records held by FINRA for the named individuals, which is critical for
ongoing compliance and due diligence processes.

Enclosed you will find the personal identifying information for each of the
individuals listed below, derived from a public records search. This information is
provided to enable FINRA to accurately determine whether it maintains any records
related to these individuals. Please ensure that the enclosed information is handled
confidentially and used solely for verification purposes.

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Based on a recent in-depth worldwide investigation by an international
business intelligence service it has been discovered that the requested persons
knowingly have underwritten, funded, administered, and collected more than 200
issues of unregistered securities, including criminal usury convertible promissory
notes that violated NYS Penal Law, section 190.40, and federal law, 18 USC §
1961(6)(B)—that is, a Hobbs Act conspiracy, 18 USC § 1951(a), to commit loan
sharking, Id. § 1961(6)(B), and money laundering, Id., § 1956-57.

Given the critical nature of the information requested, I would be most
grateful for your expedited attention to this matter.

This request for certification is made pursuant to applicable FINRA guidelines
and regulations governing the accessibility of public records, as well as to ensure
that no records exist that may affect the pending investigation involving these
individuals.

The information provided contains personally identifiable information and is
intended solely for use by FINRA for the purposes of verifying the existence or non-
existence of business records. Please handle this information in accordance with
applicable data privacy laws and regulations.

Thank you for your prompt attention to this matter. Should you require any
additional information or have any questions, please do not hesitate to contact me.

At this time Mr. Ware is not requesting the disclosure of any alleged
“confidential information” only the disclosure of the public information required
to be maintained by FINRA regarding Form BD is being requested for disclosure,
or if no such business records are maintained in the ordinary course of business, then
FINRA is obligated to certify that fact.

Sincerely,
/s/ Ulysses T. Ware

November 6, 2024

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Document 5-13

Filed 03/07/25

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A. Ulysses T. Ware’s Oct. 29, 2024, FINRA request for certified Form
BD (broker-dealer) public records regarding Colleen McMahon, her
alleged spouse Frank V. Sica, Michael Scott Bertisch, and Arie

Rabinowitz. Cf., Ex. 6.0 infra.

i Reset Form

REQUEST FORM

click the Submit button above, which will create an email to send the fonn to FINRA.

If hitting the Submit button does not automatically create an omall, plaase forward the form

by email io DL-OCCartification

Dfinra.org.

FINRA typically processes and olactronically delivers certified copies of faquested documents
within 14 business days of receiving this completed farm.

Submit

To request certified copies of a publicly available FINRA business record, please complete this form and

Requesting Agency { Finn / Organization
{if applicable):

The Office af Ulysses T. Ware

Contact Person:*

Ulysses T. Ware

Contact Email:*

utware007@gmail.com

Contact Phone:
{enter numbers only; oo dashes of thar
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(718) 844.1260

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Number:

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USC 78p(a}(1) broker-dealer records of the
ae rsons: (1) Collaan McMahon, (2)
Frank V. Sica, (3) Arie Rabinowtiz, and (4)
Michael Bertisch.

‘This is an urgent matter and Is litigation related.

the 15

Purpose of Request:

[| Litigation-Relatad
4 Investigation

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CJ Other (ploase spacify):

Other information that may ba haipful to
fulfil this request:

The above individuals are engaged in the
underwriting of criminal usury notes.

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Tuesday, February 18, 2025

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify
broker-dealer public records.

Rosy Gmail Ulysses Ware <utware007@gmail.com>
Urgent Broker-Dealer certification request

1 message

Ulysses Ware <utware007@gmail.com> Tue, Oct 20, 2024 at 9:39 AM

To: DL-OGC Gertification Requests <OL-OGCCertificationReq@finra.org>
Bee: Ulysses Ware <UTWARE007@gmail.com>

October 29, 2024, 9:39 AM
Subject: Certification Request: Urgent — Litigation Related
Dear FINRA Certification Team,

Attached, please find a completed Certification Request Form dated October 29, 2024. |
am requesting certified copies of broker-dealer records in connection with a litigation-
related matter, pursuant to 15 USC 78o(a)(1). This request is regarding the following
individuals:

4. Colleen McMahon

2. Frank V. Sica

3. Arie Rabinowitz
4. Michael Bertisch

The requested records pertain to their roles in underwriting criminal usury convertible
promissory notes. Given the nature of the case, | would appreciate expedited
processing of this request.

Should you require any additional information to fulfill this request, please do not
hesitate to contact me. | am reachable via email at utware007@gmail.com or by phone
at 718-844-1260.

Thank you for your prompt attention to this matter.
Best regards,

Ulysses T. Ware
The Office of Ulysses T. Ware

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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C. According to the SEC’s website Tailwind Capital (CRD# 156562)
is registered only as an “investment advisor” not a broker-dealer; and
according to the SEC and confirmed by FINRA’s BrokerCheck system
Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never
registered as broker-dealers on Form BD according to all available public
information. See Ex. 1-3, infra.

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UNIFORM APPLICATION FOR INVESTMENT ADVISER REGISTRATION fav, 1072023

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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D.  Tailwind’s SEC certification and admission that its employees
(Frank V. Sica, Colleen McMahon, Michael S. Bertisch, or Arie
Rabinowitz) are not registered broker-dealers authorized to engage in the
business of underwriting and funding criminal usury convertible
promissory notes, see Ex. 8 and GX 1, GX 2, GX 3, and GX 4 in U.S. ».
Ware, 04cr1224 (SDNY). See Ex. 4 and Ex. 8, infra.

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FORM ADV ‘OMA: 32S-.0049
UNIFORM APPLICATION FOR INVESTMENT ADVISER REGISTRATION Rev. 10/2021
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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 1--Frank V. Sica (CRD# 1481917)—employed by Tailwind Capital Management LP
(CRD#156562).

485 Lexington Ave, NY, NY 10017

law, 15 USC 780(a)(1), as a broker-dealer, and therefore is not authorized to underwrite criminal
usuary convertible promissory notes in violation of NYS Penal Law, section 190.40, the criminal
usury law, a class E felony, See Ex, 6.0, 6.1. and 8, infra.

Frank Sica.

Partner
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Tuesday, February 18, 2025
(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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No public Form BD (broker-dealer) public records maintained by FINRA regarding Frank V.
Sica were confirmed on Nov. 6, 2024.

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 2--Michael Scott Bertisch (CRD# 5154572)—employed by
Tailwind Capital Management LLP (CRD# 156562)

485 Lexington Ave, NY, NY 10017

According to FINRA’ BrokerCheck database system it was confirmed on
Nov. 6, 2024, M ichael [Scott Bertisch is not and has nev er reg istered as re uired
by federal_ law 15 USC 780(a)(1), as_a_br
authorized to underwrite criminal usuary convertible pmniigsary notes in violation
of NYS Penal Law, section 190.40, the criminal usury law, a class E felony. See Ex.
4 and Ex. 8, infra. .

Michael Bertisch
Partner, General Counsel & Chief compliance Officer.

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No public Form BD (broker-dealer) public records maintained by FINRA regarding Michael
Scott Bertisch. It was confirmed on Nov. 6, 2024.

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Exhibit 3--Colleen McMahon (DOB: July 18, 1951—no CRD number
available)—employed by Tailwind Management LLP (CRD# 156562)

485 Lexington Ave, NY, NY 10017 or
500 Pearl St
New York, NY

According to FINRA’ BrokerCheck database system, it was confirmed on
Nov. 6, 2024, Colleen McMahon is not and has never registered as re uired by

federal law, 15 USC 780(a)(1), as a broker-dealer, and therefore is not authorized

to underwrite criminal usuary convertible promissory notes in violation of NYS
Penal Law, section 190.40, the criminal usury law, a class E felony. See Ex. 4 and
Ex. 8, infra.

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No public Form BD (broker-dealer) public records maintained by FINRA regarding Colleen
McMahon was confirmed on Nov. 6, 2024.

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Exhibit 4--Arie Rabinowitz (DOB: Dec. 27, 1972) (No CRD number
available on BrokerCheck)

LH Financial Services, Corp.
160 Park Ave, South

Suite 2701

New York, NY 10019

According to FINRA’ BrokerCheck database it was confirmed on Nov. 6,
2024, Arie Rabinowitz and L. .H. Financial Services Corp., see Ex. 5, infra, are
not and have never registered as required by federal law, 15 USC § 780(a)(1),
as a broker-dealer on FINRA’s Form BD, and therefore are prohibited and not
authorized to underwrite criminal usuary convertible promissory notes, GX 1, GX
2, GX 3, and GX 4, government trial exhibits in U.S. v. Ware, 04cr12224 (SDNY),
in violation of NYS Penal Law, section 190.40, the criminal usury law, a class E
felony. See Ex. 4.0, 4.1, 4.2, and 8, infra.

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Exhibit 4.1—Arie Rabinowitz's confession of his and Alpha Capital,
AG’s unregistered broker-dealer status. See Ex. 5, infra.

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$780(a)(1), Tr. 204-05, Rabinowitz testified as follows at Tr, 204:

Rabinowitz: LH Financial Services.

Moreover, being unregistered brokers-dealers operating in violation of 15 U.S.C,

ADMISSION OF BROKER-DEALER STATUS BY
ARI RABINOWITZ.UNDER CROSS EXAMINATION.

Mr, Ware: What Is the name of your campany?

Mr. Ware: What business isthat company? q

i ~*~.
Tr. 206 ;

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Mir Wane: Appronnetey new many companies have you assisted Alpha Capital
with over, let's say, the last five ¥¢ ! 2

Rabinowitz: A good ese

Mr, Ware: A good few hue ved?

Rabinowitz" 4éstimony of being in the private placement business, and assisting
Alpha, Capital With “a pood few hundred” transactions: pursuant to 15 U.S.C.
suba2) Rabinowitz and Alpha were “dealers” not eligible for any exemption
under. Title 15 Section 4, and thus not eligible for 17 C.F.R. $240.144(k}/(Rule 144(k)
regarding the purchase of the Notes of IVG/GPMT (GX 1-4).

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Exhibit 4.2—Rabinowitz and LH Financials’ loan sharking admissions.

The Alpha Capital scam is estimated to have fleeced the public of more than $3-4 billion (US
Dollars). Ari Rabinowitz testified for the Government in 1224(RWS) at Tr. 206 (Ex. #5) under cross-
examination by Ware as follows: ‘

Q: Approximately how many companies have you assisted Alpha Capital with, let's say the last 5
years?

A.Agoodfewhundred. Pos

Q.Agoodfew hundred? =, i,

A. Yes.

Rabinowitz further testified, Tr. 217-19, as follows:

Q: Did you on behalf of Alpha Capital invest in a company by the name Cybernaut?

AL Yes.

Q: How much did you invest in Cybernaut?:

A.A few million over a few years. ——

©: How much did you make on this invesiment?

A: We made alot of money. | don't remember. vv

Q: How much is alot?

A: Maybe $10 million, = we

Q: So you made $10 million on a [few] rillion investment? = L--*

A: Give or take,

Q: Now, when you started investing in [Cybernaut] wasn't the stock trading over $9 and went to 42
cents a share [after you and Alpha Capital shorted the stock]? .

Re

F aking Rabinowitz’ testimony at Tr. 206, “a good few hundred” companies he and Alpha Capital AG \
invested In, with the amount of money Rabinowitz admitted to making on Cybernaut, Tr. 218-19,
‘{mJaybe $10 milition," the Badian Gang's insider-trading scam has criminally profited by: (300-400
companies) multiptied by ($10,000,000) equals $3-4 billion (US Dollars) in ill-gotten gain: a
continuing criminal financial enterprise operated from within the U.S, Courthouse at 500 Pearl St,
New York, NY, and One St. Andrews Plaza, New York, by Art. IH! judicial officers and DOJ Officials
and Stall, mee ee
U.S. v. Ware, 04-CR-1224(RWS) and 05-CR-1115(WHP) were both brought by officials of the DOJ
and SEC involved in the billion dollar insider-trading scam to protect the ill-gotten profits of the
criminal enterprise,

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No public Form BD (broker-dealer) public records maintained by FINRA regarding
Arie Rabinowitz were confirmed on Nov. 6, 2024.

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inclusion in BrokerCheck is permanent. Gnee registered, finns are included in BrokerCneck permanently even if its registration has tapsed or been revoked.

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Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-
dealer status for each 02cv2219 (SDNY) plaintiff, affiliates, and agents
of Tailwind Capital, L.P., Frank V. Sica, and Colleen McMahon
certified by FINRA’s Marcia Asquith, Esq.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

|, Marcia E. Asquith, being first duly sworn, depose and state as follows:

1. 1am the Executive Vice President, Board and External Relations. In that
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. (“FINRA”). | am familiar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors.

2. No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonestreet, L.P.

¢) Markham Holdings, Ltd,

d) Amro International, S.A.
_@) LH Financial Services

Von, beet

~ Marcib E. Asquith
Executive Vice President, Board h) d External
Relations and Corporate Secretary

Subscribed and sworn to before me this (athday of fay 2021
¥ | . + *

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Exhibit 6.0--Tailwind Capital L.P. Form ADV page 23 filed with the
Securities and Exchange Commission (SEC) on March 30, 2024, admitted
under oath that Tailwind is not registered as a 15 USC §780(a)(1) broker-
dealer in the United States. Accordingly, Colleen McMahon and Frank
V. Sica personally violated (1) federal law, 15 USC §§ 77e, 77x, and
78ff, and (2) NYS Penal Law, section 190.40, the criminal usury law,
a class E felony by underwriting more than $100 million in criminal
usury convertible promissory notes and other unregistered securities.

Tailwind Capital's SEC Form ADV Public Disclosures.

the private fund's manager, its affiliates and their respective employees and (c) prohibit any dividend
recapitalization within 24 months of the date that a private fund acquires a Controlling Interest in a
portfolio company. If these proposals were to be enacted, even if only in part, they would materially
and adversely affect the ability of a Fund, the general partner of a Fund, Tailwind and any of their
respective affiliates to engage in the investment activities and other operations that they are intended
and expected to engage in, This could result ina Fund being unable to meet its investment objectives,
ot could require a Fund to make, hold, manage and exit investments and otherwise operate in a
manner that involves greater potential liability, risk and expense with lower potential retums for
investors, including due to the use of parallel funds, feeder funds and alternative investment vehicles.

In that regard, prospective investors should note that the outcome of the 2024 U.S, presidential
and other elections creates uncertainty with respect to legal, tax and regulatory regimes in which the
Funds and their portfolio companies, as well as the general partners of the Funds, Tailwind and any
of their respective affiliates will operate, In addition to the proposed legislation described above, any
significant changes in, among other things, economic policy (including with respect to interest rates
and foreign trade), the regulation of the asset management industry, tax law, immigration policy
and/or government entitlement programs during the terms of the Funds could have a material adverse

Rea EATS ENTE Tailwind admitted on March 30, 2024, itis
Fund, General Partner and Manager Registration "01 @ licensed broker-dealer registered with
the SEC or FINRA.

None of the Funds are registered under the Investment Company Act, The Investment
Company Act provides certain protection to investors and imposes certain restrictions on registered
investment companies (including, for example, limitations on the ability of registered investment
companies to incur leverage), none of which will be applicable to the Funds. Tailwind is hot,
omdh sere as a broker-dealer under the Securities and Exchange Act of 1934, as amended (the

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Exchange Act or the rules of FINRA.

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Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024,
Form ADV, see Ex. 7, attached hereto, incorporated by reference herein,
and made a part hereof: Tailwind admitted under oath that Zailwind’s

senior_management approved (“pre-clearance”) Frank V. Sica’s and
Colleen McMahon’s (employees and/or agents of Tailwind) $100 million

investments in criminal usury convertible promissory notes, the same
null and void ab initio, uncollectable, and unenforceable subject matter

involved in U.S. v. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v.
Group Management Corp., et al., 02cv2219 (SDNY) (McMahon, J.) and
in In re Group Management Corp., 03-93031 (BC NDGA) (WLH)
Chapter 11. See Ex. 6- 3 infra, Dkt. 258 03-93031 (BC NDGA) (Hagenau,
C.J.).

Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon according to Tailwind’s internal

protocols had prior "preclearance’ oe from Tailwind’s senior managers to
haye underwritten or participated in the underwriting of the oan sharking
| convertible promissory notes, _/

run contrary) to the best interest of the Funds, Tailwind will provide a copy of Tailwind’s Code of
Ethics to clients, prospective clients, investors and prospective investors upon request.

trae i petty if the transaction appears to pose a conflict of interest or otherwise appears
improper. Tailwind also endeavors to maintain current and accurate records of all personal securities

accounts of its Access Persons in an effort to monitor all such activity.

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Tailwind, its employees or a related entity will have an investment in each Fund. For example, the
general partner for cach Fund is owned in part by Tailwind’s partners, In addition, Tailwind and its
general partners will participate in the Funds’ investment programs by agreeing to commit a certain
percentage of the Funds’ total capital commitments or a certain amount as defined in the Funds’
governing documents, Therefore, Tailwind, its employees or a related entity will indirectly
participate in transactions effected for the Funds.

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Exhibit 6.2—(McMahon, Hagenau, and Gitner’s mafia RICO 18 USC 2,
157, 371, 1341, 1343, 1503, 1951(a), 1961(6)(B) and 1962(d) Overt and
Predicate Acts). Collusion, conspiracy, and coordination of Jim Crow
racially-motivated retaliatory, vindictive, and punitive moot void ab initio
leave to file sanctions initiated in concert and by judicial collusion of
Wendy L. Hagenau and Colleen McMahon—see 02cv2219 (SDNY), Dkt.
139, 139-1, and 139-2, McMahon and her husband, Frank V. Sica, are
both unregistered broker-dealers, personally owned more than $22
million in criminal usury convertible promissory notes similar to GX 1,
GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt
acts in furtherance of the conspiracy to commit bankruptcy fraud, Hobbs
Act attempted armed robbery, armed aggravated assault and battery,
conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951,
1956-57, 1958-59, 1961(6)(B), and 1962(a-d). See In re Colleen
McMahon, 02-24-90036jm (2d Cir.) re: Complaint of criminal judicial
misconduct (Pending). .

Coordinated conspiracy to obstruct justice and conceal Brady actual
innocent exculpatory/impeachment evidence.

In re Group Management Corp. (03-93031)(BC NDGA) (Hagenau, C, J.)
and
Alpha Capital, AG et al., v- GPMT, et al., (02cv2219)(SDNY) (McMahon, J.)

Actual innocent petition filed on 10.20.22.
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Exhibit 6.3—Dkt. 258 (RICO Overt and Predicate Act) page 3, In re
Group Management Corp., 03-93031 (BC NDGA) Chapter 11,
Hagenau, C.J. re 18 USC §§ 157(2), (3) and 1961(6)(B) conspiracy to
commit bankruptcy fraud.

Case 03-93031-wih Doc 258 Filed 10/26/22 Entered 10/27/22 00:47:40 Desc
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There is no such thing as Boe ote refusal to engage in the collection of a
criminal usury debt in violatiétrof T8 USC 1961(6)(B)--the order is not a "lawful" order.
District of New York in case no. 02-cv-2219 (S.D.N.Y.) (SDNY Case”). The U.S. Trustee
See 18 USC

attached To The mation a copy of the Contempt Order issued in the SONY Case which recited that 401(3), criminal
i
contempt only
in November 2002, the Court had ordered the Debtor and Mr. Ware to honor the Subscribers’ applies to “lawful”
orders--
conversion requests and that the conversion requests had not been honored. The court inthe SDNY accordingly, the
U.S. v, Ware,
‘ase ordered GMC und Mr. Ware to honor the conversion requests within three daysortopaythe O4cr1224 (SDNY)
Hobbs Act, 18 USC, 1951(a) extortion purported criminal
* Subscribers $1,000/ ( ) ff the requests were honored, The court also stated it would issue a contempt
indictment is null

warrant for Mr, Ware’s arrest (6 Be conimitied to the U.S, Marshals’ custody until the contempt and void ab initlo
Hobbs Act a8 det 2d PA NaP Pe tcuptoy filing was made for the “improper purpose
of obstructing and delaying creditors in the enforcement of their rights and remedies . . . and

without any bona fide reorganizational purpose{.]"
KTS' conspiracy to commit bankruptcy fraud and conspiracy to steal Chapter 11 estate assets: Dkt. 15 and DkL. 16
y On April 11, 2003, the Subscribers responded to the Motion to Reject Executory Contract, |
through their counsel, Dennis Meir ut Kilpatrick Stockton; contending the Subscription Agreement ms © Secain g
. and dire legal, penal,

was not executory because the court in the SDNY Case had issued a judgment on it. The and pecuniary

/ / a a _ consequences on
Subscribers filéd their own Motion to Dismiss or. alternatively, a Motion for Relief from Stay, and nepeaed. KTS, and its

Behe a eae ily ee EVEN) clients.

brief’ The Subscribers also alleged the bankruptey filing by GMC was in bad faith and for the

purpose of evading the orders in the SDNY Case and sought the dismissal of the case or relief
from the stay to enforce the order in the SDNY Case. Attached to the Motion was a form B-K,
purportedly signed by Mr. Ware as Chief Executive, indicating that he had resigned from the board
of GMC effective March 17, 2603, and that Mr. Sinkfield was appointed to the board and was
acting CEO. ‘The Subscribers asked that their Motion to Dismiss be heard at the sane time as the
Debtor's Motion to Reject.

The Court moved forward with the hearing on the Motion to Reject on April 15, 2003, Mr.

Ware and GMC’s counsel were present, and Mr, Ware testified extensively as to the Subscription

Note that Hagenau is being deceptive identifying KTS’ unregistered broker-dealer clients as
“Subscribers” rather than as unregistered broker-dealers to deceive the public.

Higenau's judicial factfinding, judicial and collateral estoppel on KTS, Meir, Mill, Walker, and
Kadaba--a judicial ruling of 18 USC 1961(6)(B) criminal usury unlawful debt collection activity
during the 03-93031 Chapter 11--binding on KTS and Wab Kadaba regarding the Sept. 14, 2024,
Bar grievance, ipso facto Bar Rule 4-202 "credible evidence."

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Exhibit 7.0 (see attachment)—Tailwind Management L.P. Form ADV,
March 30, 2024—that is, actual innocent Brady exculpatory evidence
concealed and suppressed by Atlanta, GA law firm Kilpatrick, Townsend,
& Stockton, LLP, Wab Kadaba, Dennis S. Meir, John W. Mills, IT, J.
Henry Walker, IV, Colleen McMahon, Daniel Gitner, Edgardo Ramos,
and Wendy L. Hagenau in violation of the Aug. 10, 2007, Dkt. 32, U.S. v.
Ware, 04cr1224 (SDNY) Brady disclosure court order—18 USC 2, 371,
and 401(2) and 401(3) civil and criminal contempt of a lawful Brady
disclosure court order, cf., Ex. 6.2, supra (McMahon, Hagenau, and
Gitner’s conspiracy to. obstruct justice overt and predicate acts.

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Exhibit 8.0—Colleen McMahon, Frank V. Sica, Arie Rabinowitz, LH
Financial Services, and Tailwind’s illegal underwriting of criminal usury
convertible promissory notes in violation of federal laws, 15 USC §77e,
77x, and 78ff.

Exhibit 8.1--Colleen McMahon and Frank v.
Sica’s Massive +$22,000,000_ Personal
Ownership in Hobbs Act RICO Criminal
Usury Convertible Promissory Notes
Underwritten in violation of 15 USC §§ 77e,
77x, 780(a)(1), and 78ff; and NYS Penal
Law, section 190.40, the criminal usury law,
a class E felony.

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Exhibit 8.2: Judge McMahon’s and convicted felon Edward M. Grushko’s money laundering
that involved unregistered broker-dealer and RICO unlawful debt creator and collector
Alpha Capital, AG. What are Judge McMahon and her spouse, Frank V. Sica’s relationship
to Alpha Capital, AG, Kenneth A. Zitter (Harvard Law), Dennis S. Meir (Harvard Law),
Thomas W. Thrash, Jr. (Harvard Law), LH Financial Services, Inc., and Ari Rabinowitz?

ACTIVITY LOG
A ate: November 8, 2006 El'gau
User: EDWARD M GRUSHKO.

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| WIRE TRANSFER | 34,087.60

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Exhibit 8.3: Money laundering by Edward M. Grushko, Alpha Capital, AG, and Judge
Colleen McMahon in the Silver Dragon Resources, Inc. litigation.

RE PP ed be Na eA A SSI Woe y WEI VY Sta
Response due by 1/4/2008. Show Cause Hearing
set for 1/9/2008 at 10:00 AM in Courtroom 21B,

500 Pearl Street, New. York, NY 10007 before Judge

Colleen MeMahon. n Ae laned by gue e Colleen

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RULE 7.1 CORPORATE DISCLOSURE STATEMENT.
No Corporate Parent. Document filed by Alpha
Capital Ansalt.(laq)
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i Filed: 12/20/2007, Entered: 12/28/2007 Cine
COMPLAINT against Silver Dragon Resources, Inc.
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Inc. (laq)

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Exhibit 8.4: Reported 2020 income of Frank V. Sica.

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B. Spouse's Non-investment Income = ifyou ware married during any portion of the reporting year, cornptete this section.

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r] NONE (No reportable non-invesiment income.)
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2, 2020 Kohl's Department Scores Ine-Direotar Fee

3, 2020 Safo Bulkess Int -Direttor Fee

4.2020 Jet Blue Airways Corp-Consuliant
Morgan Stanfoy-Pension Income
Tallwind Management LP-Partner-Guarameed Payment i

a
Al LWIND STRATEGY PEOPLE COMPANIES RESPONSIBILITY

Actolerate Change.

Frank Sica
Partner X

Frank's active portfolio company involvement includes Acertus, ASC,
Banner, DermaRite, Invafresh, Loanbro, Stratix and Vantly.

‘Prior Experience

Soros Private Fund Management
Morgar Stanley

US. Air Force

Education
BA, Wesleyan University
MBA, The Tuck School of Business at Dartmouth

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Exhibit 8.5: #103 2020 convertible promissory note valued between $500,000 and

$1,000,000.

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FINANCIAL DISCLOSURE REPORT _| Sime of Perion Reporting

Page 10. of 37 ¢ MeMahon, Colleen r C 03/12/2021 )

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(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
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Exhibit 8.6: #113 2020 convertible promissory note valued between $100,001 -
$250,000.

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FINANCIAL DISCLOSURE REPORT —_ | NensefFerson Reporting Date of Report

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VII. INVESTMENTS and TRUSTS - invonte, value, tratisactions {Includes those of sponse aud dependent children; see pp. 34-60 of filing instructtons)

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Exhibit 8.7: #142 2020 convertible promissory note valued between $100,001 -
$250,000.

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Exhibit 8.8: #204 2020 convertible promissory note valued between $500,001 -
$1,000,000.

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Page 16 of 37 ([ Battin Coe)

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Exhibit 8.9: #219 2020 convertible promissory note valued between $100,001 -

$250,000.
219. Sensai Corp (Converitible Note) ) Noné We? T
220, Cycle Pharmaceuticals LTD (Ser A Shares) None | Pl T Sod [101520] N | G
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221, Free‘ATM Inc (Ser A Preferred) None K Ke

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Exhibit 8.10: #220 2020 convertible promissory note valued between $15,001 - $50,000.

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Page 17 of 37 @| McMahon, Colleen =

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Exhibit 8.11: #244 2020 convertible promissory note valued between $500,001 -
$1,000,000.

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Exhibit 8.12: #254 2020 convertible promissory note valued between $500,001 -

$1,000,000.
254, Terafina Inc (Conv Promissory Nate) None | Lo 7
255, Highland Resort At the Peaks LLC None | L U Gold | 01/28/20) 3
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Exhibit 8.13: #259 2020 convertible promissory note valued between $500,001 -
$1,000,000.

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Exhibit 8.14: #276, 277, and 279 2020 convertible promissory notes valued between
$500,001 - $1,000,000.

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Place “(X)" after cach asset Amount.  Typd (e.g. Value Vahue! Type (6.0. Date. Value = Gain identhy of
pt from prior diset Codet divjront, Code 2 Method buy, sell, mmidd/yy Caode2 (Codo t buyer/eeller
(AH) rink) Py Code redemption) Ge) «Rh (if private
Caw) traniaction)
273. Fulling Mills LLG None °o v
274, Ram Realty 1V LP None oO u
275. Alpiiie:Gleenwood LP * None. -  Glasea || 1231720 Seo Note #11
ani iiecieecmmnneiens sill ARSON parliston,
( 276. BigiD Ine(Cony Note) | Nene T
C 277. Lending Front ine (Cony Note) none [( mM J) ot
278. Mine Onc GMBH (Ser A sh) (IRA) None M T
aneeeereereeeseiy - pcm
79, Relationship Capital P Ino (Conv None { oO ) T
Notes) : .
280. PHRP LLC Seo Note #9

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Exhibit 8.15: ##297, 300, 302, and 304 2020 convertible promissory notes valued between

$50,001 - $1,000,000.
=== = a iS a = t r a ay T {perey = 7 n = ==
297, Relationship Capital Partners (MRA) None L rT ,
: (Convertible Promissory Note)
298. BRA Investor Fund 6 LP Nene M u
299. Groupize Inc (Sex A-2 pfd) Noite’ a ay Bay 08/1320) M
qs. (add'l)
300, Medamive Health Inc (Conv Prom), } : 1 None Cy € Buy ovaon20| K
- (add'l)
301, Shiftsmiart Inc (Ser AA Preferred) None M oT! Bay: o12420| L
ideal (add'l)
302, HondCna: Inc (Conv Promissory Note) Nang M e
303, Noxirenity Séfutians Ine Ser B Proforted) Notice oO Tv
( 304, TG& L Holdings Li.c(Convertible Note) | None ¢ oO J *
305, Bniroprencurs Expansion Fund HLLP | gece 1) OM U Ruy ‘oar2e20| Ke
4d (add a
306. Kinderhook V LP ‘None Pi u _ Boy 07/2720) M:
i (add'l) =
iuinteme Gain Goede AASLOOD oe tied Badho0) $2.00 | Crea s0L «£5000 BF a$3,00) “315.000 BrSts00) 630,000
(Seo Cohumns Hf and D4) F =$50,001 « $160,000 G AS105,001 + $1,000,000 Hit «$1,000,001 - $5,040,600 3 =Mote then $5,670,000 : :
2 Vatue Codes T=$13,000 ior tees i =S15.001 - $50,000 L-#$46,001 - $106,900 HL=$100,001 » $150,000
(See Colunnd Chand 93) JN -*$250,001 = $300,060 \_ GO +8500,001 « $1,000,000 PLSSL OGG AG) - $5,000,000 F2-$5,000,001 » BAS tWd od
PA 625,000,001 - $50,000.00 i fs P4 =Moco than $30,000,000 a, ee
3: Value Method Codes Q=Appralaah He ACon (Real titate Ouly) Sm Acissment T Cash Marker
{See Cotunn €3) {UW ston Vadud VnOher WeeBatimated
FINANCIAL DISCLOSURE REPORT Nome of Person Reporting Date of Report
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Exhibit 8.16: #323 2020 convertible promissory note valued between 100,001 -

$250,000.
320, Sold 1223/20] M
(part)
321, Parkstone Capital Partnors III LP E | Distibuion]| oN | u Bold =| 11/23/20) K See Note# 1
(part)
322. 110! Grundy Property Owner LLC None 0 U
323,. Adaptive Management Ine (Convertible ‘None { M ) of
Promissory Note)
— .
1, Income Gain Codes: A=51,000 br lead BASI0O1 + $2,500 €=$2,491 - $5,000 1 »$5,001 + $18,000 E=$15,001 « $50,000
(Sée Columas B1 and D4) F4$50.001 = $100,000 ~@=$100,001 + $1,000,000 “Hi $1,000,001 + $3,000,000 \,H2-* More than $5,000,000
2 Value Codes J=$15,000 or tess K ®$15,001 « $50,000 L#$30,001 «$100,000 $100,001 « $250,000
(Se Colunias Cl and D4) N =$2$0,001 $500,000 45500,001 - $1,000,000 “PL =$1,000,001 $5,000,000 2
‘P3 $25,000,001 = $50,000,000. : 4 More then $40,000,000 .
3, Value Method Codes QeApprelal R Cost (Real Estate Only}. BS =Asscrment T=Cash Market
(See Column €2) 1 wttook Value Varker W oEstianted
FINANCIAL DISCLOSURE REPORT _ | Nansotferton Reporting Deca
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Exhibit 8.17: ##327, 334, 336, 337, and 339 2020 convertible promissory notes valued
between 50,001 - $500,000.

[] NONE (No reportable Income, assets, 6s transactions.)

Dowription of Assets income dieing ‘Grose value at end Transactions during seporting pariod
(iictuding trust asset) reporting period ——_of reporting piétoa
u) Q Gy @ o 8 @ Oe
Peon So Metre nee Auwowit Type(eg. Value Value Typo og, = Dale) Value: Gain Adinuty of
cesornpt fin print disehoeune Code! div, rent, Cada = Method. «= shuy, sell, mmddyy. Coda 3 Code | bayerisellee
 orinty GU) Cede} edetniptton) AEP) AED Aifprlyvate
QW) transuetion)
324, Blue Systems A.¥. Lid (Ordinary) DBA ‘None mb Buy lowoino| K ~
Gabriel Networks ; - | (dey .
325, B Hospitality Corp (Series Seed Preferred) ‘None uw | oT Buy — [owd20)
(add'h
326, Felix Gray Ine (Ser A-LPreferred) None | oM T
327. findSisterhaod Ine (Conventible Promissory | ‘Nowe ® -
eS | None [1 etosea[izsizol || SeeNowew 1
329. Ling-CTAM Co-Invest, LLC Ses: M u
330. Plum Alley Syndicate XILLC ==~=—O«|SSSC*«dYSC‘WNmes«s|s MOTO
33h. Vitalis LLC. oe | None | M | U
332. Ladder Capital Corp (Cont) (RA) H |: Dividend | Ne < Buy [03/09/20] -M
(add!)
333. AG Team Partners I LP None M. u Buy  o1zi0| K
(add'l)
334. Martin Pharmaceuticals Ine (Convertible Note Gy T . .
Promissory Note) a /
335, Clarke (Mortgage) NIC | Interest | oN: T
@. MiMectings d/b/a 242LLC (Convertible | | None GC Tor
Promissory Note) ance ete j
437, Modumentat ine (Convertible Promissory None’ 1 T
Note) a
338, Poin Inc (Series Seed Preferred) None Closed | 1231/20 Ser Noto # 11
-|* Seoond Sereen Inc (Convertible Promissary None Sold fopioano| 4
ls cca emcee
340. SPC Vereco LP. - None @ W

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Exhibit 8.18: #376 2020 convertible promissory note valued between $250,001 -
$500,000.

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VII. INV. ESTMEN TS and TRUSTS ~iaconie, value, transactions (Incluiles tose of spousd and dependent children; see. pp. 34-68 offiling lastructions)
["] NONE (No reportable income, assets, or transactions.)

Ay B c.
i . D.
‘Description of Aséets Income during Gross value at end ‘Transactions duri io
i oss value at en 4 on ott
{including trust assets) , teporting period of reporting periad eee
. wo @) YY @ ay Qe ® (3)
Place ) after each aes Amount Type(cg, “Value Value Type (8. Date Vato. Gai Tdentity of.
exempt from prior disclosure’ Codet diy. rent, Code 2 Method buy, sell, mm/dd/yy ‘Code?’ Code ‘buyer/sefler
(AH) orint) §«=— EP), Code 3 ——stecdemiption) P) (Adi) {if private.
(QW) (transaction)
375, adTheorent Ine(X) C | Distribution ‘| sold fazos0| oy | See Note # 1 & Note #
376, Presid (Convertible Promissory Notes) None ( N } |
377, Airbud Technologies Ine{ Seed Series None M |
Preferred (N/C)Hydra Al - — (ad =e
378, Aising V LP None | Pi U Buy 02/06/20| M
{add'l
379, Buy 09/21/20| M
(add'l)
380. Buy —-| 19723720) M
fadan -
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Exhibit 8.19: #387 2020 convertible promissory note valued between $15,001 - $50,000.

) wey (part)
387, EVZDRP. Inc (Convertible Note) sf None K T
388. Flank GP Fund ‘None Pi U Buy 06/03720| N
veal (add'l)
389, Linx-TGS Co-Invest LLC Cc Interest M U Sold 0113/20) J
(part),
390,
Sold 04/08/20) J
(part)
391. . 07/20
Sold. 07/07/20) J
{part} i
1, Income Gain Codes: A8$1,000 of less 8 481,001 - $2,500 C$2,501 - $5,000 085,001
: ears ety ~ $5,000 001 - $15,000 a i
(S¢¢ Cohimns 81 avd D4) F=$50,001 - $100,000. G=$100,001 - $1,000,000 111 =91,000,001 ~ $3,000,000 H12-=Move than $3,000,000 eens
2.Valuo Codes: J$15,000orless Ks$15,001 - $50,000 1,530,001 = $100,000 Mi $100,001 - $250,000
(See Columns C1 sad D3) “N=§250,001-8500,000. 0 =$$00,001 «$1,000,000 PL $1,000,001 - $4,000,000 B2 =$5,000,59h - $25,000,000
veacason P4 $25,000,001 - $50,000,600 Pd Moré than $80,000,009 a
3. Valye Methed Codes ~ Q Appraisal R=Cost (Real Estate Only} S=Ascsment “TeCash Market
(See Colemn C2) UsBook Vahie: V=Gther W=Estimated .

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Exhibit 8.20: #425 2020 convertible promissory note valued between $100,001 -

$250,000.

422, Biosymetrics Inc (Com) None t T Buy [07/0120] L
423, ChargingLedger Inc (Series Seed) “None K T Buy | 04/14/20) -K
424, Eluceda Ltd (Ordinary shares) ‘None M T Buy ron7r0 M
425, Enalare Thercopeuties Ine (Conv Promissory None 12/23/20 M
Note)
1, Income Gain Codes: "51,000 ot less’ 251,001 - $2,300 CA82,501 $5,000 D=$5,001$1 = :
os See PEON ene S 58,001 + $15,000 ESS15.001 = $50,000

‘SeeColunits BL ands) =§80.001-$tog.a00 @ =5100001- $1,000,000 HL =51,900}001 ~-$5000 $2-=Mocé than $5,000,000 Oo
2, Value Codes 49$15,000 or less K=S15,001 = $50,000 L=$50,00) + $100,000 M=$100,001 - $250,000

(SeeCohamns Cl and D3) ——N=S250,0018500000 $500,001 - $1,000,000 PI =$1,000,001 -$3,000,000 Pe =$5,000,001 - $25,000,000

P32$25,000,001- $50,000,000, P4 = More thar $50,000,000
3, Value Method Codes OQ=Appratsal R=Cost (Heal Estate Only) Cha TCash Market
(See Cota 2), U=Book Vale V=oner WeEsinated

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MeMahon, Colleen )

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Exhibit 8.21: #427 2020 convertible promissory note valued between $250,001 -

$500,000.

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VIL INVESTMENTS and TRUSTS - sieame; ates,

McMahon, Colleen )
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Ss,

Date of Report

08/12/2021

[| NONE (No reportable income, assets, or transactions.)

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‘(inciudes thase of spouse and déperident chitdrenz see np. 34-60 0 of filing instruetions.)

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Description of Assets. ‘Income during ‘Gross value at exid ransacti i ing peri
Pacers celle deinen Transactions during teporting period
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i, i seretY the ‘ r i ie @)
Place after cach asset Amount Type(eg;, Value Value. Type (eg, Date = Vahie. Gain Identityot
éxempt from prior disclosure Cois 1 div teml, —Code2 ‘Method uy, sell, muivddlyy Code Code 1 buyer/seller
(AH) orint) «= GP) Code redemption) GP) (AH) (private
ey) transaction).
426. Hello Hazel (Series Seed) ) 1 None T Buy 12718720] L
427. Acredo Cloud Corp (Conv Proinissory Note)} A | interest { NE T iy 13708720} N
428... Melitag Ventures Fund LP None t | ou Bay 12723720)
429, Nayya Health Ine (Ser'A Preferred) None L oT Buy = 11/380) Lb
430.. Qvale Technology Inc (Proferred Stock) None M T Buy 03/2620] -M

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Exhibit 8.22: #520 2020 convertible promissory note valued between (not valued).

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¢ MeMahon, Colicen

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VU. INVESTMENTS and TRUSTS ~ moni:

[_] NONE (Wo reportable inconte, assets, or transactions.)

valtie, transactions (Inchides thase of spouxe and dependent chitdreny see pp. 34-60 Of filing lastraetios.)

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‘Pldcs *(X)" after exch asset ie ie en si: ta ios cag wire

exempt fkom prior disslosure Code divin, —Codo2 “Method =p, tell, miealddlyy Code? Cotte | buyer/saller

AH) or int} GP) Code 3 fedemption) GP) (AGH) (if private

(QW). transaction)
SLL) =-Synopsys Inc None , 7 T ‘Buy 12/03/20 7
$12. --Taiwan Semiconductor Mig Co. ‘None K tT Buy 1210320 Ki
513, “Tencent Hldgs Lid ADR Nona 4 — a Buy " 12103720 J
514, --Themio Fisher Selentific Inc Com None J 7 Buy 12/0320, J
315, ++Verisk Analytics Inc Com A. | Dividend | 3 Ti | Buy 120300] J
516, —Visa Ine Com None I + Buy 12/03/20 J
317, »-Weat Pharmacettticals Sves Ine Coni None i “y Buy 12/03/20) J
$18. “Nike Ine Ct None J T piy  |aa3n0l 9
519, Alpine Grove SV Partners LLC None N uU Buy =: | 122420) WN
20, Knoemi Com (Conv Promissory Note) None Buy D220) K

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Exhibit 8.23—Trailblazer Merger Corp., |, Hobbs Act money laundering conduit arranged
by LH Financial Services, Arie Rabinowitz, Loeb & Loeb, LLP, Mitchell Nussbaum, Esq.,
Alexandria Kane, Esq., Colleen McMahon, Edgardo Ramos, Jose A. Cabranes, Robert D.
Sack, Amalya L. Kearse, Damian Williams, Frank V. Sica, Tailwind Capital Management LLP,
and other unindicted coconspirators to launder the profits and proceeds derived from
Hobbs Act extortion, loan sharking, kidnapping, murder for hire, bribery, bank fraud,

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION

Washington, D.C, 20549

FORM S-1
REGISTRATION STATEMENT
UNDER
THE SECURITIES ACT OF 1933

Trailblazer Merger Corporation I

(Exset name of registinat ox specified in its charter)

Delaware 6770 B7-ITLOITG
(State or other jurisdiction of | {Primary Standard Industrial {LELS, Employer
incorporation or organizatiog) Cinssificatton Code Number} Identification Number}

tAddress, lacludiag Zip Code, and, Code, of Registrant's Principal Executive Offices)

Arie Rabiaowite
Chief Exccutive Officer
510 Madixon Avence
Suite 140
New York, NY 10022
Telephone: 212-586-4224
(Name, Addtess, Ine! Nine p Code, and Telephone Number, Including Arca Gptte, nf Agent for Service)
Copies to:
Mitebell S, Nusshaam, Fey. Rick A, Werner, Esq.
Alexandria Kane, Esq. Haynes and Boono LLP
Loeb & Loeb LLP 30 Rockefeller Plaza,
M5 Park Avenue 26th Floor
‘New Vork, New York 10105 New York, NV 10112
‘Tels (212) 407-4000 Tel. (212) 659-7300
Approximate date af eo t of proposed sale fo the publigy As soon as practicable after the effective date of this registration
statement.

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If this Form is SCA tor fib trering fldeuan EP please’ chicck the
following box and list cuimies Act re; on umber er elfes i tem@et for the same offering. O

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Securities Act registra tem! oft icMe etRive refistrati samme 0! ig

if this Form is 4 post-effective amendment filed pursuant to Rule 462(d) under the Sccurities Act, check the following box and fist the
Securities Act registration statement number of the earlier effective registration statement for the sume offering. 0

Indicate by cheek mark whether the registrant is a large aceelerated filer, an accelerated filer, a non-accelerated files, a smaller reporting

i ”

company, or an enierging growth company. See the definitions of “large accelerated filer," “accelerated filer,” “smaller reg i Company
and “emerging growth company” in Rule 12b-2 of the Exchange Act.
Large uceclernted filer Oo Accelerated filer Bo
Non-accclerted filer Smaller reporting company &
Emerging growth company

if en emerging growth company, indicate by check mark if the registrant has elected uot ta use the extended transition period for
complying with any ucw of revised financial accounting standards provided pursuant to Section T(ay(2)(B) of the Securities Act O

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RESPECTFULLY SUBMITTED,

For Appellants-Movants;: GROUP MANAGEMENT and Ulysses T. Ware
/s/ Ulysses T. Ware

Submitted by:

/s/ Ulysses T. Ware

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
Utware007@gmail.com

For Appellants-Movants Ulysses T. Ware and Group Management

ce: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Ida Mae Townsend, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

State Bar of Georgia, Office of the General Counsel (William D, NeSmith, III) on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs
Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs

Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services Corp.,
Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

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Certificate of Service

I Ulysses T. Ware certify that I have this 13" day of February 2025 served each of the below
persons or entities with a copy of this pleading via their public email accounts and submitted the
same to the U.S. Bankruptcy Court (NDGA) to the Chief Bankruptcy Judge, Ellis-Munto for
immediate filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rule 5005(a)(2)'? and

5005(b)(1) with the U.S. Trustee.”°

cc: Office of the U.S. Trustee, Region 21 (Ida Mae Townsend)

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, IID)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)?!

William D. NeSmith, III, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, II--statutory agents in fact); and

'° With a Judge of the Court, A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

20 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

1 Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

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John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D. NeSmith, III,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson, Esq. and Jeneane Treace,
Esq.)

/s/ Ulysses T. Ware

February 13, 2025

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Tuesday, February 18, 2025

(13-6) (Part 15-6) re: The Parties’ Joint Stipulated Bankr. Rule 8009(g)/8009(d) Appellate Factual
Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.).
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Case No. 03-93031

United States Bankruptcy Court (12-0)
For the Northern District of Georgia
(Atlanta Division)

Submitted for Filing on
Monday, January 27, 2025, 8:57:50 AM oa

In re Group Management Corp.
Chapter 11

Movants’ 11 USC 1109(b) Statutory Parties in Interest
Group Management and Ulysses T. Ware’s Bankr.
Rule 9014 and Rule 12(h)(3) Contested Matter.!

Mops baie

es 'T. Ware
The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
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Utware007@gmail.com
Monday, January 27, 2025

' The Movants’ challenge to the Bankruptcy Court (NDGA) in re Group Management Corp., 03-93031
Chapter 11 Article III jurisdiction over predatory criminal usury unlawful debts subject matter, GX |-
4; and (2) challenge to the Article III standing of the 02cv2219 (SDNY) plaintiffs, Atlanta, GA law firm
Kilpatrick, Townsend, & Stockton, LLP clients, see Dkt. 11, unregistered broker-dealers. Cf., Ex. 3,
infra, What legitimate and lawful interest would a United States Bankruptcy Court (Ellis-Munro, C.J. and
Hagenau, C.J.) have in not sua sponte affirmatively confirming the Court’s mandatory unwaivable
constitutional jurisdiction to adjudicate the Dkt. 6, 11, 13, 14, 15, and 16 proceedings with respect to
fundamental constitutional prerequisites——“legally protected interest” in criminal usury convertible
promissory notes--in predatory criminal usury unlawful debts, GX 1-4, and (2) the Article LI standing of
KTS’ unregistered broker-dealers clients to enforce and/or collect GX I-4? No legitimate interest exists.
If no legitimate interest exists, then any alleged interest, by definition. must be nefarious, corrupt,
perfidious, and illegitimate—that is, an unlawful interest.

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all profits requirement to the Chapter 11 estate) for each of KTS’ unregistered broker-dealer clients (see
Ex. 3, infra) with respect to the Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
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Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act) Aug. 13,
2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling and court order—
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insider of Group Management Corp, and therefore triggered the Section 16(b)/11 USC §542(a)
disgorgement/turnover requirement, which was not appealed by KTS’ clients, and is ther efore, ipso
facto, as a matter of law and fact res judicata and collateral estoppel against KTS, Kadaba, the —
SBGA, NeSmith, Fredrick, Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to
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AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while the Marshals lacked a
lawful search warrant, arrest warrant, or lawful legal process; aided, abetted, assisted, enabled, and
facilitated by the property Mamagel. v.....cecceseeesestsseteeneeees Si eRir Ean roamen won ARAREe MAR ARAN NEEAMRINERERREREERS 56

A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer, Morton,
and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former (SDNY)
magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R. Civ. P. Rule
11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC 1961(6)(B) unlawful,
armed debt collection activities, related to U.S. v. Ware, 05cr1115 (SDNY),04cr1224, and 02cv2219
(SDNY); and Jn re Group Management Corp.., 03-93031 (BC NDGA), to wit: GX 1, GX 2, GX, 3,
and GX 4—the NYS Penal Law, section 190.40, null and void ab initio criminal usury unlawful
debts—the Marshals with the assistance of the property manager broke into Mr. Ware’s residence
while armed and without any warrant, or lawful process—a potentially deadly encounter, to
intimidate, bully, threaten, and force Mr. Ware into giving up and abandoning his and Group
Management’s legal rights as 11 USC § 1109(b) statutory parties im interest... 57

B. Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr. Ware’s
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conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—government
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in In re Group Management Corp., 03-93031 (BC NDGA) Chapter 11. oo. es ccseceseeeeeeernrereetenees 58

C. Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
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Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, III (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael FH.
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and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC NDGA), 04cr1224 (SDNY), and
0S5cr1115 (SDNY)—the Hobbs Act Unlawful Debt Collection Proceedings, to wit: 18 USC §§ 2, 156-
57, 371, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-
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(b) racketeering loan sharking conspiracy of Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins,
M, Regina Thomas, Patrick Sinback, Wendy L. Hagenau, Colleen McMahon, Frank V. Sica, Tailwind
Management L.P., FINRA, Michael H. Dolinger, JAMS, Alexander H. Southwell, Jeffrey B. Norris,
David N. Kelley, Arie Rabinowitz, Trailblazer Merger Corp., I, Joseph Hammer, Konrad Ackermann,
Baker & McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, Robert Alberal, London, Fisher,
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Morawetz, Kenneth A. Zitter, Esq., the State Bar of Georgia, Office of the General Counsel, the U.S.

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Rabinowitz. Cf., Ex. 6.0 imfira. ..ccccccseccccscscssssscssecsesseeenssoceeeeeersieeecnssssssassssscsscrsesaesensessesesessessgenaenetianenes 110
B. Ulysses T. Ware’s October 29, 2024, Request to FINRA to certify broker-dealer public records.
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C, According to the SEC’s website Tailwind Capital (CRD# 156562) is registered only as an
“investment advisor” not a broker-dealer; and according to the SEC and confirmed by FINRA’s
BrokerCheck system Mr. Sica, Mr. Bertisch, Mr. Rabinowitz, and Ms. McMahon have never registered
as broker-dealers on Form BD according to all available public information. See Ex. 1-3, infra........... 112

i Tailwind’s SEC certification and admission that its employees (Frank V. Sica, Colleen
McMahon, Michael S. Bertisch, or Arie Rabinowitz) are not registered broker-dealers authorized to
engage in the business of underwriting and funding criminal usury convertible promissory notes, see Ex.
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Exhibit 5--May 17, 2021, FINRA Certification of unregistered broker-dealer status for each 02cv2219
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§780(a)(1) broker-dealer in the United States. Accordingly, Colleen McMahon and Frank V. Sica
personally violated (1) federal law, 15 USC §§ 77e, 77x, and 78ff, and (2) NYS Penal Law, section
190.40, the criminal usury law, a class E felony by underwriting more than $100 million in criminal
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Exhibit 6.1—Page 63 Excerpt from Tailwind Capital’s March 30, 2024, Form ADV, see Ex. 7, attached
hereto, incorporated by reference herein, and made a part hereof: Tailwind admitted under oath that
Tailwind’s senior management approved (“pre-clearance”) Frank V. Sica’s and Colleen McMahon’s
(employees and/or agents of Tailwind) $100 million investments in criminal usury convertible
promissory notes, the same null and void ab initio, uncollectable, and unenforceable subject matter
involved in U.S. v. Ware, 04cr1224 (SDNY), Alpha Capital AG, et al. v. Group Management Corp., et
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unregistered broker-dealers, personally owned more than $22 million in criminal usury convertible
promissory notes similar to GX I, GX 2, GX 3, and GX 4, according to records maintained by the Exec.
Director, Administration of the U.S. Courts and the Judiciary, as overt acts in furtherance of the
conspiracy to commit bankruptcy fraud, Hobbs Act attempted armed robbery, armed aggravated assault
and battery, conspiracy, and other crimes, 18 USC §§ 2, 156-157, 371, 924(c),1951, 1956-57, 1958-59,
1961(6)(B), and 1962(a-d). See In re Colleen McMahon, 02-24-90036jm (2d Cir.) re: Complaint of
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13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
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The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

Monday, January 27, 2025

Via email to: USTP.Region21@usdoj.gov and ustrustee.program@usdoj.gov’
Ms. Ida Mae Townsend and

Ms. R, Jeneane Treace, jeneane.treace@usdoj.gov

U.S. Trustee and Assistant U.S. Trustee, Region 21

Office of the United States Trustee Program

362 Richard Russell U.S. Courthouse

75 Ted Turner Drive, SW

Atlanta, GA 30303

Via email: BEMChambers@ganb.uscourts.gov*
Office of the Chief Bankruptcy Judge (NDGA)*
The Hon. Barbara Ellis-Monro

Richard Russell U.S. Courthouse

75 Ted Tuner Dr., SW

Atlanta, GA 30303

Re: In re Group Management Corp., Case No. 03-93031 (BC NDGA) —
Notice of Exercise of Rights Under 11 U.S.C. § 1109(b), Ongoing Violations of 18
U.S.C. § 2071(a), (b), and Civil & Criminal Contempt of Rule 41(a)(2) Final Judgment;
and Request for 11 USC § 105(d)(1) Status Conference.

2 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

3(2) With a Judge of the Court. A judge may personally accept for filing a paper listed in (1) (“motions”
or “applications”). The judge must note on it the date of filing and promptly send it to the clerk.

4 The Debtor and Mr. Ware have been informed that unindicted coconspirator former Bankruptcy Judge

(NDGA) Wendy L Hagenau as of May 24, 2024, she is no longer employed as a bankruptcy judge or
judicial officer anywhere in the United States rumored to have been terminated for conspiracy to commit
and engage in bankruptcy fraud and criminal judicial misconduct.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Bankr. Rule 5005 (a)(2)

A. Notice of Filing and Submission

January 27, 2025

Via Bankr. Rule 5005(a)(2) Electronic Filing

The Honorable Barbara Ellis-Munro

U.S. Bankruptcy Court, Northern District of Georgia
Richard B. Russell Federal Building

75 Ted Turner Drive, SW

Atlanta, GA 30303

Via email to: USTP.Region21@usdoj.gov and ustrustee.program@usdoj.gov”
Ms. Ida Mae Townsend and

Ms. R. Jeneane Treace, jeneane.treace@usdoj.gov

U.S. Trustee and Assistant U.S. Trustee, Region 21

Office of the United States Trustee Program

362 Richard Russell U.S. Courthouse

75 Ted Turner Drive, SW

Atlanta, GA 30303

Dear Judge Ellis-Munro:

The Movants write to inform the Court in regard to the following: Pursuant to Bankruptcy
Rule 5005(a)(2), the undersigned statutory parties in interest, Mr. Ware and Group Management
Corp. (“Group Management”), respectfully submit for your direct attention the enclosed Rule 9014
Contested Matter judicial public record for filing, docketing, and adjudication on the merits in the

Chapter 11 Case No. 03-93031—Movants’ Memorandum of Law 1.0 (Analysis of KTS’

5 (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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unregistered broker-dealer clients’ lack of Article III standing to have appeared in 03-93031, Dkt.

11, and to have sought redressable judicial relief, Dkt. 15 and Dkt. 16, which rendered all

purported orders (Dkt. 28, 256, 258, 263, 274, and 275) in favor of KTS’ racketeering clients ipso

facto null and void ab initio and moot).

In accordance with 18 U.S.C. §§ 2071(a) and (b), we hereby request that you confirm
receipt and immediately file and docket this pleading via the PACER system, no later than January
27, 2025, as required by law. Should you have any questions regarding this or other judicial
pleadings previously submitted for proper docketing and adjudication, please contact the

undersigned, who will gladly elucidate every prior submission.

Additionally, we request written notice to all interested parties—filed on the official 03-
93031 docket—of a mandatory 11 U.S.C. § 105(d)(1) status conference, so that these proceedings

may continue in a transparent and timely manner.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Please be advised, take notice, and be aware.

Comes now Ulysses T. Ware and Group Management, the Petitioners, or Movants, and

gives notice in regard to the following action in 03-93031, to wit:

L. The undersigned and Group Management, the Debtor, jointly, 11 USC § 1 109(b) statutory
parties in interest, jointly, (the “Petitioners”), hereby this 27" day of January 2025 gives notice to
the Bankruptcy Court, the U.S. Trustee, Kilpatrick, Townsend, & Stockton, LLP, its clients, and
all interest parties the Petitioners have forthwith moved in the U.S. Bankruptcy Court (NDGA),
03-93031 to strike, vacate, set aside, and annul, nunc pro tunc, March 18, 2003, Dkt. 11, 13, 14,
15, 16, 28, 256, 258, 263, 274, and 275 (Hagenau, C.J.), as ipso facto as a matter of law and fact

null and void ab initio and moot—that is, the Petitioners are the Final Judgment Prevailing Parties

by binding final judgment, Dkt. 90, 02cv2219 (SDNY), see Ex. 1, 2, and 3 infra, (2) the $125
million counterclaim final judgment’s prevailing parties by Judge Sand’s Dec. 20, 2007, Dkt. 90,
final judgment, see Ex. 2, infra, and protected by the binding preclusive effects of res judicata,
collateral estoppel, and the estoppel doctrines from any entry of the moot Dkt. 11, 13, 14, 15, 28,
256, 258, 274, and 275, all lack validity and any preclusive effect. See Federated Dept. Stores,
452 USS. at 398, 401-02 (explaining the absolute binding “salutary” principles of res judicata and
its binding effects on all courts, the parties, and their privies in all subsequent proceedings between

the parties or their privies).

Z. All interested parties to this Rule 9014 matter were served with all papers supporting this

motion, and Petitioners received no response as of January 26, 2025, from any served party.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
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Accordingly, there is no record of opposition, challenge, or good faith Bankr, Rule 9011(b)(1-4)

and 28 USC § 1927 dispute to the Motion or the requested reliefs.

Therefore the Petitioners present to the Court an unopposed motion and order for entry

on the docket.

3. Enclosed are the Movants’ Rule 9014 Contested Matter Moving Papers submitted to

the Honorable Court, the Hon, Barbara Ellis-Munro, Chief Bankruptcy Judge (NDGA) for your
review, analysis, and appraisal. If there are no good faith Bankr, Rule 9011(b)(1-4) and 28 USC §
1927 objections, opposition to, or challenges to the Movants’ Rule 9014 Motion—the Article III
standing and jurisdiction application--note that KTS clients are petitioners in Dkt. 15 and Dkt. 16
and therefore have the burden of proof and production to affirmatively establish standing and
jurisdiction, see Steel Co., 523 U.S. at 93-95, and cf., Lujan, 504 U.S. at 560-61, the Movants are
respectfully requesting the Court to enter the attached Joint Unopposed Order of the Parties (see
Bankr. Rule 9014 Motion, Part V, infra) as the Order of the Court if no objections or opposition,

are not filed in the Court later than Wednesday, January 29, 2025, at 11:00 AM EST, time is

of the essence.

M Lge 2, Ware
/s/ UwWsses T. Ware

January 27, 2025

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Summary of Argument Memorandum

In re Group Management Corp., Case No. 03-93031 (WLH)
To: Chief Judge the Hon. Barbara Ellis-Munro, U.S. Bankruptcy Court
Office of the U.S. Trustee, Region 21 (Ida Mae Townsend)

From: Group Management (the Chapter 11 Debtor) and Ulysses T. Ware (11 USC § 1109(b)
statutory party in interest).

Date: January 27, 2025

Subject: Analysis: In re Group Management Corp., Case No. 03-93031 (WLH) - Motion to Strike,
Vacate, Set Aside, and Annul based on Lack of Article ITI Standing, Subject Matter Jurisdiction,
and the Binding Preclusive Effect of the 02cv2219 (SDNY) Plaintiffs’ Ex parte Voluntary Dec.
20, 2007, Dkt. 90, Rule 41(a)(2) Dismissal with Prejudice Final Judgment., see Ex, 2, infra.

I. Summary of the Argument:

This memorandum analyzes the Movants’ Motion to Strike, Vacate, Set Aside, and Annul
(the "Motion") filed by Ulysses T. Ware and Group Management Corp. ("GPMT" or "Debtor") in
the Chapter 11 bankruptcy case Jn re Group Management Corp., Case No. 03-93031 (WLH). The
Motion seeks to invalidate prior orders® in the bankruptcy case benefiting KTS' clients (Movants
in Dkt. 11, 15, 16), arguing KTS’ unregistered broker-dealer clients, (i) lacked Article III standing
and (ii) are not "real parties in interest" due to the preclusive effect of the voluntary, ex parte Fed.
R. Civ. P. 41(a)(2) Dec. 20, 2007, Dkt. 90, 2007 Final Judgment in the Southern District of New

York (SDNY), (Sand, J.) (deceased), Case No. 02cv2219., See Ex. 2, infra.

Our analysis and argument concludes that the Motion has strong legal merit. The plaintiffs’
voluntary, ex parte 2007 SDNY judgment, Dkt. 90, dismissing 02cv2219 with prejudice pursuant

to Fed. R. Civ. P. 41(a)(2), see Ex. 2, infra, at the request of KTS' clients, legally and factually

® Dkt. 28, 256, 258, 263, 274, and 275, (the “Moot Orders”).

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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extinguished any "real party in interest" status they held regarding the underlying claims in both
02cv2219 and derivatively in 03-93031 with respect to GX 1-4, and GX 5, the criminal usury
subject matter. Furthermore, the arguments regarding criminal usury and unregistered broker-

dealer activities strengthen the position that KTS' clients never possessed _a legally cognizable

injury in fact, thus lacking Article III standing from the inception (initio) of the 03-9303 1 Chapter
11 bankruptcy case, March 18, 2003, and the 02cv2219 (SDNY) lawsuit—that is, both 03-93031
and 02cv221 (SDNY) are null and void ab initio, and all orders, judgments, or proceedings entered

therein in favor of KTS’ clients are void ab initio and moot.’

Recommendation: We, the Movants, in the interest of judicial economy and in good faith effort
to resolve this matter propose and recommend the following actions be undertaken forthwith by

the Court and the U.S. Trustee, to wit:
(i) set this matter down forthwith for the mandatory 11 USC § 105(d)(1) status conference;

(ii) order the U.S. Trustee and KTS and its clients to within three (3) days on the order scheduling
the Section 105(d)(1) status conference each to file in the Court and serve the Movants via email

(utware007@gmail.com) a sworn declaration of fact and supporting memorandum of law directly

addressing the issues raised herein; and

7 See U.S. v. L-3 Comm’cs EOTech, Inc., 921 F.3d 11, 18-19 (2d Cir. 2019) (Kearse, J.) (collecting cases)
(the [Dec. 20, 2007, Dkt. 90, Rule 41(a)(2) ex parte] voluntary dismissal of [(02cv2219 (SDNY))] lawsuit
by plaintiffs annulled and vitiated all prior orders, judgments, and proceedings therein “as if the
[02cv2219] lawsuit had never been filed,” rendered the proceedings [02cv2219, 03-93031, and 04cr1224
(SDNY)] moot and the court lacked jurisdiction over the subject matter [GX 1-4, and GX 5). (emphasis
added).

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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(iii) for KTS, its clients, and representatives from the Office of the U.S. Trustee to appear at the
status conference and state on the record their Bankr Rule 9011(b)(1-4) and 28 USC § 1927

litigation position with respect to each issue herein.

This status conference should emphasize: (I) the preclusive effect of the voluntary Dec.

20, 2007, Dkt. 90, 02cv2219 Rule 41(a)(2) final judgment and (I1) KTS’ clients’-—unregistered

broker-dealers (see Ex. 3, infra) lack of Article III standing. Concurrently, we request a Mandatory
Status Conference under 11 U.S.C. § 105(d)(1) to expedite the resolution of these jurisdictional
and fundamental standing issues, and the 11 USC 542(a) turnover of the stolen +$522 million in
15 USC 78p(b) strict-liability insider-trading profits, see Ex. 1, infra, currently subject to a
constructive trust and equitable lien while in the actual and/or constructive possession of KTS, its
clients, Arie Rabinowitz, LH Financial Services Corp., Trailblazer Merger Corp., I, Tailwind
Management L.P., Frank V. Sica, Michael S. Bertisch, Colleen McMahon, Kenneth A. Zitter,

Baker & McKenzie, LLP, Thomas A. Leghorn, Lawrence B. Mandala, Robert Alberal, and others.

II. Question Presented:

Whether Sand, J.'s (Ex. 2, infra) December 20, 2007, Rule 41(a)(2) Final Judgment entered in
02cv2219 (SDNY) with prejudice in favor of Mr. Ware and Group Management (GPMT), entered
upon the yoluntary request of KTS' clients, (1) ipso facto terminated KTS' clients’ status as viable
"real parties in interest" in 02cv22/9 and (2) by necessary implication, in 03-93031 and 04cr1224,
thereby depriving the Bankruptcy Court of Article II] subject matter jurisdiction to enter orders

benefiting KTS' clients.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Il. Brief Answer:
Yes. The December 20, 2007, Final Judgment in 02cv2219 (SDNY), Ex. 2, infra, dismissed the

case with prejudice at the voluntary request of KTS’ clients, constitutes a final adjudication on

the merits—conferred prevailing party status on Group Management and Ulysses T. Ware, (the
“Q2cv2219 Prevailing Parties”),® precluding KTS' clients from reasserting the same claims or
claims arising from the same nucleus of operative facts in subsequent litigation, including the 03-
93031 bankruptcy proceeding. This dismissal with prejudice, coupled with the arguments
regarding criminal usury and unregistered broker-dealer status, strongly suggests that KTS' clients

lack Article III standing and are not "real parties in interest" in the 03-93031 case.

IV. Factual Background:

As detailed in the Movants' Memorandum of Law (Part 13-10) attached hereto, the core

factual matrix involves:

a. 03-93031 Bankruptcy Case: GPMT filed for Chapter 11 bankruptcy on March 18, 2003.

KTS' clients filed claims based on (i) null and void ab initio criminal usury convertible

promissory notes (GX 1-4), (ii) arising from criminal usury and unregistered broker-

dealer activity (see Ex. 3, infra), Dkt. 11, 15, and 16; and the U.S. Trustee, Dkt. 6, and 13.

® As the final judgment 02cv2219 Prevailing Parties Group Management, the Chapter 11 Debtor, and
Ulysses T. Ware, 11 USC § 1109(b) statutory party in interest, hereby this 27" day of January 2025, notify
the Bankruptcy Court and the Office of the U.S. Trustee, KTS, its clients, and their proxies, surrogates,
agents, and alter-egos of their legal rights to enforce Ex. 2, infra, via civil and criminal contempt processes
which shall be exercised forthwith against any and all persons or entities that “resist” obstruct, delay, hinder,
or aid, abet, enable, or facilitate the “resistance” of the preclusive effects of Sand, J.’s final judgment, Ex.
2, infra, cf., 18 USC §§ 401(2), 401(3) (criminal contempt a court order).

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
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b. Collection of Criminal Usury Unlawful Debts, GX 1-4, 02¢cv2219 SDNY Litigation:
KTS' clients, unregistered broker-dealers, initiated litigation against GPMT in SDNY
(02cv2219) to enforce and/or collect GX 1-4, ipso facto binding judicial admissions of
violations of 18 USC §§ 2, 152, 157, 371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d),
which cannot now be denied or opposed by KTS or its clients. This case was voluntarily

dismissed with prejudice by KTS' clients on December 20, 2007, via an ex parte Rule

41(a)(2) Final Judgment entered by Judge Sand, see Ex. 2, infra.

c. Criminal Usury and Unregistered Broker-Dealer Allegations: Movants argue that the
promissory notes (GX 1-4) are criminally usurious under New York Penal Law § 190.40
and derived from transactions conducted by KTS' clients as unregistered broker-dealers in
violation of 15 U.S.C. § 78o0(a)(1). FINRA has issued a binding regulatory finding
confirming the unregistered broker-dealer status (Exhibit 3). Judge Sand in 02cv2219 had
previously ruled on insider status related to these clients (Exhibit 1).

d. Lack of Article III Standing Argument: Movants contend that because the promissory
notes, GX 1-4, are null and void ab initio due to criminal usury and illegal securities
transactions, KTS' clients lacked a "legally protected interest" and therefore suffer no
"injury in fact" sufficient to confer Article III standing to initiate 02cv2219 (SDNY), and
appear in 03-93031, Dkt. 11, 15, and 16.

e. Motion to Strike and Status Conference Request: Movants seek to strike orders
benefiting KTS' clients in 03-9303/ (Dkts, 28, 256, 258, 263, 274, 275) as null and void
for lack of Article III subject matter jurisdiction and standing, and request a status

conference to address these fundamental issues.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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V. Legal Analysis:

A. Preclusive Effect of the 02cv2219 Final Judgment (Dismissal with Prejudice):
A voluntary dismissal with prejudice under Federal Rule of Civil Procedure 41(a)(2)
operates as a final adjudication on the merits for the purposes of res judicata (claim preclusion).

When a case is dismissed with prejudice, it is treated as if the plaintiff lost after_a trial on the

merits. This doctrine prevents parties from relitigating claims that were or could have been raised
in a prior action. See Semtek Int'l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 505-06 (2001);

Chase Manhattan Bank, N.A. v. Celotex Corp., 56 F.3d 343, 345 (2d Cir. 1995).

The essential elements of res judicata are: (1) a final judgment on the merits in a prior suit (see
Ex, 2, infra); (2) identity of the parties or privies (KTS’ clients were the plaintiffs in 02cv2219 and
appeared in 03-93031, see Ex. 11, 15, and 16); (3) identity of the cause of action in both suits (the
collection and/or enforcement of the criminal usury convertible promissory notes, GX 1-4). See

Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981).

1. Final Judgment on the Merits: The December 20, 2007, order in 02cv2219, Dkt. 90,

Sand, J. (deceased), Ex. 2, infra, explicitly states "Order of Dismissal Without Prejudice,"

however, the surrounding context and the motion itself—made_after_the statute _of

limitation had run on all claims in_the complaint, therefore, implicitly conferred a

"Dismissal with Prejudice" given on Dec. 20, 2007, the NYS statute of limitation had run

on_all claims in the 02cv2219 lawsuit. Furthermore, Rule 41(a)(2) dismissals upon the

plaintiff's request are generally understood to be with prejudice unless explicitly stated
otherwise or ordered by the court to be without prejudice to protect the plaintiff. In this

case (02cv2219), the dismissal was ex parte and voluntary at the request of KTS' clients,

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suggesting it was intended to be with prejudice, again, considering the NYS statute of
limitation had run when the Rule 41(a)(2) motion was presented to the court, ex parte, for
entry. Even if initially ambiguous, the Movants’ argument emphasizes that the practical

and legal effect of a plaintiff-initiated voluntary dismissal after significant litigation, after

the statute of limitation had run on all claims—given the claims were void ab initio (the
collection or enforcement of criminal usury unlawful debts) particularly in the absence of
explicit language to the contrary, is typically understood as with prejudice.

2. Identity of Parties or Privies: There is substantial identity of parties. KTS' clients were
plaintiffs in 02cv2219‘and are claimants in the 03-93031 bankruptcy case, see Dkt. 11, 15,
and 16. Group Management Corp. is the defendant in 02cv2219 and the Debtor in 03-
93031, Ulysses T. Ware, as a statutory party in interest under 11 U.S.C. § 1109(b), is also
in privity with the Debtor and has standing to raise these issues,”

3, Identity of Cause of Action: The "cause of action" for res judicata purposes is defined by
the "transactional approach," meaning claims are considered the same if they arise from
the same "nucleus of operative facts." See Marvel Characters, Inc. v. Simon, 310 F.3d 288,
290 (2d Cir. 2002). The claims in 02cv2219 and 03-9303/, both centered on the criminal

usury convertible promissory notes (GX 1-4) and the underlying transactions, undoubtedly

° Mr. Ware suffered a concrete in jury in fact as a result of the U.S. Trustee and KTS’ clients’ conspiracy
to commit bankruptcy fraud—Mrr, Ware’s entire investment in GPMT (+$500 million), and 156 months
false imprisonment in federal concentration camps as a result of KTS, its clients, Margaret H. Murphy,
Patricia Sinback, M. Regina Thomas, Joyce Bihary, Coleman Ray Mullins, Wendy L. Hagenau, Arie
Rabinowitz, Kenneth A. Zitter, Edward M. Grushko, Barbara R. Mittman, Jeffrey B. Norris, Alexander H.
Southwell, David N. Kelley, Edward T.M. Garland, Manibur S. Arora, Donald F. Samuel, Janice Singer,
Michael F. Bachner, David B. Levitt, Konrad Ackermann, Trailblazer Merger Corp., I, Tailwind
Management L.P., Frank V. Sica, Michael S. Bertisch, Colleen McMahon, Lawrence B. Mandala, Robert
Alberal, Baker & McKenzie, LLP, Thomas A. Leghorn, Esq., and the U.S. Trustee, Region 21 (James
Herbert Morawetz) Hobbs Act loan sharking and money laundering racketeering conspiracy to commit
bankruptcy fraud, collection criminal usury unlawful debts, and Hobbs Act racially-motivated hate crime
conspiracy.

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arise from the same nucleus of operative facts. 02cv2219 was initiated by KTS' clients to
enforce alleged (nonexistent) rights’® related to these notes, and their claims in 03-9303

are also based on these same notes.

Therefore, the 2007 Rule 41(a)(2) Final Judgment in 02cv2219, Dkt. 90, Ex. 2, infra,

dismissed the case (02cv2219) with prejudice—a yoluntary final judgment on the merits for

Movants, bars, absolutely, KTS' clients from relitigating claims related to the promissory notes

(GX 1-4) against GPMT, including in the context of the 03-9303/ bankruptcy proceeding. This

voluntary dismissal with prejudice effectively extinguished KTS’ clients—unregistered broker-

dealers, status as "real parties in interest" with respect to these claims, GX 1-4, and GX 5.

B. Lack of Article III Standing and "Real Party in Interest" Status:

Article II] of the U.S. Constitution limits federal court jurisdiction to "cases" and
"controversies," requiring plaintiffs to demonstrate Article III standing. Standing requires: (1)
injury in fact; (2) causation; and (3) redressability. See Lujan v. Defenders of Wildlife, 504 U.S.

555, 560-61 (1992).!! The "injury in fact" must be "concrete and particularized" and "actual or

1 Article III constitutional standing requirements require a “legally protected interest” which has been
harmed, or is in imminent danger of being harmed by conduct traceable to the defendants actions. Lujan,
504 U.S. at 560-61. KTS’ unregistered broker-dealer clients lacked a “legally protected right or interest”
in the enforcement or collection of null and void ab initio criminal usury convertible promissory notes, GX
1-4; and accordingly, they each lacked Article III standing to have filed the moot 02cv2219 (SDNY), see
Steel Co., 523 U.S, at 93-95; and by necessary implication lacked Article III standing to appear in 03-
93031, Dkt. 11, 15, and 16, and seek and redressable judicial reliefs, i.c., the May 2003, Dkt. 28 (Murphy,
J.) (moot and void ab initio dismissal with prejudice of 03-93031 on motion by KTS and its clients, Dkt.
15 and Dkt. 16, in collusion, in concert, and conspiring with the U.S. Trustee, Region 21, Dkt. 6 and Dkt.
13, James H. Morawetz, Esq., an officer of the court).

1 Td. at 562-63, the Court expounded on the constitutional requirements that a plaintiff [KTS’ clients]
must prove to establish standing to appear, Dkt. | 1, in the 03-93031 Chapter 11 and seek redressable judicial
relief, Dkt. 15 and 16: “Respondents' claim to injury is that the lack of consultation with respect to certain
funded activities abroad "increas[es] the rate of extinction of endangered and threatened species."
Complaint' 5, App. 13. Of course, the desire to use or observe an animal species, even for purely esthetic

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imminent." Jd. Critically, the injury must involve a "legally protected interest." See Steel Co. v.

Citizens for a Better Env't, 523 U.S. 83, 95-97 (1998).!?

Movants persuasively argue that KTS' clients lacked a "legally protected interest"'* because

their claims are based on predatory convertible promissory notes (GX 1-4) that are:

1. Criminally Usurious under New York Law: N.Y. Penal Law § 190.40 prohibits criminal

usury. Contracts violating this statute are void ab initio, meaning void from the outset and

unenforceable. See Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.Ath 379, 385 (2d Cir, 2022);

In re Venture Mortg., L.P., 282 F.3d 185, 189 (2d Cir. 2002). Courts will not and do not

purposes, is undeniably a cognizable interest for purpose of standing. See,e. g., Sierra
Club v. Morton, 405 U. S., at 734. "But the ‘injury in fact! test requires more than an injury to a
cognizable interest. It requires that the party seeking review [KTS” clients] be himself among the
injured." Id., at 734-735. To survive the Secretary's summary judgment motion, respondents [KTS’ clients]
had to submit affidavits or other evidence showing, through specific facts, not only that listed species
were in fact being threatened by funded activities abroad, but also that one or more of respondents'

thers would thereby be "directly" affected apart from their" ‘special interest’ in the] subject." Id., at
735, 739, See generally Hunt v. Washington State Apple Advertising Comm'n, 432 U.S. 333, 343 (1977).
(emphasis added).

!2 "On every writ of error or appeal, the first and fundamental question is that of jurisdiction, first, of this
court, and then of the court from which the record comes. This question the [03-93031 and 02cv2219
federal] court is bound to ask and answer for itself, even when not otherwise suggested, and without

respect to the relation of the parties to it." Great Southern Fire Proof Hotel Co. v. Jones, supra, at 453.
The requirement that jurisdiction be established as a threshold matter "spring[s] from the nature and limits
of the judicial power of the United States" and is "inflexible and without exception." Mansfield, C. & L.
M. R. Co. v. Swan, 111 U.S. 379, 382 (1884).” (emphasis added).

'3 At no place in the 02cv2219, 03-93031, or 04cr1224 proceedings record has any party presented any
evidence of the alleged “legally protected interest” authorized in positive law that the law protects with
respect to criminal usury convertible promissory notes, GX 1-4, collection and/or enforcement. To the
contrary, NYS Penal Law, section 190.40, the criminal usury law, a class E felony, and federal racketeering
law, 18 USC § 1961(6)(B) both criminalize the enforcement or collection of GX 1-4, Therefore, there is
no “legally protected right” recognized in law that conferred Article [II standing on KTS’ clients to initiate
the 02cv2219 (SDNY) moot lawsuit, to appear in 03-93031, Dkt. 11, and seek redressable judicial relief,
Dkt. 15 and Dkt. 16—all orders entered on behalf or in favor of KTS’ unregistered broker-dealer
clients that enabled the collection or enforcement of predatory criminal usury convertible promissory
notes, GX 1-4, Dkt, 28, 256, 258, 263, 274, and 275 are null and void ab initio, moot, have no preclusive
effect, and are a “nullity.” (quoting Steel Co., 523 U.S. at 94-95) (Scalia, J.).

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recognize any legal right stemming from criminally usurious contracts attempting to be
enforced or collected by unregistered broker-dealers (cf., Ex. 3, FINRA’s Marcia E.

Asquith, Esq., May 17, 2021, binding regulatory certification of unregistered broker-

dealer status for each of KTS’ clients).

2. Derived from Unregistered Broker-Dealer Activities: 15 U.S.C. § 780(a)(1) requires
broker-dealers to register with the SEC. Exhibit 3 confirms FINRA's finding that KTS'
clients operated as unregistered broker-dealers. Transactions conducted in violation of this

registration requirement are unlawful and deemed void or unenforceable. See Regional

Props., Inc. v. Fin. & Real Estate Consulting Co., 678 F.2d 552, 559 (Sth Cir. 1982); ef.

15 USC § 77cc(b).

Because the predatory criminal usury promissory notes, GX 1-4, are by operation of law!

null and void ab initio, unenforceable, violated NYS Penal Law, section 190.40, the criminal usury
law, a class E felony, and also the collection of GX 1-4 violated federal racketeering law, 18 USC

&§8 1951 (a), 1961(6)(B), and 1962(a-d), criminal usury and illegal securities transactions, KTS'

clients never possessed a "legally protected interest" in the collection or enforcement of GX 1-4.
Therefore, any alleged "injury" KTS and its clients claim to suffer from the Debtor's refusal to
honor, enforce, and facilitate collection of these predatory unlawful debt notes is not a cognizable

injury in fact for Article III standing purposes. Their alleged "injury" was self-inflicted, arising

'4 The law does not recognize GX 1-4 as lawful and viable debts and are deemed ipso facto null and void
ab initio given KTS’ clients' judicial admissions pleaded in GX 5, 410.1(iv) and other admissions made by
KTS, Dennis S. Meir, John W. Mills, III (see Dkt. 11, 15, and 16), Wendy L. Hagenau (see Dkt. 256, 258,
263, 274, and 275), Kenneth A. Zitter, Esq., (see 02cv2219 (SDNY) complaint’s binding judicial
admissions which pleaded the plaintiffs out of the federal courts), Edward M. Grushko, Esq., Arie
Rabinowitz (see Nov. 2007 admissions in trial 04cr1224 (SDNY) testimony), and Barbara R. Mittman,
Esq., made on behalf of KTS’ clients, the 02cv2219 (SDNY) plaintiffs.

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from _their own illegal conduct and outside the scope of Article III jurisdiction in the federal

courts. See Clapper v. Amnesty Int'l USA, 568 U.S. 398, 418 (2013) (discussing that “self-

inflicted” injuries, or these arising from unlawful activities [the enforcement or collection of

predatory criminal usury unlawful debts, GX 1-4 which violated NYS Penal Law, section 190, the
criminal usury law, a class E felony], lack the foundation—a legally protected interest or right,

necessary to support Article IL standing).'°

Furthermore, Rule 17 of the Federal Rules of Civil Procedure and Rule 7017 of the Bankruptcy

Rules require that all actions be prosecuted by the "real party in interest." A real party in interest

is the party who possesses the substantive legal right being asserted. Given that KTS' clients'

claims being asserted in the 02cv2219 (SDNY) civil lawsuit and Chapter 11 In re Group

Management Corp., 03-93031, Dkt. 11, 15, and 16, are based on predatory criminal usury null

and void and unenforceable contracts, GX 1-4, and are precluded by the Dec. 20, 2007, Dkt. 90,

02cv2219 Rule 41(a)(2) final judgment, they (KTS’ clients) are as a matter of law were not and
are not viable "real parties in interest" having Article III standing, and therefore are not lawfully

authorized and entitled to prosecute “as real parties in interest,” lacking any cognizable “legally

'5 No place in Dkt. 6, 11, 13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, or any place in the 03-93031
record did the U.S. Trustee, Region 21, KTS, its clients, Baker & McKenzie, LLP, Lawrence B. Mandala,
Esq., Thomas A. Leghorn, Esq., London, Fisher, LLP, District Judge Thomas W. Thrash, Jr., Arie
Rabinowitz, Kenneth A. Zitter, LH Financial Services Corp., or the Bankruptcy Court present any
“affidavits” or facts asserting “a legally protected interest” which suffered “a concrete injury in fact” caused
by or traceable to Group Management or Ulysses T. Ware, Esq.’s conduct, in the enforcement or collection
of predatory criminal usury convertible promissory notes, GX 1-4. Accordingly, KTS’ clients and the U.S.
Trustee lacked Article III standing to appear in 03-93031 and seek any redressable judicial relief that
aided, abetted, assisted, or enabled the enforcement or collection of GX 1-4. Steel Co., 523 U.S. at 93-95;
Lujan, 504 US. at 560-63.

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protected legal right,” or any claims in the lawsuit 02cv2219 (SDNY) and the 03-93031 bankruptcy

case based on null and void ab initio criminal usury subject matter, GX 1-4, and GX 5.

The U.S. Trustee, Region 21, Ida Mae Townsend, based on the unopposed and undisputed
factual record before the Bankruptcy Court (see Exhibits, infra) has a statutory duty, 28 USC §
586(a)(3)(F), and ethical duty, pursuant to GA Bar Rule 3.3(a)(1) and 8.4 to notify the Court and
law enforcement regarding Baker & McKenzie, LLP, Lawrence B. Mandala, Esq., Thomas A.
Leghorn, Esq., London, Fisher, LLP, Robert Alberal, Esq., KTS, Arie Rabinowitz, LH Financial

Services Corp., convicted felon Edward M. Grushko, Esq., Barbara R. Mittman, Esq., Kenneth A.

Ziter, Esq., Dennis S. Meir, John W. Mills, Il, J. Henry Walker, IV, Wab Kadaba, Wendy L.
Hagenau, Coleman Ray Mullins, Joyce Bihary, Margaret H. Murphy, Edward T.M. Garland,
Donald F. Samuel, Manibur S. Arora, Janice Singer, Michael F. Bachner, David B. Levitt, Jeffrey
B> Norris, Alexander H. Southwell, Thomas W. Thrash, Jr., Colleen McMahon, Michael H.
Dolinger, Frank V. Sica, Tailwind Management L.P., Trailblazer Merger Corp., I, Konrad
Ackermann, Joseph Hammer, and KTS’ clients’ frauds, and crimes committed before, during, and

after the Chapter 11 in regard to the predatory criminal usury convertible promissory notes, GX

1-4, and GX 5, enforcement and collection activities. '®

'6 28 USC § 586(a)(3) (F) duty of U.S. Trustee (Ida Mae Townsend, Esq., an officer of the cour t):
notifying the appropriate United States attorney of matters that relate to the occurrence of any action
that may constitute a crime under the laws of the United States and, on the request of the United States
attorney, assisting the United States attorney in carrying out prosecutions based on such action; cf., Dkt. 6,
11, 13, 14, 15, 16, 28, Order, Murphy, J., (dismissal of 03-93031 with prejudice order), Dkt. 256, 258, 263,
274, and 275, fraudulent and void ab initio purported orders (Hagenau, C.J.), which have aided, abetted,
assisted, facilitated, and enabled KTS’ and its clients’ continued enforcement and collection activities
regarding GX 1-4 by KTS’ clients, their agents, proxies, surrogates, and alter-egos (see Ex. 7, infra, Appx.
1, and Appx. 2) in criminal violation of NYS Penal Law, section 190.40, a class E felony, and federal
racketeering law, 18 USC §§ 152, 157, 924(c), 1201-02, 1341, 1343, 1344, 1346, 1951(a), 1956-57, 1958-
59, 1961(6)(B), 1962(a-d), and 2071(a), (b)—a pattern of racketeering activities). Cf., U.S. v. Grote, 961

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C. Jurisdictional Implications and Policy Considerations:

Lack of Article [lJ standing by the plaintiff or petitioner seeking relief in a federal court
deprives a federal court (bankruptcy courts are subject to Article III standing requirements) of
subject matter jurisdiction to adjudicate the merits of the claims presented to the court, see Steel

Co., 523 U.S. at 93-95, Subject matter jurisdiction is a fundamental prerequisite for any federal

court action and can be raised at any time, by the court, sua sponte, and by any party, even after

judgment, or dismissal. See Arbaugh v. Y & H Corp., 546 U.S. 500, 506-07, 514 (2006).'7 If the

03-93031 Bankruptcy Court lacked Article III jurisdiction from the outset (it did) to adjudicate the
US. Trustee and KTS' clients’ manifestly frivolous, baseless, filed for an improper purpose, and
vexatious claims, (see Dkt. 6, 11, 13, 14, 15, and 16) all orders benefiting them (Dkts. 28, 256,
258, 263, 274, 275) are void ab initio by operation of law. See Steel Co., 523 U.S. at 93-95

("Without jurisdiction the court cannot proceed at all in any cause"). (emphasis added).

Bankruptcy courts are courts of equity and should not be used as instruments for illicit
profiteering. See Grogan v. Garner, 498 U.S. 279, 286 (1991). Enforcing fraudulent claims, Dkt.

13, 14, 15, and 16, based on criminal usury and illegal securities transactions would contravene

F.3d 105 (2d Cir. 2020) (aff'd conviction, sentence, and +$3.5 billion racketeering forfeiture judgment for
unlawful debt collection activities),

'T “The objection that a federal court lacks subject-matter jurisdiction, see Fed. Rule Civ. Proc. 12(b)(1),

may be raised by a party, or by a court on its own initiative, at any stage in the litigation, even after trial
and the entry of judgment. Rule 12(h)(3) instructs: “Whenever it appears by suggestion of the parties or

otherwise that the court lacks jurisdiction of the subject matter, the court shall dismiss the action.”
See Kontrick v. Ryan, 540 U. S. 443, 455 (2004)” ... Id. at 514: “First, “subject-matter jurisdiction, because
it involves the court’s power to hear a case, can never be forfeited or waived.” United States v. Cotton, 535
U. S. 625, 630 (2002). Moreover, courts [the 02cv2219 (SDNY), 03-93031, and 04cr1224 (SDNY)],
including this Court, have an independent obligation to determine whether subject-matter jurisdiction

exists, even in the absence of a challenge from any party. Ruhrgas AG v. Marathon Oil Co., 526 U.S.
574, 583 (1999). (emphasis added).

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the Bankruptcy Code's purpose of equitable distribution to honest creditors and undermine

public policy objectives.

VI. Conclusion:

The Motion to Strike, Vacate, Set Aside, and Annul, premised on the preclusive effect of
the Dec. 20, 2007, Dkt. 90, Sand, J., see Ex. 2, infra, 02cv2219 Final Judgment and the lack of
Article III standing for KTS' unregistered broker-dealer clients, presents a compelling and
meritorious legal challenge to prior orders in the 03-9303/ bankruptcy case; and based on the
foregoing legal analysis, arguments, and undisputed factual record, the Movants’ are entitled to

relief.

VII. Legal Sources and Citations:

Statutes:

i. 11 U.S.C. § 105(d)(1)
ii. 11 U.S.C. § 1109(b)
iii, 11 U.S.C. § 542(a)
iv. 15 U.S.C. § 780(a)(1)
v. 28U.S.C. § 1334
vi. 280U.S.C. § 151
vii. 28U.S.C. § 157
viii. 28 0U.S.C. § 1927
ix. 18U.S.C. §§ 401(2), 401(3)
x. N.Y. Penal Law § 190.40

Federal Rules:

i. Fed. R. Civ. P. Rule 17

ii. Fed. R. Civ. P. Rule 41(a)(2)
iii. Fed. R. Evid. Rule 201(b)
iv. Fed. R. Bankr. P. Rule 5005(a)(2)
v. Fed. R. Bankr. P. Rule 5005(b)(1)
vi. Fed. R. Bankr. P. Rule 7017

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Fed. R. Bankr. P. Rule 9011
Fed. R. Bankr. P. Rule 9036

Adar Bays, LLC v. GeneSYS ID, Inc., 28 F Ath 379 (2d Cir. 2022)
Arbaugh v. Y & H Corp., 546 U.S, 500 (2006)

Chase Manhattan Bank, N.A. v. Celotex Corp., 56 F.3d 343 (2d Cir. 1995)
Clapper v. Amnesty Int'l USA, 568 U.S. 398 (2013)

Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394 (1981)

Grogan v. Garner, 498 U.S, 279 (1991)

In re Venture Mortg., L.P., 282 F.3d 185 (2d Cir. 2002)

Lujan v. Defenders of Wildlife, 504 U.S, 555 (1992)

Marvel Characters, Inc. v. Simon, 310 F.3d 288 (2d Cir. 2002)

Regional Props., Inc. v. Fin. & Real Estate Consulting Co., 678 F.2d 552 (Sth Cir.
1982)

Semtek Int'l Inc. v. Lockheed Martin Corp., 531 U.S. 497 (2001)

Steel Co. v. Citizens for a Better Env't, 523 U.S. 83 (1998)

Warth y. Seldin, 422 U.S. 490 (1975)

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Bankr. Rule 9014, Rule
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UNITED STATES BANKRUPTCY COURT

FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

IN RE: .

GROUP MANAGEMENT CORP., Chapter 11 Debtor

Case No.: 03-93031 (WLH)

RULE 9014 CONTESTED MATTER MOTION TO STRIKE, VACATE, SET ASIDE, AND
ANNUL, NUNC PRO TUNC, CERTAIN ORDERS FOR LACK OF ARTICLE Ill
STANDING AND SUBJECT MATTER JURISDICTION

TO THE HONORABLE BARBARA ELLIS-MUNRO, CHIEF JUDGE OF THE UNITED
STATES BANKRUPTCY COURT:

COMES NOW Movants, GROUP MANAGEMENT (successor in interest to the Chapter
11 Debtor)., Debtor, and ULYSSES T. WARE, a statutory party in interest pursuant to 11 U.S.C.
§ 1109(b),'® and hereby file this Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside,
and Annul, nunc pro tunc, Orders Dkt. 28, 256, 258, 263, 274, and 275, and in support thereof,

respectfully state as follows:

|, JURISDICTION
1. This Court has jurisdiction over this contested matter pursuant to 28 U.S.C. § 1334. This
is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper in this

District. This Motion is brought as a contested matter pursuant to Bankruptcy Rule 9014.

'8 Mr. Ware was ruled by Murphy, J. to be an equity security holder in the debtor, and denied application
to be employed as the Debtor’s Chapter 11 legal counsel, see Dkt. 26, Ex. 9, infra.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Il. FACTUAL BACKGROUND

The following facts are material, undisputed, and definitively establish the Movants’

entitlement to the relief sought:

1. Fraudulent Inception of Claims: KTS’ clients, Alpha Capital Aktiengesellschaft, AMRO
International, S.A., Markham Holdings, Ltd., and Stonestreet Limited Partnership
(collectively “KTS’ Clients”), fraudulently appeared in this Chapter 11 case on April 10,
2003, via Dkt. 11, and subsequently filed fraudulent claims (Dkt. 15, 16) predicated upon
criminally usurious promissory notes (GX 1, GX 2, GX 3, and GX 4), instruments
demonstrably null and void ab initio.

2. Criminal Usury and Racketeering Predicate: The purported promissory notes, GX 1-4,
are criminally usurious under New York Penal Law § 190.40, bearing interest rates
exceeding 2000% per annum, and constitute predicate acts of racketeering activity under
18 U.S.C. §§ 1951, 1961, and 1962.

3. Unregistered Broker-Dealer Status: FINRA, in a binding regulatory factual finding
dated May 17, 2021 (Exhibit 3 to Movants’ Memorandum of Law), definitively established

that KTS’ clients operated as unregistered broker-dealers in violation of 15 U.S.C. §

780(a)(1), rendering the underlying securities transactions illegal and void.

4. Admission of Criminal Conduct: Arie Rabinowitz, KTS’ clients’ official agent,
confessed under oath in sworn testimony in U.S. v. Ware, 04cr1224 (SDNY) (Exhibit 4 to
Movants’ Memorandum of Law) to being an unregistered broker-dealer, confirming the

illegal nature of KTS’ clients’ activities,

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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5. Dismissal with Prejudice of SDNY Litigation: KTS’ clients initiated a prior lawsuit in
the Southern District of New York, Alpha Capital Aktiengesellschaft, et al. v. Group
Management Corp., Case No. 02cv2219 (SDNY), seeking to enforce and collect the same
fraudulent claims. This lawsuit was voluntarily dismissed with prejudice by KTS’
clients—after the statute of limitation had run on all claims, on December 20, 2007, via a
Rule 41(a)(2) Final Judgment entered by Judge Sand (Exhibit 2 to Movants’ Memorandum
of Law), constituting a final adjudication on the merits.

6. Binding Judicial Ruling of Insider Status: Judge Sand, in a binding judicial ruling and
court order dated August 13, 2003, Dkt. 65, in 02cv2219 (SDNY) (Exhibit 1 to Movants’
Memorandum of Law), found each KTS client to be a statutory insider of Group
Management Corp. under 15 U.S.C. § 78p(b), triggering disgorgement requirements under
11 U.S.C. § 542(a), a ruling never appealed by KTS’ clients,

7. No Legally Cognizable Injury in Fact: KTS’ clients, as unregistered broker-dealers
attempting to enforce or collect on predatory null and void ab initio criminally usurious
promissory notes, have demonstrably suffered no legally cognizable “injury in fact”
recognized under Article III of the U.S. Constitution, as their purported “injury” stems from
their own self-inflicted racketeering criminal and unlawful conduct.

8. Lack of Article III Standing Ab Initio: Due to the null and void ab initio nature of the
underlying instruments, GX 1-4, and the absence of a legally cognizable injury, KTS’
clients lacked Article III standing—lack a “legally protected right or interest” in GX 1-4,
from their initial fraudulent appearance in this Chapter 11 case, Dkt. 11, on April 10, 2003.

9, Absence of Subject Matter Jurisdiction: This Bankruptcy Court, therefore, never
possessed Article III subject matter jurisdiction to adjudicate KTS’ clients’ claims or enter

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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any orders benefiting them, rendering Orders Dkt. 28, 256, 258, 263, 274, and 275, null
and void ab initio.
10. Manifest Fraud on the Court: KTS’ clients, through their counsel at Kilpatrick Townsend

& Stockton LLP, perpetrated a manifest fraud upon this Court by fraudulently asserting

claims based on criminally usurious and illegally transacted instruments, knowingly
lacking Article III standing and subject matter jurisdiction; and violated the District Court
(NDGA) and the State Bar of Georgia’s Rules of Professional Conduct Rules 3.3(a)(1) and
8.4,

Ll. Willful Resistance to Court Orders: Employees of this Bankruptcy Court (M. Regina
Thomas, Patricia Sinback, Margaret H. Murphy, Joyce Bihary, Coleman Ray Mullins, and
Wendy L. Hagenau) have engaged in willful resistance to lawful court orders, actively
obstructing justice and perpetuating the fraudulent scheme perpetrated by KTS® clients, as
evidenced by their continued recognition of jurisdictionally void orders.

12. Egregious Misconduct by KTS’ Counsel: Kilpatrick Townsend & Stockton LLP, and
specifically attorneys Dennis S. Meir, John W. Mills, Ill, J. Henry Walker, 1V, and Wab
Kadaba, have demonstrated a profound lack of candor to this tribunal, knowingly, in bad
faith, and reckless filed false and fraudulent pleadings, made manifestly frivolous
arguments, breached their duty of candor to this Court, failed to correct the records
regarding their clients’ unregistered broker-dealer status, failed to inform the Court of their
clients’ 15 USC § 78p(b) statutory insider trading in Group Management's equity
securities, failed to notify and inform the Court of the location of the +$522 million in
insider trading profits required to be turned over to the Chapter 11 estate, and engaged in

reckless criminal misconduct that warrants severe sanctions and disciplinary referral.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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13.

14,

Service of Motion and Related Documents: Movants have duly served Notice of this
Motion, the Proposed Joint Unopposed Consent Order, Memorandum of Law, and all
accompanying exhibits upon KTS’ clients (Alpha Capital Aktiengesellschaft, AMRO
International, S.A., Markham Holdings, Ltd., and Stonestreet Limited Partnership),
Kilpatrick Townsend & Stockton LLP, attorneys Robert Alberal, Thomas A. Leghorn,
Esq., and Lawrence B. Mandala, Esq. of Baker & McKenzie, LLP, and the Office of the
U.S. Trustee, Region 21 (Ida Mae Townsend).

Judicial Economy and Good Faith: Movants bring this Motion in the interest of judicial
economy, to rectify manifest jurisdictional errors, and to ensure the integrity of the
bankruptcy system is'not further compromised by the enforcement of illegal and void

claims.

Ill. LEGAL ARGUMENT

As exhaustively detailed in the Movants’ Memorandum of Law, incorporated herein by

reference, (Part 13-10), the legal basis for striking, vacating, setting aside, and annulling Orders

Dkt. 28, 256, 258, 263, 274, and 275 is irrefutable. In summary:

1.

Lack of Article III Standing: KTS’ clients’ claims, predicated upon instruments, GX 1-
4, null and void ab initio due to criminal usury and illegal securities transactions, fail to
establish a “legally protected interest,” a sine qua non for Article III standing. Steel Co. v.
Citizens for a Better Env’t, 523 U.S. 83, 95-97 (1998).

Preclusive Effect of 02cv2219 Judgment: The voluntary dismissal with prejudice of
02cv2219 (SDNY), Dkt. 90, Dec. 20, 2007, pursuant to Fed. R. Civ. P. 41(a)(2)—after the

statute of limitation had run on all claims, operates as res judicata, barring KTS’ clients

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from relitigating claims arising from the same nucleus of operative facts in this bankruptcy
proceeding. Semtek Int'l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 505-06 (2001).

3. Void Ab Initio Orders: This Court, lacking Article III subject matter jurisdiction from the
outset (initio) due to KTS’ clients’ absence of standing, had no lawful authority to enter
Orders Dkt. 28, 256, 258, 263, 274, and 275, which are therefore null and void ab initio,
nunc pro tunc. Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303, 316 (2006) (“Subject-matter

jurisdiction, on the other hand, concerns a court's competence to adjudicate a particular

category of cases; a matter far weightier than venue, subject-matter jurisdiction must be

considered by the court on its own motion, even if no party raises an objection.”).

(emphasis added).

4, Fraud on the Court and Sanctions: KTS’ clients and their counsel, jointly and severally,
in bad faith, have perpetrated a fraud on this Court by knowingly asserting jurisdictionally
deficient claims, warranting the imposition of severe sanctions, including monetary

penalties and disciplinary referrals. Chambers v. NASCO, Inc., 501 U.S. 32, 44-46 (1991)."°

IV. RELIEF REQUESTED
WHEREFORE, for the foregoing reasons, Movants, GROUP MANAGEMENT and ULYSSES T.

WARE, respectfully request that this Honorable Court enter an Order:

'° “Of particular relevance here, the inherent power also allows a federal court to vacate its own judgment
upon proof that a fraud has been perpetrated upon the court. See Hazel-Atlas Glass Co. v. Hartford-
Empire Co.,322 U.S. 238 (1944); Universal Oil Products Co. v. Root Refining Co., 328 U.S. 575
580 (1946). This "historic power of equity to set aside fraudulently begotten judgments," Hazel-Atlas, 322
USS., at 245, is necessary to the integrity of the courts, for "tampering with the administration of justice in
[this] manner . . . involves far more than an injury to a single litigant. It is a wrong against the institutions
set up to protect and safeguard the public." /d., at 246. Moreover, a court has the power to conduct an
independent investigation in order to determine whether it has been the victim of fraud. Universal Oil,
supra, at 580.” (emphasis added).

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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A. Granting this Motion to Strike, Vacate, Set Aside, and Annul, nunc pro tunc, Orders Dkt. 28,
256, 258, 263, 274, and 275, and any other orders entered in this case that benefit KTS’ clients
(Alpha Capital Aktiengesellschaft, AMRO International, S.A., Markham Holdings, Ltd., and

Stonestreet Limited Partnership);

B. Declaring Orders Dkt. 28, 256, 258, 263, 274, and 275, and any other orders entered in this
case that benefit KTS’ clients, VACATED, SET ASIDE, ANNULLED, and deemed VOID AB

INITIO, NUNC PRO TUNC to March 18, 2003, for lack of subject matter jurisdiction;

C. Dismissing with prejudice all claims asserted by KTS’ clients (Alpha Capital
Aktiengesellschaft, AMRO International, S.A., Markham Holdings, Ltd., and Stonestreet Limited
Partnership) in this Chapter 11 case, Dkt. 11, 15, and 16, NUNC PRO TUNC to March 18, 2003,

for lack of subject matter jurisdiction and Article III standing;

D. Imposing Sanctions against KILPATRICK TOWNSEND & STOCKTON LLP, attorneys
DENNIS S. MEIR, JOHN W. MILLS, III, J. HENRY WALKER, IV, and WAB KADABA, and
clients ALPHA CAPITAL AKTIENGESELLSCHAFT, AMRO INTERNATIONAL, S.A.,
MARKHAM HOLDINGS, LTD., and STONESTREET LIMITED PARTNERSHIP, jointly and
severally, in the sum certain amount of FIVE HUNDRED AND TWENTY-TWO MILLION
DOLLARS ($522,000,000.00), payable to the Estate of Group Management Corp., for

perpetrating a fraud on the court and engaging in vexatious and baseless litigation;

E. Referring attorneys DENNIS S. MEIR, JOHN W. MILLS, III, J. HENRY WALKER, IV, and

WAB KADABA to the State Bar of Georgia for disciplinary investigation into violations of the

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Georgia Rules of Professional Conduct, including but not limited to Rule 3.3 (Candor Toward the

Tribunal) and Rule 8.4 (Misconduct);

F. Referring KTS’ clients (Alpha Capital Aktiengesellschaft, AMRO International, S.A.,
Markham Holdings, Ltd., and Stonestreet Limited Partnership), and attorneys DENNIS S. MEIR,
JOHN W. MILLS, Ill, J. HENRY WALKER, IV, and WAB KADABA to the Financial Industry
Regulatory Authority (FINRA) and the Securities and Exchange Commission (SEC) for
investigation into egregious violations of federal securities laws, including aiding and abetting

unregistered broker-dealer activity and securities fraud;

G. Referring KTS’ clients (Alpha Capital Aktiengesellschaft, AMRO International, S.A.,
Markham Holdings, Ltd., and Stonestreet Limited Partnership), and attorneys DENNIS 8. MEIR,
JOHN W. MILLS, III, J. HENRY WALKER, IV, and WAB KADABA to the United States
Department of Justice (DOJ) for criminal investigation into potential violations, including but not
limited to: conspiracy to commit bankruptcy fraud (18 U.S.C. §§ 2, 152, 157 et seq.), criminal loan
sharking (18 U.S.C. § 891, 1951(a), 1961(6)(B), 1962(a-d) et seq.), and money laundering (18

U.S.C. § 1956 et seq.);

H. Adopting the annexed Proposed Joint Unopposed Consent Order as the Order of this Court;

and
I. Granting such other and further relief as this Court deems just and equitable.

V. PROPOSED JOINT UNOPPOSED CONSENT ORDER

Movants respectfully requested, which the Court shall do, that the Court enter the following Joint
Unopposed Consent Order:

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

IN RE:
GROUP MANAGEMENT CORP., Chapter 11 Debtor
Case No.: 03-93031 (WLH)
JOINT UNOPPOSED CONSENT ORDER GRANTING MOVANTS’ RULE 9014
CONTESTED MATTER MOTION TO STRIKE, VACATE, SET ASIDE, AND ANNUL,
NUNC PRO TUNC, CERTAIN ORDERS FOR LACK OF ARTICLE III STANDING AND
SUBJECT MATTER JURISDICTION.

This Bankr, Rule 9014 Contested Matter comes before the Court on the Movants’ Motion
to Strike, Vacate, Set Aside, and Annul, nunc pro tunc, Certain Orders for Lack of Article III
Standing and Subject Matter Jurisdiction (the “Motion”) filed by Movants, GROUP
MANAGEMENT CORP., Debtor, and ULYSSES T. WARE, statutory parties in interest pursuant
to 11 U.S.C. § 1109(b). The Court, having considered the Motion, the Memorandum of Law in
Support thereof, and the record in this case, and finding that no good faith Bankr. Rule 9011(b)(1-

4), 28 USC § 1927 opposition has been filed and that the Motion is well-taken, it is hereby:
ORDERED that the Movants’ Motion is GRANTED in its entirety; and it is further

ORDERED that Orders Dkt. 28, 256, 258, 263, 274, and 275, and any other orders entered in this
case that benefit KTS’ clients (Alpha Capital Aktiengesellschaft, AMRO International, S.A.,
Markham Holdings, Ltd., and Stonestreet Limited Partnership) are hereby VACATED, SET
ASIDE, ANNULLED, and deemed VOID AB INITIO, NUNC PRO TUNC to March 18, 2003,

for lack of subject matter jurisdiction; and it is further

ORDERED that all claims asserted by KTS’ clients (Alpha Capital Aktiengesellschaft, AMRO

International, S.A., Markham Holdings, Ltd., and Stonestreet Limited Partnership) in this Chapter

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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11 case, Dkt. 11, 13, 15, and 16, are hereby DISMISSED WITH PREJUDICE, NUNC PRO
TUNC to March 18, 2003, for lack of subject matter jurisdiction and Article II] standing; and it

is further

ORDERED that SANCTIONS ARE IMPOSED against JAMES H. MORAWETZ,
KILPATRICK TOWNSEND & STOCKTON LLP, attorneys DENNIS 8. MEIR, JOHN W.
MILLS, UL, J. HENRY WALKER, IV, and WAB KADABA, and clients ALPHA CAPITAL
AKTIENGESELLSCHAFT, AMRO INTERNATIONAL, S.A., MARKHAM HOLDINGS,
LTD., and STONESTREET LIMITED PARTNERSHIP, jointly and severally, in the sum certain
amount of FIVE HUNDRED AND TWENTY-TWO MILLION DOLLARS
($522,000,000.00), payable to the Estate of Group Management Corp., for perpetrating a fraud on
the court and engaging in vexatious and baseless litigation, which monetary sanction is due and

immediately payable; and it is further

ORDERED that the Clerk of Court is directed to REFER attorneys JAMES H. MORAWETZ,
DENNIS S. MEIR, JOHN W. MILLS, III, J. HENRY WALKER, IV, and WAB KADABA to the
State Bar of Georgia for disciplinary investigation into violations of the Georgia Rules of
Professional Conduct, including but not limited to Rule 3.3 (Candor Toward the Tribunal) and

Rule 8.4 (Misconduct); and it is further

ORDERED that the Clerk of Court is directed to REFER KTS’ clients (Alpha Capital
Aktiengesellschaft, AMRO International, S.A., Markham Holdings, Ltd., and Stonestreet Limited
Partnership), ARIE RABINOWITZ, LH FINANCIAL SERVICES CORP., and attorneys

LAWRENCE B. MANDALA, THOMAS A. LEGHORN, ROBERT ALBERAL, EDWARD M.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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GRUSHKO, BARBARA R. MITTMAN, DENNIS S. MEIR, JOHN W. MILLS, III, J. HENRY
WALKER, IV, and WAB KADABA to the Financial Industry Regulatory Authority (FINRA) and
the Securities and Exchange Commission (SEC) for investigation into egregious violations of
federal securities laws, including aiding and abetting unregistered broker-dealer activity and

securities fraud; and it is further

ORDERED that the Clerk of Court is directed to REFER KTS’ clients (Alpha Capital
Aktiengesellschaft, AMRO International, S.A., Markham Holdings, Ltd., and Stonestreet Limited
Partnership), ARIE RABINOWITZ, KENNETH A. ZITTER, EDWARD M. GRUSHKO,
BARBARA R, MITTMAN, LAWRENCE B. MANDALA, THOMAS A. LEGHORN, ROBERT
ALBERAL, and attorneys DENNIS S. MEIR, JOHN W. MILLS, III, J. HENRY WALKER, IV,
and WAB KADABA to the United States Department of Justice (DOJ) for criminal investigation
into potential violations, including but not limited to: conspiracy to commit bankruptcy fraud (18
U.S.C. §§ 2, 152, 157 et seq.), criminal loan sharking (18 U.S.C. § 891, 1951(a), 1961(6)(B),

1962(a-d) et seq.), and money laundering (18 U.S.C. § 1956 et seq.).

IT IS SO ORDERED.

DATED: , 2025

HONORABLE BARBARA ELLIS-MUNRO
CHIEF JUDGE
UNITED STATES BANKRUPTCY COURT (NDGA)

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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End of Order

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VI. CERTIFICATE OF SERVICE

The Clerk of the Bankruptcy Court hereby certifies that on this day of January,
2025, copies of the foregoing Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside,
and Annul, nunc pro tunc, Certain Orders for Lack of Article II] Standing and Subject Matter
Jurisdiction, the Proposed Joint Unopposed Consent Order, Memorandum of Law, and all exhibits

were served via electronic mail upon the following parties:

e Ida Mae Townsend, U.S. Trustee, Region 21, USTP.Region2]@usdoj.gov and

ustrustee.program@usdoj.gov

e R. Jeneane Treace, Assistant U.S. Trustee, Region 21, jeneane.treace@usdo].gov

e Kilpatrick Townsend & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry Walker, IV,
Dennis S. Meir, and J ohn W. Mills, II)

e Alpha Capital Aktiengesellschaft, AMRO International, S.A., Markham Holdings, Ltd.,
and Stonestreet Limited Partnership (via Kilpatrick Townsend & Stockton, LLP)

e Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq. and
Thomas A. Leghorn, Esq.)

e Ulysses T. Ware

e Group Management

VII. CONCLUSION

For all the reasons set forth herein and in the accompanying Memorandum of Law,
Movants respectfully request that this Honorable Court grant the Motion in its entirety, adopt the
Proposed Joint Unopposed Consent Order, and provide such other and further relief as is just and

equitable.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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HW biwe 9. Wa

THE At tees: ICE OF ULYSSES T. WARE

By: /s/ Ulysses T. Ware
ULYSSES T. WARE

123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com

Attorney in Fact for Movants, Group Management Corp. and Ulysses T. Ware

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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F. Exhibits—

Supplemental Record

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Exhibit 1—Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv2219
(SDNY): Unappealed Judicial ruling (collateral, equitable, and judicial
estoppel) of 15 USC §78p(b) statutory insider status (disgorgement of all
profits requirement to the Chapter 11 estate) for each of KTS’
unregistered broker-dealer clients (see Ex. 3, infra) with respect to the
Chapter 11 debtor’s, Group Management Corp.’s, publicly-traded equity
securities.7°

20 Judge Sand’s Aug. 13, 2003, ruling, binding a lawful court order—(A) subject to enforcement against
Hagenau, KTS, its client, et al., via civil and criminal contempt (18 USC §§401(2), 401(3)) absolutely
binding on the 03-93031 Chapter 11 Bankruptcy Court (NDGA) (Hagenau, C.J.), which (B) conferred
fiduciary duty status on all 18 USC §1962(d) racketeering to commit bankruptcy fraud unindicted
coconspirators to wit, Hagenau, KTS, its partners, each of K7iS’ unregistered broker-dealer clients, et al.—
that is, Hagenau, KTS, its partners, and its clients are subject to (1) anm_existing and extant and current
equitable lien on their personal and individual assets, (ii) current and extant constructive trust impressed
on their assets, (iii) and U.C.C. Article 1 encumbrance and lien on their assets in the amount of +$522M
plus interest running from the date of Judge Sand’s 15 USC §78p(b) court order, August 13, 2003, (i.e.,
stolen and concealed property and assets of the 03-93031 Chapter 11 estate).

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Ex. 1—(Dkt. 65, 02cv2219)—(18 USC § 1961(1) Racketeering Overt and Predicate Act)
Aug. 13, 2003, Dkt. 65 02cv2219 (SDNY), Sand, J. (deceased) binding judicial ruling
and court order—Judge Sand in ex parte communications found each KTS client to be a
15 USC § 78p(b) statutory insider of Group Management Corp, and therefore triggered the
Section 16(b)/11 USC §542(a) disgorgement/turnover requirement, which was not
appealed by KTS’ clients, and is therefore, ipso facto, as a matter of law and fact res
judicata and collateral estoppel against KTS, Kadaba, the SBGA, NeSmith, Fredrick,
Hagenau, and the 03-93031 (BC NDGA) bankruptcy court pursuant to FRE 201(b)

judicial notice.

Appx 34-2—GX 24 (Dkt. 65, 02cv2219)—found each 02cv2219 plaintiff to-be a 15 USC 78p(b)
statutory Insider of GPMT, and their and their agents required to disgorge back to GPMT +5500
rillion In trading profits,

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALPHA CAPITAL AKTIENGESELLSCHAFT,
AMRO INTERNATIONAL, 3.A.,
MARKHAM HOLDINGS, LTD,, and
STONESTREBT LIMITED PARTNERSHIP,

Paints, : 02 Civ. 2219 (bus)
-against- : ORDER

GROUP MANAGEMENT COR?P,, i

formerly known as IVG CORP.,

formecly known as INTERNET :
VENTURE CORP,,

Defendant.

Keser

SAND, District Judge.

Ina telephonic conference on July 2, 2603, this Court ordered that Defendant Group
Management comply with a conversion request by Plaintiff Stonestreet L.P., contingent on the
provision by Plaintiffofan affidavit stating, inter alia, that Stonestreet beneficially owned less
than 9.9% of Graup Management's common stock, as woll ag un opinion letter stating that the

would therefate be in pli with Rule 144(k), See Tr. July 2, 2003, Plaintiff

BOOK

subsequently provided an unswom statement to the effect (hat Stonestreet's ownership was
below the appropriate level; when Dofendant still failed fo honor the conversion request, the
; 2 Court ordered on July 23 that 4) Plaintift provide a sworn affidavil, a4 requited by July 2 Order;

~* :
e« and ii) that Defendant hoaor the Stonestreet conversion request within two busi lays
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#* thereafter, on pain of contempt.

On August 1, 2003, the Courl received from Plaintiff copies of an affidavit and opinion

COPTES MATLED TO ALL PARTIES», «(1

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Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

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The conspiracy to commit securities and bankruptcy fraud by KTS during the In
re Group Mangement Corp, 03-93031 (BC NDGA) Chapter 11 proceedings. KTS'
cere in ex parte communications with the 02cv2219 (SDNY)
district court , J.) that KTS did in fact knowingly violated 18 USC 2, 157,
371, 924(c), 1201-02,1341, 1343, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(B)
and 1962(d) by concealing and suppressing its clients' ownership of GPMT's
stock. letter relating not to PMaintif Stonestrecet, but rather to Plaintiff Alpha Capital, Paint

‘explained, upon inquiry from Chambers, that Stonestrect in fact beneficlally owned more than,

9.9% of Group Management's stock,

Given the above facts, the Court observes that the conditions set in the July 2 Order
regarding the Stonestreet conversion request have not been met, and that Defendant is therefore
notin contempt of that Order, or of the follow-up Order of July 23. Nonetheless, pursuant to
other orders of this Court, including the Order and Judgment of November 25, 2002, Defendant
is slill hound (o honor appropriate conversion requests from Alpha Capital, and Plaintiff has
submitted both an affidavit and opinion fetter regarding the legality of the ctirrent Alpha
conversion request, Accordingly, failure by Defendant to honor. that request within qo business As

days af this Order shall constitute contempt,

80 ORDERED,

Dated: New York, New York
August g#; 2003
I$

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Exhibit 2--Dkt. 90 (Binding Final Judgment)—02cv2219 (SDNY)
Prevailing Parties Chapter 11 Debtor Group Management and 11 USC
§1109(b) statutory party in interest Ulysses T. Ware’s Final Judgment—
December 20, 2007, Dkt. 90, Case No. 02cv2219 (SDNY), District Judge
Leonard B. Sand, Fed. R. Civ. P. Rule 41(a)(2) voluntary, ex parte
Dismissal with Prejudice of the 02cv2219 (SDNY) Lawsuit After the
Statute of Limitation Had Run on All Claims Final Judgment conferred
final judgment prevailing party status _on Group Management_and
Ulysses T. Ware.”'

“| KTS’ unregistered broker-dealer clients’ Dec. 20, 2007, voluntary Rule 41(a)(2) dismissal with
prejudice of the 02cv2219 (SDNY) lawsuit—final judgment on the merits for the Chapter | 1 debtor, Group
Management, and 11 USC §1109(b) statutory party in interest Ulysses T. Ware, is currently and will be
enforced against Hagenau, KTS, its clients, and each 18 USC §1962(d) unindicted coconspirator resisting
the legal and equitable preclusive effects—that is, the immediate 11 USC §542(a) turnover of all Chapter
11 estate assets, of the binding court order, see 18 USC §§401(2), and 401(3), and Fed. R. Crim. P. 42.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
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13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).

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Exhibit 3—FINRA’s May 17, 2021, binding regulatory factual
finding of unregistered broker-dealer status for KTS’ clients who
fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11, 15,
and 16 via KTS’ lawyers Dennis S. Meir and John W. Mills, officers
of the court, pursuant to and in violation of 18 USC §§ 2, 152, 157,
371, 1951(a), 1956-57, 1961(6)(B), and 1962(a-d)—a_pattern of
racketeering activities.

CERTIFICATION OF NO FINRA BUSINESS RECORDS

|, Marcia E. Asquith, being first duly sworn, depose and state as follows:

4. Lam the Executive Vice President, Board and External Relations. ‘In that
capacity, | oversee the functions of the Office of the Corporate Secretary at
the Financial Industry Regulatory Authority, Inc. FINRA’), | am farniliar with
and am a custodian of FINRA business records, including interpretations,
policies and rules adopted by the FINRA Board of Governors.

2. No documents related to the firms listed below were prepared, kept and
maintained in the ordinary course of FINRA’s business:

a) Alpha Capital, AG

b) Stonestreet, L.P.

¢) Markham Holdings, Ltd.
d) Amro International, S.A.
@) LH Financial Services

arcia E. Asquith

Executive Vice President, Boeri External
_ Relations and Corporate Secretary

Subscribed and sworn to before me this _Lotheay ot A any 2021

Notary Public, District of Columbles 4

My commission expires: S] 3: 3 a
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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Exhibit 4—Sweet, J., U.S. v. Ware, 04cr1224 (SDNY) Brady disclosure
court order, Dkt.32,

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Exhibit 5—U.S. v. Ware, 04cr1224 (SDNY), Nov. 2007, Tr. 204-06,
sworn testimony of KTS’ clients’ official agent, unregistered investment
advisor and unregistered broker-dealer Arie Rabinowitz confessing to
being unregistered broker-dealers.

UNITED STATES v. WARE, CASE NO. 29-0851 (7D CIR.) (2010)
ON APPEAL FROM UNITED STATES v. WARE, O4c¢4224 (Sweet, 3.)
12 USC 401(3) CRIMINAL CONTEMPT PROSECUTION
APPELLANT WARE'S OPENING BRIEF

1 Moreover, béing unregistered brokers-dealers operating in violation of 15 U.S.C.

z S78ola){41), Tr. 204-05, Rabinowitz testified as follows at Tr. 204:

1 ADMISSION OF BROKER-DEALER STATUS BY
ARI RABINOWITZ UNDER CROSS EXAMINATION. .

Mir. Ware: What is the name of your campany?
: Rabinowitz: LH Financial Services.

> Mr. Ware: What business is that company?

> Rabinowitz: We are in the private placement- business.

i «Tr. 206.

2 Mr. Ware: Approximately how many vcompanies have you assisted Alpha Capital
4 with over, let's say, the fast five nore

¢ Rabinowite: A good fevy, Figitared, ”

5 Mr. Ware: A good few ‘handed?

$ es ee,

Rabinowitz" téstintony of being in the private placement business, and assisting

é
% Alpha. ‘Capital, With “a good few hundred” transactions: pursuant to 1S U.S.C,
3 Sr7 bial 12) Rabinowitz and Alpha were “dealers” not eligible for any exemption
> under Title 15 Section 4, and thus not eligible for 17 C.F.R. $240.144(k)/({Rule 144(k}
i regarding the purchase of the Notes of IVG/GPIMT (GX 1-4).

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Appellant Ware's Staternent of Facts

U.S, v. Ware, 09-085 1¢r (2d Cir.)

Opening Appeal Briet
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Exhibit 6—02cv2219 (SDNY) plaintiffs’ (KTS’ clients’) complaint’s
judicial admissions and confessions (res judicata and collateral estoppel)
of 15 USC §77b(a)(11) statutory underwriters of Group Management’s
securities. Para. 12-13 pleaded KTS’ clients out of the federal courts.

4 12. Plaintifts purchased the Notes pursuant to the terms of the Subscription Agreement
| (the “Subscription Agreement”) entered into between and gmonug tht parties of or about February
LS 2, 2001. Plaintiffs collectively paid $1;1 million to TVG and each Plaintiff received o Note in

proportion to ite investment, as set forth in the paragraph 10,
we
et 13. Pursuant to Stction 10.)Gv) of the Subscription Agreement, TVG was obligated to
file on of before May 3, 2001, a form SB-2 Registration Statement with the United States

aac:

Securities wid Exchange Comunission registering the wtock underlying the Notes 50 that wpon

conversion the stock could be sold on the open market. without restriction. VG was obligated to

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have such registration statement dectared effective on or before June 17, 2001. Thus Section
A” 0.1Gv) of the Subscription Agreement provides:

“The Company shall file with the Commission within 90 days of the
Closing Date (the ‘Filing Date’), and use ite reasonable commercial efforts
to cause to be declared effective a Form SB-2 registration statement (or
wuch other form as it is eligible to use) within 135 days of the Closing
Date in order to register the Registrable Securities for resale and
distribution under the Act. The registration statement described in this
paragraph niust be declared effective by the Commission within 135 oe
of the Closing Date (as defined en ~~ m

IVG failed io comply with its obligations and to date has not had its registration statement

declared effective.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
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Exhibit 7—extreme armed and potentially deadly violence perpetrated
against the Debtor and its agent in fact Ulysses T. Ware in furtherance to
their conspiracy to collect criminal usury debts (GX 1-4) in violation of
NYS Penal Law, section 190.40 and federal RICO law 18 USC §§
1951(a), 1961(6)(B), and 1962(a-d)—a pattern of racketeering activities.

Supplemental
Appendices

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Appendix 1—U.S. Marshals note given to Ulysses T. Ware on Sept. 12, 2024, in Brooklyn,
NY at 10:17 AM, during the unlawful, armed, forced entry into Mr. Ware’s residence while
the Marshals lacked a lawful search warrant, arrest warrant, or lawful legal process; aided,
abetted, assisted, enabled, and facilitated by the property manager.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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A. Sept. 12, 2024, 10:17 AM, Brooklyn, NY alleged U.S. Marshals (SDNY) Plummer,
Morton, and Belriz outside of Mr. Ware’s residence regarding a fraudulent referral by former
(SDNY) magistrate Judge Michel H. Dolinger and Colleen McMahon regarding a lawful Fed. R.
Civ. P. Rule 11(b)(1-4) Prefiling Investigation concerning imminent RICO and 18 USC
1961(6)(B) unlawful, armed debt collection activities, related to U.S. v. Ware, OScr1115
(SDNY),04cr1224, and 02cv2219 (SDNY); and In re Group Management Corp.., 03-93031 (BC
NDGA), to wit: GX 1, GX 2, GX, 3, and GX 4—the NYS Penal Law, section 190.40, null and
void ab initio criminal usury unlawful debts—the Marshals with the assistance of the property
manager broke into Mr. Ware’s residence while armed and without any warrant, or lawful

process—@ potentially deadly encounter, to intimidate, bully, threaten, and force Mr. Ware into
giving up and abandoning his and Group Management’s legal rights as 11 USC § 1109(b) statutory
parties in interest.

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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B, Sept. 1, 2004, Atlanta, GA armed, forced, unlawful entry—potentially deadly, into Mr.
Ware’s law office without any lawful warrant by persons impersonating U.S. Marshals—Hobbs
Act conspiracy to collect the criminal usury unlawful debts, GX 1, GX 2, GX 3, and GX 4—
government trial exhibits in U.S. v. Ware, 04cr1224 (SDNY), and plaintiffs’ exhibits in 02cv2219
(SDNY), and in In re Group Management Corp., 03-93031 (BC NDGA) Chapter 11.

75, O04 Contempt of Court Atlanta, Geargia 1ONS04;
Age: 44 Dismissed pursuant
to order of Judge

Leonard B, Sand

76. According to Sr. U.S, Probation Officer Atonya M, Croft of the Northern District of
Georgia, on September 1, 2004, the defendant was arrested in the Northern District of
Georgia in response to att order issued by the Honorable Leonard B. Sand, U.S, District
Judge, Southem District of New York, in 02 CY 2219 (LU8), On December 22, 2003,
Judge Sand ordered the defendants in this civil matter (which included the deferudon!) to
deliver Silver Screen Studios, Inc, common sinck to honor all of the conversion requests
for Group Management Corp, or Silver Seren Studios, Ine, stuck duly submitied by the
plaintiffs, On June 24, 2004, Judge Sand issued a warrant for the defendant's arrest for
| contempt of court, for failure to obey the December 22, 2003, order, This artest order
indicated that the defendant was (o be arrested by the US, Marshals Service and detained
until the defendant purged himself of contempt by delivering the above-relerenced

WARE, ULYSSES T os

sept. 1, 2004 kidnapping 1

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common stock. On July 4, 2004, the defendant was arrested by the U.S. Marshals Service
inthe Norther District of Georgia, He appeared before the Honorable Thomas W.
Thrash, Jr. in that district, refused to purge himself of contempt and offered no
acceptable reason to prevent enforcement of the.contempt order. On September 2, 2004,
the Honorable Thomas W. Thrash, Jr., ordered the defendant to remain in the custody of
the US. Marshals Service until he purged himself of contempt or was ordered released by
cither Judge Thrash or Judge Sand, ‘The defenant’s request for bond was granted, and he
was released on September 3, 2004, after posting $150,000 in cash and a $100,000 bond,
cosigned by tvo other individuals,

77. On September 2, 2004, the Honorable Leonard B. Saud vacated the June 21, 2004, order
in part to the extent that it authorized the arrest of the defendant outside of the state of
New York and more than 100 miles from the U.S. Courthouse located at 500 Pearl Street,
Now York, New York, The order remained in effect insofar as it could be served on the
defendant in the state of New York or within 100 miles of the U.S, Courthouse located at
400 Pearl Street, New York, New York.

78. On October 7, 2004, the defendant moved to vacate and release the bail of $250,000 set
on September 2, 2004. On October 15, 2004, the defendant's motion was granted by ihe
Honorable Thomas W. Thrash, Jr.; $150,000 was refunded fo the defendant, and the
corporate surely bond was discharged.

We wee BARE R eR eee Sek e wernleN ee Men eee

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Monday, January 27, 2025

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MR to Mr. Wars, “s.. 1 will have Judge Sand
fe your ass in prison, nigger, and you will

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Zita, Ey in March 2003; see also the
franseript of the September 1, 2064 illegal arrest
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~ and Rabinowitz, hy
it., of Dot, #88 onder in 2219 (Sand_ 1.) rating

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riddiction {0 have entered Mr, ‘Wa %

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tefiue: District Junge ‘Thomas W. Theash,

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7 Ms, Ware Gut of mare than $500 maton dolar in

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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C, Actual innocent dispositive Brady exculpatory and impeachment evidence deliberately,
intentionally, and in bad faith suppressed and concealed by AUSA Alexander H. Southwell, Steven
D. Feldman, Nicholas S. Goldin, Maria E. Douvas, Sarah E. Paul, Katherine Polk-Failla, David N.
Kelley, Michael J. Garcia, Robert W. Sweet, (deceased), Colleen McMahon, Leonard B. Sand,
(deceased), William H. Pauley, III (deceased), Robert A. Katzmann (deceased), Jose A. Cabranes,
Edgardo Ramos, Laura Talor-Swain, Amalya L. Kearse, Robert D. Sack, Damian Williams, Daniel
Gitner, Won Shin, Andrea Griswold, Danielle Sassoon, Hagan Scotten, Jun Xiang, Michael H.
Dolinger, and other Unindicted Coconspirators.

Dreger, Jane.

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agent} nny, Bb, 2004 {8
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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

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Appendix 2—McMahon’s, Sica’s, Tailwind’s, Ramos, Taylor-Swain, DeArcy-Hall,
Livingston, Cabranes, Kearse, Sack’s, Gitner’s, and Hagenau’s coordinated conspiracy to
commit bankruptcy fraud and obstruct justice regarding 02cv2219 (SDNY), 03-93031 (BC
NDGA), 04cr1224 (SDNY), and 05er1115 (SDNY)—the Hobbs Act Unlawful Debt
Collection Proceedings, to wit: 18 USC §§ 2, 156-57, 371, 924(c), 1201-02, 1341, 1343,
1344, 1346, 1503, 1951, 1956-57, 1958-59, 1961(6)(B), 1962(a-d), and 2071(a), (b), a
pattern of racketeering activities.

Coordinated conspiracy to obstruct justice and conceal Brady actual
innocent exculpatory/impeachment evidence.

In re Group Management Corp. (03-93031)(BC NDGA) (Hagenau, C, J.)
and
Alpha Capital, AG et al., v. GPT, et al., (02cv2219)(SDNY) (McMahon, J.)

Actual innocent petition filed on 10.20.22.
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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Appendix 2-1 (con’t)—-Money laundering vehicle formed from the Hobbs Act money
laundering and criminal usury unlawful debt collection activities profits and proceeds
fraudulently obtained by Unindicted Coconspirators Arie Rabinowitz, LH Financial
Services, Alpha Capital, AG, et al.

Registration No, 333-

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION

Washington, D.C, 20349

FORM S§-1
REGISTRATION STATEMENT
UNDER
THE SECURITIES ACT OF 1933

Trailblazer Merger Corporation I

{Exact namie of registrant ag specified in itx charter}

Deboware 6770 873710376
{State o¢ other jurisdiction of {Primary Standard hxdustrial . (LILS. Employer
incorporation or organization) Classification Code Number) Téentifivation Nusiber}

Code, of Registrant's Pancipal Executive ORices}

(Address, inchiding Zip Code, sad

Aric Rabinawitz
Chief Executive Officer
$10 Madison Avcouc
Suite 140t
New York, NY 10022
‘Telephone: 212-586-8224

(Name, Address, inckyding Zip Code, aad Telephone Number, including Arca Gade, of Agent for Seevice)

Copies t0:
Mifchell S, Nussbaunt, Esq. Rick A. Werner, Esq.
Alexandria Kane, Esq. Haynes and Boone LLP
Loch & Loch LLP Bi Rockefeller Maza,
345 Park Avenue 26th Floor
New York, New York 10105 Rew York, NY 10112
‘Vek: (212) 407-4000 ‘Tel: (212) 659-7300

Approximate date of commencement of proposed sale fo the public: As soon as practicable after the ci¥ective date of this registration
statement.

Ifany of the securities being registered on this Form ste lo be offered on a delayed or contiruous basis pursuant to Rule 415 under the
Seeurities Act of 1933 check the following box. 1

If this Form is fi ion: curl wi ct, pleage check the
following box and list Mies Agt re, on 2 is atem@et Jor the same offering. O
If this Form is a ~ = uritics it, % the fbllowing box and jist the
Sccuritics Aut registra Shar of th ie iv i silat © B-
Hf this Form is a post-cffective amendment filed pursuant tb Rule 462(d) under the Securilies Act check the following box and list the
ities Act regi i 1 ber of the carlict effective registration statement for the aanve offering. 0
indicate by check mark whelher the registrant is a forge accelerated filer, an accelerat 1 filer, ap d filer, a smalicr reporting
apany, Oran ging grawth company. Sce the definitions of “iarge aceel d files," “acoclerated filee,”" “smaller reporting company”
and “emerging growth company” in Rule 12b-2 of the Exchange Act.
Large accelerated filer o Accelerated filer o
Non-accelerated filer Smaller reporting company a
Emerging growth company

Han emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition petied far
complying with any new or revised financind accounting standards provided pitzsnant to Section 7(ak2)(H) of the Securities Act.O

Page 61 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 247 of 270

Exhibit 8—(RICO Overt Act #3)—“a pattern of racketeering activities”
Atlanta, GA bankruptcy court’s employees willful resistance to the
Court Orders.

P. Bw

Pp. 86
Via Certified Mail #: 7003 1680 0005 1206 0744
Viysaes Thomas Ware j | tess
Rag. No. $6216-019
Atlanta Priges Camp
B,O, Bax 180160
Atlanta, GA 30315

July 30, 2612

The Hovorable Jeyea Bihary
“Chief Judge

ULB. Bankruptcy Coure

‘Por the Northern Oietrist cf Caargia
U.8, Courthouve :
74 Spring Be,, SW
Atlanta,

BE: In re Cron omekt Corp, O2-93031l-MIM (ipGas,, 6793031")
ia galy TE - up, Mlanazene argency: Mstdon, July 25, 2012 Leteer, and 07/30/2012. Emergency
Motions : : ; : :

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: “This latter 4a An. regard to the above peed eoets sand the ii abu: 2018 decter wen

pGkerk Me hi ‘Thomas, included fa che 07/30/2012 Ewergency Motion as ix, ie faa

ie ).- Paieet, t am requesting that tha #nclosed pleading be piccasadd according to the —
emergency procedures of the Court, where cime is of the assence, and the petittover
Mr. Ware ig currently suffering irreparable harm, and will eontinue fo suffer.
irreparable harw. uslese the requested relief ia granted on an eeereety bagis as ‘set
forth in the 07/36/2612 Emetgeney Motion, — :

2. _.. Beasond, Judge Bibary (aa an offices, of the smash you Rava a duty of yaaa. ‘ks i
a fiduetury duey €0 the ‘ordexly administration of juetice in the Court to process
ali pleadings oubmicted co the Court in a timely and orderly manner, which M. Regina
Thowan did sot do with +Yespect to the O7/12/2612 Zmergancy Motion, thus
necessitating the 07/30/2012 Emargencty Motion, pete:

aa fudge Wiss. ao Chief did Ba of the Court, © purausnk 5 Banker; Rade $005Ca), ‘be
enéloged. Ceres are heing Se to your attention, dua “to the fact that HM.
Megina Thomas (Clark), 1t@ ames as a reapondent, and thus has a couflict of interest
regarding this matter,

im

do 7 MWe peetedener Mes Ware het requested a relief dare of 06/07/2012, wad far the |
enélosed ‘pleadings to the processed of an emergancy basin.

af there are any question please contact che undersigned on or before alose of
‘tusiness on 06/02/2012, else I will aseume chat the plesdinge will be timely processed
oh an amergeney bands,

kincerely).
Al Deion
Wivyeses fhowas Ware, pro we
énélosuras: GPEP/ BB ig Be reeney Motion, Sup. Appx. 4.0, Exhibit at,

Page 62 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 248 of 270

Exhibit 8-1--(RICO Overt Act #4)

MEMORANDUM OF POINTS AND arrsonirces be he TN SUPPORY OF EMERGENCY MOTION *. 8S
IN THE ONTTED States maMeRoeTey Court
FOR THE NOMTHEAN DISTAIcr oF GEORGIA

ATLANTA DIVISION

PETITIONEM: GLZSSE0 THOMAS WARY (PARTY oR CONTEREST).

RESPONDENTS - UNENDICTED COCONSP RATOUS eo

Alpha Capital. As. ftenen sents LP, Markham - Yok, seas itd... dmre Tnteraational,
SA, Katnagth A. 2ittwr, Art Mabinesite, Nacken Ladenbucg, Edward 9. emeashe.
“Bathars KR. Witten, Demiy §. Meir, John W. Mitte, IIT, Kilpartick, Townsend, & .
Stockeon, LLP, Zdward T. Me Garland, Mamsy Arora, David Levitz, Den Samuel, : |
: ee: Pines i Fane: Py at 1a P. Smith, UIT, Willits A. Myers, Yobsaths i
4 2 Sac h Ee A ae

Thrush, Joy, Linda 4 :
Sheob, Gareiiyd G. Grill, Jaees Ne Bacten, Alexander 1". Sduchweli, Sicestes
&, Guldin, Marla £. Deuves, Gavah £. Pasi, Peet Wharara, Mtebsel <. Gureia, David.
‘Belly, Kathexine Poik-PFaiiia, Kent J. Rawson, Robert 2, Jolma bon, Janag BMorewite, ”
i detfvrey B, Nostia, Specter €, Serasch, Rebaert C, Bamman,; Jotun C. Martin, Rabecca
R. veirchiid see eae: Rend beney aternee ‘Wabatets a eeee . Robert ie Sent

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dames Olas; 0,56: Matehal (#2) UNH, 08, Marshal (93) LNU, U.S, Marebal (#4) Lu,
Thies J, MeCarthy; andzews 4 Kruth, LLP, Thomas V. Siblom, Prokausar § Aowe, LLP,
Grughko: & Miteman, F.C, (MIC), dteven 5, Veldman, eee Makel, Erte 8. Eoidar,
Eve the tatead. States of. dmatica, and pthers known and sulenown » ; !

COULECTIVELY, THE BACKETERAS, in thet. individual and personal
SUEREEED:

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mattar down under the emergency procedures of the Court and direct —
and erder the respondents to file a response th opposition, ff any,

on ot before close of business 6 July 25,2012 4u‘wricing by filing
asy and aii pleading: with the Offdcu ef the Bankroptcy Clerk ar 75
Spring $t.; Atianva, GA 39303, or via tha PACER system, and ‘filing

2 paper copy of the same on the patitiacer: at the Atlanta Frixen

p, Fo, Box 13G465, Atlanta, GA 30375 (Reg. Ro. SeBiB-O193 0

Submtited by
fy. Pyle

Atlanta Pitaan Cain
7.0, Boe 180160:

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: P, 66 PL Bo
Via Cerrified Medl #3 7003 1480 G005 1206 9748
Ulysaes Phenae Ware i :
Reg. No. 56218-019
Atlanta Prigen comp
BO, Box 156160.
Atlanta, GA 30318 3
E July 30, 2012
The Honorable Joyce Binary
‘Chiet Judge
U8. hankeuptey Court
Yor the Narthern Diatrics of Georgia
0.6. Courthouse — :

fe pie. oar

Page 63 of 155

Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 249 of 270

Exhibit 8-2--(RICO Overt Act #5)

Gaited StateaB yptey Court a
Norehemn ; Nee ot Gosegia rae
1290 United States Courthouse
75 Spring Street, $.W,
Atlanta, Georgia 30303-3367

(404) 245-1008
January 11, 2012

Mr. Ulysses Thomas Ware
Reg: No. 56218-0119 —-
Atlanta Prison Camp

P, O, Box 150160

Atlante, GA. 30315

Dear Mr, Ware:

pRB Copies OF pleadings you taniléd to Judge Murphy ox or about December 21,
2011, were referred to me: The pleadings do not appear to relate to any active bankruptcy -

case before Judge Murphy and your purpose ‘ih sending copies of the pleadings is unclear.

_ , The pleadings will not be shown to Judge Murphy-andwill not be made « part of
any bankruptcy case file. If you wish to communicate with the court concerning the
above-relérchced case, you should do so by means of an appropriate motion or
application that complies with the Bankruptcy Code, the Bankruptcy Rules and the Local
Rules of Practice for the United States Bankruptoy Court for the Northern District of

fat Sinback
_ Law clerk to
Judge Margaret H. Murphy.

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Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 250 of 270

Exhibit 8-3--(RICO Overt Act #6)

Unieeel State PaabBruptey Court
Norther District of Georgia’
1290 Caited States Courthousa
2% Spring Sweat, 5.0.
Adasta, Georgia 30503-3367

December 28, 2011 -

i-UNysses Thomes Ware. i

_ Reg, No. 36213-019._.

“Atlanta Prison Camp
PO Box 150160 : ‘
Atlanta, GA 30315 ee

— Capital, AG Atlanta, GA Litigation
Dear Mr. Ware: , Cone —

veces

P. 79

(404) 218-1008

Your. jeter Hated December: 10,201 owas a 6 tel The loca! rales, BLR 9003-2 -

Communications to a Bankruprey fudge regarding a request for an order or other
relief (including 4 request for an extension of time) ¢r matters that mre or may be
dn dispete, or cormeuinications of facts or legal issues regarding a particular case,
proceeding, or tnatter periding before that Bankruptcy Judge, shall be by written
motion,. pleading, or other paper, and not by letter, Orditiarily, adetter seeking
such action will not be treated as a motioa, will sot be consideted by the
Bankruptcy Court, and will not be filed with the Bankruptey Clerk. Pardes and

their sounsel shalt net “provide the Banknipicy Court with copies of
ormay be in disoute,

Court for the Northern District of Georgia.

Bs Your Jester: will. not be shown ta Sadie Murphy and: willnoe be made-a, partef Debris)
file, if you wish to communica with the ouurt conceming the above-referenced cas, you should’ 7
do 86 "by means of ar Bperepriate motion or application which complies: with the Bankrupicy
Code, the Bankruptcy Rules and the Local Rules of Practice for the: United: States Bankrusicy

truly yours,

aw olerk to
Wize aeare ae H. Moy

tke

On

8/27/2012 a a/4/2012

Page 65 of 155
Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document5-13 Filed 03/07/25

Exhibit 8-4--(RICO Overt Act #7)

Pp. 81

L writes States Bankruptcy Court
Northern District of Georgia

1340 U.S: COURTHOUSE

78 SPRING STREET 8.W,
ATLANTA, GEORGIA 30303

M. REGINA THOMAS
CLERK OF COURT /

. July 25, 2012

Mr. Ulysses Thomas Ware

Reg. No, $6218-019

Atlanta Prison Camp

P.O. Box 150160

Atlanta, GA 30315

‘by United: States: Bankraptey Courts

20037

jurisdiction.

8/27/2012

Page 66 of 155
Monday, January 27, 2025

Page 251 of 270

by you, oF on your ben that do> not rele te any!
‘Court for the Northern District of Georgia. The
Gp Matikgement Comp. 03-9303), wae {

pipes sent tothe Court as they 60 ot

8/15/2012

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,

13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
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Exhibit 8-5--(RICO Overt Act #8)

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
1471 United States Courthouse
75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

Chambers of
WENDY L. HAGENAU
Chief Judge

June 9, 2021

Mr. Ulysses T, Ware
123 Linden Blvd., Suite 9-L
Brooklyn, NY 11226

Dear Mr, Ware:
lam in receipt of your letter of April 22, 2021. The following responds to your requests.

1. You asked for all docketed and undoéketed orders and pleadings in the referenced case. In my.
letter to you of April 5, 2021, | reminded you that the Court had returned all non-docketed items.
{o you previously, A list of those non-docketed items was included, My April 5,2021 letter also
included a certified copy of the docket. By letter dated February 2, 2017, the Cierk of Court
provided you a copy of each pleading, order and notice entered in the case no. 03-93031, Group
Management Corp. Also included with that correspondence was a copy of the claims register
and the three claims filed in the above case, one claim filed by Boise Cascade Office Products
and two claims filed by Business Wire.

2. Inher letter of February 2, 2017, the Clerk responded to your request for all transcripts in the
Group Management Corp. case. The Clerk informed you that, “This case file was sent to
archives as part of the normal process in 2010, To havea file retrieved from archives, the
Judicial Conference of the United States has established a retrieval fee of $64. [cannot confirm
the existence of any transcripts in this file without the file retrieval, Ifyou would like this file
ordered, please remit the required fee by money order or cashier’s check made payable to Clerk,
United States Bankruptey Court.” After your letter of April 22, 2021, we requested and obtained
the transcripts which is why the response to your letter was delayed. Copies of the two
transcripts received are enclosed and have been added to the docket of case no. 03-9303) at
entries 41 and 42,

3, You asked for the entry of an administrative order directing the Clerk’s office to enter and certify
all orders in the case and to note and make available all transcripts. Such an order isnot ,
necessary or appropriate, All requested transcripts have been provided to you, Enclosed is a
certified copy of the docket which reflects your correspondence beginning March 4, 2021,

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 253 of 270

Exhibit

responses from the Court, and other documents submitted through June 2, 2021 (docket entries 34-40).
While copies have previously been provided to you, certified copies in accordance with BR 5006 of the
otders entered at docket entries 3, 10, 18, 19, 26, 28, 32 und 33 are enclosed.

A copy of your letter of April 21, 2021, and this response are “docketed.” The case remains closed,

Very truly yours,

A .Wagenan

Wendy L. Hagénau
Chief United States Bankruptcy Judge

Enclosures

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Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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A-la—murder for hire order (02cv2219)(SDNY), Sand, J. authorized
the U.S. Marshals (SDNY) to use deadly force to collect the criminal
usury unlawful debts, GX 1, GX 2, GX 3, and GX 4, cf., McMahon’s Dkt.
120 (02cv2219 (SDNY), see Ex. 1, supra.

23 ee 869

ol States Pvistricd Coenert
Souther District of New York:

x

‘Alpha Capital Akticngesclischott. Avro
International, S.A... Markham Holdings, Lid.
and Stonestreet Limited Partnership,

Unregistered broker-dealers

Pisintiffs, Y ‘ ‘
} 02 Civ, 2219{LBS)
Group Management Corp., formerly known i zis
as ING Corp... formerly known as Internet x seme
Venture Group, inc., Elorian Landers and 4

Berks Landers,
bicteahaas! Actual innocent Brady exculpatory evidence.

x

Hobbs Act crime ol violent to collect GX 1-4, the RICO criminal
usury uniawiul debts.

Whereas by order dated March 17. 2003 this Cour ordered the incarceration of Thomas
Mare: and Bary Corker for their contempt of this Court's order and judgement of November 25.

SHE saree ele: eases Ts RES ee on negpeests <fenly
The Hobbs Act extortion conspiracy overt act fo mse bogus: frauduler,
submined by Plahwiffi, mand Hegal Rule 144(k) legal opinions to the unregistered broker-dealers .
and Section 2(a)(1 1) statutory underwriters in violation of SEC Ret.
33-7190 nv VW (1995). and US. v. Wolfson. 405 F.2d 779 (2d Cir. 1968)

Whereas the LLS. Marshals Service has requested that such order contain additional

language to authorize the U.S. Marshals to take such action as may be required to carry out hte,

“ORAl

arder's and provisi Sand instructed the U.S, Marshals they were auiborized to use deadly

foros if necessary, wp to and including murder, if necessary to collect

the RICO criminal usury uniawiul debis, GX 4-2 Hobbs Act:

extortion, robber a and kidnapping conspiracy orchestrated by

Now, therefore, jiis Ceonard 8, Sand, David N. Kelly, Thomas Vv. Thrash, Jr the SEC, the
USAO (SDNY), Ari Rabinowitz, Peter W. Hall. Robert A. Katemann,
Amdiya L. Kearse, Robe S. Sack. Micheol 4. Gatcla, Alexander 1. :

Southwell, KTS, Kenneth A Zitter, Esq, Alpha Caphal AG, Wilam Ho |

Pauley, fil, Dennis S. Meir, Jolin W. Mills, iff, the All, GA bankruptcy
coud's employers, and others known and unknown, collectively, (the ~
Unindiotad Caconspiraters*).

MICROFILM

way 2.9 2009

Page 12 of 29
Thursday, February 29, 2024
Appx 66-3 and Memeorandum (in re Sealed Cases, 185 F.3d 887 (D. C. Cir. 1999) (Garland, J.) analysis.

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Monday, January 27, 2025

(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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Case 1:25-cv-00613-MLB Document 5-13 Filed 03/07/25 Page 255 of 270

A-1b (con’t)—02cv2219 (SDNY), Sand, J. (deceased).

J. authorized individuals impersonating U.S. Marshals on Sept. 1.%
ree wrromorder Appellarit, Ulysses T. Ware to collect

ul debts, GX 1, GX 2, GX 3, and Gx4.

(oe * racred thas the Coun shal sue 0 warrant forthe arrest of Thomas Ware and Barry

Corker ard they eal stand committed In the custody of the U.S, Marshal in the distti¢t in which
they are arrested until the contempt is purged by honoring all of the conversion requests duly
rc Rereeeytintemeentee —

submitted by Plaintiffs; and itis further = Hobbs Act kidnapping to collect an unlawful
debt.

Ordered that the U.S. Marshal for the Southern District of New York take all necessary

measures to affect service and enforcement of the order in any district of the United States where

Thomas Ware and Barry Corker maybe found; and it is further
Sand on behaif of the Hobbs Act extortion criminal énterprise in essence authorized the U.S. Marshals if

necesary to murder Ulysses T Ware, Esq, and Barry Corker to collect the RICO 18 USC 1961(6)(B)
criminal usury Untold ea ii thes OS: Marshals Service, called upon to exccute the terns of this order,

| Mill be permitted to use the degree of force necessary to arrest and detain Thomas ware dnd
———

Barry Corker, and will be permined to enter forctbly in ta the premises of Thomas Ware's and
Burry Corker's principal residences, if they are reasonably believed to be inside and if the

_sueted menses ewintelt | THe deadly f

et May 2 $2003 —
give IA

USD,

On Sept. 1, 2004, in All. GA pursuant to the Hobbs Act kidnapping, extortion, and robbery order, Appx. 34-
1, Spe Appx. 32-1, ihe U.S. Marshals (NDGA) broke into the law office of Ulysses T. Ware, Esq. with guns:
drawn, anid demaried that Mr. Ware“... dive us thase stocks and those opinions right now ... if you don't

Judge Thrash is waiting for us in the courthouse and you are going to jail today do you understand that ,...°

Mr, Ware requested lo see an atrest warrant, a search watrant of a court order and was told, “ ... we dont
have that you are coming with us if you don't give us the stocks and ppinians right now is thal clear?"

Mr. Ware was handcuffed, pushed around, and taken outside the 107 Marietta St. building and thrown in
the back of a waiting car and taken to the Federal courthouse at 75 Spring St, Adanta, GA and was ther
taken to a courtroom where District Judge Thomas W. Thrash, Jr. was waning, who did not have an arrest
warrant, a search warrarit or ary court order that authorized Mr. Ware's arrest. Nevertheless, Judge
Thrash iriposed a $250,000 ransom {illegal ball} and detainad (kidnapped) Mr. Ware in jail nul the ransom
was posted by Mr. Ware, f

Page 12 of 29
Thursday, February 29, 2024
Appx 66-3 and Memorandum (in re Sealed Cases, 185 F.ad 887 (D. C. Cir. 1999) (Garland, 1.) analysis.

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Monday, January 27, 2025

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Legal Analysis—Bankruptcy Courts have authority to enter civil
contempt orders per the Second Circuit’s precedents.

Second Circuit: Bankruptcy Courts Have Inherent Authority to Impose Civil Contempt Sanctions

By Jones Day
Feb 6, 2024

Because bankruptcy courts were created by Congress rather than under Article ITI of
the U.S, Constitution, there is a disagreement over whether bankruptcy courts, like
other federal courts, have “inherent authority" to impose sanctions for civil contempt
on parties that refuse to comply with their orders. The U.S. Court of Appeals for the
Second Circuit revisited this debate in In re Markus, 78 F.4th 554 (2nd Cir. 2023). The
court of appeals affirmed a bankruptcy court decision imposing sanctions on a chapter
15 debtor's lawyer who repeatedly flouted the court's discovery orders and awarding
attorneys’ fees to the debtor's foreign representative incurred in bringing a motion for

‘sanctions.

In so ruling, the Second Circuit reaffirmed its earlier decisions concluding that a
bankruptcy court has the inherent authority to impose civil sanctions for contempt.
However, the Second Circuit expanded the scope of that inherent authority to include
punitive civil contempt sanctions in an amount greater than it had approved in its
previous rulings. According to the Second Circuit, "we hold that a bankruptcy court's
inherent sanctioning authority includes the power to impose civil contempt sanctions
in non-nominal amounts to compensate an injured party and coerce future compliance
with the court’s orders."

Contempt Power of Federal Courts

U.S. federal courts have "contempt power" to ensure that litigants comply with laws _

and respect the courts. When parties refuse to comply with court orders or disrespect
the judicial process, courts have long used punishment (and the threat of punishment)
in the form of contempt to compel compliance.

The source of a federal court's power to punish for contempt is uncertain. Some courts

and commentators have found the power to be implied from the "judicial Power of the
United States," which Section 1 of Article III of the U.S. Constitution vests in the U.S.
Supreme Court and lower courts created by Congress. See Ex parte Robinson, 86 U.S.
(19 Wall.) 505, 510 (1874) ("The power to punish for contempts is inherent in all
courts...."); Gompers v. Bucks Stove & Range Co., 221 U.S. 418, 450 (1911) ("[T]he
power of courts to punish for contempts is a necessary and integral part of the
independence of the judiciary, and is absolutely essential to the performance of the

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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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duties imposed on them by law.... If a party can make himself a judge of the validity of
orders which have been issued, and by his own act of disobedience set them aside,
then are the courts impotent, and what the Constitution now fittingly calls the ‘judicial
power of the United States’ would be a mere mockery."); Robert J. Pushaw, Jr., The
Inherent Powers of Federal Courts and the Structural Constitution, 86 Iowa L. Rev. 735,

‘741-42 (2001) (stating that the power to sanction is an "implied indispensable power"

of courts under Article III).

Others have expressed the view that contempt power was not intended to be

encompassed in the "judicial Power” vested in federal courts by the

Constitution. See, e.g., Green v, United States, 356 U.S. 165, 193 (1958) (Black, J.,
dissenting) (characterizing summary contempt as "an anomaly in the law"); Ronald
Goldfarb, The History of the Contempt Power, 1961 Wash. U. L.Q. 1, 2 (arguing that
contempt power appears to be "violative of basic philosophical approaches to the
relations between government bodies and people”).

Contempt can be either criminal or civil. Criminal contempt i is designed to vindicate the

authority of the court by punishing a litigant who has defied the court, whereas civil -

contempt is designed to preserve and enforce compliance with court orders and to
compensate injured parties for losses sustained from noncompliance. See Downey v.
Clauder, 30 F.3d 681, 685 (6th Cir. 1994).

Addressing "contempts," 18 U.S.C. § 401 of the U.S. Code (Title Eighteen governs
"Crimes and Criminal Procedure") provides as follows:

A court of the United States shall have power to punish by fine or imprisonment, or
both, at its discretion, such contempt of its authority, and none other, as— :

(1) Misbehavior of any person in its presence or so near thereto as to obstruct the |
administration of justice;

(2) Misbehavior of any of its officers in their official transactions;

(3) Disobedience or resistance to its lawful writ, Pegs, order, rule, eces, or
command.

18 U.S.C. § 401. In addition, Rule 42 of the Federal Rules of Criminal Procedure
provides that "[alny person who commits criminal contempt may be Puniened ts for that
contempt after prosecution on notice." Fed. R. Crim. P. 42.

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With respect to civil contempt, Rule 70 of the Federal Rules of Civil Procedure states
that if a party refuses "to perform any ... specific act [directed by the court] ... within
the time specified,” the court "may also hold the disobedient party in contempt.” Fed.
R. Civ, P. 70.

In addition, if a party fails to comply with a subpoena issued in connection with
discovery, Rule 45 of the Federal Rules of Civil Procedure provides that "[t]he court for
the district where compliance is required—and also, after a motion is transferred, the
issuing court—may hold in contempt a person who, having been served, fails without
adequate excuse to obey the subpoena or an order related to it. Fed. R. Civ. P.45(g).

Aside from constitutional, statutory, or regulatory authority, federal courts also have
"inherent authority” to enforce compliance with their directives by means of civil
contempt. See Int'l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 831
(1994); Fuery v. City of Chicago, 900 F.3d 450, 463 (7th Cir. 2018); EEOC v. Guardian
fools, Inc., 828 F. 2d 1507, 1516 (14th Cir. 1987).

Until the U.S. Supreme Court's ruling | in Taggart V. Lorenven; 139 S. Ct. 1795 (2019)
(discussed below), it was generally recognized that a federal court's inherent power to
hold a litigant in civil contempt could be exercised only if: (i) the order with which the
litigant allegedly failed to comply is clear and unambiguous; (ii) proof of
noncompliance is clear and convincing; and (iii) the litigant fails to attempt compliance
diligently and in a reasonable way. See King v. Allied Vision, Ltd., 65 F.3d 1051, 1058
(2d Cir. 1995); Monsanto Co. v. Haskel Trading, Inc., 13 F. Supp.2d 349, 363 (E.D.N.Y.
1998). "Clear and unambiguous" means that the court's order or directive must enable
the litigant "to ascertain from the four corners of the order precisely what acts are
forbidden.” Monsanto, 13 F. Supp. 2d at 363. "In the context of civil contempt, the
clear and convincing standard requires a quantum of proof adequate to demonstrate
‘reasonable certainty’ that-a violation occurred." Levin v. Tiber Holding Corp., 277 F.3d
243, 250 (2d Cir. 2002) (citation omitted). |

Do Bankruptcy Courts Have Contempt Power?

Even though bankruptcy courts were created by Congress under Article I of the
Constitution (and are now "units" of federal district courts), rather than as part of the
judiciary branch under Article III, most courts have determined that bankruptcy
courts, like other federal courts, have inherent civil contempt power. See In re Sanchez,
941 F.3d 625, 627-28 (2d Cir. 2019) ("As our sister circuits have explained, inherent
sanctioning powers are not contingent on Article ITI, but rather are, as their name
suggests, inherent in the nature of federal courts as institutions charged with judicial
functions. We therefore hold that bankruptcy courts, like Article ITI courts, possess

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inherent sanctioning powers."); Alderwoods Grp., Inc. v. Garcia, 682 F.3d 958, 966
n.18 (11th Cir. 2012); see generally Collier on Bankruptcy ("Collier") 105.02[1][a]
(16th ed. 2023) (stating that "[t]he majority of cases conclude that all courts, whether
created pursuant to Article I or Article III of the Constitution, have inherent civil
contempt power to enforce compliance with their lawful judicial orders, and no specific
statute is required to invest a court with civil contempt power.").

Many courts have reasoned that bankruptcy courts have civil contempt power flowing
not only from "the inherent power of a court to enforce compliance with its lawful
orders," but also from section 105(a) of the Bankruptcy Code, which provides that:

[A bankruptcy] court may issue any order, process, or judgment that is necessary or
appropriate to carry out the provisions of [the Bankruptcy Code]... No provision of [the
Bankruptcy Code] providing for the raising of an issue by a party in interest shall be
construed to preclude the court from, sua sponte, taking any action or making any
determination necessary or appropriate to eel or implement court orders or rules, or
to prevent any abuse of process.

11 U.S.C. § 105(a) (emphasis added). ¢ See In re Walker, 257 B.R. 493, 496 (Bankr, N.D.
Ohio 2001) (citations omitted); accord In re Roman Cath. Church of Archdiocese of New
Orleans, 2023 WL 4105655, *16 (E.D. La. June 21, 2023); In re City of Detroit, 653 B.R.
874, 892 (Bankr, E.D. Mich. 2023); In re Kwok, 653 B.R. 480, 489 (Bankr. D. Conn.
2023); In re Brown, 2023 WL 4496925, *4 (Bankr. N.D. Ga. July 12, 2023).

The second sentence of section 105(a) (italicized above) was added in 1986 as part of
the Bankruptcy Judges, United States Trustees, and Family Farmer Bankruptcy Act
(Pub, L. No. 99-554). Some courts have determined that the addition indicates that
Congress meant section 105 to serve as the statutory basis for a bankruptcy court's
civil contempt power. See, e.g., Stephen W. Grosse, P.C., 84 B.R. 377, 386 (Bankr. E.D.
Pa. 1988); In re Miller, 81 B.R. 669, 676-78 (Bankr. M.D. Fla. 1988); In re Haddad, 68
B.R. 944, 948 (Bankr. D. Mass. 1987).

A bankruptcy court's inherent contempt powers are also indicated by Rule 9020 of the
Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), which provides that
"Rule 9014 [governing "contested matters” in bankruptcy] governs a motion for an
order of contempt made by the United States trustee or a party in interest." In
addition, Rule 70 of the Federal Rules of Civil Procedure, which, as noted previously,
authorizes a federal court to "hold [a] disobedient party in contempt," applies in
bankruptcy "adversary proceedings” pursuant to Bankruptcy Rule 7070.

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In Taggart, the U.S. Supreme Court held that, based on traditional standards in equity

practice, a creditor may be held in civil contempt for violation of the bankruptcy

discharge injunction, but only “if there is no fair ground of doubt as to whether the

order barred the creditor's conduct." Taggart, 139 S. Ct. at 1799, According to the

Court in Taggart, "civil contempt may be appropriate if there is no objectively
reasonable basis for concluding that the creditor's conduct might be lawful." Id. Stated

differently, there is no fair ground of doubt when the creditor violates a discharge
injunction "based on an objectively unreasonable understanding of the discharge order
or the statutes that govern its scope." Id. at 1802. A "creditor's good faith belief" that
the discharge injunction does not apply to an act in violation of the discharge injunction
does not by itself preclude a civil contempt sanction, Id. However, a creditor may not
be held in civil contempt merely because "the creditor was aware of the discharge
order and intended the actions that violated the order." Id. at 1803.

According to the bankruptcy court in Jn re City of Detroit, Michigan, 614 B.R. 255
(Bankr. E.D. Mich. 2020), after Taggart, the elements that must be proven for a court to
find a party in civil contempt are that; (i) the party violated a definite and specific court
order obligating it to perform or to refrain from performing a particular act; (ii) the party
acted with knowledge of the court order; and (iii) there is no fair ground of doubt as to
whether the order precluded the party's conduct (or stated differently, there was no
objectively reasonable basis to cone ae that the party's conduct might be

lawful), Id. at 265-66.

Courts disagree as to whether a bankruptcy court's contempt powers extend to
criminal contempt. See Collier at | 9020.01[2] (citing cases and noting that "[t]here
may be a split developing among the circuits as to whether a bankruptcy court can
punish criminal contempt."); (d. at | 105.02[1][a] (stating that "Tslome courts have
held that this inherent power extends to all contempts, be they civil or criminal, ...

while others hold that it applies only to civil contempt and some forms of criminal

contempt (such as contempt committed in the presence of the court.").

The Bankruptcy Code, the Bankruptcy Rules, and the Federal Rules of Civil Procedure
also give bankruptcy courts the power to sanction disobedient litigants (and their
lawyers). For example, section 363(k) of the Bankruptcy Code provides that, with
certain exceptions, an individual injured by any willful violation of the automatic stay
"shall recover actual damages, including costs and attorneys’ fees, and, in an
appropriate case, may recover punitive damages." In addition, if the court dismisses an
involuntary bankruptcy petition, it may grant judgment against the petitioning creditors
for costs and attorneys' fees, or even punitive damages if a creditor files an involuntary
case in bad faith, See 11 U.S.C. § 303(i).

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Bankruptcy Rule 3002.1(i) authorizes a bankruptcy court to award reasonable
expenses and attorneys' fees caused by the failure of home mortgagees to provide
certain required notices to the debtor mortgagor. pola

Under Bankruptcy Rule 9041, an attorney or unrepresented litigant who signs any
court pleading or other document certifies that, "to the best of the person's knowledge,
information, and belief, formed after an inquiry reasonable under the circumstances, "
the document does not contain, among other things, false, misleading, frivolous, or
legally unsupported allegations. Fed. R. Bankr. P. 9011(a) and (b).

Bankruptcy Rule 9014(c) provides that "[ilf, after notice and a reasonable opportunity
to respond, the court determines that subdivision (b) has been violated, the court may,

subject to the conditions stated below, impose an appropriate sanction upon the

attorneys, law tirms, or parties that have violated subdivision (b) or are responsible for
the violation." Pursuant to Bankruptcy Rule 9011(c)(2), "[al sanction imposed for
violation of this rule shall be limited to what is sufficient to deter repetition of such
conduct or comparable conduct by others: similarly situated." Sanctions may include
"directives of anonmonetary nature, an order to pay a penalty into court, or, if imposed
on motion and warranted for effective deterrence, an order directing payment to the

movant of some or all of the reasonable attorneys' fees and other expenses incurred as

a direct result of the violation." Fed. R. Bankr. P. 9014(c)(2).

Sanctions are not available under Rule 9011 in connection with “disclosures and
discovery requests, responses, objections, and motions that are subject to the
provisions of [Bankruptcy] Rules 7026 through 7037.” Fed. R. Bankr. P. 9011(d). The
discovery rules set forth in Bankruptcy Rules 7026 through 7037 authorize the
bankruptcy court in an adversary proceeding (and, unless the court orders otherwise,
contested matters in a bankruptcy case) to impose sanctions on a litigant or its

attorney in connection with discovery abuses under circumstances similar to those

described in Ranistuptey Rule 9011. See Fed. R. Civ. P. 7026(g)(3); Fed. R. Bankr. P.
9014(c).

In addition, Rule 37 of the Federal Rules of Civil Procedure, which is made applicable
to bankruptcy adversary proceedings and contested matters by Bankruptcy Rules
7037 and 9014(c), provides that the bankruptcy court may impose sanctions for a

litigant's failure to comply with discovery requests or court discovery orders, including

an award of fees and expenses or orders compromising the noncompliant litigant's
ability to effectively prosecute the litigation (e.g., dismissal of the action or the entry of
a default judgment in the action), or "treating as contempt of court the failure to obey
any [discovery] order except an order to submit to a physical or mental examination.”
Fed. R. Civ. P, 37(b)(2), Rule 45(g) of the Federal Rules of Civil Procedure (authorizing a

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federal court to hold a party refusing to comply with a subpoena in contempt) also
applies in bankruptcy cases pursuant to Bankruptcy Rule 9016.

Markus

Larisa Ivanova Markus (the debtor") is a Russian citizen who founded
Vneshprombank, Ltd. ("VB"), one of Russia's largest banks. In March 2016, a Russian
court commenced a bankruptcy proceeding against VB. Shortly afterward, the Russian
court granted a petition filed by one of the debtor's creditors to commence a
bankruptcy proceeding against her personally. The court appointed Yuri Vladimirovich
Rozhkov ("Rozhkov") to preside over the liquidation of the debtor's assets and to
pursue litigation against any entities that contributed to the debtor's bankruptcy. In
2017, the debtor was imprisoned in Russia after being convicted for embezzling $2
billion from VB. :

In January 2019, Rozhkov, as the debtor's "foreign representative," filed a petition in
the U.S. Bankruptcy Court for the Southern District of New York seeking recognition of
the debtor's Russian bankruptcy proceeding under chapter 15 of the Bankruptcy Code.
According to the petition, Rozhkov sought recognition of debtor's Russian bankruptcy
for the purpose of obtaining discovery concerning the debtor's U.S. assets (including at
least 10 companies and apartments valued at more than $10 million). The U.S.
bankruptcy court granted the chapter 15 petition in April 2019,

Heated discovery disputes ensued almost immediately between Rozhkov and the
debtor's attorney, Victor A. Worms. Among other things, despite repeated discovery
requests, Worms made no effort to obtain responsive documents, arguing that he did
not need to comply because the U.S. bankruptcy court improperly recognized the
debtor's Russian bankruptcy (Worms filed a motion to vacate the recognition order in
June 2019), ae

The U.S. bankruptcy court overruled Worms's objections, and directed him to comply
immediately with Rozhkov's discovery requests. The court also informed Worms that
failure to comply could result in the imposition of sanctions. After Worms failed to
produce any discovery before the court-imposed deadline, he argued in a written
response to a subpoena that the requested discovery "exceed[ed] the limited scope of .
discovery provided for under Chapter 15." Worms also stated that, because the debtor
was in prison, she had no documents responsive to the discovery requests in her
possession, and neither he nor his client had any duty to obtain and produce
responsive documents in the possession of the debtor's agents because such
documents were not in the United States.

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In September, 2019, Rozhkov filed a motion for sanctions against Worms and the
debtor under Rules 37 and 45(g) of the Federal Rules of Civil Procedure (as made
applicable in bankruptcy cases by Bankruptcy Rules 7037 and 9016). In seeking a civil
contempt sanction against Worms in the amount of $1,000 per day until compliance,
Rozhkov submitted evidence of the identities and contact information of more than 30
known agents of Worms, 14 of whom were in the United States,

After a hearing during which the U.S. bankruptcy court again warned Worms that he
would be sanctioned for noncompliance, the court found that Worms's violations of the
court's discovery orders were knowing, willful, and intentional, and entered an order
(the "sanctions order") imposing the requested monetary sanctions (amounting to
$34,000 for the days since the discovery deadline and $1,000 per day until
compliance) pursuant to Rule 37 of the Federal Rules of Civil Procecure and "the
court's inherent power to hold a party in civil contempt." The U.S, bankruptcy court
later awarded $60,000 in attorneys’ fees (the "fee order") against Worms personally to
compensate Rozhkov for costs incurred in connection with the sanctions motion. The
court did not state in the fee order the source of its authority to do so, but referenced
its previous opinion granting the sanctions motion.

On appeal of both the sanctions and fee orders, a U.S. district court affirmed the -
bankruptcy court's imposition of civil contempt sanctions under its "inherent
authority," which Worms acknowledged existed, but remanded the case below for
determination of the appropriate amount, and vacated the $34,000 in “lump-sum
sanctions" as an improper criminal sanction. Because the bankruptcy court had not
specified the source of its authority to award attorneys’ fees to Rozhkov, the district
court vacated the fee order and remanded the case below for clarification.

On remand, the U.S. bankruptcy court held that Worms's contempt was cured as of
November 27, 2019, when a U.S.-based agent of the debtor contacted the debtor's
other agents to obtain the requested discovery. Based on the 55 days that Worms was
in contempt, the court imposed a total of $55,000 in sanctions. The bankruptcy court
also held that the fee award was based on its inherent authority, but reduced the
amount of the fees to $36,600. However, it also awarded Rozhkov $63,500 in fees
incurred in defending the district court appeal.

Worms appealed again to the district court, which affirmed the sanctions award but
vacated the award of attorneys' fees for defending the initial district court appeal,
reasoning that a bankruptcy court generally does not have the power under its inherent
sanctioning power to award fees incurred in connection with an appeal before another _
court,

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Worms appealed the ruling upholding the sanctions order and the fee order to the
Second Circuit,

The Second Circuit's Ruling
A three-judge panel of the Second Circuit affirmed the district court's ruling.

Writing for the panel, U.S. Circuit Judge Denny Chin noted that the issue of whether a
bankruptcy court has inherent authority to impose "non-nominal civil contempt
sanctions" was one of first impression before the Second Circuit.

He explained that, in Sanchez, the Second Circuit, guided by the U.S. Supreme Court's |
ruling in Chambers v. NASCO, Inc., 501 U.S. 32 (1991), unequivocally held that
bankruptcy courts, like other federal courts, have "inherent sanctioning

power." Markus, 78 F.4th at 565 (citing Sanchez, 941 F.3d at 628). In addition, Judge
Chin noted, in a previous decision, In re Kalikow, 602 F.2d 82 (2d Cir. 2010), the
Second Circuit concluded that "[t]he statutory powers given to a bankruptcy court
under § 105(a) complement the inherent powers of a federal court to enforce its own
orders .,. [and] [t]hese powers are in addition to whatever inherent contempt powers
the court may have." Id. at 96-97 (citation and internal quotation marks omitted).

He further noted that in Law v, Siegel, 571 U.S. 415, 420-21 (2014), the Supreme
Court wrote that “[a] bankruptcy court ... may also possess ‘inherent power ... to
sanction abusive litigation practices.”

However, Judge Chin emphasized, its previous rulings, including In re Gravel, 6 Fath
503 (2d. Cir. 2021), where-the Second Circuit suggested that the imposition of non-
nominal punitive sanctions pursuant to a bankruptcy court's inherent authority
requires a finding of bad faith, dealt only with "relatively minor non-compensatory [i.e.,
punitive] sanctions," unlike the "substantial, compensatory, and coercive sanctions
imposed against Worms here." Markus, 78 F.4th at 564-65.

The Second Circuit panel concluded that a bankruptcy court's inherent authority
“extends beyond" the power to impose minor punitive sanctions, but "is by no means
unlimited" and requires "caution and notice before use." Id. at 565 (internal quotation
marks and citation omitted). Judge Chin explained such limitations as follows:

(i) A bankruptcy court's invocation of its inherent authority to sanction abuse “is a last
resort for when an express authority is not up to the task," and the court "may not
contravene valid statutory directives and prohibitions."

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(ii) A bankruptcy court must expressly invoke its inherent sanctioning powers for its
order to withstand appellate scrutiny.

(iii) A bankruptcy court must comply with the mandates of due process when deploying
its inherent powers.

(iv) Although a bankruptcy court need not always find bad faith before invoking its
inherent sanction power, the imposition of such sanctions may require an express
finding that a lawyer (acting as an advocate rather than an officer of the court) acted in
bad faith supported by clear evidence that the lawyer's conduct was "entirely without
color" and "motivated by improper purposes."

(v) A bankruptcy court may impose a civil contempt sanction that is compensatory or
coercive, not punitive.

(vi) A contempt order is justified only where the movant establishes by clear and —
convincing evidence that the contemnor violated the court's order.

Id. (internal quotation marks and citations omitted). Therefore, Judge Chin
emphasized, to demonstrate contempt justifying the imposition of sanctions, the party
seeking a contempt order must establish that: (i) the order with which the contemnor
failed to comply is clear and unambiguous; (ii) proof of noncompliance is clear and
convincing; and (iii) the contemnor failed to diligently attempt to comply ina
reasonable manner (the "King factors"). Id. at 566 (citing King v, Allied Vision, Ltd., 65
F.3d 1051, 1058 (2d Cir. 1995)). 7

Applying these principles, the Second Circuit panel ruled that the bankruptcy court did
not abuse its discretion in sanctioning Worms.

First, Judge Chin explained, because it is unclear whether the bankruptcy court could
have relied on its express power in section 1.05(a) of the Bankruptcy Code to enforce
compliance with a subpoena issued under Rule 45 of the Federal Rules of Civil
Procedure, "the bankruptcy court was right to consider its inherent contempt
authority." Id. at 567.

According to Judge Chin, "most importantly," the bankruptcy court, in ordering
contempt sanctions, found that all of the King factors had been satisfied and that
Worms had acted in bad faith. Specifically, he wrote, the record clearly established
that the bankruptcy court's order was unambiguous, proof of Worms's failure to
comply was clear and convincing, Worms failed even to attempt compliance, and the
record "firmly supportled] the bankruptcy court's finding that Worms ‘knowingly and

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intentionally! engaged in a ‘continuous pattern of obstructing legitimate

discovery.'" Id, In addition, Judge Chin noted, because Worms had "abundant" notice
of the consequences of his refusal to comply with the bankruptcy court's discovery
orders pursuant to the court's inherent authority, Worms was afforded due process.

Finally, the Second Circuit panel noted that, although the fee order did not expressly
state that the bankruptcy court was exercising Its inherent authority in awarding
attorneys' fees to Rozhkov, the order specifically incorporated the sanction order,
which did include an express reference, and Worms was clearly aware that that "the
bankruptcy court rested the civil contempt sanctions against him on its inherent
authority." Id. at 569. ne

Outlook

There are several key takeaways from the Second Circuit's ruling in Markus. First, the
decision clarifies that, in addition to a bankruptcy court's statutory powers under
section 105(a) of the Bankruptcy Code, and whatever powers the court may have to.
sanction for contempt under applicable procedural rules, a bankruptcy court, like other
federal courts, has inherent authority to sanction a party for civil contempt under
appropriate circumstances. Second, if a bankruptcy court is relying on its inherent |
authority to sanction a party for civil contempt, it must state so explicitly. Third,
although the Second Circuit has previously concluded that a bankruptcy court has the 3
inherent power to impose civil contempt sanctions in nominal amounts, the court of

appeals has now ruled as a matter of first impression that such punitive sanctions may —
also be imposed in non-nominal amounts.

Markus is an unusual case because It involved civil contempt sanctions in connection
with a discovery dispute in a chapter 15 case (discovery may generally be obtained ina
chapter 15 case in the same way that it is available in cases under other chapters of
the Bankruptcy Code). Moreover, the sanctions were levied against an attorney rather
than his client because the client was unable to respond to the discovery obligations.
Recognizing that the client's compliance was not possible, the bankruptcy court
afforded the attorney multiple opportunities to respond by taking reasonable steps to
comply, such as contacting entities that could provide the requested discovery. The
court sanctioned the attorney only after he failed to make any effort to do so, resulting
in the required finding of bad faith. The ruling is therefore also a cautionary tale,

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Exhibit 9--03-93031 Docket Report

U.S. Bankruptcy Court
Northern District of Georgia (Atlanta)
Bankruptcy Petition #: 03-93031-mhm
Date filed: 03/18/2003

Assigned to: Judge Margaret z-Murphy Date terminated: 06/03/2003
Chapter 11 : Date dismissed: 05/21/2003
Voluntary Deadline for objecting to discharge: 06/30/2003

Asset
Claims Register

Debtor represented by Sims W. Gordon, Jr.
Group Management Corp. The Gordon Law Firm, PC
101 Marietta St. mE Suite 1500
Suite 1070 400 Galleria Parkway, SE
Atlanta, GA 30303 - Atlanta, GA 30339
FULTON-GA (770) 955-5000
Tax ID / EIN: XX-XXXXXXX ee Fax : (770) 955-5010
aka TVG Corp.
Thomas Ware
Rosenfeld, Goldman &
Ware, Inc.
101 Marietta St.
Ste 1070
Atlanta, GA 30303
404-522-1202
U.S. Trustee represented by James H. Morawetz

Office of the United States Trustee
362 Richard Russell Building

75 Ted Turner Drive, SW

Atlanta, GA 30303

404-331-4437

Office of U.S. Trustee
362 Richard Russell Bldg.
75 Ted Turner Drive, SW.
Atlanta, GA 30303
404-331-4437 x121

Fax : (404) 730-3534
TERMINATED. 04/01/2003

Filing Date # . Docket Text
83 Correspondence from Mr, Ware re Notice to Immediately Cease and
Desist from all Civil and Criminal Contempts of the Brady Court
02/05/2022 Orders, et al. (scm) (Entered: 02/08/2022)
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82. Notice of Criminal Contempt by DOJ Prosecutors in case nos
02/01/2022 04cr1224and 05cr1115 (SDNY). (sem)

81 Letter from Mr, Ware to DOJ re litigation position, (sem) (Entered:
01/27/2022 02/01/2022)

80 Information delivered by Mr. Ware re investigation. (scm) (Entered:
01/26/2022 02/01/2022) :

79 NOTICE TO IMMEDIATELY CEASE AND DESIST FROM ALL

CIVIL AND CRIMINAL CONTEMPTS OF THE BRADY
COURT ORDERS, THE RULE 41 (a)(2) FINAL JUDGMENT,

| AND THE AUGUST 18, 2009, FINAL JUDGMENT ENTERED
IN UNITED STATES v. WARE, 07-5670 (XAP) (2d Cir.), Gov.-I,1
01/22/2022 jointly, (the Final Judgments). (scm) (Entered: 01/24/2022)

78 Copy of Letter to Garland te Demand to Disclose Brady
Exculpatory Evidence in cases 02cv2219 (SDNY), 03-0831 (D.
NV), 03-93031 (BC NDGA), 04cr1224 (SDNY) and OSerl 115

01/20/2022 (SDNY) (sem) (Entered: 01/21/2022) —
‘77 | Official notice of material fact witness status (scm) (Entered:
01/17/2022 01/18/2022)
76 Letter sent by Mr. Ware to Merrick Garland re O5cr1115 and
OI/11/2022 04cr1224 (SDNY). (sem) (Entered: 01/12/2022)
75 | Pleadings submitted by Mr. Ware re conspiracy in OScr1115 and
12/03/2021 04cr1224 (SDNY), (sem) (Entered: 12/06/2021)
74 Materials submitted by Mr. Ware related to Motions filed in
11/28/2021 04cr1224 and O5cr1115 (SDNY), (scm) (Entered; 11/29/2021)
2B Part 4 of materials submitted by Mr. Ware in04cr1224 and O5er1115
11/26/2021 - | (SDNY). (related document(s)70) (sem) (Entered: 11/29/2021)
72 Part 3 of materials submitted by Mr. Ware related to 04cr1224 and
05cr1115 (SDNY). (related document(s)70) (scm) (Entered:
11/26/2021 11/29/2021). -
71 Part 2 of materials submitted by Mr. Ware in cases 04cr1224 and
05cr 1115 (SDNY). (related document(s)70) (scm) (Entered:
11/26/2021 11/29/2021)
70 Part | of materials submitted by Mr. Ware related to Motion to
: Compel in 04cr1224 and O05cr1115 (SDNY). (scm) (Entered:
11/26/2021 11/29/2021)
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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
13, 14, 15, 16, 28, 256, 258, 263, 274, and 275, (the “Void Ab initio Orders”).
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69 Materials from Mr, Ware related to 04cr1224 and OScrl 115
11/22/2021 (SDNY). (scm) (Entered: 11/29/2021)
68 Materials submitted by Mr. Ware re Brady evidence in 04cr1224
11/19/2021 and 05cr1115 (SDNY). (scm) (Entered: 11/22/2021)
67 Submission by Mr. Ware re rule 11 plea transcript in 04cr1224 and
11/16/2021 O5er1115 (SDNY). (scm) (Entered: 11/19/2021)
66 Mr. Ware submissions re Supervisory Writ in OScr1115 and
11/12/2021 O4er1224 (SDNY). (sem) (Entered: 11/19/2021)
11/10/2021 65 Materials from Mr. Ware re: State Bar Grievance (ngs)
64
Brady Decisions re: Undisclosed Government Agreements in
11/10/2021 (7 pgs) | 04CR1224 and 05CR1115 (SDNY) (ngs)
61 Materials Submitted in 04CR1224 and 05CR1115 (SDNY) (ngs)
11/09/2021 (Entered: 11/10/2021)
63 | Materials Filed in 04CR1224 and 05CR1115 (SDNY) USAO
Manual/Motion to Compel. (ngs) Additional attachment(s) added on
11/09/2021 11/10/2021 (ngs). ©
62 Materials Submitted in 04CR1224 and 0SCR11 15 (SDNY) In re
Sealed Case (ngs) Additional attachment(s) added on 11/ 10/2021
11/09/2021 (ngs). :
— 60 Copy of Pleading filed in 04CR1224 and 0SCRI1115. (ngs)
11/08/2021 Additional attachment(s) added on 11/10/2021 (ngs).
59 Communication from Mr. Ware to US Atty for SDNY re 04cr1224
11/01/2021 and 05cr1115. (sem)
58 Documents filed in 04CR1224 and 05CR1115 (SDNY). (scm)
09/28/2021 (Entered: 10/04/2021)
56 Documents filed in 04CR1224 and 0SCR1115(SDNY). (scm)
09/27/2021 (Entered: 10/04/2021) “ah
55 Documents filed on 05CR1115 and 04CR1224 (SDNY). (scm)
09/25/2021 (Entered: 10/04/2021)
57 Documents submitted in 04CR1224 and 05CR1115 (SDNY). (sem)
09/24/2021 (Entered: 10/04/2021)
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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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54 Petition re Brady Court Orders and Court Judgments filed in
04cr1224 and 0S5cr1115 (SDNY). (scm) Additional attachment(s)
09/22/2021 added on 9/22/2021 (scm).
09/13/2021 53 Correspondence from Mr. Ware. on) eee 09/ 1472021)
52 Petition re Brady Court Orders and Court demiente filed in
| 02cv2219, 04cr1224 and 05cr1115 (SDNY). (scm) (Entered:
09/13/2021 09/14/2021)
51 Letter to Judge Taylor-Swain in 04cr1224, OSer1115 and 04cv2219,
09/13/2021 (sem) (Entered: 09/14/2021)
50 | Copy of letter to State Bar of Georgia by Ulysses T. Ware dated
09/07/2021 Sept 6, 2021, (scm) (Entered: 09/08/2021)
49° Copy of Additional Criminal Contempt Claims filed in O8cr1115
08/31/2021 and 04cr1224 (SDNY). (scm) (Entered: 09/08/2021)
48 Copy of Emergency Application for leave to file Rule 42(b).
ne criminal and civil contempt motion: in case no 04cr1224 and
08/29/2021 OS5er1115 (SDNY). (scm) (Entered: usoni202))
06/23/2021 47 Letter dated June 23, 2021 to Mr, Ulysses T. Ware. wom)
46 Letter dated April 22, 2021 from Ulysses T. Ware (Received on
06/22/2021 4/22/21, docketed on 6/22/21). (sem)
45 Letter dated June 21, 2021 from Diss T. Ware. Gent) (Entered:
06/21/2021 06/22/2021)
44. Letter dated June 15, 2021 from Ulysses T. Ware. (sem) (Entered:
06/15/2021 06/22/2021)
43 ‘Letter dated iuae 2021 to Mr, Ulysses T. Ware. (scm) (Entered:
06/09/2021 06/22/2021)
42 Transcript of Proceedings heard on 4/30/2003 (obletnally & docketed
on 3/22/2005) (related document(s)30) (scm) Additional
06/09/2021 attachment(s) added on 6/9/2021 (scm).
41 Transcript of Hearing on Emergency Motion of Debtor to Reject
Executory Contract (originally docketed on 4/24/2003) (related
document(s)25) (sem) Additional attachment(s) added on 6/9/2021
06/09/2021 ew):
40 11 USC 1109(b) Statutory Parties in Interest Ulysses 1 T, Ware ‘iid
Group Management's Notice of Rule 33 and Rule 42(b) Criminal
06/02/2021 - and Civil Contempt Proceecinies filed in United States v. Ware,
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(12) (Part 14-0) re Rule 9014 Contested Matter Motion to Strike, Vacate, Set Aside, and Annul Dkt. 11,
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